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                             EXHIBIT 174




                                                                         Appx. 02765
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                                  Pachulski Stang Ziehl & Jones LLP
                                          10100 Santa Monica Blvd.
                                                 13th Floor
                                           Los Angeles, CA 90067
                                                                     May 31, 2021
 Board of Directors                                                  Invoice 127958
 Highland Capital Management LP                                      Client   36027
 300 Crescent Court ste. 700                                         Matter   00002
 Dallas, TX 75201
                                                                              JNP

 RE: Postpetition

  _______________________________________________________________________________________

           STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 05/31/2021




                                                                                            D-CNL001106
                                                                                      Appx. 02766
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                                  Pachulski Stang Ziehl & Jones LLP
                                          10100 Santa Monica Blvd.
                                                 13th Floor
                                           Los Angeles, CA 90067
                                                                     June 30, 2021
 Board of Directors                                                  Invoice 128195
 Highland Capital Management LP                                      Client    36027
 300 Crescent Court ste. 700                                         Matter    00002
 Dallas, TX 75201
                                                                               JNP

 RE: Postpetition

  _______________________________________________________________________________________

           STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 06/30/2021




                                                                                             D-CNL001042
                                                                                       Appx. 02815
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                                  Pachulski Stang Ziehl & Jones LLP
                                          10100 Santa Monica Blvd.
                                                 13th Floor
                                           Los Angeles, CA 90067
                                                                     July 31, 2021
 Board of Directors                                                  Invoice 128292
 Highland Capital Management LP                                      Client    36027
 300 Crescent Court ste. 700                                         Matter    00002
 Dallas, TX 75201
                                                                               JNP

 RE: Postpetition

  _______________________________________________________________________________________

           STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 07/31/2021




                                                                                             D-CNL001017
                                                                                       Appx. 02854
Case 21-03007-sgj Doc 127-4 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 91 of 474




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                              EXHIBIT 177




                                                                          Appx. 02879
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                                   Pachulski Stang Ziehl & Jones LLP
                                           10100 Santa Monica Blvd.
                                                  13th Floor
                                            Los Angeles, CA 90067
                                                                      August 31, 2021
  Board of Directors                                                  Invoice 128567
  Highland Capital Management LP                                      Client   36027
  300 Crescent Court ste. 700                                         Matter   00003
  Dallas, TX 75201
                                                                               JNP

  RE: Post-Effective Date

   _______________________________________________________________________________________

            STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 08/31/2021




                                                                                               D-CNL001154
                                                                                         Appx. 02880
Case 21-03007-sgj Doc 127-4 Filed 12/18/21                        Entered 12/18/21 02:23:50            Page 117 of 474




  Pachulski Stang Ziehl & Jones LLP                                                             Page:    37
  Highland Capital Management LP                                                                Invoice 128567
  36027 - 00003                                                                                 August 31, 2021




    Notes Litigation
   08/11/2021   JJK     NL        Prepare HCM objection to motion to reconsider.         4.20        995.00       $4,179.00

   08/11/2021   JAM     NL        Review stipulations for each adversary proceeding      0.50      1245.00         $622.50
                                  (0.4); e-mails w/ M. Aigen re: scheduling
                                  stipulations (0.1).

   08/11/2021   HRW     NL        Draft motion to file amended complaints for notes      2.80        695.00       $1,946.00
                                  litigations (2.8)

   08/12/2021   JJK     NL        Research and prepare replies re: Reports, motions to   5.20        995.00       $5,174.00
                                  reconsider; emails Kharasch on same.

   08/12/2021   LSC     NL        Retrieve and transmit Reports and                      0.30        460.00        $138.00
                                  Recommendations regarding notes litigations for J.
                                  Morris.

   08/12/2021   HRW     NL        Draft motion to file amended complaints for notes      3.00        695.00       $2,085.00
                                  litigations (3.0)

   08/13/2021   IDK     NL        E-mail H Winograd re updated litigation WIP list       0.20      1325.00         $265.00
                                  with focus on deadlines re matters on Dondero
                                  entities motions for withdrawal of reference.

   08/13/2021   IDK     NL        E-mail J Kim re draft of response to HCMS motion       0.40      1325.00         $530.00
                                  to reconsider to D Court, including review of same
                                  and new argument.

   08/13/2021   JAM     NL        Review motion to amend complaint and proposed          1.50      1245.00        $1,867.50
                                  orders (0.9); e-mails w/ G. Demo, H. Winograd re:
                                  motion to amend complaint and proposed orders
                                  (0.2); e-mails w/ M. Aigen, others, re: scheduling
                                  order and motion to amend complaints (0.4).

   08/13/2021   GVD     NL        Review open issues re notes litigation and             0.40        950.00        $380.00
                                  correspondence with H. Winograd re same

   08/13/2021   HRW     NL        Edit and finalize motions to file amended complaints   1.20        695.00        $834.00
                                  in notes litigations (1.2).

   08/16/2021   IDK     NL        Review and consider revised response to HCMS           0.70      1325.00         $927.50
                                  motion to reconsider R&R (.3); E-mails with J
                                  Pomerantz re same and Texas litigation counsel (.2);
                                  E-mails with J Kim re my feedback on draft of same
                                  and timing for filing today (.2).

   08/16/2021   JJK     NL        Emails Kharasch, Pomerantz on motions to               1.50        995.00       $1,492.50
                                  reconsider; related research and final revisions to
                                  last reply re: Reports.

   08/16/2021   JNP     NL        Review response to motion for reconsideration of       0.10      1295.00         $129.50




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  Pachulski Stang Ziehl & Jones LLP                                                                  Page:    38
  Highland Capital Management LP                                                                     Invoice 128567
  36027 - 00003                                                                                      August 31, 2021


                                                                                             Hours           Rate      Amount
                                  order adopting report and recommendations.
   08/17/2021   JAM     NL        Review/revise motions for leave to amend                    1.40      1245.00        $1,743.00
                                  complaints in Notes Litigation (1.1); e-mail to L.
                                  Canty, Z. Annable, H. Winograd re: motions for
                                  leave to amend complaints in Notes Litigation and
                                  related matters (0.2); e-mails w/ Z. Annable, H.
                                  Winograd re: motions to amend complaints in Notes
                                  Litigation (0.1).

   08/17/2021   LSC     NL        Prepare and transmit exhibits to motions to amend.          0.50        460.00        $230.00

   08/18/2021   JAM     NL        Communications w/ M. Aigen, Z. Annable re: form             0.40      1245.00         $498.00
                                  of Order for motions for leave to amend complaints
                                  (0.2); tel c. w/ D. Rukavina re: Advisors’ motion for
                                  protective order (0.2).

   08/18/2021   LSC     NL        Transmit proposed orders on motions to amend.               0.20        460.00         $92.00

   08/19/2021   JAM     NL        Revise Advisors’ draft Stipulation resolving their          0.70      1245.00         $871.50
                                  motion for a protective order (0.5); draft e-mail to D.
                                  Rukavina re: revised Stipulation resolving Advisors’
                                  motion for a protective order (0.2).

   08/20/2021   JNP     NL        Conference with John A. Morris regarding                    0.20      1295.00         $259.00
                                  protective order regarding notes litigation.

   08/20/2021   JAM     NL        E-mails w/ D. Rukavina re: proposed settlement of           0.20      1245.00         $249.00
                                  motion for protective order (0.1); e-mails w/ J.
                                  Seery, J. Pomerantz, G. Demo re: Advisors’ motion
                                  for a protective order (0.1).

   08/24/2021   HRW     NL        Draft notice of filing stipulations re: notes litigation    2.20        695.00       $1,529.00
                                  (2.2).

   08/25/2021   JAM     NL        E-mails w/ H. Winograd re: HCMFA scheduling                 0.10      1245.00         $124.50
                                  stipulation (0.1).

   08/25/2021   HRW     NL        Draft proposed orders re: notes litigation (2.5);           2.60        695.00       $1,807.00
                                  Communicate with opposing counsel for HCMFA
                                  re: notes stipulation (0.1).

   08/26/2021   JAM     NL        E-mails w/ H. Winograd, Z. Annable re: filing of            0.40      1245.00         $498.00
                                  Amended Complaints (0.2); e-mails w/ H.
                                  Winograd, D. Rukavina re: scheduling order for
                                  HCMFA notes litigation (not subject to amended
                                  complaint) (0.2).

   08/26/2021   LSC     NL        Prepare exhibits to amended complaints (.7); prepare        1.00        460.00        $460.00
                                  exhibits to orders approving discovery stipulations
                                  (.3).

   08/26/2021   HRW     NL        Prepare and review amended complaints and                   1.70        695.00       $1,181.50




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                              EXHIBIT 178




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                                   Pachulski Stang Ziehl & Jones LLP
                                           10100 Santa Monica Blvd.
                                                  13th Floor
                                            Los Angeles, CA 90067
                                                                      August 10, 2021
  Board of Directors                                                  Invoice 128474
  Highland Capital Management LP                                      Client   36027
  300 Crescent Court ste. 700                                         Matter   00002
  Dallas, TX 75201
                                                                               JNP

  RE: Postpetition

   _______________________________________________________________________________________

            STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 08/10/2021




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  Pachulski Stang Ziehl & Jones LLP                                                               Page:    11
  Highland Capital Management LP                                                                  Invoice 128474
  36027 - 00002                                                                                   August 10, 2021


                                                                                          Hours           Rate      Amount
                                  production and search issues.
   05/25/2021   CHM     BL        Emails with J. Morris and B. Sharp re document           0.30       750.00         $225.00
                                  production.
   05/26/2021   CHM     BL        Prepare Nexpoint document production and check           3.20       750.00        $2,400.00
                                  document being produced; email H. Winograd re
                                  same.
   05/26/2021   CHM     BL        Review email from H. Winograd re RFPs and reply.         0.10       750.00          $75.00
   05/27/2021   CHM     BL        Review requests for production and documents             4.00       750.00        $3,000.00
                                  being produced and search terms run for
                                  completeness.
   05/27/2021   CHM     BL        Review search terms and exchange emails with H.          1.10       750.00         $825.00
                                  Winograd and IDS team re new production searches.
   05/28/2021   CHM     BL        Review email from J. Vaughn and reply.                   0.10       750.00          $75.00
   05/28/2021   CHM     BL        Run document production and review of documents          1.80       750.00        $1,350.00
                                  being produced.
   06/02/2021   CHM     BL        Review document production issues and coordinate         0.30       750.00         $225.00
                                  with IDS team re same.
   06/02/2021   CHM     BL        Email H. Winograd re document production issues.         0.10       750.00          $75.00
   06/03/2021   CHM     BL        Review RFPs and coordinate searches with IDS             3.20       750.00        $2,400.00
                                  team; review document hits re same.
   06/04/2021   CHM     BL        Review UDF documents for responsiveness and run          4.30       750.00        $3,225.00
                                  production re same.
   06/07/2021   CHM     BL        Review email from B. Sharp and reply.                    0.10       750.00          $75.00
   06/07/2021   CHM     BL        Review RFPs and proposed search terms; email IDS         2.50       750.00        $1,875.00
                                  team re same and review results.
   06/09/2021   CHM     BL        Correspond with G. Crane and H. Winograd re              3.00       750.00        $2,250.00
                                  privilege review and begin preparation of privilege
                                  assignments.
   06/09/2021   CHM     BL        Review documents for responsiveness and run              3.70       750.00        $2,775.00
                                  production.
   06/09/2021   CHM     BL        Email IDS team re additional searches.                   0.20       750.00         $150.00
   06/10/2021   CHM     BL        Review parties list and update privilege breaker list    1.80       750.00        $1,350.00
                                  and email same to G. Demo.
   06/10/2021   CHM     BL        Review email from J. Sommer re UDF privilege             0.10       750.00          $75.00
                                  holdback and reply.
   06/11/2021   CHM     BL        Review documents flagged by G. Crane and reply re        0.30       750.00         $225.00
                                  same.
   06/11/2021   JAM     BL        Telephone conference with G. Demo, H. Winograd           1.80      1245.00        $2,241.00
                                  re: HCMFA and NexPoint motions to amend (0.5);




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                              EXHIBIT 179




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  3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH    
  +LJKODQG&DSLWDO0DQDJHPHQW/3                                                                  ,QYRLFH 
                                                                                       6HSWHPEHU


                                                                                          +RXUV           5DWH         $PRXQW
      -13      1/       &RQIHUHQFHZLWK-RUGDQ$.URRSUHJDUGLQJPRWLRQ                         
                                  WRGLVPLVVDQGPRWLRQWRFRPSHODUELWUDWLRQ
      -13      1/       5HYLHZPRWLRQWRFRPSHODUELWUDWLRQ                                      
      -13      1/       &RQIHUHQFHZLWK+D\OH\5:LQRJUDG-RKQ$                          
                                  0RUULVDQG-RUGDQ$.URRSUHJDUGLQJPRWLRQWR
                                  FRPSHODUELWUDWLRQ
      -$0      1/       7HOFZ-3RPHUDQW]-.URRS+:LQRJUDGUH                    
                                  GHIHQGDQWV DUELWUDWLRQPRWLRQ  HPDLOWR-
                                  6HHU\UHPRWLRQVWRGLVPLVVDQGWRDUELWUDWH  
                                  HPDLOWR-3RPHUDQW]-.URRSUHPRWLRQVWR
                                  GLVPLVVDQGDUELWUDWH  
      +5:      1/       &DOOZLWK-0RUULV-3RPHUDQW]DQG-.URRS                           
                                    
      +5:      1/       5HYLHZPRWLRQWRGLVPLVVLQQRWHVOLWLJDWLRQV                     
      -$.      1/       %HJLQUHYLHZRIPRWLRQWRFRPSHODUELWUDWLRQ                    
                                  VWUDWHJ\DQGSODQQLQJGLVFXVVLRQZLWK-RKQ0RUULV 
                                  -HII3RPHUDQW]DQG+D\OH\:LQRJUDG  
                                  IROORZXSGLVFXVVLRQZLWK-HII3RPHUDQW]UHJDUGLQJ 
                                  DUELWUDWLRQPRWLRQ  DGGLWLRQDOUHYLHZDQG
                                  DQDO\VLVRIDUELWUDWLRQPRWLRQ  
      ,'.      1/       (PDLOVZLWKDWWRUQH\VUH'&RXUWXSKROGLQJUHSRUW                       
                                  DQGUHFRPPHQGDWLRQUH+&0)$SURFHHGLQJ
                                  LQFOXGLQJUHYLHZRIVDPH
      +5:      1/       5HYLHZPRWLRQWRGLVPLVVFRPSODLQWLQQRWHV                           
                                  OLWLJDWLRQ  
      +5:      1/       5HVHDUFKUHPRWLRQWRGLVPLVVFRPSODLQWLQQRWHV                     
                                  OLWLJDWLRQ  
      +5:      1/       6HQGRSSRVLQJFRXQVHOVXSSOHPHQWDOSURGXFWLRQVLQ                         
                                  QRWHVOLWLJDWLRQ  
      *9'      1/       &RQIHUHQFHZLWK-0RUULVUHVWDWXVRIQRWHV                               
                                  OLWLJDWLRQ
      *9'      1/       &RQIHUHQFHZLWK+:LQRJUDGUHUHVSRQVHWR                                
                                  PRWLRQVWRGLVPLVVDQGQH[WVWHSV
      +5:      1/       &DOOZLWK*'HPRUHPRWLRQWRGLVPLVVLQQRWHV                          
                                  OLWLJDWLRQV  
      +5:      1/       &DOOZLWK-0RUULVUHOLWLJDWLRQGHDGOLQHV                           
      +5:      1/       5HYLHZDQGUHVHDUFKUHPRWLRQWRGLVPLVVLQQRWHV                    
                                  OLWLJDWLRQV  
      -$.      1/       5HYLHZSUHYLRXVSOHDGLQJVDQGEHJLQRXWOLQLQJ                        
                                  RSSRVLWLRQWRGHPDQGIRUDUELWUDWLRQ




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  3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
  +LJKODQG&DSLWDO0DQDJHPHQW/3                                                                    ,QYRLFH 
                                                                                         6HSWHPEHU


                                                                                            +RXUV           5DWH         $PRXQW
      +5:      1/       'UDIWDQGUHVHDUFKUHPRWLRQWRGLVPLVVLQQRWHV                       
                                  OLWLJDWLRQV  
      -$0      1/       5HYLHZRIGRFXPHQWVDQGGRFNHWDQGHPDLOVWR-                       
                                  .URSS-3RPHUDQW]*'HPR+:LQRJUDGUH
                                  IDFWVDQGDUJXPHQWVFRQFHUQLQJRSSRVLWLRQWR
                                  PRWLRQWRFRPSHODUELWUDWLRQ  IXUWKHU
                                  FRPPXQLFDWLRQVZ-.URRSUHDUELWUDWLRQPRWLRQ
                                    
      +5:      1/       'UDIWDQGUHVHDUFKUHPRWLRQWRGLVPLVVLQQRWHV                       
                                  OLWLJDWLRQV  
      -$.      1/       (PDLOFRUUHVSRQGHQFHZLWK-RKQ0RUULVUHJDUGLQJ                        
                                  YDULRXVDUJXPHQWVSHUWDLQLQJWRZDLYHUDQGHVWRSSHO 
                                  IRUDUELWUDWLRQPRWLRQREMHFWLRQUHYLHZDQGDQDO\]H
                                  WUDQVFULSWVIURPSUHYLRXVKHDULQJEHJLQUHVHDUFK
                                  UHJDUGLQJYDULRXVDUJXPHQWVIRUDUELWUDWLRQ
                                  REMHFWLRQ
      ,'.      1/       5HYLHZRIRUGHUIURP'LVWULFW&RXUWRQRUGHURI                            
                                  UHIHUHQFHUH'$)DFWLRQLQFOXGLQJ(PDLOIURP- 
                                  0RUULVUHVDPH
      +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                         
                                  OLWLJDWLRQV  
      -$.      1/       'UDIWLQJRISRUWLRQVRIREMHFWLRQWRDUELWUDWLRQ                       
                                  PRWLRQUHVHDUFKOHJDOLVVXHVIRUXVHLQVDPHHPDLOV 
                                  ZLWK-RKQ0RUULVUHJDUGLQJDGGLWLRQDODUJXPHQWV
                                  DQGVXSSRUWIRUVDPHUHYLHZDQGDQDO\]HSURYLVLRQV
                                  RIOLPLWHGSDUWQHUVKLSDJUHHPHQWIRUXVHLQ
                                  DUJXPHQWVLQRSSRVLWLRQRIDUELWUDWLRQDJUHHPHQW
                                  PHPRRXWOLQLQJOHJDOLVVXHVWREHUHVHDUFKHGDQG 
                                  VXSSRUWLQJGLUHFWLRQ
      *9'      1/       &RUUHVSRQGHQFHZLWKWHDPUHDELOLW\WRHQIRUFH                              
                                  DUELWUDWLRQLQUHMHFWHGDJUHHPHQW
      +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                          
                                  OLWLJDWLRQV  
      +5:      1/       5HYLHZSULRUGLVFRYHU\5 26VHQWWRDOOSDUWLHVLQ                          
                                  QRWHVOLWLJDWLRQV  
      +5:      1/       'UDIW5 2VIRUGLVFRYHU\UHTXHVWVLQFRQVROLGDWHG                       
                                  QRWHVOLWLJDWLRQ  
      --.      1/       (PDLOV.URRS.HDQHRQUHVHDUFKIRURSSWR                             
                                  'RQGHURPRWLRQUHDUELWUDWLRQUHVHDUFKIRULQVHUWV
      --.      1/       5HVHDUFKIRURSSWRPRWLRQUHDUELWUDWLRQ                             
      --.      1/       5HVHDUFKIRURSSWRDUELWUDWLRQPRWLRQDQGHPDLOV                      
                                  .URRSRQVDPH




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  3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                               3DJH    
  +LJKODQG&DSLWDO0DQDJHPHQW/3                                                                  ,QYRLFH 
                                                                                       6HSWHPEHU


                                                                                          +RXUV           5DWH         $PRXQW
      -$0      1/       5HYLHZGHIHQGDQWV GLVFRYHU\GHPDQGV  WHOF                   
                                  Z*'HPRUHUHVSRQVHVWR5)$V FRUSRUDWH
                                  LVVXHV   WHOFZ+:LQRJUDGUHGRFXPHQW
                                  UHTXHVWVDQGUHVSRQVHV  WHOFZ*'HPRUH
                                  UHVSRQVHVWRGLVFRYHU\  HPDLOVZ76XUJHQW
                                  '.ORV*'HPR+:LQRJUDGUHHPDLOVHDUFKHV
                                  IRU1DQF\'RQGHUR  
      *9'      1/       &RQIHUHQFHZLWK-0RUULVUHGLVFRYHU\LVVXHV                              
      *9'      1/       &RQIHUHQFHZLWK+:LQRJUDGUHUHVSRQVHWRPRWLRQ                         
                                  WRGLVPLVV
      *9'      1/       'UDIWUHVSRQVHVWRGLVFRYHU\TXHVWLRQVDQG                                
                                  FRUUHVSRQGHQFHZLWK-0RUULVUHVDPH
      *9'      1/       &RQIHUHQFHZLWK-0RUULVUHQRWHVOLWLJDWLRQVWDWXV                       
      +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                       
                                  OLWLJDWLRQV  
      +5:      1/       'UDIW5 2VIRUGLVFRYHU\UHTXHVWVLQFRQVROLGDWHG                     
                                  QRWHVOLWLJDWLRQ  
      +5:      1/       &DOOZLWK-0RUULVUHGLVFRYHU\UHTXHVWVLQ                             
                                  FRQVROLGDWHGQRWHVOLWLJDWLRQ  
      -$.      1/       ([WHQVLYHGUDIWLQJRIRSSRVLWLRQWRDUELWUDWLRQ                      
                                  PRWLRQOHJDOUHVHDUFKUHJDUGLQJLVVXHVDQG
                                  DUJXPHQWVIRUVDPHHPDLOVZLWKLQWHUQDOUHVHDUFK 
                                  JURXSUHJDUGLQJLVVXHVIRUUHVHDUFKLQJDQGUHODWHG
                                  PDWWHUV
      --.      1/       5HVHDUFKIRURSSWRDUELWUDWLRQPRWLRQFRQIFDOO                   
                                  .URRSDQG.HDQHRQVDPH  
      --.      1/       5HVHDUFKIRURSSWRDUELWUDWLRQPRWLRQ                               
      -13      1/       5HYLHZRIHPDLOVIURP1'RQGHUR&RQIHUHQFH                             
                                  ZLWK-RKQ$0RUULVUHJDUGLQJVDPH
      -$0      1/       7HOFZ/&DQW\UHGRFXPHQWUHYLHZ  WHOF                 
                                  Z-6HHU\UHVWUDWHJ\IRUUHVSRQGLQJWRPRWLRQV 
                                    WHOFZ-3RPHUDQW]UHVWUDWHJ\IRU
                                  UHVSRQGLQJWRPRWLRQV  UHYLHZGRFXPHQWV
                                    
      /6&      1/       %HJLQSUHSDUDWLRQRIGRFXPHQWSURGXFWLRQV                             
      *9'      1/       &RUUHVSRQGHQFHUHUHVHDUFKLWHPVUHDUELWUDWLRQ                            
                                  GHPDQG
      *9'      1/       &RQIHUHQFHZLWK-0RUULVUHQRWHVGLVFRYHU\                                
      *9'      1/       &RQIHUHQFHZLWK-0RUULVUHVWDWXVRIQRWHV                              
                                  OLWLJDWLRQDQGQH[WVWHSV




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  3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
  +LJKODQG&DSLWDO0DQDJHPHQW/3                                                                    ,QYRLFH 
                                                                                         6HSWHPEHU


                                                                                            +RXUV           5DWH         $PRXQW
      +5:      1/       *DWKHUGRFXPHQWVIRUGLVFRYHU\UHTXHVWVLQ                                  
                                  FRQVROLGDWHGQRWHVOLWLJDWLRQ  
      +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                         
                                  OLWLJDWLRQV  
      -$.      1/       5HYLHZDQGDQDO\]HLQLWLDOUHVHDUFKUHVXOWVRQLVVXHV                  
                                  SHUWDLQLQJWRDUELWUDWLRQRSSRVLWLRQIURP-RQDWKDQ
                                  .LPDQG3HWHU.HDQHH[WHQVLYHGUDIWLQJRI
                                  DUELWUDWLRQRSSRVLWLRQDGGLWLRQDOFDVHUHVHDUFKDQG
                                  DQDO\VLVUHJDUGLQJDUJXPHQWVIRUVDPHFRQIHUZLWK 
                                  -RQDWKDQ.LPDQG3HWHU.HDQHUHJDUGLQJVDPH
      -13      1/       &RQIHUHQFHZLWK-RUGDQ$.URRSUHJDUGLQJ                                  
                                  RSSRVLWLRQWRPRWLRQWRFRPSHODUELWUDWLRQ
      -$0      1/       7HOFZ-6HHU\UHRSSRVLWLRQWRPRWLRQV                      
                                  UHYLHZGRFXPHQWVDQGEHJLQSUHSDULQJIRU
                                  GHSRVLWLRQV  
      *9'      1/       5HYLHZGLVFRYHU\UHVSRQVHVWRQRWHVOLWLJDWLRQ                               
      +5:      1/       &DOOZLWK-0RUULVDQG'6,UHGLVFRYHU\UHTXHVWVLQ                       
                                  FRQVROLGDWHGQRWHVOLWLJDWLRQ  
      +5:      1/       'UDIW5 2VIRUGLVFRYHU\UHTXHVWVLQFRQVROLGDWHG                       
                                  QRWHVOLWLJDWLRQ  
      +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                          
                                  OLWLJDWLRQV  
      -$.      1/       &RQWLQXHGUHVHDUFKDQGDQDO\VLVRIFDVHVLQ                            
                                  FRQQHFWLRQZLWKDUELWUDWLRQRSSRVLWLRQVWUDWHJ\
                                  GLVFXVVLRQZLWK-HII3RPHUDQW]UHJDUGLQJVDPH 
                                  H[WHQVLYHDGGLWLRQDOGUDIWLQJDQGUHYLVLRQRI
                                  DUELWUDWLRQRSSRVLWLRQ
      -$0      1/       5HYLHZUHYLVHRSSRVLWLRQWRPRWLRQWRGLVPLVV                     
                                  WHOFZ-6HHU\UHVWDWXVDQGVWUDWHJ\IRUQRWHV
                                  OLWLJDWLRQ  
      -$0      1/       &RPPXQLFDWLRQVZ-6HHU\'.ORV'1HZPDQ                             
                                  UHUHVSRQVHVWRGLVFRYHU\  
      +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                          
                                  OLWLJDWLRQV  
      -$.      1/       $GGLWLRQDOUHVHDUFKRQLVVXHVSHUWDLQLQJWR                            
                                  DUELWUDWLRQRSSRVLWLRQDGGLWLRQDOGUDIWLQJRI
                                  RSSRVLWLRQHPDLOWR-HII3RPHUDQW]DQG-RKQ0RUULV
                                  UHJDUGLQJVDPHZLWKH[SODQDWLRQRIDSSURDFKDQG 
                                  UHODWHGVXJJHVWLRQV
      -13      1/       5HYLHZRSSRVLWLRQWRPRWLRQWRDUELWUDWH                                   
      -13      1/       &RQIHUHQFHZLWK-RKQ$0RUULVUHJDUGLQJ                                   
                                  RSSRVLWLRQWRPRWLRQWRDUELWUDWH




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  3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                 3DJH    
  +LJKODQG&DSLWDO0DQDJHPHQW/3                                                                    ,QYRLFH 
                                                                                         6HSWHPEHU


                                                                                            +RXUV           5DWH         $PRXQW
      -13      1/       &RQIHUHQFHZLWK-RKQ$0RUULVDQG-RUGDQ$                               
                                  .URRSUHJDUGLQJUHVSRQVHWRPRWLRQWRDUELWUDWH
      -$0      1/       5HYLHZUHYLVHRSSRVLWLRQWRPRWLRQWRGLVPLVV                     
                                  UHYLHZUHYLVHZULWWHQUHVSRQVHVWRGLVFRYHU\  
                                  HPDLOVZ-6HHU\-3RPHUDQW]*'HPR+
                                  :LQRJUDGUHZULWWHQUHVSRQVHVWRGLVFRYHU\  
                                  WHOFZ-6HHU\UHZULWWHQUHVSRQVHVWRGLVFRYHU\
                                    WHOFZ-3RPHUDQW]UHRSSRVLWLRQVWR07'
                                  DQGDUELWUDWLRQ  WHOFZ-3RPHUDQW]-.RRS
                                  UHRSSRVLWLRQWRPRWLRQWRFRPSHODUELWUDWLRQ  
                                  IXUWKHUUHYLVLRQVWRZULWWHQUHVSRQVHVWRGLVFRYHU\
                                    FRPPXQLFDWLRQVZ-6HHU\UHUHVSRQVHVWR 
                                  ZULWWHQGLVFRYHU\  
      /6&      1/       &RQWLQXHGSUHSDUDWLRQRIGRFXPHQWSURGXFWLRQV                           
      *9'      1/       5HYLHZUHVSRQVHWRPRWLRQWRGLVPLVVOLWLJDWLRQ                              
      +5:      1/       'UDIWRSSRVLWLRQWRPRWLRQWRGLVPLVVLQQRWHV                          
                                  OLWLJDWLRQV  
      +5:      1/       *DWKHUSURGXFWLRQIRUFRQVROLGDWHGQRWHVGLVFRYHU\                      
                                   
      +5:      1/       'UDIWDQGUHYLHZ5 2VIRUGLVFRYHU\UHTXHVWVLQ                         
                                  FRQVROLGDWHGQRWHVOLWLJDWLRQ  
      +5:      1/       6HQGRSSRVLQJFRXQVHO5 2VLQFRQVROLGDWHGQRWHV                            
                                  OLWLJDWLRQ  
      +5:      1/       6HQGRSSRVLQJFRXQVHOSURGXFWLRQLQFRQVROLGDWHG                             
                                  QRWHVOLWLJDWLRQ  
      -$.      1/       6WUDWHJ\GLVFXVVLRQZLWK-RKQ0RUULVDQG-HII                          
                                  3RPHUDQW]UHJDUGLQJRSSRVLWLRQWRDUELWUDWLRQ
                                  PRWLRQDQGUHODWHGPDWWHUVH[WHQVLYHDGGLWLRQDO
                                  GUDIWLQJUHVHDUFKDQGUHYLHZRILVVXHVDQGSRUWLRQV
                                  RIDUELWUDWLRQPRWLRQRSSRVLWLRQZRUNZLWK*UHJ
                                  'HPRUHJDUGLQJFRQILUPDWLRQUHODWHGFLWDWLRQVDQG 
                                  EDFNJURXQGIRUXVHLQRSSRVLWLRQDGGLWLRQDOGUDIWLQJ
                                  DQGUHYLVLRQVWRDUELWUDWLRQRSSRVLWLRQ
      -13      1/       5HYLHZODWHVWYHUVLRQRIRSSRVLWLRQWRPRWLRQWR                           
                                  DUELWUDWHDQGHPDLOVUHJDUGLQJVDPH
      -13      1/       5HYLHZRSSRVLWLRQWRPRWLRQWRGLVPLVV                                     
      -0)      1/       5HYLHZUHVSRQVHVWRPRWLRQWRGLVPLVVDQG                                  
                                  DUELWUDWLRQ
      -$0      1/       5HYLHZUHYLVHGUDIWRSSRVLWLRQWRPRWLRQWRFRPSHO                    
                                  DUELWUDWLRQ  HPDLOVZ-6HHU\-3RPHUDQW]
                                  -.RRS*'HPR+:LQRJUDGUHRSSRVLWLRQWR
                                  PRWLRQWRFRPSHODUELWUDWLRQ  WHOFZ-6HHU\
                                  UHRSSRVLWLRQWRPRWLRQWRFRPSHODUELWUDWLRQ  




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  3DFKXOVNL6WDQJ=LHKO -RQHV//3                                                                  3DJH    
  +LJKODQG&DSLWDO0DQDJHPHQW/3                                                                     ,QYRLFH 
                                                                                          6HSWHPEHU


                                                                                            +RXUV            5DWH         $PRXQW
                                  WHOFZ-.RRSUHPRWLRQWRFRPSHODUELWUDWLRQ
                                    IXUWKHUUHYLHZDQGUHYLVLRQVWRRSSRVLWLRQWR
                                  PRWLRQVWRGLVPLVVDQGWRFRPSHODUELWUDWLRQ  
                                  FRPPXQLFDWLRQVZ+:LQRJUDG-.RRSUH
                                  RSSRVLWLRQVWRPRWLRQWRGLVPLVVDQGWRFRPSHO
                                  DUELWUDWLRQ  
      /6&      1/       3UHSDUHGUDIWGHFODUDWLRQLQVXSSRUWRIRSSRVLWLRQWR                        
                                  0RWLRQWRFRPSHO$UELWUDWLRQDQG6WD\/LWLJDWLRQ
                                  UHYLVHVDPHDQGSUHSDUHH[KLELWVWRVDPH
      *9'      1/       5HYLHZPRWLRQWRGLVPLVVUHVSRQVH                                             
      +5:      1/       'UDIWDQGILOHRSSRVLWLRQWRPRWLRQWRGLVPLVVLQ                        
                                  QRWHVOLWLJDWLRQV  
      -$.      1/       ([WHQVLYHUHYLVLRQVUHYLHZDQGHGLWLQJRI                             
                                  RSSRVLWLRQWRDUELWUDWLRQPRWLRQHGLWVDQGUHYLHZRI
                                  GHFODUDWLRQLQVXSSRUWRIVDPHFRQIHURYHU
                                  WHOHSKRQHDQGHPDLOVZLWK-RKQ0RUULVDQG-HII
                                  3RPHUDQW]UHJDUGLQJVDPHILQDOHGLWVDQG
                                  SUHSDUDWLRQRIRSSRVLWLRQIRUILOLQJDQGVHUYLFH
                                  VXSHUYLVHILOLQJDQGVHUYLFHRIVDPHZLWKGUDIWLQJRI
                                  FRYHUUHVSRQVHSHUORFDOUXOHV
      -$0      1/       5HYLHZGRFXPHQWVDQGZULWWHQUHVSRQVHVWR                               
                                  GLVFRYHU\VHUYHGE\DOOGHIHQGDQWV  HPDLOWR
                                  GHIHQVHFRXQVHOUHGHILFLHQFLHVLQZULWWHQUHVSRQVHV 
                                  WRGLVFRYHU\  HPDLOWR-6HHU\76XUJHQW'
                                  .ORV-3RPHUDQW]*'HPR+:LQRJUDGUH
                                  GHIHQGDQWV GHILFLHQFLHVLQGLVFRYHU\  WHOF-
                                  6HHU\UHGLVFRYHU\LQWKHQRWHVOLWLJDWLRQ  
      *9'      1/       &RQIHUHQFHZLWK-0RUULVUHQRWHVOLWLJDWLRQ                                
                                  GLVFRYHU\
      -$0      1/       7HOFZ*'HPR:LOPHUUH:DWHUKRXVHDVD                           
                                  ZLWQHVVDQGUHJXODWRU\LVVXHV  HPDLOWR 
                                  GHIHQVHFRXQVHOUHGLVFRYHU\LVVXHVDQGGHSRVLWLRQV
                                    HPDLOWR''DQGHQHDX-3RPHUDQW]*
                                  'HPRUH:DWHUKRXVHGHSRVLWLRQ 
      *9'      1/       &RQIHUHQFHZLWK:LOPHU+DOHDQG-0RUULVUH                                  
                                  GLVFRYHU\LVVXHVLQQRWHVOLWLJDWLRQ
      +5:      1/       &RPPXQLFDWHZLWK5REHUW+DOIIRUSURGXFWLRQUH                              
                                  FRQVROLGDWHGQRWHVSURGXFWLRQ  

                                                                                                              



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                              EXHIBIT 180




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                                      3DFKXOVNL 6WDQJ =LHKO        -RQHV //3
                                               6DQWD 0RQLFD %OYG
                                                     WK )ORRU
                                               /RV $QJHOHV &$ 
                                                                          1RYHPEHU  
     %RDUG RI 'LUHFWRUV                                                   ,QYRLFH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                       &OLHQW  
      &UHVFHQW &RXUW VWH                                           0DWWHU  
     'DOODV 7; 
                                                                                  -13

     5( 3RVW(IIHFWLYH 'DWH



               67$7(0(17 2) 352)(66,21$/ 6(59,&(6 5(1'(5(' 7+528*+ 




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HIGHLY CONFIDENTIAL                                                               D-CNL003838
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                      3DJH    
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                       3UHELOO
                                                                                               1RYHPEHU  


                                                                                                 +RXUV           5DWH         $PRXQW
      %LOO

         &+0     1/      5HYLHZ GRFXPHQWV DQG UXQ SURGXFWLRQ RI                                       
                                   FRQVROLGDWHG QRWHV OLWLJDWLRQ VHDUFK UHVXOWV HPDLO +
                                   :LQRJUDG UH VDPH
     -$0                       1/                                                             
      %LOO

         -$0     1/      5HYLHZ GLVFRYHU\ UHVSRQVHV DQG SOHDGLQJV DQG                                
                                   SUHSDUH 5XOH  E  GHSRVLWLRQ QRWLFHV IRU +&5(
                                   +&06 DQG 1H[SRLQW   FRPPXQLFDWLRQV Z -
                                   6HHU\ 7 6XUJHQW ' .ORV - 3RPHUDQW] * 'HPR
                                   + :LQRJUDG UH GHSRVLWLRQ QRWLFHV  
     +5:                       1/                                                                
      %LOO

         +5:     1/      &RPPXQLFDWH ZLWK 5REHUW +DOI IRU SURGXFWLRQ UH                                  
                                   FRQVROLGDWHG QRWHV SURGXFWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      2YHUVHH DQG UHYLHZ SURGXFWLRQ UH UH FRQVROLGDWHG                               
                                   QRWHV SURGXFWLRQ  
     -$0                       1/                                                             
      %LOO

         -$0     1/      7HO F Z * 'HPR UH GLVFRYHU\ VWUDWHJ\   GUDIW                       
                                   GHSRVLWLRQ QRWLFHV IRU - 'RQGHUR 1 'RQGHUR )
                                   :DWHUKRXVH 'XJDER\ DQG +&0)$   HPDLOV
                                   Z - 3RPHUDQW] * 'HPR + :LQRJUDG =
                                   $QQDEOH UH GHSRVLWLRQ QRWLFHV  
     *9'                       1/                                                                
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV DERXW QRWHV OLWLJDWLRQ                                 
                                   GLVFRYHU\ LVVXHV
     *9'                       1/                                                                
      %LOO

         *9'     1/      5HYLHZ GHSRVLWLRQ QRWLFHV                                                        
     -$0                       1/                                                             
      %LOO

         -$0     1/      3UHSDUH GHSRVLWLRQ QRWLFHV IRU +&5( +&06                                  




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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                       3DJH    
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                        3UHELOO
                                                                                                1RYHPEHU  


                                                                                                  +RXUV           5DWH         $PRXQW
                                   1H[3RLQW DQG VXESRHQD IRU '& 6DXWHU DQG UHYLVH
                                   GHSRVLWLRQ QRWLFHV IRU ) :DWHUKRXVH DQG +&0)$
                                      HPDLOV Z - 6HHU\ 7 6XUJHQW ' .ORV -
                                   3RPHUDQW] * 'HPR + :LQRJUDG UH GHSRVLWLRQ
                                   QRWLFHV   WHO F Z - 6HHU\ * 'HPR UH
                                   GHSRVLWLRQ QRWLFHV  
     *9'                       1/                                                                 
      %LOO

         *9'     1/      5HYLHZ GLVFRYHU\ UHTXHVWV DQG FRUUHVSRQGHQFH UH                                   
                                   VDPH
     +5:                       1/                                                                 
      %LOO

         +5:     1/      5HYLHZ DQG HGLW GHSRVLWLRQ QRWLFHV IRU QRWHV                                      
                                   OLWLJDWLRQ  
     -$0                       1/                                                              
      %LOO

         -$0     1/      5HYLHZUHYLVHILQDOL]H GHSRVLWLRQ QRWLFHV                                   
                                   VXESRHQDV DQG QRWLFHV RI VXESRHQDV   HPDLO WR
                                   GHIHQVH FRXQVHO - 3RPHUDQW] * 'HPR +
                                   :LQRJUDG = $QQDEOH UH GHSRVLWLRQ QRWLFHV
                                   VXESRHQDV QRWLFHV RI VXESRHQD DQG UHODWHG PDWWHUV
                                      HPDLO WR = $QQDEOH - 3RPHUDQW] * 'HPR
                                   + :LQRJUDG UH VHUYLFH RI WKH GHSRVLWLRQ QRWLFHV
                                   DQG VXESRHQDV   WHO F Z - 6HHU\ UH VWDWXV
                                   GLVFRYHU\  
     +5:                       1/                                                                 
      %LOO

         +5:     1/      5HYLHZ SURGXFWLRQ UH FRQVROLGDWHG QRWHV SURGXFWLRQ                               
                                     
     +5:                       1/                                                                 
      %LOO

         +5:     1/      &RPPXQLFDWH ZLWK 5REHUW +DOI UH SURGXFWLRQ IRU                                   
                                   (PSOR\HH &ODLPV  
     -$0                       1/                                                              
      %LOO

         -$0     1/      7HO F Z + :LQRJUDG UH GLVFRYHU\ $LJHQ HPDLO                            
                                      WHO F Z ' 5XNDYLQD UH GLVFRYHU\   WHO F
                                   Z - 6HHU\ UH GLVFRYHU\ VWDWXV   HPDLOV Z '
                                   5XNDYLQD ' 'HLWVFK3HUH] UH GLVFRYHU\




HIGHLY CONFIDENTIAL                                                                                                      D-CNL003840
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                     3DJH    
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                      3UHELOO
                                                                                              1RYHPEHU  


                                                                                                +RXUV           5DWH         $PRXQW
                                   GHSRVLWLRQV  
     *9'                       1/                                                               
      %LOO

         *9'     1/      &RUUHVSRQGHQFH ZLWK 4XLQQ UH QRWHV OLWLJDWLRQ                                   
     +5:                       1/                                                               
      %LOO

         +5:     1/      &DOO ZLWK - 0RUULV UH GLVFRYHU\ LVVXHV LQ QRWHV                               
                                   OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ GLVFRYHU\ LVVXHV LQ QRWHV OLWLJDWLRQ                                 
     -$0                       1/                                                            
      %LOO

         -$0     1/      (PDLO WR ' 'HLW]3HUH] ' 5XNDYLQD UH GLVFRYHU\                        
                                      HPDLO WR ' 'DQGHQHDX UH :DWHUKRXVH
                                   GHSRVLWLRQ   HPDLO WR 0 $LJHQ UH GLVFRYHU\
                                   LVVXHV   HPDLO WR GHIHQVH FRXQVHO UH UHVSRQVH
                                   WR YDULRXV GLVFRYHU\ LVVXHV  
     /6&                       1/                                                               
      %LOO

         /6&     1/      5HVHDUFK FRUUHVSRQGHQFH DQG UHYLHZ RI GLVFRYHU\                              
     *9'                       1/                                                               
      %LOO

         *9'     1/      &RUUHVSRQGHQFH ZLWK OLWLJDWLRQ WUXVWHH UH RXWVWDQGLQJ                           
                                   QRWHV
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ UHVSRQVHV DQG SURGXFWLRQ UH GLVFRYHU\                                   
                                   UHTXHVWV LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HVSRQG WR - 0RUULV HPDLO UH GLVFRYHU\ LVVXHV LQ                              
                                   QRWHV OLWLJDWLRQ  
     +5:                       1/                                                               




HIGHLY CONFIDENTIAL                                                                                                    D-CNL003841
                                                                                                                 Appx. 02920
  Case 21-03007-sgj Doc 127-4 Filed 12/18/21                        Entered 12/18/21 02:23:50                   Page 157 of 474




     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                      3DJH    
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                       3UHELOO
                                                                                               1RYHPEHU  


                                                                                                 +RXUV           5DWH         $PRXQW
      %LOO

         +5:     1/      5HYLHZ HPDLOV UHJDUGLQJ  E  GHSRVLWLRQ LVVXHV                                 
                                   DQG VFKHGXOLQJ  
     +5:                       1/                                                                 
      %LOO

         +5:     1/      6HQG RSSRVLQJ FRXQVHO VXSSOHPHQWDO QRWHV OLWLJDWLRQ                               
                                   SURGXFWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      3UHSDUH VXSSOHPHQWDO SURGXFWLRQ IRU QRWHV OLWLJDWLRQ                             
                                     
     -$0                       1/                                                              
      %LOO

         -$0     1/      5HYLHZUHYLVH HPDLO WR GHIHQVH FRXQVHO UH                                     
                                   GLVFRYHU\  
     /6&                       1/                                                               
      %LOO

         /6&     1/      5HVHDUFK FRUUHVSRQGHQFH DQG UHYLHZ RI GLVFRYHU\                           
     *9'                       1/                                                                
      %LOO

         *9'     1/      &RUUHVSRQGHQFH ZLWK 4XLQQ UH QRWHV FROOHFWLRQ                                    
                                   LVVXHV
     +5:                       1/                                                                 
      %LOO

         +5:     1/      (PDLO - 0RUULV UH GLVFRYHU\ LVVXHV LQ QRWHV                                     
                                   OLWLJDWLRQ  
     +5:                       1/                                                                 
      %LOO

         +5:     1/      (PDLO '6, UH UH GLVFRYHU\ LVVXHV LQ QRWHV OLWLJDWLRQ                            
                                     
     -$0                       1/                                                             
      %LOO

         -$0     1/      $QDO\]H 1H[3RLQW¶V 5XOH  E  GHSRVLWLRQ QRWLFH                            
                                   DQG HPDLO WR - 6HHU\ 7 6XUJHQW - 3RPHUDQW] *




HIGHLY CONFIDENTIAL                                                                                                     D-CNL003842
                                                                                                                  Appx. 02921
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                     3DJH    
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                      3UHELOO
                                                                                              1RYHPEHU  


                                                                                                +RXUV           5DWH         $PRXQW
                                   'HPR + :LQRJUDG UH VDPH   HPDLOV WR -
                                   6HHU\ 7 6XUJHQW ' 5XNDYLQD + :LQRJUDG UH
                                   REMHFWLRQV WR 1H[3RLQW¶V 5XOH  E  GHSRVLWLRQ
                                   QRWLFH   UHYLVH GHSRVLWLRQ QRWLFHV IRU -
                                   'RQGHUR +&5( +&06 DQG 1H[3RLQW  
                                   HPDLOV Z = $QQDEOH + :LQRJUDG UH UHYLVHG
                                   GHSRVLWLRQ QRWLFHV IRU - 'RQGHUR +&5( +&06
                                   DQG 1H[3RLQW   HPDLOV Z ' .ORV 7 6XUJHQW
                                   + :LQRJUDG UH GRFXPHQWV DQG LQIRUPDWLRQ
                                   FRQFHUQLQJ - 'RQGHUR FRPSHQVDWLRQ ORDQ KLVWRU\
                                      UHYLHZ GHIHQGDQWV¶ GRFXPHQW SURGXFWLRQ
                                     
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HYLHZ  E  QRWLFHV IRU FRQVROLGDWHG QRWHV                                     
                                   OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ '6, HPDLO DQG SURGXFWLRQ UH 'RQGHUR                                     
                                   FRPSHQVDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ SURGXFWLRQ IURP GHIHQGDQWV LQ FRQVROLGDWHG                               
                                   QRWHV OLWLJDWLRQ  
     -$0                       1/                                                            
      %LOO

         -$0     1/      (PDLOV WR 76* UH GHSRVLWLRQV   HPDLO WR +                          
                                   :LQRJUDG UH DGGLWLRQDO GRFXPHQW SURGXFWLRQ  
                                   HPDLOV Z ' .ORV 7 6XUJHQW + :LQRJUDG UH
                                   'RQGHUR ORDQV DQG SD\PHQW KLVWRU\   HPDLOV Z
                                   - 6HHU\ ' .ORV UH FRVWYDOXH RI SRUWIROLR
                                   FRPSDQLHV   EHJLQ 1DQF\ 'RQGHUR GHSRVLWLRQ
                                   RXWOLQH   WHO F Z - 6HHU\ UH QRWHV OLWLJDWLRQ
                                      UHYLHZ GRFXPHQWVWUDQVFULSWV  
     -$0                       1/                                                            
      %LOO

         -$0     1/      $QDO\]H 5XOH  E  1RWLFH RI 'RQGHUR +&5(                                
                                   DQG +&06 DQG SUHSDUH GUDIW REMHFWLRQV   WHO F
                                   Z - 6HHU\ UH OLWLJDWLRQ PDWWHUV  
     -$0                       1/                                                             




HIGHLY CONFIDENTIAL                                                                                                    D-CNL003843
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                    3DJH    
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                     3UHELOO
                                                                                             1RYHPEHU  


                                                                                               +RXUV           5DWH         $PRXQW
      %LOO

         -$0     1/      (PDLOV Z ' 5XNDYLQD ' 'HLW]3HUH] UH                                    
                                   GHSRVLWLRQV   HPDLOV Z ' .ORV 7 &RQRX\HU
                                   UH :DWHUKRXVH UROHV   HPDLOV Z + :LQRJUDG
                                   / &DQW\ UH VXSSOHPHQWDO GRFXPHQW SURGXFWLRQ
                                     
     /6&                       1/                                                              
      %LOO

         /6&     1/      5HWULHYH DQG UHYLHZ 'RQGHUR V VXSSOHPHQWDO                                     
                                   SURGXFWLRQ
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ HPDLO IURP FRXQVHO UH GHSRVLWLRQ VFKHGXOH                               
                                   LQ FRQVROLGDWHG QRWHV OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HYLHZ VXSSOHPHQWDO SURGXFWLRQ LQ FRQVROLGDWHG                                 
                                   QRWHV OLWLJDWLRQ  
     -$0                       1/                                                           
      %LOO

         -$0     1/      (PDLOV Z GHIHQVH FRXQVHO UH GLVFRYHU\                              
                                   HPDLOV Z ' .ORV / &DQW\ + :LQRJUDG UH
                                   VXSSOHPHQWDO GRFXPHQW SURGXFWLRQ   SUHSDUH IRU
                                   GHSRVLWLRQV   HPDLOV Z GHIHQVH FRXQVHO UH
                                   GHSRVLWLRQV   WHO F Z - 6HHU\ ' .ORV UH
                                   REOLJRUV¶ SD\PHQWV RQ 1RWHV  
     /6&                       1/                                                             
      %LOO

         /6&     1/      3UHSDUDWLRQ RI VXSSOHPHQWDO SURGXFWLRQV                                  
                                   LQFOXGLQJ UHGDFWLRQV WR VDPH DQG FRUUHVSRQGHQFH
                                   UHJDUGLQJ WKH VDPH
     /6&                       1/                                                              
      %LOO

         /6&     1/      &RRUGLQDWH DQG DVVLVW ZLWK UHWULHYDO DQG SUHSDUDWLRQ                           
                                   RI GRFXPHQWV ZLWK UHVSHFW WR QRWHV OLWLJDWLRQ IRU -
                                   0RUULV
     +5:                       1/                                                             




HIGHLY CONFIDENTIAL                                                                                                   D-CNL003844
                                                                                                                Appx. 02923
  Case 21-03007-sgj Doc 127-4 Filed 12/18/21                        Entered 12/18/21 02:23:50                 Page 160 of 474




     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                    3DJH    
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                     3UHELOO
                                                                                             1RYHPEHU  


                                                                                               +RXUV           5DWH         $PRXQW
      %LOO

         +5:     1/      5HYLHZ VXSSOHPHQWDO SURGXFWLRQ IRU FRQVROLGDWHG                            
                                   QRWHV OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      6HQG FRXQVHO VXSSOHPHQWDO SURGXFWLRQ IRU                                       
                                   FRQVROLGDWHG QRWHV OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      &DOO ZLWK '6, UH EDFNXS GRFXPHQWDWLRQ IRU                                     
                                   GHPRQVWUDWLYH FKDUW VKRZLQJ 7UXVVZD\ 0*0
                                   &RUQHUVWRQH YDOXDWLRQV LQ FRQVROLGDWHG QRWHV
                                   OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      (PDLO - 0RUULV * 'HPR - 3RPHUDQW] DQG FOLHQW                             
                                   UH EDFNXS GRFXPHQWDWLRQ IRU GHPRQVWUDWLYH FKDUW
                                   VKRZLQJ 7UXVVZD\ 0*0 &RUQHUVWRQH YDOXDWLRQV
                                   LQ FRQVROLGDWHG QRWHV OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      (PDLO - 0RUULV UH VXSSOHPHQWDO SURGXFWLRQV IRU                               
                                   FRQVROLGDWHG QRWHV OLWLJDWLRQV  
     -$0                       1/                                                           
      %LOO

         -$0     1/      3UHSDUH IRU PHHWLQJ ZLWK - 6HHU\ FRQFHUQLQJ                              
                                   GHSRVLWLRQV LQFOXGLQJ DQDO\VLV RI LVVXHV FRQFHUQLQJ
                                   1H[3RLQW   HPDLOV WR - 6HHU\ 7 6XUJHQW '
                                   .ORV UH GHSRVLWLRQ SUHSDUDWLRQ   WHO F Z -
                                   6HHU\ ' .ORV 7 6XUJHQW * 'HPR + :LQRJUDG
                                   UH SUHSDUDWLRQ IRU GHSRVLWLRQV   OHWWHUV WR
                                   GHIHQVH FRXQVHO UH GRFXPHQWV   SUHSDUH IRU
                                   GHSRVLWLRQV  
     *9'                       1/                                                             
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 6HHU\ ' .ORV DQG 36=- UH                              
                                   SUHSDUDWLRQ IRU GHSRVLWLRQV




HIGHLY CONFIDENTIAL                                                                                                   D-CNL003845
                                                                                                                Appx. 02924
  Case 21-03007-sgj Doc 127-4 Filed 12/18/21                        Entered 12/18/21 02:23:50               Page 161 of 474




     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                  3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                   3UHELOO
                                                                                           1RYHPEHU  


                                                                                             +RXUV           5DWH         $PRXQW
     *9'                       1/                                                            
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV UH VWDWXV RI QRWHV                                 
                                   OLWLJDWLRQ DQG QH[W VWHSV
     *9'                       1/                                                             
      %LOO

         *9'     1/      5HYLHZ WUDQVFULSWV UH QRWHV OLWLJDWLRQ LVVXHV                                 
     +5:                       1/                                                           
      %LOO

         +5:     1/      5HYLHZ GHIHQGDQWV¶ 5 2V WR +LJKODQG¶V GLVFRYHU\                          
                                   UHTXHVWV LQ QRWHV OLWLJDWLRQV  
     +5:                       1/                                                            
      %LOO

         +5:     1/      (PDLO - 0RUULV UH GHIHQGDQWV¶ 5 2V WR +LJKODQG¶V                           
                                   GLVFRYHU\ UHTXHVWV LQ QRWHV OLWLJDWLRQV  
     +5:                       1/                                                            
      %LOO

         +5:     1/      &DOO ZLWK - 6HHU\ DQG ' .ORV UH GHSRVLWLRQ SUHS                           
                                   IRU QRWHV OLWLJDWLRQ  
     +5:                       1/                                                            
      %LOO

         +5:     1/      3UHSDUH IRU FDOO ZLWK - 6HHU\ DQG ' .ORV UH                               
                                   GHSRVLWLRQ SUHS IRU QRWHV OLWLJDWLRQ  
     +5:                       1/                                                             
      %LOO

         +5:     1/      (PDLO - 0RUULV UH VXSSOHPHQWDO SURGXFWLRQ LQ QRWHV                          
                                   OLWLJDWLRQ  
     +5:                       1/                                                            
      %LOO

         +5:     1/      6HQG RSSRVLQJ FRXQVHO VXSSOHPHQWDO SURGXFWLRQ LQ                             
                                   QRWHV OLWLJDWLRQ  




HIGHLY CONFIDENTIAL                                                                                                 D-CNL003846
                                                                                                              Appx. 02925
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                        3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                         3UHELOO
                                                                                                 1RYHPEHU  


                                                                                                   +RXUV           5DWH         $PRXQW
     /6&                       1/                                                                 
      %LOO

         /6&     1/      $VVLVW ZLWK UHVHDUFK UHWULHYDO DQG UHYLHZ RI                                 
                                   GLVFRYHU\ GRFXPHQWV LQ FRQQHFWLRQ ZLWK XSFRPLQJ
                                   GHSRVLWLRQV
     /6&                       1/                                                                  
      %LOO

         /6&     1/      5HVHDUFK DQG FRUUHVSRQGHQFH UHJDUGLQJ FHUWDLQ                                      
                                   PDQDJHPHQW GRFXPHQWV IRU - 0RUULV
     -13                       1/                                                                
      %LOO

         -13     1/      &RQIHUHQFH ZLWK -RKQ $ 0RUULV UHJDUGLQJ                                          
                                   XSFRPLQJ GHSRVLWLRQV DQG LVVXHV UHODWLQJ WR QRWHV
                                   OLWLJDWLRQ LQFOXGLQJ KHDULQJ FRYHUDJH
     -13                       1/                                                                
      %LOO

         -13     1/      5HYLHZ HPDLOV UHJDUGLQJ QRWHV GHSRVLWLRQV DQG                                     
                                   GLVFRYHU\
     -$0                       1/                                                               
      %LOO

         -$0     1/      7HO F Z - 6HHU\ ' .ORV * 'HPR + :LQRJUDG                             
                                   UH SUHSDUDWLRQ IRU GHSRVLWLRQV   WHO F Z +
                                   :LQRJUDG / &DQW\ UH GHSRVLWLRQV H[KLELWV DQG
                                   UHODWHG PDWWHUV   SUHSDUH IRU GHSRVLWLRQV  
                                   HPDLOV WR / &DQW\ + :LQRJUDG UH GHSRVLWLRQ
                                   H[KLELWV   WHO F Z * 'HPR UH GHSRVLWLRQV
                                      WHO F Z - 3RPHUDQW] UH QRWHV OLWLJDWLRQ  
                                   HPDLO WR - 6HHU\ ' .ORV UH SULRU FRXUW ILOLQJV
                                      HPDLO WR - 6HHU\ ' .ORV + :LQRJUDG UH
                                   /3 $JUHHPHQW   HPDLO WR - 6HHU\ ' .ORV +
                                   :LQRJUDG UH PDQDJHPHQW UHSUHVHQWDWLRQ OHWWHUV
                                     
     /6&                       1/                                                                 
      %LOO

         /6&     1/      5HVHDUFK UHWULHYH DQG UHYLHZ GRFXPHQWV LQ                                    
                                   FRQQHFWLRQ ZLWK 1RWHV /LWLJDWLRQ DQG
                                   FRUUHVSRQGHQFH UHJDUGLQJ WKH VDPH   UHVHDUFK
                                   DQG FRUUHVSRQGHQFH UHJDUGLQJ SULRU SURGXFWLRQV  
     *9'                       1/                                                                 




HIGHLY CONFIDENTIAL                                                                                                       D-CNL003847
                                                                                                                    Appx. 02926
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                     3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                      3UHELOO
                                                                                              1RYHPEHU  


                                                                                                +RXUV           5DWH         $PRXQW
      %LOO

         *9'     1/      $WWHQG FRQIHUHQFH UH SUHSDUDWLRQ IRU QRWHV OLWLJDWLRQ                       
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HYLHZ SURGXFWLRQV IURP +LJKODQG WR GHIHQGDQWV LQ                           
                                   QRWHV OLWLJDWLRQV  
     +5:                       1/                                                               
      %LOO

         +5:     1/      &RPPXQLFDWH ZLWK / &DQW\ UH SURGXFWLRQV IURP                                  
                                   +LJKODQG WR GHIHQGDQWV LQ QRWHV OLWLJDWLRQV  
     +5:                       1/                                                              
      %LOO

         +5:     1/      &DOO ZLWK - 0RUULV * 'HPR - 6HHU\ ' .ORV UH                         
                                   GHSRVLWLRQ SUHS IRU QRWHV OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      &DOO ZLWK - 0RUULV DQG / &DQW\ UH GHSRVLWLRQ SUHS                            
                                   IRU QRWHV OLWLJDWLRQ  
     -$0                       1/                                                            
      %LOO

         -$0     1/      3UHSDUH IRU GHSRVLWLRQV   HPDLO WR +&0/3                             
                                   36=- UH 'HSRVLWLRQ 2XWOLQH IRU 1DQF\ 'RQGHUR
                                      HPDLO WR / &DQW\ + :LQRJUDG UH GHSRVLWLRQ
                                   H[KLELWV   WHO F Z + :LQRJUDG UH GRFXPHQW
                                   SURGXFWLRQ  
     /6&                       1/                                                              
      %LOO

         /6&     1/      3UHSDUDWLRQ RI H[KLELWV LQ FRQQHFWLRQ ZLWK XSFRPLQJ                         
                                   GHSRVLWLRQV DQG UHVHDUFK GLVFRYHU\ GRFXPHQWV
                                   UHJDUGLQJ WKH VDPH   SUHSDUDWLRQ RI PDWHULDOV LQ
                                   FRQQHFWLRQ ZLWK KHDULQJ RQ PRWLRQV WR GLVPLVV
                                   LQFOXGLQJ OHJDO UHVHDUFK UHJDUGLQJ WKH VDPH 
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HYLHZ VXSSOHPHQWDO +&0)$ SURGXFWLRQ IRU QRWHV                              
                                   OLWLJDWLRQ  




HIGHLY CONFIDENTIAL                                                                                                    D-CNL003848
                                                                                                                 Appx. 02927
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                    3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                     3UHELOO
                                                                                             1RYHPEHU  


                                                                                               +RXUV           5DWH         $PRXQW
     +5:                       1/                                                               
      %LOO

         +5:     1/      &RPPXQLFDWH ZLWK / &DQW\ UH VXSSOHPHQWDO                                     
                                   +&0)$ SURGXFWLRQ IRU QRWHV OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      (PDLO ZLWK & 0DFNOH UH VXSSOHPHQWDO +&0)$                                    
                                   SURGXFWLRQ IRU QRWHV OLWLJDWLRQ  
     -13                       1/                                                             
      %LOO

         -13     1/      5HYLHZ HPDLOV UHJDUGLQJ GHSRVLWLRQV                                          
     -$0                       1/                                                         
      %LOO

         -$0     1/      3UHSDUH IRU GHSRVLWLRQV   PXOWLSOH FDOOV ZLWK -                     
                                   6HHU\ UH GHSRVLWLRQV IDFWV DQG VWUDWHJ\ IRU 1RWHV
                                   /LWLJDWLRQ   HPDLOV Z + :LQRJUDG / &DQW\
                                   UH H[KLELWV   HPDLOV Z GHIHQVH FRXQVHO FRXUW
                                   UHSRUWHU UH GHSRVLWLRQV  
     /6&                       1/                                                               
      %LOO

         /6&     1/      3UHSDUDWLRQ RI H[KLELWV LQ FRQQHFWLRQ ZLWK XSFRPLQJ                            
                                   GHSRVLWLRQV DQG UHVHDUFK GLVFRYHU\ GRFXPHQWV
                                   UHJDUGLQJ WKH VDPH
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HYLHZ VXSSOHPHQWDO +&0)$ SURGXFWLRQ IRU QRWHV                              
                                   OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ HPDLOV IURP - 0RUULV DQG '6, UH KRW                                   
                                   GRFXPHQWV IRU GHSRVLWLRQV LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      6HQG HPDLO WR - 0RUULV UH GRFXPHQW SURGXFWLRQV                               
                                   IURP +LJKODQG WR GHIHQGDQWV LQ QRWHV OLWLJDWLRQV




HIGHLY CONFIDENTIAL                                                                                                   D-CNL003849
                                                                                                                Appx. 02928
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                      3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                       3UHELOO
                                                                                               1RYHPEHU  


                                                                                                 +RXUV           5DWH         $PRXQW
                                        
     -13                             1/                                                        
      %LOO

         -13     1/      5HYLHZ PRWLRQ WR GLVPLVV DQG RSSRVLWLRQ UHJDUGLQJ                            
                                   QRWHV OLWLJDWLRQ
     -13                             1/                                                        
      %LOO

         -13     1/      &RQIHUHQFH ZLWK -RKQ $ 0RUULV DQG WKHQ - 6HHU\                             
                                   UHJDUGLQJ 1DQF\ 'RQGHUR GHSRVLWLRQ
     -$0                             1/                                                     
      %LOO

         -$0     1/      3UHSDUH IRU GHSRVLWLRQV   WHO F Z * 'HPR UH                        
                                   GHSRVLWLRQV   1DQF\ 'RQGHUR GHSRVLWLRQ  
                                   WHO F Z - 6HHU\ SDUWLDO  - 3RPHUDQW] UH 1DQF\
                                   'RQGHUR GHSRVLWLRQ   WHO F Z ' 1HZPDQ UH
                                   1DQF\ 'RQGHUR GHSRVLWLRQ  
     /6&                             1/                                                          
      %LOO

         /6&     1/      3UHSDUH IRU DQG DVVLVW DW GHSRVLWLRQ RI 6XVDQ                                 
                                   'RQGHUR
     *9'                             1/                                                            
      %LOO

         *9'     1/      &RUUHVSRQGHQFH ZLWK / &DQW\ UH GHSRVLWLRQ LVVXHV                                 
     *9'                             1/                                                           
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV UH QRWHV OLWLJDWLRQ VWUDWHJ\                           
     *9'                             1/                                                          
      %LOO

         *9'     1/      $WWHQG GHSRVLWLRQ RI 1 'RQGHUR SDUWLDO                                       
     *9'                             1/                                                           
      %LOO

         *9'     1/      5HYLHZ :LOPHU+DOH DQDO\VLV RI ,QYHVWPHQW                                         
                                   &RPSDQ\ $FW LVVXHV
     +5:                             1/                                                          




HIGHLY CONFIDENTIAL                                                                                                     D-CNL003850
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                    3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                     3UHELOO
                                                                                             1RYHPEHU  


                                                                                               +RXUV           5DWH         $PRXQW
      %LOO

         +5:     1/      5HYLHZ VXSSOHPHQWDO +&0)$ SURGXFWLRQ IRU QRWHV                              
                                   OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      'HSRVLWLRQ RI 1DQF\ 'RQGHUR IRU QRWHV OLWLJDWLRQ                            
                                    
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ :DWHUKRXVH GHSRVLWLRQ RXWOLQH                                       
     -13                       1/                                                            
      %LOO

         -13     1/      &RQWLQXH WR SUHSDUH IRU KHDULQJ RQ PRWLRQ WR                               
                                   GLVPLVV
     -13                       1/                                                             
      %LOO

         -13     1/      5HYLHZ DQG UHVSRQG WR HPDLO UHJDUGLQJ XVH RI                                  
                                   'RQGHUR SODQ SURSRVDO LQ FRXUVH RI OLWLJDWLRQ
     -$0                       1/                                                         
      %LOO

         -$0     1/      3UHSDUH IRU :DWHUKRXVH GHSRVLWLRQ                                    
                                   :DWHUKRXVH GHSRVLWLRQ LQFOXGLQJ PXOWLSOH FDOOV ZLWK
                                   * 'HPR DQGRU + :LQRJUDG   WHO F Z -
                                   6HHU\ UH :DWHUKRXVH GHSRVLWLRQ   WHO F Z *
                                   'HPR + :LQRJUDG UH :DWHUKRXVH GHSRVLWLRQ
                                      WHO F Z - 6HHU\ UH VWDWXV VWUDWHJ\  
     /6&                       1/                                                            
      %LOO

         /6&     1/      3UHSDUH IRU DQG DVVLVW DW GHSRVLWLRQ RI )UDQN                              
                                   :DWHUKRXVH
     *9'                       1/                                                               
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 6HHU\ UH LVVXHV UH 'RQGHUR                                  
                                   GHSRVLWLRQ
     *9'                       1/                                                              




HIGHLY CONFIDENTIAL                                                                                                   D-CNL003851
                                                                                                                Appx. 02930
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                 3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                  3UHELOO
                                                                                          1RYHPEHU  


                                                                                            +RXUV           5DWH         $PRXQW
      %LOO

         *9'     1/      5HYLHZ LVVXHV UH DSSOLFDWLRQ RI PHGLDWLRQ SULYLOHJH                     
     *9'                       1/                                                           
      %LOO

         *9'     1/      0XOWLSOH FRQIHUHQFHV ZLWK + :LQRJUDG DQG -                                
                                   0RUULV UH VWDWXV RI :DWHUKRXVH GHSRVLWLRQ
     *9'                       1/                                                          
      %LOO

         *9'     1/      $WWHQG :DWHUKRXVH GHSRVLWLRQ SDUWLDO                                    
     +5:                       1/                                                          
      %LOO

         +5:     1/      'HSRVLWLRQ RI )UDQN :DWHUKRXVH IRU QRWHV OLWLJDWLRQ                     
                                    
     +5:                       1/                                                          
      %LOO

         +5:     1/      5HYLHZ :DWHUKRXVH GHSRVLWLRQ RXWOLQH                                
     +5:                       1/                                                          
      %LOO

         +5:     1/      5HYLHZ VXSSOHPHQWDO +&0)$ SURGXFWLRQ IRU QRWHV                          
                                   OLWLJDWLRQ  
     +5:                       1/                                                           
      %LOO

         +5:     1/      &DOOV ZLWK * 'HPR DQG - 0RUULV UH :DWHUKRXVH                             
                                   GHSRVLWLRQ  
     +5:                       1/                                                            
      %LOO

         +5:     1/      &DOO ZLWK - 0RUULV UH :DWHUKRXVH GHSRVLWLRQ                            
     +5:                       1/                                                           
      %LOO

         +5:     1/      (PDLO ZLWK * 'HPR DQG - (ONLQ UH PHGLDWLRQ                               
                                   SULYLOHJH  




HIGHLY CONFIDENTIAL                                                                                                D-CNL003852
                                                                                                             Appx. 02931
  Case 21-03007-sgj Doc 127-4 Filed 12/18/21                        Entered 12/18/21 02:23:50                   Page 168 of 474




     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                      3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                       3UHELOO
                                                                                               1RYHPEHU  


                                                                                                 +RXUV           5DWH         $PRXQW
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HVHDUFK LVVXH RI )5(  DQG XVH RI GRFXPHQWV                                   
                                   IURP PHGLDWLRQ  
     -$0                       1/                                                             
      %LOO

         -$0     1/      3UHSDUH IRU 'RQGHUR GHSRVLWLRQ   HPDLOV Z /                          
                                   &DQW\ UH H[KLELWV IRU 'RQGHUR GHSRVLWLRQ  
                                   'RQGHUR GHSRVLWLRQ FDQFHOOHG   WHO F Z -
                                   6HHU\ UH QRWHV OLWLJDWLRQ   HPDLOV Z FRXUW
                                   UHSRUWHU UH 6HHU\ GHSRVLWLRQ   HPDLOV Z '
                                   5XNDYLQD + :LQRJUDG UH GLVFRYHU\   WHO F Z
                                   - 6HHU\ UH QRWHV OLWLJDWLRQ   WHO F Z * 'HPR
                                   UH QRWHV OLWLJDWLRQ   WHO F Z ' .ORV .
                                   +HQGUL[ UH GHSRVLWLRQV LQ QRWHV OLWLJDWLRQ   WHO
                                   F Z - 6HHU\ UH QRWHV OLWLJDWLRQ   WHO F Z %
                                   6KDUS UH IRUHQVLF DQDO\VLV RI QRWHV  
     /6&                       1/                                                                
      %LOO

         /6&     1/      3UHSDUH IRU DQWLFLSDWHG 'RQGHUR DQG UHODWHG HQWLWLHV                             
                                   GHSRVLWLRQ XOWLPDWHO\ FDQFHOHG 
     *9'                       1/                                                                 
      %LOO

         *9'     1/      &RUUHVSRQGHQFH ZLWK - 3RPHUDQW] UH PHGLDWLRQ                                     
                                   LVVXHV
     *9'                       1/                                                                 
      %LOO

         *9'     1/      &RUUHVSRQGHQFH ZLWK + :LQRJUDG UH +&0)$ QRWHV                                    
                                   OLWLJDWLRQ
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HYLHZ +&0)$ GLVFRYHU\ LQ QRWHV OLWLJDWLRQ                                   
     +5:                       1/                                                                 
      %LOO

         +5:     1/      (PDLO * 'HPR UH +&0)$ DGYHUVDU\ SURFHHGLQJ                                      
                                     
     +5:                       1/                                                                 




HIGHLY CONFIDENTIAL                                                                                                     D-CNL003853
                                                                                                                  Appx. 02932
  Case 21-03007-sgj Doc 127-4 Filed 12/18/21                        Entered 12/18/21 02:23:50                   Page 169 of 474




     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                      3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                       3UHELOO
                                                                                               1RYHPEHU  


                                                                                                 +RXUV           5DWH         $PRXQW
      %LOO

         +5:     1/      (PDLO - 0RUULV UH +&0)$ VXSSOHPHQWDO GLVFRYHU\                                  
                                   LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                                  
      %LOO

         +5:     1/      5HYLHZ HPDLO IURP - 0RUULV UH GRFXPHQW UHTXHVWV                                 
                                   WR +&0)$ LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                                  
      %LOO

         +5:     1/      5HYLHZ HPDLO IURP +&0)$ FRXQVHO UH +LJKODQG¶V                                    
                                   GRFXPHQW UHTXHVWV WR +&0)$ LQ QRWHV OLWLJDWLRQ
                                     
     -13                       1/                                                               
      %LOO

         -13     1/      &RQWLQXH WR SUHSDUH IRU PRWLRQ WR GLVPLVV KHDULQJ                              
     -$0                       1/                                                             
      %LOO

         -$0     1/      (PDLO WR - 9DXJKQ - 6HHU\ % 6KDUS UH PHWDGDWD                        
                                   IRU SURPLVVRU\ QRWHV   PHHW Z - 6HHU\ WR
                                   SUHSDUH IRU GHSRVLWLRQ   UHYLHZ DXGLWHG
                                   ILQDQFLDOV FRQFHUQLQJ ³SUDFWLFH RI IRUJLYDEOH
                                   ORDQV´   WHO F Z - 6HHU\ ' .ORV UH ³SUDFWLFH
                                   RI IRUJLYDEOH ORDQV´   SUHSDUH IRU - 6HHU\
                                   GHSRVLWLRQ   6HHU\ GHSRVLWLRQ   WHO F Z -
                                   3RPHUDQW] UH 6HHU\ GHSRVLWLRQ  
     *9'                       1/                                                                
      %LOO

         *9'     1/      $WWHQG - 6HHU\ GHSRVLWLRQ SDUWLDO                                            
     +5:                       1/                                                                
      %LOO

         +5:     1/      'HSRVLWLRQ RI -LP 6HHU\ IRU QRWHV OLWLJDWLRQ                              
     +5:                       1/                                                                  
      %LOO

         +5:     1/      (PDLO - 3RPHUDQW] UH QRWHV OLWLJDWLRQ 07'                                   
     +5:                       1/                                                                 




HIGHLY CONFIDENTIAL                                                                                                     D-CNL003854
                                                                                                                  Appx. 02933
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                           3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                            3UHELOO
                                                                                                    1RYHPEHU  


                                                                                                      +RXUV           5DWH         $PRXQW
      %LOO

         +5:     1/      5HYLHZ QRWHV OLWLJDWLRQ 07'                                                       
     +5:                        1/                                                                     
      %LOO

         +5:     1/      5HYLHZ - 0RUULV HPDLO UH OHJDO UHVHDUFK IRU 06-                                      
                                   DQG QRWHV OLWLJDWLRQ  
     -$0                        1/                                                                 
      %LOO

         -$0     1/      (PDLO WR ' 'DQGHQHDX UH :DWHUKRXVH WUDQVFULSW                                 
                                      HPDLOV Z ' .ORV UH SURRI RI SD\PHQW RQ
                                   ORDQV   WHO F Z - 6HHU\ UH 6HHU\ GHSRVLWLRQ
                                      HPDLOV Z - 9DXJKQ 7 6XUJHQW * 'HPR
                                   + :LQRJUDG UH PHWDGDWD IRU WKH QRWHV   WHO F
                                   Z - 9DXJKQ 7 6XUJHQW UH PHWDGDWD IRU WKH QRWHV
                                      SUHSDUH IRU GHSRVLWLRQV   HPDLO WR /
                                   &DQW\ UH SURRI RI SD\PHQW GRFXPHQW SURGXFWLRQ
                                      WHO F Z - 6HHU\ UH QRWHV OLWLJDWLRQ   WHO F
                                   Z - 6HHU\ UH QRWHV OLWLJDWLRQ  
     *9'                        1/                                                                    
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV DQG - 3RPHUDQW] UH RSHQ                                    
                                   LVVXHV LQ QRWHV OLWLJDWLRQ
     -$0                        1/                                                                 
      %LOO

         -$0     1/      (PDLO WR GHIHQVH FRXQVHO UH GLVFRYHU\   HPDLO                             
                                   WR ' 'HLW]3HUH] UH FRVWV IRU FDQFHOOLQJ 'RQGHUR
                                   GHSRVLWLRQ   HPDLOV Z 7 6XUJHQW 3 *LHS UH
                                   GRFXPHQW SURGXFWLRQ   SUHSDUH IRU GHSRVLWLRQV
                                      WHO F Z - 6HHU\ UH IDFWV VWDWXV VWUDWHJ\ RI
                                   QRWHV OLWLJDWLRQ  
     -$0                        1/                                                                 
      %LOO

         -$0     1/      5HYLHZ GRFXPHQWV DQG SUHSDUH IRU GHSRVLWLRQV                                     
                                    LQFOXGLQJ VHQGLQJ GRFXPHQWV WR / &DQW\ +
                                   :LQRJUDG IRU SURGXFWLRQ   WHO F Z - 6HHU\ UH
                                   1RWHV /LWLJDWLRQ IDFWV DQG VWDWXV  




HIGHLY CONFIDENTIAL                                                                                                          D-CNL003855
                                                                                                                       Appx. 02934
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                     3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                      3UHELOO
                                                                                              1RYHPEHU  


                                                                                                +RXUV           5DWH         $PRXQW
     +5:                       1/                                                              
      %LOO

         +5:     1/      'UDIW VHFRQG +&0)$ QRWHV FRPSODLQW                                      
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ GRFXPHQWV IRU QRWHV SURGXFWLRQ                                       
     -13                       1/                                                            
      %LOO

         -13     1/      &RQWLQXH WR SUHSDUH IRU RUDO DUJXPHQW RQ PRWLRQ WR                         
                                   GLVPLVV
     -13                       1/                                                             
      %LOO

         -13     1/      5HYLHZ HPDLOV UHJDUGLQJ QRWHV OLWLJDWLRQ GLVFRYHU\                            
     -$0                       1/                                                            
      %LOO

         -$0     1/      :RUN RQ 'RQGHUR GHSRVLWLRQ RXWOLQH   WHO F Z                         
                                   - 6HHU\ UH QRWHV OLWLJDWLRQ   FRPPXQLFDWLRQV Z
                                   + :LQRJUDG 3 -HIIULHV UH GRFXPHQW SURGXFWLRQ
                                      SUHS VHVVLRQ Z ' .ORV . +HQGUL[ +
                                   :LQRJUDG   HPDLO WR GHIHQVH FRXQVHO UH
                                   GRFXPHQW SURGXFWLRQ   HPDLOV Z GHIHQVH
                                   FRXQVHO UH GHSRVLWLRQ VFKHGXOH   WHO F Z +
                                   :LQRJUDG UH QRWHV OLWLJDWLRQ   UHYLHZ +&0)$
                                   GRFXPHQW SURGXFWLRQ  
     *9'                       1/                                                               
      %LOO

         *9'     1/      5HYLHZ OLPLWHG SDUWQHUVKLS DJUHHPHQW UH ILGXFLDU\                               
                                   GXW\ LVVXHV DQG FRUUHVSRQGHQFH ZLWK - 3RPHUDQW] UH
                                   VDPH
     *9'                       1/                                                               
      %LOO

         *9'     1/      5HYLHZ DQG FRPPHQW RQ QHZ QRWH DGYHUVDU\ IRU                                    
                                   +&0)$




HIGHLY CONFIDENTIAL                                                                                                    D-CNL003856
                                                                                                                 Appx. 02935
  Case 21-03007-sgj Doc 127-4 Filed 12/18/21                       Entered 12/18/21 02:23:50                Page 172 of 474




     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                  3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                   3UHELOO
                                                                                           1RYHPEHU  


                                                                                             +RXUV           5DWH         $PRXQW
     +5:                       1/                                                           
      %LOO

         +5:     1/      5HYLHZ +&0)$ VXSSOHPHQWDO GRFXPHQWV                                  
     +5:                       1/                                                           
      %LOO

         +5:     1/      5HYLHZ +&5( VXSSOHPHQWDO GRFXPHQWV                                   
     +5:                       1/                                                             
      %LOO

         +5:     1/      &DOO ZLWK - 0RUULV UH +HQGUL[ DQG .ORV GHSR SUHS                            
                                     
     +5:                       1/                                                           
      %LOO

         +5:     1/      &DOO ZLWK - 0RUULV ' .ORV . +HQGUL[ UH GHSR                        
                                   SUHS  
     +5:                       1/                                                            
      %LOO

         +5:     1/      5HYLHZ +&0)$ VXSSOHPHQWDO SURGXFWLRQ                                     
     +5:                       1/                                                            
      %LOO

         +5:     1/      5HYLHZ QRWHV OLWLJDWLRQ VXSSOHPHQWDO SURGXFWLRQ                              
                                     
     +5:                       1/                                                            
      %LOO

         +5:     1/      (GLW DQG UHYLHZ +&0)$ VHFRQG QRWHV FRPSODLQW                                 
                                     
     +5:                       1/                                                            
      %LOO

         +5:     1/      (PDLO - 0RUULV UH +&0)$ QRWHV GLVFRYHU\                                
     +5:                       1/                                                           
      %LOO

         +5:     1/      5HVHDUFK LVVXHV IRU VXPPDU\ MXGJPHQW LQ QRWHV                            
                                   OLWLJDWLRQ  
     -13                       1/                                                          




HIGHLY CONFIDENTIAL                                                                                                 D-CNL003857
                                                                                                              Appx. 02936
  Case 21-03007-sgj Doc 127-4 Filed 12/18/21                         Entered 12/18/21 02:23:50                Page 173 of 474




     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                    3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                     3UHELOO
                                                                                             1RYHPEHU  


                                                                                               +RXUV           5DWH         $PRXQW
      %LOO

         -13     1/      &RQIHUHQFH ZLWK -RKQ $ 0RUULV UHJDUGLQJ                                      
                                   GHSRVLWLRQV DQG VWUDWHJ\ LQ QRWHV OLWLJDWLRQ
     -13                       1/                                                            
      %LOO

         -13     1/      &RQWLQXH WR UHYLHZ FDVHV UHJDUGLQJ SUHSDUDWLRQ IRU                         
                                   KHDULQJ RQ PRWLRQ WR GLVPLVV
     -$0                       1/                                                           
      %LOO

         -$0     1/      5HYLHZ RI WUDQVFULSWV DQG EHJLQ RXWOLQLQJ                                 
                                   LVVXHVIDFWV   PHHW Z ' .ORV . +HQGUL[ WR
                                   SUHSDUH IRU GHSRVLWLRQV   WHO F Z - 3RPHUDQW]
                                   UH QRWHV OLWLJDWLRQ   SUHSDUH IRU GHSRVLWLRQV
                                   LQFOXGLQJ UHYLHZ RI H[SHUW UHSRUW   HPDLOV Z
                                   GHIHQVH FRXQVHO UH GLVFRYHU\   PHHW Z ' .ORV
                                   UH 'RQGHUR FRPSHQVDWLRQ   WHO F Z -
                                   3RPHUDQW] UH 'RQGHUR FRPSHQVDWLRQ DQG H[SHUW
                                   LVVXHV  
     *9'                       1/                                                               
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV DQG ' .ORV UH                                       
                                   SUHSDUDWLRQ IRU .ORV GHSRVLWLRQ
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HVHDUFK LVVXHV IRU FRQVROLGDWLRQ RI FDVHV                              
     +5:                       1/                                                               
      %LOO

         +5:     1/      'UDIW HUUDWD IRU RSSRVLWLRQ WR 07'                                         
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ QRWHV OLWLJDWLRQ VXSSOHPHQWDO +&5(                                      
                                   SURGXFWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HYLHZ - 0RUULV HPDLO WR FRXQVHO UH 'RQGHUR                                   
                                   SURGXFWLRQ LQ QRWHV OLWLJDWLRQ  




HIGHLY CONFIDENTIAL                                                                                                   D-CNL003858
                                                                                                                Appx. 02937
  Case 21-03007-sgj Doc 127-4 Filed 12/18/21                        Entered 12/18/21 02:23:50                 Page 174 of 474




     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                    3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                     3UHELOO
                                                                                             1RYHPEHU  


                                                                                               +RXUV           5DWH         $PRXQW
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HYLHZ HPDLO IURP FRXQVHO UH 'RQGHUR QRWHV                                     
                                   SURGXFWLRQ LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ 'RQGHUR UHVSRQVHV WR GLVFRYHU\ UHTXHVWV LQ                              
                                   QRWHV OLWLJDWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      (PDLO - 0RUULV UH +&5( VXSSOHPHQWDO SURGXFWLRQ                                
                                   LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      (PDLO - 0RUULV DQG - 3RPHUDQW] UH HUUDWD IRU                                 
                                   RSSRVLWLRQ WR 07' LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      (PDLO ORFDO FRXQVHO UH HUUDWD IRU RSSRVLWLRQ WR 07'                            
                                   LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                                
      %LOO

         +5:     1/      5HYLHZ HPDLO IURP ORFDO FRXQVHO UH HUUDWD IRU                                  
                                   RSSRVLWLRQ WR 07' LQ QRWHV OLWLJDWLRQ  
     -13                       1/                                                            
      %LOO

         -13     1/      &RQWLQXH WR SUHSDUH IRU KHDULQJ RQ PRWLRQ WR                               
                                   GLVPLVV
     -13                       1/                                                             
      %LOO

         -13     1/      &RQIHUHQFH ZLWK *UHJRU\ 9 'HPR -RKQ $ 0RUULV                               
                                   DQG - 6HHU\ UHJDUGLQJ .ORV DQG +HQGUL[
                                   GHSRVLWLRQV
     -$0                       1/                                                           




HIGHLY CONFIDENTIAL                                                                                                   D-CNL003859
                                                                                                                Appx. 02938
  Case 21-03007-sgj Doc 127-4 Filed 12/18/21                        Entered 12/18/21 02:23:50                  Page 175 of 474




     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                     3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                      3UHELOO
                                                                                              1RYHPEHU  


                                                                                                +RXUV           5DWH         $PRXQW
      %LOO

         -$0     1/      3UHSDUH IRU GHSRVLWLRQV   HPDLOV Z GHIHQVH                          
                                   FRXQVHO UH GRFXPHQW SURGXFWLRQ   +HQGUL[ DQG
                                   .ORV GHSRVLWLRQV   WHO F Z - 6HHU\ -
                                   3RPHUDQW] * 'HPR UH GHSRVLWLRQV DQG FHUWDLQ
                                   XQUHODWHG PDWWHUV  
     *9'                       1/                                                               
      %LOO

         *9'     1/      $WWHQG . +HQGUL[ GHSRVLWLRQ SDUWLDO                                            
     +5:                       1/                                                               
      %LOO

         +5:     1/      5HYLHZ +&0)$ VXSSOHPHQWDO GRFXPHQWV IRU QRWHV                                   
                                   OLWLJDWLRQV  
     +5:                       1/                                                                
      %LOO

         +5:     1/      (PDLO - 0RUULV UH +&0)$ DQG +&5(                                               
                                   VXSSOHPHQWDO GRFXPHQWV IRU QRWHV OLWLJDWLRQV  
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HVHDUFK UH VXPPDU\ MXGJPHQW VWDQGDUG IRU QRWHV                            
                                   OLWLJDWLRQV  
     +5:                       1/                                                                
      %LOO

         +5:     1/      (PDLO ORFDO FRXQVHO UH HUUDWD IRU RSSRVLWLRQ EULHIV WR                          
                                   07'  
     +5:                       1/                                                               
      %LOO

         +5:     1/      'UDIW HUUDWD IRU RSSRVLWLRQ EULHIV WR 07'                                   
     +5:                       1/                                                              
      %LOO

         +5:     1/      +HQGUL[ GHSRVLWLRQ IRU QRWHV OLWLJDWLRQV                                
     +5:                       1/                                                              
      %LOO

         +5:     1/      .ORV GHSRVLWLRQ IRU QRWHV OLWLJDWLRQV                                   




HIGHLY CONFIDENTIAL                                                                                                    D-CNL003860
                                                                                                                 Appx. 02939
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                       3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                        3UHELOO
                                                                                                1RYHPEHU  


                                                                                                  +RXUV           5DWH         $PRXQW
     -13                       1/                                                              
      %LOO

         -13     1/      &RQWLQXH WR SUHSDUH IRU KHDULQJ RQ PRWLRQ WR                                 
                                   GLVPLVV
     -$0                       1/                                                              
      %LOO

         -$0     1/      $PHQG VL[ GHSRVLWLRQ QRWLFHV   HPDLO WR                                 
                                   FRXQVHO UH 'RQGHUR GHSRVLWLRQ   WHO F Z -
                                   6HHU\ UH QRWHV OLWLJDWLRQ   FRPPXQLFDWLRQV Z
                                   / &DQW\ 3 -HIIULHV UH 'RQGHUR GHSRVLWLRQ DQG
                                   H[KLELWV   WHO F Z + :LQRJUDG UH QRWHV
                                   OLWLJDWLRQ   SUHSDUH IRU 'RQGHUR GHSRVLWLRQ
                                      WHO F Z * 'HPR UH QRWHV OLWLJDWLRQ   WHO
                                   F Z ' 5XNDYLQD + :LQRJUDG UH ZLWQHVVHV  
     *9'                       1/                                                                 
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV UH SRWHQWLDO H[SHUW                                     
                                   GLVFRYHU\ LVVXHV
     *9'                       1/                                                                 
      %LOO

         *9'     1/      &RQIHUHQFH ZLWK - 0RUULV UH GHSRVLWLRQ LVVXHV UH                                 
                                   QRWHV OLWLJDWLRQ
     +5:                       1/                                                                 
      %LOO

         +5:     1/      &DOO ZLWK - 0RUULV UH QRWHV OLWLJDWLRQV                                     
     +5:                       1/                                                                  
      %LOO

         +5:     1/      5HYLHZ HPDLO IURP FRXQVHO UH H[WHQVLRQ IRU H[SHUW                                 
                                   UHSRUWV LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                                 
      %LOO

         +5:     1/      6HQG FRXQVHO VXSSOHPHQWDO SURGXFWLRQ IRU QRWHV                                    
                                   OLWLJDWLRQV DQG UHODWHG WDVNV  




HIGHLY CONFIDENTIAL                                                                                                      D-CNL003861
                                                                                                                   Appx. 02940
  Case 21-03007-sgj Doc 127-4 Filed 12/18/21                        Entered 12/18/21 02:23:50                Page 177 of 474




     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                   3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                    3UHELOO
                                                                                            1RYHPEHU  


                                                                                              +RXUV           5DWH         $PRXQW
     +5:                       1/                                                             
      %LOO

         +5:     1/      5HVHDUFK UH VXPPDU\ MXGJPHQW LQ QRWHV OLWLJDWLRQ                          
                                     
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HYLHZ DQG ILQDOL]H HUUDWD IRU RSSRVLWLRQ EULHIV WR                           
                                   07' LQ QRWHV OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HYLHZ DQG HGLW DPHQGHG GHSRVLWLRQ QRWLFHV LQ QRWHV                           
                                   OLWLJDWLRQ  
     +5:                       1/                                                               
      %LOO

         +5:     1/      (PDLO ORFDO FRXQVHO UH DPHQGHG GHSRVLWLRQ QRWLFHV                             
                                   LQ QRWHV OLWLJDWLRQ  
     -13                       1/                                                           
      %LOO

         -13     1/      &RQWLQXH SUHSDULQJ IRU KHDULQJ RQ PRWLRQ WR                               
                                   GLVPLVV
     -13                       1/                                                            
      %LOO

         -13     1/      &RQIHUHQFH ZLWK -RUGDQ $ .URRS UHJDUGLQJ RYHUODS                            
                                   EHWZHHQ PRWLRQ WR GLVPLVV DQG PRWLRQ WR HQIRUFH LQ
                                   QRWHV OLWLJDWLRQ
     -13                       1/                                                            
      %LOO

         -13     1/      5HYLHZ RI 1H[3RLQW PRWLRQ WR H[WHQG WLPH WR                                  
                                   GHVLJQDWH H[SHUWV
     -0)                       1/                                                            
      %LOO

         -0)     1/      5HYLHZ PRWLRQV WR H[WHQG H[SHUW GLVFRYHU\                                    
                                   GHDGOLQHV
     -$0                       1/                                                        




HIGHLY CONFIDENTIAL                                                                                                  D-CNL003862
                                                                                                               Appx. 02941
  Case 21-03007-sgj Doc 127-4 Filed 12/18/21                        Entered 12/18/21 02:23:50                 Page 178 of 474




     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                    3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                     3UHELOO
                                                                                             1RYHPEHU  


                                                                                               +RXUV           5DWH         $PRXQW
      %LOO

         -$0     1/      3UHSDUH IRU 'RQGHUR GHSRVLWLRQ   'RQGHUR                            
                                   GHSRVLWLRQ LQFOXGLQJ PXOWLSOH FDOOV ZLWK * 'HPR
                                   + :LQRJUDG GXULQJ EUHDNV   WHO F Z *
                                   'HPR + :LQRJUDG UH SRVWGHSRVLWLRQ IROORZXS
                                      WHO F Z - 6HHU\ UH 'RQGHUR GHSRVLWLRQ  
     *9'                       1/                                                             
      %LOO

         *9'     1/      $WWHQG GHSRVLWLRQ RI - 'RQGHUR SDUWLDO                                    
     *9'                       1/                                                              
      %LOO

         *9'     1/      5HYLHZ HPDLOV UH FRUUHVSRQGHQFH UH SUHSD\PHQW                                  
                                   DOORFDWLRQ
     *9'                       1/                                                              
      %LOO

         *9'     1/      0XOWLSOH FRQIHUHQFHV ZLWK - 0RUULV DQG +                                     
                                   :LQRJUDG UH VWDWXV RI 'RQGHUR GHSRVLWLRQ
     +5:                       1/                                                             
      %LOO

         +5:     1/      'RQGHUR GHSRVLWLRQ IRU FRQVROLGDWHG QRWHV OLWLJDWLRQ                       
                                    
     +5:                       1/                                                              
      %LOO

         +5:     1/      5HVHDUFK IRU VXPPDU\ MXGJPHQW LQ FRQVROLGDWHG                                  
                                   QRWHV OLWLJDWLRQ  
     +5:                       1/                                                              
      %LOO

         +5:     1/      'UDIW DQG UHYLHZ '& 6DXWHU GHSRVLWLRQ VXESRHQD                                 
                                   DQG UHODWHG GRFXPHQWV  
     +5:                       1/                                                              
      %LOO

         +5:     1/      (PDLO ZLWK ORFDO FRXQVHO UH '& 6DXWHU GHSRVLWLRQ                              
                                   VXESRHQD  




HIGHLY CONFIDENTIAL                                                                                                   D-CNL003863
                                                                                                                Appx. 02942
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     3DFKXOVNL 6WDQJ =LHKO -RQHV //3                                                                      3DJH 
     +LJKODQG &DSLWDO 0DQDJHPHQW /3                                                                       3UHELOO
                                                                                               1RYHPEHU  


                                                                                                 +RXUV           5DWH         $PRXQW
     +5:                       1/                                                                
      %LOO

         +5:     1/      &DOOV ZLWK - 0RUULV DQG * 'HPR UH 'RQGHUR                                     
                                   GHSRVLWLRQ  
     +5:                       1/                                                                
      %LOO

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                              EXHIBIT 181




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                                                                             EXHIBIT "A"


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                                    SECOND AMENDED AND RESTATED
                                     SHARED SERVICES AGREEMENT

             THIS SECOND AMENDED AND RESTATED SHARED SERVICES AGREEMENT (this
     “Agreement”) is entered into to be effective as of 8th day of February, 2013 (the “Effective Date”) by and
     among Highland Capital Management, L.P., a Delaware limited partnership (“HCMLP”), and Highland
     Capital Management Fund Advisors, L.P., formerly known as Pyxis Capital, L.P., a Delaware limited
     partnership (“HCMFA”), and any affiliate of HCMFA that becomes a party hereto. Each of the
     signatories hereto is individually a “Party” and collectively the “Parties”.

                                                    RECITALS

             A.      During the Term, HCMLP will provide to HCMFA certain services as more fully
     described herein and the Parties desire to allocate the costs incurred for such services and assets among
     them in accordance with the terms and conditions in this Agreement.

                                                  AGREEMENT

              In consideration of the foregoing recitals and the mutual covenants and conditions contained
     herein, the Parties agree, intending to be legally bound, as follows:

                                                   ARTICLE I
                                                  DEFINITIONS

             “Actual Cost” means, with respect to any period hereunder, one hundred percent (100%) of the
     actual costs and expenses caused by, incurred or otherwise arising from or relating to (i) the Shared
     Services and (ii) the Shared Assets, in each case during such period.

             “Affiliate” means a Person that directly, or indirectly through one or more intermediaries,
     controls, or is controlled by, or is under common control with, a specified Person. The term “control”
     (including, with correlative meanings, the terms “controlled by” and “under common control with”)
     means the possession of the power to direct the management and policies of the referenced Person,
     whether through ownership interests, by contract or otherwise.

             “Agreement” has the meaning set forth in the preamble.

             “Allocation Percentage” has the meaning set forth in Section 4.01.

             “Applicable Margin” shall mean an additional amount equal to 5% of all costs allocated by
     Service Provider to the other parties hereto under Article IV; provided that the parties may agree on a
     different margin percentage as to any item or items to the extent the above margin percentage, together
     with the allocated cost of such item or service, would not reflect an arm’s length value of the particular
     service or item allocated.

             “Change” has the meaning set forth in Section 2.02(a).

             “Change Request” has the meaning set forth in Section 2.02(b).

             “Code” means the Internal Revenue Code of 1986, as amended, and the related regulations and
     published interpretations.




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             “Effective Date” has the meaning set forth in the preamble.

            “Governmental Entity” means any government or any regulatory agency, bureau, board,
     commission, court, department, official, political subdivision, tribunal or other instrumentality of any
     government, whether federal, state or local, domestic or foreign.

              “Liabilities” means any cost, liability, indebtedness, obligation, co-obligation, commitment,
     expense, claim, deficiency, guaranty or endorsement of or by any Person of any nature (whether direct or
     indirect, known or unknown, absolute or contingent, liquidated or unliquidated, due or to become due,
     accrued or unaccrued, matured or unmatured).

             “Loss” means any cost, damage, disbursement, expense, liability, loss, obligation, penalty or
     settlement, including interest or other carrying costs, legal, accounting and other professional fees and
     expenses incurred in the investigation, collection, prosecution and defense of claims and amounts paid in
     settlement, that may be imposed on or otherwise incurred or suffered by the referenced Person; provided,
     however, that the term “Loss” will not be deemed to include any special, exemplary or punitive damages,
     except to the extent such damages are incurred as a result of third party claims.

             “New Shared Service” has the meaning set forth in Section 2.03.

             “Party” or “Parties” has the meaning set forth in the preamble.

           “Person” means an association, a corporation, an individual, a partnership, a limited liability
     company, a trust or any other entity or organization, including a Governmental Entity.

             “Quarterly Report” has the meaning set forth in Section 5.01.

             “Recipient” means HCMFA and any of HCMFA’s direct or indirect Subsidiaries or managed
     funds or accounts in their capacity as a recipient of the Shared Services and/or Shared Assets.

             “Service Provider” means any of HCMLP and its direct or indirect Subsidiaries in its capacity as
     a provider of Shared Services or Shared Assets.

             “Service Standards” has the meaning set forth in Section 6.01.

             “Shared Assets” shall have the meaning set forth in Section 3.02.

             “Shared Services” shall have the meaning set forth in Section 2.01.

              “Subsidiary” means, with respect to any Person, any Person in which such Person has a direct or
     indirect equity ownership interest in excess of 50%.

              “Tax” or “Taxes” means: (i) all state and local sales, use, value-added, gross receipts, foreign,
     privilege, utility, infrastructure maintenance, property, federal excise and similar levies, duties and other
     similar tax-like charges lawfully levied by a duly constituted taxing authority against or upon the Shared
     Services and the Shared Assets; and (ii) tax-related surcharges or fees that are related to the Shared
     Services and the Shared Assets identified and authorized by applicable tariffs.

             “Term” has the meaning set forth in Section 7.01.




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                                                  ARTICLE II
                                               SHARED SERVICES

             Section 2.01     Services. During the Term, Service Provider will provide Recipient with Shared
     Services, including without limitation, all of the (i) finance and accounting services, (ii) human resources
     services, (iii) marketing services, (iv) legal services, (v) corporate services, (vi) information technology
     services, and (vii) operations services; each as requested by HCMFA and as described more fully on
     Annex A attached hereto, the “Shared Services”), it being understood that personnel providing Shared
     Services may be deemed to be employees of HCMFA to the extent necessary for purposes of the
     Investment Advisers Act of 1940, as amended.

             Section 2.02    Changes to the Shared Services.

                     (a)      During the Term, the Parties may agree to modify the terms and conditions of a
     Service Provider’s performance of any Shared Service in order to reflect new procedures, processes or
     other methods of providing such Shared Service, including modifying the applicable fees for such Shared
     Service to reflect the then current fair market value of such service (a “Change”). The Parties will
     negotiate in good faith the terms upon which a Service Provider would be willing to provide such New
     Shared Service to Recipient.

                      (b)      The Party requesting a Change will deliver a description of the Change requested
     (a “Change Request”) and no Party receiving a Change Request may unreasonably withhold, condition or
     delay its consent to the proposed Change.

                      (c)      Notwithstanding any provision of this Agreement to the contrary, a Service
     Provider may make: (i) Changes to the process of performing a particular Shared Service that do not
     adversely affect the benefits to Recipient of Service Provider’s provision or quality of such Shared
     Service in any material respect or increase Recipient’s cost for such Shared Service; (ii) emergency
     Changes on a temporary and short-term basis; and/or (iii) Changes to a particular Shared Service in order
     to comply with applicable law or regulatory requirements, in each case without obtaining the prior
     consent of Recipient. A Service Provider will notify Recipient in writing of any such Change as follows:
     in the case of clauses (i) and (iii) above, prior to the implementation of such Change, and, in the case of
     clause (ii) above, as soon as reasonably practicable thereafter.

             Section 2.03   New Shared Services. The Parties may, from time to time during the Term of
     this Agreement, negotiate in good faith for Shared Services not otherwise specifically listed in Section
     2.01 (a “New Shared Service”). Any agreement between the Parties on the terms for a New Shared
     Service must be in accordance with the provisions of Article IV and Article V hereof, will be deemed to
     be an amendment to this Agreement and such New Shared Service will then be a “Shared Service” for all
     purposes of this Agreement.

             Section 2.04   Subcontractors. Nothing in this Agreement will prevent Service Provider from,
     with the consent of Recipient, using subcontractors, hired with due care, to perform all or any part of a
     Shared Service hereunder. A Service Provider will remain fully responsible for the performance of its
     obligations under this Agreement in accordance with its terms, including any obligations it performs
     through subcontractors, and a Service Provider will be solely responsible for payments due to its
     subcontractors.




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                                                   ARTICLE III
                                                 SHARED ASSETS

              Section 3.01    Shared IP Rights. Each Service Provider hereby grants to Recipient a non-
     exclusive right and license to use the intellectual property and other rights granted or licensed, directly or
     indirectly, to such Service Provider (the “Shared IP Rights”) pursuant to third party intellectual property
     Agreements (“Third Party IP Agreements”), provided that the rights granted to Recipient hereunder are
     subject to the terms and conditions of the applicable Third Party IP Agreement, and that such rights shall
     terminate, as applicable, upon the expiration or termination of the applicable Third Party IP Agreement.
     Recipient shall be licensed to use the Shared IP Rights only for so long as it remains an Affiliate of
     HCMLP. In consideration of the foregoing licenses, Recipient agrees to take such further reasonable
     actions as a Service Provider deems to be necessary or desirable to comply with its obligations under the
     Third Party IP Agreements.

             Section 3.02     Other Shared Assets. Subject to Section 3.01, each Service Provider hereby
     grants Recipient the right, license or permission, as applicable, to use and access the benefits under the
     agreements, contracts and licenses that such Service Provider will purchase, acquire, become a party or
     beneficiary to or license on behalf of Recipient (the “Future Shared Assets” and collectively with the
     Shared IP Rights, the “Shared Assets”).

                                                   ARTICLE IV
                                                COST ALLOCATION

             Section 4.01   Actual Cost Allocation Formula. The Actual Cost of any item relating to any
     Shared Services or Shared Assets shall be allocated based on the Allocation Percentage. For purposes of
     this Agreement, “Allocation Percentage” means:

                     (a)      To the extent 100% of such item is demonstrably attributable to HCMFA, 100%
     of the Actual Cost of such item shall be allocated to HCMFA as agreed by HCMFA;

                    (b)    To the extent a specific percentage of use of such item can be determined (e.g.,
     70% for HCMLP and 30% for HCMFA), that specific percentage of the Actual Cost of such item will be
     allocated to HCMLP or HCMFA, as applicable and as agreed by HCMFA; and

                     (c)      All other portions of the Actual Cost of any item that cannot be allocated
     pursuant to clause (a) or (b) above shall be allocated between HCMLP and HCMFA in such proportion as
     is agreed in good faith between the parties.

             Section 4.02     Non-Cash Cost Allocation. The actual, fully burdened cost of any item relating
     to any Shared Services or Shared Assets that does not result in a direct, out of pocket cash expense may
     be allocated to HCMLP and HCMFA for financial statement purposes only, as agreed by HCMFA,
     without any corresponding cash reimbursement required, in accordance with generally accepted
     accounting principles, based on the Allocation Percentage principles described in Section 4.01 hereof.

                                             ARTICLE V
                             PAYMENT OF COST AND REVENUE SHARE; TAXES

             Section 5.01     Quarterly Statements. Within thirty (30) days following the end of each calendar
     qaurter during the Term (or at such time as may be otherwise agreed by the parties), each Service
     Provider shall furnish the other Parties hereto with a written statement with respect to the Actual Cost
     paid by it in respect of Shared Services and Shared Assets provided by it, in each case, during such


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     period, setting forth (i) the cost allocation in accordance with Article IV hereof together with the
     Applicable Margin on such allocated amounts, and (ii) any amounts paid pursuant to Section 5.02 hereof,
     together with such other data and information necessary to complete the items described in Section 5.03
     hereof (hereinafter referred to as the “Quarterly Report”).

              Section 5.02    Settlement Payments. At any time during the Term, any Party may make
     payment of the amounts that are allocable to such Party together with the Applicable Margin related
     thereto, regardless of whether an invoice pursuant to Section 5.03 hereof has been issued with respect to
     such amounts.

             Section 5.03    Determination and Payment of Cost and Revenue Share.

                      (a)     Within ten (10) days of the submission of the Quarterly Report described in
     Section 5.02 hereof (or at such other time as may be agreed by the parties), the Parties shall (i) agree on
     the cost share of each of the Parties and Applicable Margin as calculated pursuant to the provisions of this
     Agreement; and (ii) prepare and issue invoices for the cost share and Applicable Margin payments that
     are payable by any of the Parties.

                      (b)     Within ten (10) days of preparation of the agreement and the issuance of the
     invoice described in Section 5.03(a) (or at such other time as may be agreed by the parties), the Parties
     shall promptly make payment of the amounts that are set forth on such cost allocation invoice.
     Notwithstanding anything in this Agreement to the contrary, provision of the Shared Services shall
     commence from the Effective Date, but no fees shall be payable from Recipient or otherwise accrue with
     respect to such services provided during the month of December 2011.

             Section 5.04    Taxes.

                      (a)     Recipient is responsible for and will pay all Taxes applicable to the Shared
     Services and the Shared Assets provided to Recipient, provided, that such payments by Recipient to
     Service Provider will be made in the most tax-efficient manner and provided further, that Service
     Provider will not be subject to any liability for Taxes applicable to the Shared Services and the Shared
     Assets as a result of such payment by Recipient. Service Provider will collect such Tax from Recipient in
     the same manner it collects such Taxes from other customers in the ordinary course of Service Provider’s
     business, but in no event prior to the time it invoices Recipient for the Shared Services and Shared Assets,
     costs for which such Taxes are levied. Recipient may provide Service Provider with a certificate
     evidencing its exemption from payment of or liability for such Taxes.

                      (b)    Service Provider will reimburse Recipient for any Taxes collected from Recipient
     and refunded to Service Provider. In the event a Tax is assessed against Service Provider that is solely the
     responsibility of Recipient and Recipient desires to protest such assessment, Recipient will submit to
     Service Provider a statement of the issues and arguments requesting that Service Provider grant Recipient
     the authority to prosecute the protest in Service Provider’s name. Service Provider’s authorization will
     not be unreasonably withheld. Recipient will finance, manage, control and determine the strategy for
     such protest while keeping Service Provider reasonably informed of the proceedings. However, the
     authorization will be periodically reviewed by Service Provider to determine any adverse impact on
     Service Provider, and Service Provider will have the right to reasonably withdraw such authority at any
     time. Upon notice by Service Provider that it is so withdrawing such authority, Recipient will
     expeditiously terminate all proceedings. Any adverse consequences suffered by Recipient as a result of
     the withdrawal will be submitted to arbitration pursuant to Section 9.14. Any contest for Taxes brought
     by Recipient may not result in any lien attaching to any property or rights of Service Provider or
     otherwise jeopardize Service Provider’s interests or rights in any of its property. Recipient agrees to


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     indemnify Service Provider for all Losses that Service Provider incurs as a result of any such contest by
     Recipient.

                       (c)     The provisions of this Section 5.04 will govern the treatment of all Taxes arising
     as a result of or in connection with this Agreement notwithstanding any other Article of this Agreement to
     the contrary.

                                              ARTICLE VI
                                   SERVICE PROVIDER RESPONSIBILITIES

             Section 6.01    Service Provider General Obligations. Service Provider will provide the Shared
     Services and the Shared Assets to Recipient on a non-discriminatory basis and will provide the Shared
     Services and the Shared Assets in the same manner as if it were providing such services and assets on its
     own account (the “Service Standards”). Service Provider will conduct its duties hereunder in a lawful
     manner in compliance with applicable laws, statutes, rules and regulations and in accordance with the
     Service Standards, including, for avoidance of doubt, laws and regulations relating to privacy of customer
     information.

              Section 6.02    Books and Records; Access to Information. Service Provider will keep and
     maintain books and records on behalf of Recipient in accordance with past practices and internal control
     procedures. Recipient will have the right, at any time and from time to time upon reasonable prior notice
     to Service Provider, to inspect and copy (at its expense) during normal business hours at the offices of
     Service Provider the books and records relating to the Shared Services and Shared Assets, with respect to
     Service Provider’s performance of its obligations hereunder. This inspection right will include the ability
     of Recipient’s financial auditors to review such books and records in the ordinary course of performing
     standard financial auditing services for Recipient (but subject to Service Provider imposing reasonable
     access restrictions to Service Provider’s and its Affiliates’ proprietary information and such financial
     auditors executing appropriate confidentiality agreements reasonably acceptable to Service Provider).
     Service Provider will promptly respond to any reasonable requests for information or access. For the
     avoidance of doubt, all books and records kept and maintained by Service Provider on behalf of Recipient
     shall be the property of Recipient, and Service Provider will surrender promptly to Recipient any of such
     books or records upon Recipient’s request (provided that Service Provider may retain a copy of such
     books or records) and shall make all such books and records available for inspection and use by the
     Securities and Exchange Commission or any person retained by Recipient at all reasonable times. Such
     records shall be maintained by Service Provider for the periods and in the places required by laws and
     regulations applicable to Recipient.

             Section 6.03  Return of Property and Equipment. Upon expiration or termination of this
     Agreement, Service Provider will be obligated to return to Recipient, as soon as is reasonably practicable,
     any equipment or other property or materials of Recipient that is in Service Provider’s control or
     possession.

                                                ARTICLE VII
                                           TERM AND TERMINATION

             Section 7.01      Term. The term of this Agreement will commence as of the Effective Date and
     will continue in full force and effect until the first anniversary of the Effective Date (the “Term”), unless
     terminated earlier in accordance with Section 9.02. The Term shall automatically renew for successive
     one year periods unless sooner terminated under Section 7.02.




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             Section 7.02    Termination. Either Party may terminate this Agreement, with or without cause,
     upon at least 60 days advance written notice at any time prior to the expiration of the Term.

                                                 ARTICLE VIII
                                              LIMITED WARRANTY

              Section 8.01    Limited Warranty. Service Provider will perform the Shared Services hereunder
     in accordance with the Service Standards. Except as specifically provided in this Agreement, Service
     Provider makes no express or implied representations, warranties or guarantees relating to its performance
     of the Shared Services and the granting of the Shared Assets under this Agreement, including any
     warranty of merchantability, fitness, quality, non-infringement of third party rights, suitability or
     adequacy of the Shared Services and the Shared Assets for any purpose or use or purpose. Service
     Provider will (to the extent possible and subject to Service Provider’s contractual obligations) pass
     through the benefits of any express warranties received from third parties relating to any Shared Service
     and Shared Asset, and will (at Recipient’s expense) assist Recipient with any warranty claims related
     thereto.

                                              ARTICLE IX
                                            MISCELLANEOUS

              Section 9.01    No Partnership or Joint Venture; Independent Contractor. Nothing contained in
     this Agreement will constitute or be construed to be or create a partnership or joint venture between or
     among HCMLP or HCMFA or their respective successors or assigns. The Parties understand and agree
     that, with the exception of the procurement by Service Provider of licenses or other rights on behalf of
     Recipient pursuant to Section 3.01, this Agreement does not make any of them an agent or legal
     representative of the other for any purpose whatsoever. With the exception of the procurement by Service
     Provider of licenses or other rights on behalf of Recipient pursuant to Section 3.01, no Party is granted, by
     this Agreement or otherwise, any right or authority to assume or create any obligation or responsibilities,
     express or implied, on behalf of or in the name of any other Party, or to bind any other Party in any
     manner whatsoever. The Parties expressly acknowledge that Service Provider is an independent
     contractor with respect to Recipient in all respects, including with respect to the provision of the Shared
     Services.

             Section 9.02     Amendments; Waivers. Except as expressly provided herein, this Agreement
     may be amended only by agreement in writing of all Parties. No waiver of any provision nor consent to
     any exception to the terms of this Agreement or any agreement contemplated hereby will be effective
     unless in writing and signed by all of the Parties affected and then only to the specific purpose, extent and
     instance so provided. No failure on the part of any Party to exercise or delay in exercising any right
     hereunder will be deemed a waiver thereof, nor will any single or partial exercise preclude any further or
     other exercise of such or any other right.

             Section 9.03    Schedules and Exhibits; Integration. Each Schedule and Exhibit delivered
     pursuant to the terms of this Agreement must be in writing and will constitute a part of this Agreement,
     although schedules need not be attached to each copy of this Agreement. This Agreement, together with
     such Schedules and Exhibits constitutes the entire agreement among the Parties pertaining to the subject
     matter hereof and supersedes all prior agreements and understandings of the Parties in connection
     therewith.

            Section 9.04     Further Assurances. Each Party will take such actions as any other Party may
     reasonably request or as may be necessary or appropriate to consummate or implement the transactions
     contemplated by this Agreement or to evidence such events or matters.


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             Section 9.05   Governing Law. This Agreement and the legal relations between the Parties will
     be governed by and construed in accordance with the laws of the State of Texas applicable to contracts
     made and performed in such State and without regard to conflicts of law doctrines unless certain matters
     are preempted by federal law.

             Section 9.06     Assignment. Except as otherwise provided hereunder, neither this Agreement
     nor any rights or obligations hereunder are assignable by one Party without the express prior written
     consent of the other Parties.

             Section 9.07    Headings. The descriptive headings of the Articles, Sections and subsections of
     this Agreement are for convenience only and do not constitute a part of this Agreement.

              Section 9.08    Counterparts. This Agreement and any amendment hereto or any other
     agreement delivered pursuant hereto may be executed in one or more counterparts and by different Parties
     in separate counterparts. All counterparts will constitute one and the same agreement and will become
     effective when one or more counterparts have been signed by each Party and delivered to the other
     Parties.

              Section 9.09    Successors and Assigns; No Third Party Beneficiaries. This Agreement is
     binding upon and will inure to the benefit of each Party and its successors or assigns, and nothing in this
     Agreement, express or implied, is intended to confer upon any other Person or Governmental Entity any
     rights or remedies of any nature whatsoever under or by reason of this Agreement.

             Section 9.10     Notices. All notices, demands and other communications to be given or
     delivered under or by reason of the provisions of this Agreement will be in writing and will be deemed to
     have been given: (i)immediately when personally delivered; (ii) when received by first class mail, return
     receipt requested; (iii) one day after being sent for overnight delivery by Federal Express or other
     overnight delivery service; or (iv) when receipt is acknowledged, either electronically or otherwise, if sent
     by facsimile, telecopy or other electronic transmission device. Notices, demands and communications to
     the other Parties will, unless another address is specified by such Parties in writing, be sent to the
     addresses indicated below:

                              If to HCMLP, addressed to:

                              Highland Capital Management, L.P.
                              300 Crescent Court, Suite 700
                              Dallas, Texas 75201
                              Attention: General Counsel
                              Fax: (972) 628-4147

                              If to HCMFA, addressed to:

                              Highland Capital Management Fund Advisors, L.P.
                              300 Crescent Court, Suite 700
                              Dallas, Texas 75201
                              Attention: General Counsel
                              Fax: (972) 628-4147

             Section 9.11    Expenses. Except as otherwise provided herein, the Parties will each pay their
     own expenses incident to the negotiation, preparation and performance of this Agreement, including the
     fees, expenses and disbursements of their respective investment bankers, accountants and counsel.


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              Section 9.12     Waiver. No failure on the part of any Party to exercise or delay in exercising any
     right hereunder will be deemed a waiver thereof, nor will any single or partial exercise preclude any
     further or other exercise of such or any other right.

             Section 9.13     Severability. If any provision of this Agreement is held to be unenforceable for
     any reason, it will be adjusted rather than voided, if possible, to achieve the intent of the Parties. All
     other provisions of this Agreement will be deemed valid and enforceable to the extent possible.

              Section 9.14     Arbitration; Jurisdiction. Notwithstanding anything contained in this Agreement
     or the Annexes hereto to the contrary, in the event there is an unresolved legal dispute between the parties
     and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
     representatives that involves legal rights or remedies arising from this Agreement, the parties agree to
     submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
     however, that either party or such applicable affiliate thereof may pursue a temporary restraining order
     and/or preliminary injunctive relief in connection with confidentiality covenants or agreements binding
     on the other party, with related expedited discovery for the parties, in a court of law, and, thereafter,
     require arbitration of all issues of final relief. The Arbitration will be conducted by the American
     Arbitration Association, or another, mutually agreeable arbitration service. The arbitrator(s) shall be duly
     licensed to practice law in the State of Texas. The discovery process shall be limited to the following:
     Each side shall be permitted no more than (i) two party depositions of six hours each. Each deposition is
     to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one non-party deposition of six hours; (iii)
     twenty-five interrogatories; (iv) twenty-five requests for admission; (v) ten requests for production. In
     response, the producing party shall not be obligated to produce in excess of 5,000 total pages of
     documents. The total pages of documents shall include electronic documents; (vi) one request for
     disclosure pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in
     this paragraph, whether to parties or non-parties, shall not be permitted. The arbitrator(s) shall be
     required to state in a written opinion all facts and conclusions of law relied upon to support any decision
     rendered. No arbitrator will have authority to render a decision that contains an outcome determinative
     error of state or federal law, or to fashion a cause of action or remedy not otherwise provided for under
     applicable state or federal law. Any dispute over whether the arbitrator(s) has failed to comply with the
     foregoing will be resolved by summary judgment in a court of law. In all other respects, the arbitration
     process will be conducted in accordance with the American Arbitration Association’s dispute resolution
     rules or other mutually agreeable, arbitration service rules. The party initiating arbitration shall pay all
     arbitration costs and arbitrator’s fees, subject to a final arbitration award on who should bear costs and
     fees. All proceedings shall be conducted in Dallas, Texas, or another mutually agreeable site. Each party
     shall bear its own attorneys fees, costs and expenses, including any costs of experts, witnesses and/or
     travel, subject to a final arbitration award on who should bear costs and fees. The duty to arbitrate
     described above shall survive the termination of this Agreement. Except as otherwise provided above, the
     parties hereby waive trial in a court of law or by jury. All other rights, remedies, statutes of limitation and
     defenses applicable to claims asserted in a court of law will apply in the arbitration.

             Section 9.15     General Rules of Construction. For all purposes of this Agreement and the
     Exhibits and Schedules delivered pursuant to this Agreement: (i) the terms defined in Article I have the
     meanings assigned to them in Article I and include the plural as well as the singular; (ii) all accounting
     terms not otherwise defined herein have the meanings assigned under GAAP; (iii) all references in this
     Agreement to designated “Articles,” “Sections” and other subdivisions are to the designated Articles,
     Sections and other subdivisions of the body of this Agreement; (iv) pronouns of either gender or neuter
     will include, as appropriate, the other pronoun forms; (v) the words “herein,”“hereof” and “hereunder”
     and other words of similar import refer to this Agreement as a whole and not to any particular Article,
     Section or other subdivision; (vi) “or” is not exclusive; (vii) “including” and “includes” will be deemed to
     be followed by “but not limited to” and “but is not limited to, “respectively; (viii) any definition of or

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     reference to any law, agreement, instrument or other document herein will be construed as referring to
     such law, agreement, instrument or other document as from time to time amended, supplemented or
     otherwise modified; and (ix) any definition of or reference to any statute will be construed as referring
     also to any rules and regulations promulgated thereunder.




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                                                        Annex A

                                                  Shared Services

              Compliance
                            General compliance
                            Compliance systems
              Facilities
                            Equipment
                            General Overhead
                            Office Supplies
                            Rent & Parking
              Finance & Accounting
                           Book keeping
                            Cash management
                            Cash forecasting
                            Credit facility reporting
                            Financial reporting
                            Accounts payable
                            Accounts receivable
                            Expense reimbursement
                            Vendor management
              HR
                            Drinks/snacks
                            Lunches
                            Recruiting
              IT
                            General support & maintenance (OMS, development, support)
                            Telecom (cell, phones, broadband)
                            WSO
              Legal
                            Corporate secretarial services
                            Document review and preparation
                            Litigation support
                            Management of outside counsel
              Marketing and PR
                            Public relations
              Tax
                            Tax audit support
                            Tax planning
                            Tax prep and filing
              Investments
                            Investment research on an ad hoc basis as requested by HCMFA



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                           Valuation Committee
              Trading
                           Trading desk services
              Operations
                           Trade settlement




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Rukavina, Davor

From:                              James Seery <jpseeryjr@gmail.com>
Sent:                              Thursday, September 17, 2020 4:17 PM
To:                                DC Sauter
Cc:                                Gregory V. Demo
Subject:                           Re: Acis Settlement


DC

IbelieveyourconcernsregardingthereleasearemisplacedasitdoesnotbindentitiesthatHCMLPdoesnot
control.Gregcanwalkyouthroughthelanguage,butIdonotbelieveitrequiresadjustmentnordoesitcreateany
liability.Tothecontrary,itreducesliability.

WithregardtotheHCMLPemployeeprohibitions,noemployeewhetherlegalornonͲlegalcanworkonanymatterthat
isinimicaltotheinterestsofHCMLP.I,asCEO,andtheIndependentBoardwillmakethedeterminationastowhether
anactionviolatestheprohibition,andabreachoftheprohibitionwillleadtoterminationforcause.Ibelievethatmost
oftheemployeeshavebeeninformedofthisrequirementandarefollowingthedirective.

Withregardtotransactionalmatters,HCMLPemployeeswillcontinuetoworkwithyouonthoseissuesthatdonotrun
afouloftheprohibitionabove.Ifthereisaparticularmatterwhereyouaretakingapotentiallyadversarialactionvisa
visHCMLP,pleaseletmeknowwhatitis.Wecanthenconsiderwhetheracustomizedoperatingprotocolforthatissue
isneededorwhetheryouwillsimplybeonyourown.Iwillmakethedeterminationwiththeadviceofcounsel.Wedo
notbelievetheTexasrulesofprofessionalresponsibilityapplyinthissituation.

Pleaseletmeknowwhatmatteryouareconsideringwithrespecttotheimmediatelyprecedingparagraph,andwewill
considerhowtobestaddressyourconcerns.

Best.Jim

JimSeery
631Ͳ804Ͳ2049
jpseeryjr@gmail.com



From:DCSauter<DSauter@NexPointadvisors.com>
Date:Thursday,September17,2020at4:56PM
To:JimSeery<jpseeryjr@gmail.com>
Cc:GregDemo<GDemo@pszjlaw.com>
Subject:RE:AcisSettlement

Jim/Greg,followuponmyemailbelow.Ihaveafewitemsthathavebeenplacedonmyplate,andIreallyneedto
understandwhoIcanspeakwithandtheextenttowhichtheyarepermittedtoshareinformationwithme.

  
D.C. S AU T E R 
  

                                   
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                                                              1                                       EXHIBIT 2
                                                                                                        Appx. 02968
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O: 972.628.4117 | C: 469.877.6440   

From:DCSauter
Sent:Tuesday,September15,20208:55AM
To:'JamesSeery'<jpseeryjr@gmail.com>
Cc:GregoryV.Demo<GDemo@pszjlaw.com>
Subject:RE:AcisSettlement

MyapologiesforcopyingIsaac.Iwasunderthemistakenimpressionthathewouldhaveassistedinthesettlement.

Inmyview,therequestedclarificationisbeneficialtoStrand,HCMLP,andtheother“HCMLPEntities.”Thedocuments
purporttoreleaseACISfromclaimsonbehalfof,amongothers,anyentitythatis“managed”byHCMLPand“respective
currentadvisors,trustees,directors,officers,managers,members,partners,currentorformeremployees,beneficiaries,
shareholders,agents,participants,subsidiaries,parents,affiliates,successors,designees,andassigns”ofany“HCMLP
Entity.”Those“HCMLPEntities”lacktheauthoritytobindawholehostofpartiesinthatlaundrylist,whichcouldresult
inclaimsagainstHCMLP,Strand,andtheother“HCMLPEntities”byboththe“ACISReleasedParties,”whowillclaim
theydidn’treceivethebenefitofthebargain,andthepartiesonwhosebehalfthe“HCMLPParties”purportedtorelease
claimswhodidn’tconsenttotherelease.

Additionally,I’dliketovisitwithyouallregardingtheboard’spositionthatprohibitscertainHCMLPpersonnelfrom
workingoncertainmatters.

First,IamunclearwhethertheprohibitionappliestoonlyHCMLPlegalpersonnelorwhetheritappliestoallHCMLP
employees.Pleaseclarify.

Second,asyoumayknow,virtuallyallofthesemattersarefallingintomylap,andinmostcasesIlackanyknowledge
aboutthem.ItwouldhelpmetremendouslyifcurrentHCMLPemployees,andparticularlythelegalpersonnel,could
providemewithtransactionalbackgroundtoassistinthetransitionofthematter.WhileIunderstandtheboard’s
concernwithJudgeJernigan’sorder,Idon’tbelievethattheTexasDisciplinaryRulesofProfessionalConductmandateor
evenpermitanattorneylicensedintheStateofTexastorefusetocooperatewithaformerclientinthetransferofa
mattertoanewattorney.Rule1.15(d)statesthat“[u]ponterminationofrepresentation,alawyershalltakestepsto
theextentreasonablypracticabletoprotectaclient'sinterests,suchasgivingreasonablenoticetotheclient,allowing
timeforemploymentofothercounsel,surrenderingpapersandpropertytowhichtheclientisentitledandrefunding
anyadvancepaymentsoffeethathasnotbeenearned.”Thecommentstothatruleprovideadditionalclarity:“Inevery
instanceofwithdrawalandevenifthelawyerhasbeenunfairlydischargedbytheclient,alawyermusttakeall
reasonablestepstomitigatetheconsequencestotheclient.”T.D.R.P.C.Rule1.15,comment9.Properstepsmay
includeprovidinginformationtonewcounselorevencontinuingtorepresenttheclientforalimitedtimetomeet
impendingdeadlines.MicrosoftCorp.v.CommonwealthSci.&Indus.ResearchOrg.,2007U.S.Dist.LEXIS91550*23Ͳ24
fn.11(E.D.Tex.Dec.13,2007).EveniftheboardinsiststhattheHCMLPlegalpersonnelcannotcontinuetorepresent
othersinnonͲHCMLPmattersormattersadversetoHCMLP(irrespectiveofanyconflictofinterestanalysisofwhether
thoseattorneysmaycontinuetorepresentHCMLPinthosematters),theethicalrulesrequirethattheattorneysprovide
assistanceintransferringthosematterstomeorothers.

Finally,Iroutinelyhandle,andamroutinelyaskedtohandle,legalmattersthatrelatetorealestateforentitiesownedor
controlledbyHCMLP(ParkWest,theArizonaassets,theMapleAve.property,tonameafew).IamnotanHCMLP
employee,andit’smyunderstandingthatNexPointAdvisors,L.P.isnotcompensatedforthetimeIspendonHCMLP
matters.I’mnotsuggestingthatthisarrangementshouldchange,butitfeelsfrommyperspectivethattheboard’s
positionisonlyworkinginonedirection.Inotherwords,ifIunderstandtheboard’spositioncorrectly,Icanworkon
bothNexPointandHCMLPmatters,buttheHCMLPlegalemployeesmayonlyworkonHCMLPͲrelatedmatters.Ithas
alsoputasignificantamountofadditionalworkonmyplate.Iwouldliketounderstandtwothings.First,whatisthe
scopeofmyauthorityinthesematters,andwhatistheproperprotocolvisͲàͲvisyou,DSI,andtheboard?Ihavetriedto
taketheconservativeapproachinkeepingyouallinformedandaskingforconsentorapprovalwhereIthoughtsit

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appropriate.Iassumethisishowyou’dliketocontinuetohandlethings,butIwouldlikeconfirmationofthat.Second,I
haveheardthatyouallwereworkingtotransferacoupleofthelegalpersonnel(perhapsThedfordandPost)toHCMFA
sotheycouldassistwiththeworkload(particularlyintheareaswhereIdon’thaveasignificantamountof
experience).I’dliketoknowwherethatstandsandwhenreliefcanbeexpected.

I’mavailablemostoftodayandtomorrowtodiscuss.

 
D.C. S AU T E R 
 

                                        

O: 972.628.4117 | C: 469.877.6440   

From:JamesSeery<jpseeryjr@gmail.com>
Sent:Tuesday,September15,20207:01AM
To:DCSauter<DSauter@NexPointadvisors.com>
Cc:GregoryV.Demo<GDemo@pszjlaw.com>;IsaacLeventon<ILeventon@HighlandCapital.com>
Subject:Re:AcisSettlement

DC.Wewilldiscussandreverttoyou.NeitherIsaacnoranyoneelseatHCMLPispermittedtoworkonanyissues
relatedtothesettlementandreleaseotherthanasdirectedbyme.

Thanks

SentfrommyiPad


           OnSep14,2020,at7:08PM,DCSauter<DSauter@nexpointadvisors.com>wrote:

           
           Greg,
           
           I’vebeenaskedtoreviewtheattachedreleaseonbehalfofHCMFAandtheclosedͲendfunds.I’m
           concernedthatthelanguagebelowcreatesanambiguityastowhethertheclosedͲendfundsand
           HCMFAhavereleasedclaimsagainsttheACISparties:
           
                 1.         ThereleasebyStrand,whichalsoservesasthegeneralpartnerofHCMFA;and
                 2.         Thereleasebyeach“HCMLPEntity”ofits“respectivecurrentadvisors,trustees,directors,
                            officers,managers,members,partners,currentorformeremployees,beneficiaries,
                            shareholders,agents,participants,subsidiaries,parents,affiliates,successors,designees,
                            andassigns.”
           
           Wewouldlikethefinalsentenceinparagraph1.a.oftheReleasetoberevisedtospecificallyidentify
           HCMFAandtheclosedͲendfundsaspartiesnotcoveredbytherelease.Pleaseletmeknowifyou’dlike
           todiscussinmoredetail.
           
             
           D.C. S AU T E R | G E N E R A L C O U N S E L , R E A L E S T A T E 
            
           <image001.jpg>
            
           300 Crescent Court | Suite 700 | Dallas, Texas 75201
           O: 972.628.4117 | C: 469.877.6440 | F: 972.628.4147
           dsauter@nexpointadvisors.com | www.NexPointGroup.com

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                                                                                                                                                      
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   PRIVILEGE WARNING: The sender or recipient of this message is a member of the legal department at Highland Capital Management. This
   message and any attachments hereto may constitute attorney work product or be protected by the attorney-client privilege. Do not disclose
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   <AcisͲRelease(EXECUTIONVERSION).pdf>




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The following constitutes the ruling of the court and has the force and effect therein described.




Signed January 11, 2021
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION
                                                                  §
     In re:                                                           Chapter 11
                                                                  §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                             Case No. 19-34054-sgj11
                                                                  §
                                                                  §
                                      Debtor.
                                                                  §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                  §
                                                                  §   Adversary Proceeding No.
                                      Plaintiff,
                                                                  §
                                                                  §   No. 20-03190-sgj
     vs.
                                                                  §
                                                                  §
     JAMES D. DONDERO,
                                                                  §
                                      Defendant.                  §

           ORDER GRANTING DEBTOR’S MOTION FOR A PRELIMINARY INJUNCTION
                             AGAINST JAMES DONDERO

              This matter having come before the Court on Plaintiff Highland Capital Management,

     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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  L.P.’s Emergency Motion for a Temporary Restraining Order and Preliminary Injunction

  against Mr. James Dondero [Adv. Pro. Docket No. 2] (the “Motion”), filed by Highland Capital

  Management, L.P., the debtor and debtor-in-possession (the “Debtor”) in the above-captioned

  chapter 11 case (the “Bankruptcy Case”), and the plaintiff in the above-captioned adversary

  proceeding (the “Adversary Proceeding”); and this Court having considered (a) the Motion, (b)

  Plaintiff Highland Capital Management, L.P.’s Verified Original Complaint for Injunctive Relief

  [Adv. Pro. Docket No. 1] (the “Complaint”), (c) the arguments and law cited in the Debtor’s

  Amended Memorandum of Law in Support of its Motion for a Temporary Restraining Order and

  Preliminary Injunction against Mr. James Dondero [Adv. Pro. Docket No. 3] (the

  “Memorandum of Law,” and together with the Motion and Complaint, the “Debtor’s Papers”),

  (d) James Dondero’s Response in Opposition to Debtor’s Motion for a Preliminary Injunction

  [Adv. Pro. Docket No. 52] (the “Opposition”) filed by James Dondero, (e) the testimonial and

  documentary evidence admitted into evidence during the hearing held on January 8, 2021 (the

  “Hearing”), including assessing the credibility of Mr. James Dondero, (f) the arguments made

  during the Hearing, and (g) all prior proceedings relating to the Motion, including the December

  10, 2020 hearing on the Debtor’s Motion for a Temporary Restraining Order and Preliminary

  Injunction against James Dondero [Adv. Pro. Docket No. 6] (the “TRO Hearing”); and this

  Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court

  having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court

  having found that venue of this proceeding and the Motion in this District is proper pursuant to

  28 U.S.C. §§ 1408 and 1409; and this Court having found that injunctive relief is warranted

  under sections 105(a) and 362(a) of the Bankruptcy Code and that the relief requested in the

  Motion is in the best interests of the Debtor’s estate, its creditors, and other parties-in-interest;



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  and this Court having found that the Debtor’s notice of the Motion and opportunity for a hearing

  on the Motion were appropriate and that no other notice need be provided; and this Court having

  determined that the legal and factual bases set forth in the Debtor’s Papers, and the evidence

  submitted in support thereof, establish good cause for the relief granted herein, and that (1) such

  relief is necessary to avoid immediate and irreparable harm to the Debtor’s estate and

  reorganization process; (2) the Debtor is likely to succeed on the merits of its underlying claim

  for injunctive relief; (3) the balance of the equities tip in the Debtor’s favor; and (4) such relief

  serves the public interest; and upon all of the proceedings had before this Court; and after due

  deliberation and sufficient cause appearing therefor and for the reasons set forth in the record on

  this Motion, it is HEREBY ORDERED THAT:

          1.       The Motion is GRANTED as set forth herein.

          2.       James Dondero is preliminarily enjoined and restrained from (a) communicating

  (whether orally, in writing, or otherwise), directly or indirectly, with any Board member unless

  Mr. Dondero’s counsel and counsel for the Debtor are included in any such communication; (b)

  making any express or implied threats of any nature against the Debtor or any of its directors,

  officers, employees, professionals, or agents, in whatever capacity they are acting; (c)

  communicating with any of the Debtor’s employees, except as it specifically relates to shared

  services currently provided to affiliates owned or controlled by Mr. Dondero; (d) interfering with

  or otherwise impeding, directly or indirectly, the Debtor’s business, including but not limited to

  the Debtor’s decisions concerning its operations, management, treatment of claims, disposition

  of assets owned, controlled or managed by the Debtor, and the pursuit of the Plan or any




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  alternative to the Plan; and (e) otherwise violating section 362(a) of the Bankruptcy Code

  (collectively, the “Prohibited Conduct”). 2

          3.       James Dondero is further preliminarily enjoined and restrained from causing,

  encouraging, or conspiring with (a) any entity owned or controlled by him, and/or (b) any person

  or entity acting with him or on his behalf, to, directly or indirectly, engage in any Prohibited

  Conduct.

          4.       James Dondero is further preliminarily enjoined and restrained from

  communicating (in person, telephonically, by e-mail, text message or otherwise) with Scott

  Ellington and/or Isaac Leventon, unless otherwise ordered by the Court.

          5.       James Dondero is further preliminarily enjoined and restrained from physically

  entering, or virtually entering through the Debtor’s computer, email, or information systems, the

  Debtor’s offices located at Crescent Court in Dallas, Texas, or any other offices or facilities

  owned or leased by the Debtor, regardless of any agreements, subleases, or otherwise, held by

  the Debtor’s affiliates or entities owned or controlled by Mr. Dondero, without the prior written

  permission of Debtor’s counsel made to Mr. Dondero’s counsel. If Mr. Dondero enters the

  Debtor’s office or other facilities or systems without such permission, such entrance will

  constitute trespass.

          6.       James Dondero is ordered to attend all future hearings in this Bankruptcy Case by

  Webex (or whatever other video platform is utilized by the Court), unless otherwise ordered by

  the Court.

          7.       This Order shall remain in effect until the date that any plan of reorganization or

  liquidation resolving the Debtor’s case becomes effective, unless otherwise ordered by the Court.

  2
   For the avoidance of doubt, this Order does not enjoin or restrain Mr. Dondero from (1) seeking judicial relief
  upon proper notice or from objecting to any motion filed in this Bankruptcy Case, or (2) communicating with the
  committee of unsecured creditors (the “UCC”) and its professionals regarding a pot plan.

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          8.       All objections to the Motion are overruled in their entirety.

          9.       The Court shall retain exclusive jurisdiction with respect to all matters arising

  from or relating to the implementation, interpretation, and enforcement of this Order.


                                       ### END OF ORDER ###




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                                                                                   EXHIBIT 4




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                              EXHIBIT 182




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                              EXHIBIT 183




              INTENTIONALLY

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                              EXHIBIT 184




                                                                          Appx. 02982
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D. Michael Lynn
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State Bar I.D. No. 02589100
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(817) 405-6902 facsimile

ATTORNEYS FOR DEFENDANT JAMES DONDERO

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

In re:                            §                                  Case No. 19-34054
                                  §
HIGHLAND CAPITAL MANAGEMENT, L.P. §                                  Chapter 11
                                  §
    Debtor.                       §

                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                   §
    Plaintiff.                     §
v.                                 §                                 Adversary No. 21-03003
                                   §
JAMES D. DONDERO,                  §
                                   §
    Defendant.                     §

          DEFENDANT JAMES DONDERO’S RULE 26 INITIAL DISCLOSURES

TO:      Plaintiff Highland Capital Management, L.P., by and through its attorneys of record, John
         Morris, Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los
         Angeles, CA 90067.


         Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, made applicable to this

proceeding through Rule 7026 of the Federal Rules of Bankruptcy Procedure, Defendant James




 RULE 26 INITIAL DISCLOSURES                                                                PAGE 1

                                                                                       Appx. 02983
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Dondero (“Dondero” or “Defendant”) makes the following initial disclosures to Plaintiff Highland

Capital Management, L.P. (“Plaintiff” or “Debtor”). 1

1.       The names, and, if known, the addresses, and telephone numbers of individuals likely
         to have discoverable information, along with the subjects of that information are
         listed below. Defendant reserves the right to amend and/or supplement these
         disclosures.

ANSWER:

James D. Dondero
c/o D. Michael Lynn
Clay M. Taylor
Bryan C. Assink
BONDS ELLIS EPPICH SCHAFER JONES LLP
420 Throckmorton Street, Suite 1000
Fort Worth, Texas 76102
Attorneys for Defendant

Dondero may have knowledge regarding the claims, defenses, and factual circumstances at issue
in the Debtor’s complaint and this adversary proceeding, including, without limitation, the terms
of the promissory notes, the drafting and execution of the notes, the agreement of the Debtor to
not collect on the notes upon fulfillment of conditions subsequent, the purpose and intent of the
notes, the Debtor’s prior use of forgivable loans, and Dondero’s compensation from the Debtor
during his employment.


Highland Capital Management, L.P. and certain of its current employees
c/o John Morris
PACHULSKI STANG ZIEHL & JONES LLP
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Attorneys for Plaintiff

Debtor and certain of its current employees, including potentially Thomas Surgent, David Klos,
and Kristen Hendrix, may have knowledge regarding the claims, defenses, and factual
circumstances at issue in the Debtor’s complaint and Dondero’s defenses to the allegations in the
complaint, including the circumstances surrounding the execution of the notes and related
transfers, the agreement of the Debtor to not collect on the notes upon fulfillment of conditions

1 Defendant makes these disclosures subject in all respects to his Motion for Withdrawal of the Reference [Adv. Dkt.
No. 21] and the Motion to Stay Pending the Motion to Withdraw the Reference of Plaintiff’s Complaint [Adv. Dkt.
No. 22] filed on April 15, 2021. Defendant does not waive, but instead hereby preserves, his right to a jury trial and
all rights and requests for relief asserted in the motions. Defendant does not consent to the Bankruptcy Court
determining this proceeding or entering final orders or judgments in this proceeding. Instead, Defendant requests that
the reference be withdrawn and that the District Court adjudicate this proceeding.



 RULE 26 INITIAL DISCLOSURES                                                                                  PAGE 2

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subsequent, the Debtor’s prior use of forgivable loans, and Dondero’s compensation from the
Debtor during his employment.


Brian Collins, former employee of the Debtor
Tel: 213-550-4538

As a former employee, he may have knowledge regarding the claims, defenses, and factual
circumstances at issue in the Debtor’s complaint and this adversary proceeding, including, without
limitation, the promissory notes, the circumstances surrounding the preparation and/or execution
of the notes and related transfers, the agreement of the Debtor to not collect on the notes upon
fulfillment of conditions subsequent, the Debtor’s prior use of forgivable loans, compensation of
Debtor employees, and Dondero’s compensation from the Debtor during his employment.


Amy Theriot, former employee of the Debtor
Tel: 214-893-5352

As a former employee, she may have knowledge regarding the claims, defenses, and factual
circumstances at issue in the Debtor’s complaint and this adversary proceeding, including, without
limitation, the promissory notes, the circumstances surrounding the preparation and/or execution
of the notes and related transfers, the agreement of the Debtor to not collect on the notes upon
fulfillment of conditions subsequent, the Debtor’s prior use of forgivable loans, compensation of
Debtor employees, and Dondero’s compensation from the Debtor during his employment.


Mark Okada, former employee of the Debtor
Tel: 975-989-1000

As a former employee, he may have knowledge regarding the claims, defenses, and factual
circumstances at issue in the Debtor’s complaint and this adversary proceeding, including, without
limitation, the promissory notes, the circumstances surrounding the preparation and/or execution
of the notes and related transfers, the agreement of the Debtor to not collect on the notes upon
fulfillment of conditions subsequent, the Debtor’s prior use of forgivable loans, compensation of
Debtor employees, and Dondero’s compensation from the Debtor during his employment.


Scott Ellington, former employee of the Debtor
c/o Frances Smith
Ross & Smith PC
700 N. Pearl Street, Suite 1610
Dallas, TX 75201

As a former employee, he may have knowledge regarding the claims, defenses, and factual
circumstances at issue in the Debtor’s complaint and this adversary proceeding, including, without
limitation, the promissory notes, the circumstances surrounding the preparation and/or execution



 RULE 26 INITIAL DISCLOSURES                                                               PAGE 3

                                                                                      Appx. 02985
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of the notes and related transfers, the agreement of the Debtor to not collect on the notes upon
fulfillment of conditions subsequent, the Debtor’s prior use of forgivable loans, compensation of
Debtor employees, and Dondero’s compensation from the Debtor during his employment.


Frank Waterhouse, former employee of the Debtor
c/o Frances Smith
Ross & Smith PC
700 N. Pearl Street, Suite 1610
Dallas, TX 75201

As a former employee, he may have knowledge regarding the promissory notes, the circumstances
surrounding the execution of the notes and related transfers, the agreement of the Debtor to not
collect on the notes upon fulfillment of conditions subsequent, the Debtor’s prior use of forgivable
loans, compensation of Debtor employees, and Dondero’s compensation from the Debtor during
his employment.

John Honis, employee of Rand Advisors
Tel: 214-335-7969

As an employee of Rand Advisors, he may have knowledge regarding the Debtor’s prior use of
forgivable loans.


Jack Yang, former employee of the Debtor
Tel: 646-387-2351

As a former employee, he may have knowledge regarding the Debtor’s prior use of forgivable
loans.


Paul Adkins, former employee of the Debtor
Tel: +65 9728 0599

As a former employee, he may have knowledge regarding the Debtor’s prior use of forgivable
loans.


Pat Daugherty, former employee of the Debtor
c/o Jason Kathman
Spencer Fane LLP
2200 Ross Avenue, Suite 4800
Dallas, TX 75201

As a former employee, he may have knowledge regarding the Debtor’s prior use of forgivable
loans.



 RULE 26 INITIAL DISCLOSURES                                                                 PAGE 4

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Tim Lawler, former employee of the Debtor
Tel: 847-305-3013

As a former employee, he may have knowledge regarding the Debtor’s prior use of forgivable
loans.


Appu Mundassery, former employee of the Debtor

As a former employee, he may have knowledge regarding the Debtor’s prior use of forgivable
loans.


Mike Hurley, former employee of the Debtor
Tel: 775-750-8921

As a former employee, he may have knowledge regarding the Debtor’s prior use of forgivable
loans.

Gibran Mahmud, former employee of the Debtor
Tel: 972-740-0018

As a former employee, he may have knowledge regarding the Debtor’s prior use of forgivable
loans.



2.      A copy or a description by category and location, of all documents, electronically stored

information, and tangible things that the disclosing party has in its possession, custody, or control

and may use to support its claims or defenses.

ANSWER: Defendant may have documents and communications related to the following

matters in his possession, custody, or control that he may use to support his claims or

defenses. The inclusion of a general category of documents below does not mean that specific

documents necessarily exist or that Defendant has such documents in his possession, custody,

or control.




 RULE 26 INITIAL DISCLOSURES                                                                  PAGE 5

                                                                                         Appx. 02987
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                1.      Documents and communications related to the allegations in the complaint

                        and Dondero’s defenses to the allegations in the complaint, including,

                        without limitation, documents related to the terms of the promissory notes,

                        the drafting and execution of the notes, the agreement of the Debtor to not

                        collect on the notes upon fulfillment of conditions subsequent, the purpose

                        and intent of the notes, the Debtor’s prior use of forgivable loans, and

                        Dondero’s compensation from the Debtor during his employment.

                2.      Documents related to Dondero’s personal tax returns.

                3.      Documents related to tax loan(s) made by the Debtor to Dondero and such

                        tax amounts incurred related to federal partnership tax.

                4.      Documents and/or communications related to Dondero’s compensation

                        during his employment at Highland.

                5.      Any and all pleadings filed in this matter and the main bankruptcy case.



3.      A computation of each category of damages claimed by the disclosing party, who must

also make available for inspection and copying as under Rule 34 the documents or other

evidentiary material, unless privileged or protected from disclosure, on which each computation is

based, including materials bearing on the nature and extent of injuries suffered.

ANSWER:

        Defendant is not seeking actual damages at this time.

4.      For inspection and copying as under Rule 34, any insurance agreement under which an

insurance business may be liable to satisfy all or part of a possible judgment in the action or to

indemnify or reimburse for payments made to satisfy the judgment.




 RULE 26 INITIAL DISCLOSURES                                                                 PAGE 6

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ANSWER:

        No such insurance agreements known.

                                       Reservation of Rights

        Defendant makes these disclosures subject in all respects to his Motion for Withdrawal of

the Reference [Adv. Dkt. No. 21] and Motion to Stay Pending the Motion to Withdraw the

Reference of Plaintiff’s Complaint [Adv. Dkt. No. 22] filed on April 15, 2021. Defendant does not

waive, but hereby preserves, his right to a jury trial and all additional rights and relief available as

asserted in the motions.

        The Defendant’s investigation is ongoing, and he reserves the right to further amend,

modify and/or supplement these initial disclosures as provided in Federal Rule of Civil Procedure

26(e) if warranted and to the extent additional disclosures are not mooted or made redundant by

information made known during the discovery process or in writing. In addition, the Defendant

makes these initial disclosures without waiving but expressly preserving: (a) his right to a jury

trial; (b) his right to have this proceeding determined by the District Court; (c) his right to object

to the entry of any final orders or final judgments by the Bankruptcy Court in this proceeding; (d)

the right to object to any discovery requests or to the admissibility of evidence on the grounds of

privilege, work product, relevance, materiality, or any other proper ground; and (e) the right to

object to the use of any information provided in or derived from these initial disclosures for any

purpose in this action.




 RULE 26 INITIAL DISCLOSURES                                                                     PAGE 7

                                                                                           Appx. 02989
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Dated: April 15, 2021                               Respectfully submitted,

                                                    /s/ Bryan C. Assink
                                                    D. Michael Lynn
                                                    State Bar I.D. No. 12736500
                                                    John Y. Bonds, III
                                                    State Bar I.D. No. 02589100
                                                    Clay M. Taylor
                                                    State Bar I.D. No. 24033261
                                                    Bryan C. Assink
                                                    State Bar I.D. No. 24089009
                                                    BONDS ELLIS EPPICH SCHAFER JONES LLP
                                                    420 Throckmorton Street, Suite 1000
                                                    Fort Worth, Texas 76102
                                                    (817) 405-6900 telephone
                                                    (817) 405-6902 facsimile
                                                    Email: michael.lynn@bondsellis.com
                                                    Email: john@bondsellis.com
                                                    Email: clay.taylor@bondsellis.com
                                                    Email: bryan.assink@bondsellis.com

                                                    ATTORNEYS FOR DEFENDANT JAMES
                                                    DONDERO

                               CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on April 15, 2021, a true and correct copy of the
foregoing Rule 26 initial disclosure was served via email on counsel for the Plaintiff as listed
below.

        Jeff Pomerantz
        Ira Kharasch
        John Morris
        Greg Demo
        Hayley Winograd
        PACHULSKI STANG ZIEHL & JONES LLP
        10100 Santa Monica Blvd., 13th Floor
        Los Angeles, CA 90067
        Email: jpomerantz@pszjlaw.com
        ikharasch@pszjlaw.com
        jmorris@pszjlaw.com
        gdemo@pszjlaw.com
        hwinograd@pszjlaw.com

                                                    /s/ Bryan C. Assink
                                                    Bryan C. Assink



 RULE 26 INITIAL DISCLOSURES                                                              PAGE 8

                                                                                     Appx. 02990
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                              EXHIBIT 185




                                                                          Appx. 02991
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                                                                                    Docket #0084 Date Filed: 11/30/2021



PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
John A. Morris (NY Bar No. 2405397) (admitted pro hac vice)
Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
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Fax: (972) 755-7110

Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re:                                                         §
                                                                §   Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           §
                                                                §   Case No. 19-34054-sgj11
                                                                §
                                    Reorganized Debtor.
                                                                §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                             §
                                                                §
                                    Plaintiff,                  §   Adversary Proceeding No.
                                                                §
 vs.                                                            §   21-03004-sgj
                                                                §
 HIGHLAND CAPITAL MANAGEMENT FUND                               §
 ADVISORS, L.P.,                                                §
                                                                §
                                    Defendant.                  §


1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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      PLAINTIFF’S THIRD AMENDED NOTICE OF RULE 30(B)(6) DEPOSITION
         TO HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.

        PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

 Procedure, made applicable herein pursuant to Rules 7030 and 9014 of the Federal Rules of

 Bankruptcy Procedure, Highland Capital Management, L.P., the plaintiff in the above-referenced

 adversary proceeding in the above-captioned chapter 11 case, shall take the deposition of

 Highland Capital Management Fund Advisors, L.P. (“HCMFA”) by the person(s) most qualified

 to testify on HCMFA’s behalf with respect to the topics described in Exhibit A attached hereto

 on December 1, 2021, commencing at 10:00 a.m. Central Time or at such other day and time

 as the Plaintiff may agree in writing. The deposition will be taken under oath before a notary

 public or other person authorized by law to administer oaths and will be visually recorded by

 video or otherwise.

        The deposition will be taken remotely via an online platform due to the coronavirus

 pandemic such that no one will need to be in the same location as anyone else in order to

 participate in the deposition and by use of Interactive Realtime.



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   Dated: November 30, 2021.          PACHULSKI STANG ZIEHL & JONES LLP

                                      /s/ John A. Morris
                                      Jeffrey N. Pomerantz (CA Bar No.143717)
                                      Ira D. Kharasch (CA Bar No. 109084)
                                      John A. Morris (NY Bar No. 2405397)
                                      Gregory V. Demo (NY Bar No. 5371992)
                                      10100 Santa Monica Blvd., 13th Floor
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                                      E-mail:     jpomerantz@pszjlaw.com
                                                  ikharasch@pszjlaw.com
                                                  jmorris@pszjlaw.com
                                                  gdemo@pszjlaw.com
                                      -and-


                                      HAYWARD PLLC

                                      Melissa S. Hayward
                                      Texas Bar No. 24044908
                                      MHayward@HaywardFirm.com
                                      Zachery Z. Annable
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                                      Fax: (972) 755-7110
                                      Counsel for Highland Capital Management, L.P.




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                                                 EXHIBIT A

                                                DEFINITIONS

                    1.         “Amended Answer” means Defendant’s Amended Answer lodged in the

   above-referenced adversary proceeding at Docket No. 48.

                    2.         “Bankruptcy Case” refers to the above-referenced bankruptcy case styled

   as In re Highland Capital Management, L.P., Case No. 19-34054-sgj11.

                    3.         “Communications” means the transmittal of information (in the form of

   facts, ideas, inquiries, or otherwise) and includes all oral and written communications of any

   nature, type or kind including, but not limited to, any ESI (and any attachments thereto),

   Documents, telephone conversations, text messages, discussions, meetings, facsimiles, e-mails,

   pagers, memoranda, and any other medium through which any information is conveyed or

   transmitted.

                    4.         “Concerning” means and includes relating to, constituting, defining,

   evidencing, mentioning, containing, describing, discussing, embodying, reflecting, edifying,

   analyzing, stating, referring to, dealing with, or in any way pertaining to the subject matter.

                    5.         “Discovery Requests” means (i) the Debtor’s First Requests for Admission

   Directed to Highland Capital Management Fund Advisors, L.P., (ii) the Debtor’s First Request

   for Production of Documents Directed to Highland Capital Management Fund Advisors, L.P.,

   and (iii) the Debtor’s First Interrogatories Directed to Highland Capital Management Fund

   Advisors, L.P.

                    6.         “Document” means and includes all written, recorded, transcribed or

   graphic matter of every nature, type and kind, however and by whoever produced, reproduced,

   disseminated or made. This includes, but is not limited to, Communications, ESI, “writings” as

   defined by Rule 1001 of the Federal Rules of Evidence, copies or drafts, and any tangible or



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                                                                                              Appx. 02995
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   intangible thing or item that contains any information. Any Document that contains any comment,

   notation, addition, insertion or marking of any type or kind which is not part of another Document,

   is to be considered a separate Document.

                    7.         “Exhibits” refers to each of the documents identified as Exhibits 28-66 on

   Debtor’s Amended Witness and Exhibit List with Respect to Hearing to Be Held on May 25, 2021

   lodged in the above-referenced adversary proceeding at Docket No. 35.

                    8.         “HGAF” shall have the meaning ascribed to that term in paragraph 38 of

   the Amended Answer.

                    9.         “Highland” means Highland Capital Management, L.P.

                    10.        “Insurance Claim” means any claim that You filed for insurance coverage

   Concerning the NAV Error.

                    11.        “Motion to Amend” means Defendant’s Motion for Leave to Amend

   Answer lodged in the above-referenced adversary proceeding at Docket No. 32.

                    12.        “NAV Error” means the error made in calculating the net asset value of the

   equity interests HGAF held in TerreStar that were sold in March 2018.

                    13.        “Notes” shall have the meaning ascribed to that term in paragraph 15 of the

   Complaint for (I) Breach of Contract and (II) Turnover of Property of the Debtor’s Estate lodged

   in the above-referenced adversary proceeding at Docket No. 1.

                    14.        “Original Answer” means Defendant’s Original Answer lodged in the

   above-referenced adversary proceeding at Docket No. 6.

                    15.        “Retail Board” means any board of trustees or directors of any fund to

   which You provide advisory services.

                    16.        “Sauter Declaration” means the Declaration of Dennis C. Sauter, Jr.

   lodged in the above-referenced adversary proceeding at Docket No. 32-1.


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                                                                                                Appx. 02996
Case 21-03007-sgj Doc 127-4 Filed 12/18/21                 Entered 12/18/21 02:23:50     Page 233 of 474

    Case 21-03004-sgj Doc 84 Filed 11/30/21                Entered 11/30/21 17:53:40   Page 6 of 7



                    17.        “You” or “Your” means Highland Capital Management Fund Advisors,

   L.P., and anyone authorized to act on its behalf.

                                               Rule 30(b)6) Topics

   Topic No. 1:

            Your Original Answer.

   Topic No. 2:

           Your Amended Answer

   Topic No. 3:

            Each Affirmative Defense asserted in Your Amended Answer, including but not limited

   to all facts and circumstances, Communications, and Documents Concerning each Affirmative

   Defense. See Answer ¶¶ 38-47.

   Topic No. 4:

           The Notes, including but not limited to (a) the negotiation of the Notes, (b) the terms of

   the Notes, (c) Communications Concerning the Notes, (d) any payments of principal or interest

   made by You or on Your behalf with respect to the Notes, (e) the use of the proceeds of the Notes,

   (f) Your communications with Your outside auditors Concerning the Notes and the obligations

   thereunder, and (g) any agreements Concerning the Notes.

   Topic No. 5:

           The Exhibits.

   Topic No. 6:

           The Motion to Amend.

   Topic No. 7:

           The Sauter Declaration.

   Topic No. 8:


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   DOCS_NY:44191.6 36027/003
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           Any Insurance Claim that You filed, including but not limited to: (a) any proceeds You

   received on account of any Insurance Claim; (b) any deductible paid by You in connection with

   any Insurance Claim; (c) the date You received any insurance proceeds on account of any

   Insurance Claim; (d) the use of the proceeds from any Insurance Claim; and (e) any

   Communications with any insurance carrier that processed any Insurance Claim.

   Topic No. 9:

           Any “consent fee” paid by You in April or May 2019, including the amount, date of

   payment, and source of funding for any such “consent fee.”

   Topic No. 10:

           Your accounting for (a) the $2.4 million transferred from Highland to You on May 2,

   2019, and (b) the $5 million transferred from Highland to You on May 3, 2019.

   Topic No. 11:

           Communications in 2020 with any Retail Board concerning any amounts due and owing

   by You to Highland, including but not limited to the disclosures You made to any Retail Board in

   October 2020.

   Topic No. 12:

           All Communications that You made in the Bankruptcy Case Concerning the Notes,

   including in any pleading, court filing, or argument.

   Topic No. 13:

           The identity (including the title or position) of each of Your officer(s), director(s), direct

   and indirect owner(s), and employee(s) for the period January 1, 2018 through the present.

   Topic No. 14:

            Your responses to the Discovery Requests.




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                                                                                               Appx. 02998
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                              EXHIBIT 186




              INTENTIONALLY

                         OMITTED




                                                                          Appx. 02999
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                              EXHIBIT 187




              INTENTIONALLY

                         OMITTED




                                                                          Appx. 03000
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                              EXHIBIT 188




                                                                          Appx. 03001
        Case 21-03007-sgj Doc 127-4 Filed 12/18/21                                  Entered 12/18/21 02:23:50     Page 238 of 474

                 Case 21-03003-sgj Doc 11-1 Filed 03/30/21                            Entered 03/30/21 11:24:52    Page 2 of 2




From:                                                  David Klos <DKlos@HighlandCapital.com>
Sent:                                                  Friday, February 02, 2018 2:16 PM
To:                                                    Corporate Accounting
Cc:                                                    Melissa Schroth
Subject:                                               $3.825mm to Jim


Blair,
Pleasesetup$3.825mmtogotoJimthisafternoon.Frankhasapproved.

Drew,thisisanewloan.



DAVID KLOS | CONTROLLER




300 Crescent Court | Suite 700 | Dallas, Texas 75201
C: 214.674.2926 | O: 972.419.4478 | F: 972.628.4147
dklos@highlandcapital.com | www.highlandcapital.com




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                                                                                                                   Appx. 03002
Case 21-03007-sgj Doc 127-4 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 239 of 474




                              EXHIBIT 189




                                                                          Appx. 03003
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          Case 21-03003-sgj Doc 11-2 Filed 03/30/21           Entered 03/30/21 11:24:52    Page 2 of 2




From: wiremail@bbvacompass.com <wiremail@bbvacompass.com>
Sent: Friday, February 2, 2018 1:35 PM
To: Corporate Accounting <CorporateAccounting@hcmlp.com>
Subject: Compass Bank [Texas Bank Outgoing] Message ID:180202133456H400 Advice Code:TxBkOut

Compass Bank Wire Transfer Dept.
701 S 32nd Street
Birmingham, AL 35233

Outgoing Wire - Advice of Debit

Date: 2018-02-02 00:00:00         Wire Create Time 13:34:57

    Account #    :
    Account Name : HIGHLAND CAPITAL MANAGEMENT LP
    Amount          : $3,825,000.00
    GFX Reference      : 180202133456H400
    Receiving Bank : 311973208
    Recv BK Name       : NEXBANK SSB

    Originator     : HIGHLAND CAPITAL MANAGEMENT LP

    Beneficiary     : James Dondero
    Bene Acct #      :     884

    Beneficiary Info (OBI):
    2/2/2018 Loan

    Reference for Beneficiary (RFB):


    FED Reference Number (IMAD):
    20180202F2QCZ60C002532




                                                        1
                                                                                           Appx. 03004
Case 21-03007-sgj Doc 127-4 Filed 12/18/21   Entered 12/18/21 02:23:50   Page 241 of 474




                              EXHIBIT 190




                                                                          Appx. 03005
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                 Case 21-03003-sgj Doc 11-4 Filed 03/30/21                               Entered 03/30/21 11:24:52    Page 2 of 2




From:                                                  Blair Hillis <BHillis@HighlandCapital.com>
Sent:                                                  Wednesday, August 01, 2018 1:12 PM
To:                                                    David Klos; Corporate Accounting
Cc:                                                    Melissa Schroth
Subject:                                               RE: $2.5mm loan to Dondero


FundshavebeentransferredtoJim’saccount.Thanks!

KindRegards,
BlairRoeber

From:DavidKlos
Sent:Wednesday,August1,201810:47AM
To:CorporateAccounting
Cc:MelissaSchroth
Subject:$2.5mmloantoDondero

Jimhasauthorizeda$2.5mmloanfromHCMLPtoDondero.

Blair,canyoupleasesetupthiswiretoday?
Drew,canyoupleasedrawuploandocsforexecution?



DAVID KLOS | CONTROLLER




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                                                                                                                      Appx. 03006
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                              EXHIBIT 191




                                                                          Appx. 03007
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From:Aigen,MichaelP.[mailto:michael.aigen@stinson.com]
Sent:Friday,October15,20211:23PM
To:JohnA.Morris<jmorris@pszjlaw.com>
Cc:JeffPomerantz<jpomerantz@pszjlaw.com>;GregoryV.Demo<GDemo@pszjlaw.com>;HayleyR.Winograd
<hwinograd@pszjlaw.com>;'zannable@haywardfirm.com'<zannable@haywardfirm.com>;Rukavina,Davor
(drukavina@munsch.com)<drukavina@munsch.com>;DeitschͲPerez,DeborahR.<deborah.deitschperez@stinson.com>;
'ddraper@hellerdraper.com'<ddraper@hellerdraper.com>;Vasek,Julian(jvasek@munsch.com)<jvasek@munsch.com>;
Berghman,Thomas(tberghman@munsch.com)<tberghman@munsch.com>;ClayTaylor(clay.taylor@bondsellis.com)
<clay.taylor@bondsellis.com>;BryanAssink(bryan.assink@bondsellis.com)<bryan.assink@bondsellis.com>;DouglasDraper
<ddraper@hellerdraper.com>;elmsd@gtlaw.com
Subject:RE:HCMLP'sObjectionstoDefendants'Rule30(b)(6)Notice

John:

Defendantshavethefollowingobjectionstoyourcorporaterepresentativetopics:

NexPoint,HCMSandHCRE

Topic1:Youranswer.

DefendantsobjecttothistopicbecauseitisvagueandnotspecificenoughtoallowDefendantstoadequately
prepareawitness.Subjecttotheseobjections,Defendantswillprovideawitnessonthistopic.

Topic2:EachAffirmativeDefenseassertedinYourAnswer,includingbutnotlimitedtoallfactsandcircumstances,
Communications,andDocumentsConcerningeachAffirmativeDefense.

DefendantsobjecttothistopicbecauseitisvagueandnotspecificenoughtoallowDefendantstoadequately
prepareawitness.Subjecttotheseobjections,Defendantswillprovideawitnessonthistopic.

Topic3:TheNote,includingbutnotlimitedto(a)thenegotiationoftheNote,(b)thetermsoftheNote,(c)
CommunicationsConcerningtheNote,(d)anypaymentsofprincipalorinterestmadebyYouoronYourbehalfwith
respecttotheNote;(e)theuseoftheproceedsoftheNote,(f)YourcommunicationswithYouroutsideauditors
ConcerningtheNoteandtheobligationsthereunder,and(g)allagreementsConcerningtheNote.

DefendantsobjecttotheportionofthistopicseekinginformationrelatedtotheuseoftheproceedsoftheNote
becausethatinformationisnotreasonablycalculatedtoleadtothediscoveryofadmissibleevidence.Subjectto
theseobjections,Defendantswillprovideawitnessonthistopic.

Topic4:YourresponsestotheDiscoveryRequests.

DefendantsobjecttothistopicbecauseitisvagueandnotspecificenoughtoallowDefendantstoadequately
prepareawitness.Defendantsincorporateallobjectionsmadeintheirdiscoveryresponses.Subjecttothese
objections,Defendantswillprovideawitnessonthistopic.

Dugaboy
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
Topic2:YourauthoritytoenterintotheAllegedAgreement.

Defendantobjectstothistopictotheextentthatitseeksprivilegedinformationandseekslegalconclusions.Subject
totheseobjections,Defendantwillprovideawitnessonthistopic.

Topic3:Ownership,beneficialownership,andcontrolofTheDugaboyInvestmentTrust.

Defendantobjectstothistopicbecausethatinformationisnotreasonablycalculatedtoleadtothediscoveryof
admissibleevidence.Subjecttotheseobjections,Defendantwillprovideawitnessonthistopic.

Topics4Ͳ8:Otheragreementsotherthantheagreementsatissueintheseproceedings.

Defendantobjecttothesetopicsbecausethatinformationisnotreasonablycalculatedtoleadtothediscoveryof
admissibleevidence.Subjecttotheseobjections,Defendantwillprovideawitnessonthesetopics.

Topic9:YourresponsestotheDiscoveryRequests.

DefendantobjectstothistopicbecauseitisvagueandnotspecificenoughtoallowDefendanttoadequately
prepareawitness.Defendantincorporatesallobjectionsmadeinitsdiscoveryresponses.Subjecttothese
objections,Defendantwillprovideawitnessonthistopic.


Michael P. Aigen
Partner

STINSON LLP
3102 Oak Lawn Avenue, Suite 777
Dallas, TX 75219
Direct: 214.560.2201 \ Bio

STINSON.COM
From:JohnA.Morris<jmorris@pszjlaw.com>
Sent:Tuesday,October12,20215:50PM
To:Aigen,MichaelP.<michael.aigen@stinson.com>
Cc:JeffPomerantz<jpomerantz@pszjlaw.com>;GregoryV.Demo<GDemo@pszjlaw.com>;HayleyR.Winograd
<hwinograd@pszjlaw.com>;'zannable@haywardfirm.com'<zannable@haywardfirm.com>;Rukavina,Davor
(drukavina@munsch.com)<drukavina@munsch.com>;DeitschͲPerez,DeborahR.<deborah.deitschperez@stinson.com>;
'ddraper@hellerdraper.com'<ddraper@hellerdraper.com>;Vasek,Julian(jvasek@munsch.com)<jvasek@munsch.com>;
Berghman,Thomas(tberghman@munsch.com)<tberghman@munsch.com>;ClayTaylor(clay.taylor@bondsellis.com)
<clay.taylor@bondsellis.com>;BryanAssink(bryan.assink@bondsellis.com)<bryan.assink@bondsellis.com>
Subject:HCMLP'sObjectionstoDefendants'Rule30(b)(6)Notice

Michael:

HCMLPhasthefollowingobjectionstotheattachedRule30(b)(6)notice:

HCMLPobjectstoTopicNo.2(a)totheextentitcallsforHCMLPtotenderawitnesstotestifywithprecisiontoallprincipal,
interest,andfeesdueundereachNotethatisthesubjectoftheComplaints,andonthegroundsthat(b)HCMLPprovided
calculationsofdamagesinitsdemandanddefaultlettersaswellasitsComplaints,(c)thecategoriesofdamagesareall(i)
unpaidprincipal,(ii)accruedbutunpaidinterest,and(iii)costsofcollection,includingreasonableattorneys’fees(the
“Damages”),(d)basedontheNotesandthedocumentsproducedprovingHCMLP’scostsofcollection(whichwillbe
                                                                 2
                                                                                                           Appx. 03009
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supplementedfromtimetotimetoaccountforadditionalcosts),theDefendantsarejustaseasilycapableofcalculatingthe
DamagesatanymomentintimeasHCMLP,(e)itisunreasonabletoexpectanywitnesstospecificallyrecalltheprecise
DamagesdueundereachNote,particularlywhensuchDamagescontinuetoincreaseeveryday.

Subjecttothoseobjections,HCMLPwilltenderawitnesspreparedtotestifyonTopicNo.2.

HCMLPobjectstoTopicNo.4onthegroundsthat(a)thephrase“involvedin”isvagueandambiguous,and(b)itassumesthat
anyoftheNotesweresubjectto“negotiations.”

Subjecttothoseobjections,HCMLPwilltenderawitnesspreparedtotestifyastotheidentifyofindividualsitknowswere
involvedincommunicationsrelatedtotheexecutionand/ortermsofthenotes.

HCMLPobjectstoTopicNo.7onthegroundsthat(a)itseeks“facts”thataresolelywithintheDefendants’knowledge,and
that(b)Defendants’defensesandaffirmativedefenseshavemateriallychangedovertime,andareotherwiseambiguousor
notspecificallysetforthintheAnswers.

Subjecttothatobjection,HCMLPwilltenderawitnesspreparedtotestifyastofactsthatitknowsofthatrelatetoorconcern
thedefensesandaffirmativedefensesspecificallyprofferedbyanyoftheDefendants.

HCMLPobjectstoTopicsNo.9onthegroundsthat(a)thereisnotimelimitation,(b)theexistenceandtermsofallaffiliate
loans,includingallissuesconcerningforgivenessandforbearance,aresetforthindetailineachofHCMLP’sauditedfinancial
statementsforeachyearfrom2008through2018(includingthesectionsconcerning“SubsequentEvents”),andHCMLP
specificallyrefersDefendantstothoseauditedfinancialstatements,and(c)itisunreasonabletoexpectanywitnessto
specificallyrecalltheidentityofallaffiliatedborrowers,andtheamounts,dates,andtermsofallloansmadetoaffiliated
borrowers,includingwhether,when,andtowhatextentanysuchaffiliatedloanswereforgiven.

Subjecttothoseobjections,HCMLPwilltenderawitnesspreparedtotestifyastoloansitmadetoemployeesorofficersthat
wereforgiven,inwholeorinpart,duringtheperiod2008throughthePetitionDate.

HCMLPobjectstoTopicsNo.10onthegroundsthat(a)thereisnotimelimitation,(b)theexistenceandtermsofallaffiliate
loans,includingallissuesconcerningforgivenessandforbearance,aresetforthindetailineachofHCMLP’sauditedfinancial
statementsforeachyearfrom2008through2018(includingthesectionsconcerning“SubsequentEvents”),andHCMLP
specificallyrefersDefendantstothoseauditedfinancialstatements,and(c)itisunreasonabletoexpectanywitnessto
specificallyrecalltheidentityofallaffiliatedborrowers,andtheamounts,dates,andtermsofallloansmadetoaffiliated
borrowers,includingwhether,when,andtowhatextentanysuchaffiliatedloanswereforgiven.

Subjecttothoseobjections,HCMLPwilltenderawitnesspreparedtotestifyastoloansitmadetoemployeesorofficersthat
wereforgiven,inwholeorinpart,duringtheperiod2008throughthePetitionDate.

HCMLPobjectstoTopicsNo.11onthegroundsthat(a)thereisnotimelimitation,(b)documentsconcerningMr.Dondero’s
compensationfortheperiod2016through2020(the“CompensationDocuments”)havebeenorwillbeproducedandHCMLP
specificallyrefersDefendantstotheCompensationDocuments,and(c)itisunreasonabletoexpectanywitnesstospecifically
recallthespecificamountsandcomponentsofMr.Dondero’scompensationfrom2016and2020.

Subjecttothoseobjections,HCMLPwilltenderawitnesspreparedtotestifyastoloansitmadetoemployeesorofficersthat
wereforgiven,inwholeorinpart,duringtheperiod2008throughthePetitionDate.

HCMLPobjectstoTopicNo.12onthegroundsthatitis(a)overlybroad,undulyburdensome,andnotrelevanttotheclaims
ordefensesinthisadversaryproceeding,and(b)noneoftheDefendantswhoservedtheattachedRule30(b)(6)noticeisor
wasapartytoaSharedServicesAgreementwithHCMLP.

Basedontheforgoing,HCMLPwillnotprofferawitnesstotestifyastoTopicNo.12.

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                                                                                                        Appx. 03010
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
HCMLPobjectstoTopicNos.13,14,15,16,and17totheextentthosetopicsassumethatHCMLPhadanycontractualorlegal
dutyorobligationtotakeorrefrainfromtakingtheactionsdescribedtherein.

Subjecttothoseobjections,andanyadditionalobjectionsreferredtobelow,HCMLPwilltenderawitnesspreparedtotestify
onTopics13,14,15,16,and17.

HCMLPobjectstoTopicNo.14onthegroundthatthephrase“mayhavepreviouslyhadanyrole”isspeculative,vague,and
ambiguous.

Subjecttothatobjection,HCMLPwilltenderawitnesspreparedtotestifyastothosereferencedemployeeswho
actuallyprocessed,made,facilitatedorcoordinatedsuchpayments,ifany.

HCMLPobjectstoTopicNo.15onthegroundsthatthephrase(a)“[a]nycommunicationsorinstructionsthatmayhavebeen
given”isspeculative,vague,andambiguous,and(b)thereisnotimelimitation.

Subjecttothoseobjections,HCMLPwilltenderawitnesspreparedtotestifyastocommunicationsorinstructionsthatwere
actuallygivenfrom2018tothepresent,ifany.





From:Aigen,MichaelP.[mailto:michael.aigen@stinson.com]
Sent:Thursday,October07,20212:49PM
To:Rukavina,Davor<drukavina@munsch.com>;'zannable@haywardfirm.com'<zannable@haywardfirm.com>;JohnA.Morris
<jmorris@pszjlaw.com>;DeitschͲPerez,DeborahR.<deborah.deitschperez@stinson.com>;DouglasDraper
<ddraper@hellerdraper.com>
Cc:Vasek,Julian<jvasek@munsch.com>;Berghman,Thomas<tberghman@munsch.com>;ClayTaylor
(clay.taylor@bondsellis.com)<clay.taylor@bondsellis.com>;BryanAssink(bryan.assink@bondsellis.com)
<bryan.assink@bondsellis.com>;JeffPomerantz<jpomerantz@pszjlaw.com>;HayleyR.Winograd<hwinograd@pszjlaw.com>
Subject:RE:NexPointNoticeof30(b)(6)toDebtor

PleaseseeattachednoticefortheSeery/30B6deposition.

Michael P. Aigen
Partner

STINSON LLP
3102 Oak Lawn Avenue, Suite 777
Dallas, TX 75219
Direct: 214.560.2201 \ Bio

STINSON.COM
Thiscommunication(includinganyattachments)isfromalawfirmandmaycontainconfidentialand/orprivilegedinformation.Ifithas
beensenttoyouinerror,pleasecontactthesenderforinstructionsconcerningreturnordestruction,anddonotuseordisclosethe
contentstoothers.
From:Rukavina,Davor<drukavina@munsch.com>
Sent:Thursday,October7,202111:42AM
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Winograd<hwinograd@pszjlaw.com>
Subject:NexPointNoticeof30(b)(6)toDebtor

ExternalEmail–UseCaution

Counsel, please see attached notice.

Thank you


Davor Rukavina, Esq.

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500 N. Akard Street, Suite 3800 / Dallas, Texas 75201-6659

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                              EXHIBIT 192




                                                                          Appx. 03013
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1IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
2DALLAS DIVISION

3In re:)Chapter 11
)
4HIGHLAND CAPITAL MANAGEMENT, LP, )
)Case No.
5Debtor.)19-34054-SGJ-11
________________________________ )_______________________
6HIGHLAND CAPITAL MANAGEMENT, LP, )
)
7Plaintiff,)
)
8vs.)Advisory Proceeding No.
)21-03004
9NEXPOINT ADVISORS, LP; JAMES)
DONDERO; NANCY DONDERO; and THE)
10DUGABOY INVESTMENT TRUST,)
)
11Defendants.)

12
**********************************
13REMOTE DEPOSITION OF
DUSTIN NORRIS
14December 1, 2021
**********************************
15

16DUSTIN NORRIS, produced as a witness at the

17instance of the Highland Capital Management, was

18duly sworn and deposed in the above-styled and

19numbered cause on December 1, 2021, from

2010:01 a.m. CST to 3:25 p.m. CST, stenographically

21reported, pursuant to the Federal Rules of Civil

22Procedure and the provisions stated on the record.

23Job Number:203362
Reported by:Rebecca A. Graziano, CSR, RMR, CRR
24Texas CSR 9306
California CSR 14407
25Illinois CSR 084.004659


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1A P P E A R A N C E S                                      1INDEX
2(all attendees appearing via remote videoconference)              PAGE
3
                                                                      2
4REPRESENTING HIGHLAND CAPITAL MANAGEMENT, LP:
5John Morris, Esq.                                                 3EXAMINATION BY MR. MORRIS........................ 5
Hayley Winograd, Esq.                                              4
6PACHULSKI STANG ZIEHL & JONES LLP                                 5
780 Third Avenue
                                                                      6EXHIBITS
7New York City, New York10017
8                                                                    7NUMBERDESCRIPTIONPAGE
9                                                                    8Exhibit 185Plaintiff's Third Amended Notice of
10REPRESENTING NEXPOINT ADVISORS, LP:
                                                                      9Rule 30(b)(6) Deposition to
11Davor Rukavina, Esq.
MUNSCH HARDT KOPF & HARR, PC                                       10Highland Capital Management Fund
12500 North Akard Street                                            11Advisors............................. 7
Dallas, Texas75201                                                12
13
                                                                      13
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15REPRESENTING JAMES DONDERO, NANCY DONDERO, HCRE,                  14PREVIOUSLY MARKED EXHIBITS
and HCMS:                                                          15NUMBERDESCRIPTIONPAGE
16                                                                    16Exhibit 1Complaint for (I) Breach of
Michael Aigen, Esq.
                                                                      17Contract and (II) Turnover of
17STINSON LLP
3102 Oak Lawn Avenue                                               18Property of the Debtor's Estate...... 38
18Dallas, Texas75219                                               19Exhibit 5Defendant's Original Answer.......... 29
19                                                                    20Exhibit 13Defendant's Amended Answer........... 158
20
                                                                      21Exhibit 36Email Chain; Bates D-HCMFA290880
21ALSO PRESENT:
22La Asia Canty, Paralegal,                                         22through 290883....................... 87
Pachulski Stang Ziehl & Jones                                      23
23
                                                                      24
24
                                                                      25
25

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1PREVIOUSLY MARKED EXHIBITS                               1PROCEEDINGS
2NUMBERDESCRIPTIONPAGE                            2(On the record at 10:01 a.m. CST)
3Exhibit 45Highland Capital Management Fund                      3(Witness duly sworn.)
4Advisors, LP, Consolidated                                 4DUSTIN NORRIS,
5Financial Statements and                                   5being first duly sworn, testified as follows:
6Supplemental Information, 12/31/18;                        6EXAMINATION
7Bates D-CNL-002273 through 002296.... 46                   7BY MR. MORRIS:
8Exhibit 59Supplemental 15(c) Info Request;                      8QGood morning, Mr. Norris.As you may
9Bates HCMFAS 000025 through 000031... 71                   9recall, my name is John Morris.I'm an attorney
10Exhibit 147BBVA Compass Bank Statement, Date                    10at Pachulski Stang Ziehl & Jones, and we're
11Ending 5/31/19(no Bates range)..... 51                    11counsel to the reorganized debtor known as
12Exhibit 182Memo Dated 5/28/19 (no Bates range).. 119            12Highland Capital Management, LP, and we're here
13                                                                    13for your deposition today.
14                                                                    14Do you understand that?
15                                                                    15AYes, sir.
16                                                                    16QAnd do you understand that you're being
17                                                                    17deposed today in your capacity as what's called a
18                                                                    18Rule 30(b)(6) witness on behalf of Highland
19                                                                    19Capital Management Fund Advisors, LP?
20                                                                    20AI do.
21                                                                    21QCan we refer to Highland Capital
22                                                                    22Management Fund Advisors, LP, as "HCMFA"?
23                                                                    23AYes, that works.
24                                                                    24QAnd can we refer to Highland Capital
25                                                                    25Management, LP, as either "Highland" or "HCMLP"?

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1Dustin Norris                                        1Dustin Norris
2AYes.                                                      2accurate answers, will you let me know that?
3QOkay.Are you aware that your answers                     3AYes.
4today will bind HCMFA?                                        4QIf you need a break at any time, will you
5AGenerally, yes.                                           5let me know that as well?
6QOkay.Have you seen the notice that was                   6AI will.
7served by Highland on HCMFA in connection with                7QOkay.
8this deposition?                                              8MR. MORRIS:I would ask my
9AI have.                                                   9colleague, Ms. Canty, to put up on the
10QOkay.I've -- I've examined you before;                   10screen the Rule 30(b)(6) deposition
11right?                                                        11notice.
12AYes.                                                      12(Norris Exhibit 185 marked.)
13QOkay.So the rules are the exact same,                    13(Reporter discussion off the record.)
14and they are very simple.If I ask a question, I              14MR. MORRIS:Okay.Asia, what
15would ask you to refrain from answering until I've            15exhibit number should we put on this
16completed my question; is that fair?                          16document?
17AYes, it is.Thank you.                                    17MS. CANTY:185.
18QAnd if I begin a question or respond                      18MR. MORRIS:Okay.Davor and
19before you've completed your answer, will you let             19Michael, this will be Exhibit 185.
20me know that?                                                 20And if we can scroll down and show
21AYes.                                                      21it to Mr. Norris.
22QWe're going to be putting documents up on                 22BY MR. MORRIS:
23the screen from time to time today.If at any                 23QDo you see that this is the plaintiff's
24time you believe you need to see other portions of            24third amended notice of deposition for today?
25the document in order to give complete and                    25MR. RUKAVINA:And just so you
                                                         Page 8                                                                     Page 9
1Dustin Norris                                        1Dustin Norris
2know, John and Dustin, I did not send this                  2A-- but the original complaint from HCMLP.
3to you, Dustin.All that it does is                         3I have the original answer response from HCMFA. I
4changes the time of today's deposition.                     4have the amended response.I have the declaration
5It's identical to the last one that you                     5from Mr. Sauter.I have copies of the promissory
6did get.                                                    6notes.I have the shared services agreement. I
7THE WITNESS:Okay.And I have the                       7have a -- incumbency certificates, which will help
8last one here with me as well.                              8me respond to one of your questions in the
9BY MR. MORRIS:                                                930(b)(6) notice.And I have a board to the
10QOkay.So there's no -- I'll represent to                  10memo [sic] regarding NAV error, and I have the
11you that there's no difference between the one                11"Defendant's Second Motion for Leave to Amend
12that's on the screen and the one you have except              12Answer and Brief in Support Thereof" that was
13that the one on the screen says "Third Amended                13filed yesterday.
14Notice," and it was scheduled for 9:00 today.                 14So a number of documents that -- and I
15It's scheduled for 10:00 today, the -- the time               15also have up on my screen your exhibits that I
16that we're beginning.                                         16believe we'll be going through in one of the --
17Do you have any other documents in                      17let me check here -- Topic Number 5.So I have
18front of you other than the deposition notice?                18open, you know, a 650-page document that was filed
19AI do.                                                     19in Docket 35 on May 24th, I believe, is the
20QWhat -- what other documents do you have                  20correct document.So those are the materials that
21before you?                                                   21I have.
22AYeah.I have the original complaint I                     22QExcellent.I appreciate that.
23believe it's called -- forgive me if I call them              23So you've seen -- you've seen at least
24the wrong items --                                            24the plaintiff's second amended notice of
25QUh-huh.                                                   25Rule 30(b)(6) deposition before today.Do I have

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1Dustin Norris                                         1Dustin Norris
2that right?                                                    2and 9.Are they the same as what you have?
3AThat's correct.                                            3ACan you scroll down for 9?
4QAnd you have that with you; right?                         4QUh-huh.
5AI do.                                                      5AThey look to be the same, yes.
6QOkay.Are you prepared to testify on                       6QOkay.And let's just look at the last
7behalf of HCMFA today on -- in connection with                 7few.How about 10 through 14?Are they the same
8each of the topics in the deposition notice?                   8as the topics that are in your second amended
9AYes, I am.                                                 9notice?
10QAll right.                                                 10AThey look to be the same, yes.
11MR. MORRIS:Let's just, for the                          11QOkay.And did you do anything to prepare
12record, scroll down to make sure that the                    12for today's deposition?
13topics are the same as the -- the one that                   13AI did.
14Mr. Norris has in front of him.                              14QWhat did you do?
15BY MR. MORRIS:                                                 15AI reviewed all of the pleadings. I
16QDo you see the first five topics on the                    16reviewed all of the -- the documents that were, I
17screen?                                                        17believe, responsive to -- to help me to respond to
18AI do.                                                      18this, look through your exhibits.I had met with
19QAll right.Can you confirm that they're                    19Mr. Rukavina as counsel.I met and spoke with
20the same topics that you have in the second                    20Mr. Dondero.I spoke with Jason Post.
21amended notice of deposition?                                  21I spoke with -- I reviewed my
22AYes.I'm looking now.                                      22documents internally and emails, things that I
23Yes, they all are the same.                              23might have had, confirmed with our IT group that
24QOkay.And if we can continue to scroll                     24they have provided all documents responsive to
25down, you see Topics 6, 7, and 8 up on the screen,             25your discovery requests.
                                                         Page 12                                                             Page 13
1Dustin Norris                                         1Dustin Norris
2I reviewed the depositions of                            2QIs there any particular reason you didn't
3Mr. Seery, of Frank Waterhouse, Dave Klos, and                 3speak with Mr. Waterhouse?
4Kristin Hendrix.I met in person and by Zoom with              4AYes.
5Mr. Rukavina over the last few weeks, and -- so                5QAnd what -- why didn't you speak with
6that -- that's the general -- you know, there may              6Mr. Waterhouse?
7have been other things, but that's the general                 7AMy -- my -- yeah, sorry.
8overview of the things that I did --                           8My understanding is his counsel did
9QI appreciate --                                            9not allow us to speak with him regarding this,
10A-- to understand the company's position.                   10because HCMLP had sued him for various things, and
11QI appreciate that.                                         11so we weren't allowed to talk with him.
12So just focusing in on the people that                   12You'll -- you'll note that DC, earlier
13you spoke with in connection with your                         13on, had spoken to him.I believe that was back in
14preparation, one was Davor; right?                             14April, if you look back and I'd refer you to
15ACorrect.                                                   15Mr. Sauter's declaration.But in preparation for
16And I -- I may have -- I don't know if                   16this, we did not speak with him.We needed to
17I said it or not, but DC Sauter as well I also                 17wait for his deposition based on his attorney's
18spoke with.                                                    18instructions.
19QOkay.So the other people are DC Sauter,                   19QHow many times did you speak with
20Jason Post, and Mr. Dondero.Do I have that                    20Mr. Dondero about today's deposition?
21right?                                                         21AMultiple times over the last few weeks.
22ACorrect.                                                   22QAnd was Mr. Rukavina present for those
23QDid you speak with Frank Waterhouse at                     23discussions?
24all?                                                           24AHe was not.
25ANo, I did not.                                             25QCan you tell me what you discussed with

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1Dustin Norris                                        1Dustin Norris
2Mr. Dondero about today's deposition?                         2QDid you ask him in connection with your
3AYeah.Discussed with him general view of                  3preparation for today's deposition?
4the company from his perspective.We discussed                4AWhat I did ask, I asked him -- I said,
5particularly around -- and we'll get into more                5"Did you tell Frank Waterhouse that there should
6details on this -- but around the purpose and                 6be -- that this should be a loan?"
7transfer of cash, the seven-and-a-half million                7And his response was, "No, that I
8dollars.And I guess there were two transactions.             8never told Frank it should be a loan, and Frank
9Discussed with him what he remembered                   9never asked if it should be a loan."And that the
10in discussions with Frank Waterhouse when he                  10intent -- and the reason for the transfer was
11instructed him to transfer the cash, and any                  11compensation for the NAV error.
12recollection he had regarding the notes or the --             12And so that was -- he did not know --
13the -- the promissory notes.                                  13and if I -- if I remember correctly, looking at
14And so those were the general topics.                   14his deposition, I believe he did not know about
15And we did talk about --                                15the notes at that time and found out about them
16QDid Mr. --                                                16much later.
17ASorry.Go ahead.                                          17QI know, and I'm trying to understand from
18QYeah, I don't mean to step on your words.                 18you if you can tell me, as HCMFA's 30(b)(6)
19ANo, no.                                                   19representative, whether you can share with me when
20We talked about the NAV error, we                       20Mr. Dondero first learned of the existence of the
21talked about responsibility for the NAV error and             21notes.
22those aspects as well.                                        22AIt -- it would have been -- I believe, if
23QDid -- did Mr. Dondero tell you when he                   23my understanding is correct, it would have been
24first learned of the existence of the notes?                  24after they were demanded.
25ANo.                                                       25QAfter they were?
                                                        Page 16                                                                Page 17
1Dustin Norris                                        1Dustin Norris
2ADemanded.                                                 2and tell Mr. Morris what you can and can't
3QOkay.How about your conversations with                   3answer.
4Mr. Post?Did the subject of when he learned                  4THE WITNESS:Yeah.
5about the existence of the notes come up?                     5So early on with Mr. Sauter,
6ANo.That was not -- a discussion with                     6discussions were around if I had any
7Jason Post -- Post -- talking with Jason was more             7knowledge of the note, if he had any
8around the NAV error, the events surrounding the              8knowledge of the note, trying to discover
9NAV error, facts and circumstances around the NAV             9what the notes were, what they were
10error.                                                        10related to, and neither of us had
11QOkay.And were your discussions with                      11knowledge related to notes.
12Mr. Sauter limited to the investigation that he               12And then discussions around more
13undertook earlier this year that's reflected in               13generally -- I'm trying to think back.
14his declaration?                                              14There were many discussions with
15AI would say it's not limited to that.                     15Mr. Sauter on the topic.
16QWhat other topics did you discuss with                    16General facts and circumstances of
17Mr. Sauter beyond the investigation that he                   17what he was learning from his
18undertook that's reflected in his declaration?                18investigation in which -- all of which I
19MR. RUKAVINA:And I would just                          19would refer you to his declaration.
20caution you, Dustin, that to the extent                     20And then subsequent, talking with
21that you and Mr. Sauter discussed factual                   21him regarding the -- I'm trying to
22matters, that's fair game.                                  22recollect the -- the key components.
23But as far as if you discussed                          23But it was general overview of --
24litigation strategy, that's not fair game.                  24of the notes and NAV error and the
25So be careful with your answer, please,                     25process.He wasn't here during much of

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1Dustin Norris                                         1Dustin Norris
2that time period or involved, and so we                      2I'm looking at the incumbency certificates here --
3were talking together based on what he was                   3and in 2019 in April became executive vice
4doing.                                                       4president.So from January to -- January 2018 to
5BY MR. MORRIS:                                                 5April 2019, I was secretary and then became
6QWho are you employed by today?                             6executive vice president.
7ANexPoint Advisors.                                         7QWhen did you first learn of the existence
8QDo you hold any position or title with                     8of the notes?
9HCMFA?                                                         9ASo it was after they were demanded, and it
10AI do.                                                      10was -- so I believe the demand came in in early
11QAnd what's your position or title with                     112020 -- 2021.So January-ish 2021.
12HCMFA?                                                         12QDo you have any role or any title with any
13AExecutive vice president is my officer                     13of the funds that are managed by either NexPoint
14role.                                                          14or HCMFA?
15QAnd when did you become an officer of                      15AI do.
16HCMFA?                                                         16QCan you describe those roles or titles for
17ASo I -- I was originally secretary -- and                  17me, please?
18I can't remember if I was assistant secretary, but             18AYeah.I'm -- I'm the executive vice
19I've been involved with HCMFA since 2012.I don't              19president of the funds, and my role more broadly
20know if I was added as an assistant secretary at               20is I am the head of distribution and chief product
21that time; but for many -- for several years, I've             21strategist.And so in that role, I lead the sales
22been an officer of HCMFA.                                      22and business development and marketing for the
23QAnd you were an officer in 2018 and 2019;                  23funds, more broadly.
24is that right?                                                 24QAnd what is your title with NexPoint
25ACorrect.I was secretary in 2018, and --                   25Advisors, LP?
                                                         Page 20                                                               Page 21
1Dustin Norris                                         1Dustin Norris
2AI am executive vice president in the                       2Advisors, LP, together as "the advisers"?
3officer capacity, and my role is -- as an employee             3AThat's fine.
4is head of distribution and chief product                      4QOkay.So is it fair to say that you were
5strategist.                                                    5the executive vice president, which was an officer
6QOkay.So just to summarize, you're the                     6position, for each of the advisers as of April
7executive vice president of NexPoint Advisors, LP;             72019?
8correct?                                                       8AYes.
9ACorrect.                                                   9QOkay.And --
10QAnd that's an officer position; correct?                   10AI believe that's correct.
11AIt is.                                                     11QAnd you also serve as the executive vice
12QAnd when did you attain that title?                        12president of the funds that each of the advisers
13AProbably -- I don't have the incumbency                    13manages.Do I have that right?
14certificates, but it was probably the same time as             14AYes.Currently.
15HCMFA.                                                         15QAnd have you held the --
16QIs it fair to say that it was sometime                     16AYes, currently.
17before January 1st, 2018?                                      17QAnd when did you become the executive vice
18ANo.                                                        18president of the funds?
19QCan you give me an estimate of when that                   19AI don't remember the exact date, if that
20was?Feel free --                                              20was around the same time, but I was the secretary
21AYeah.The time- -- the timeline for HCMFA                  21before that and assistant secretary before that,
22was April 2019.I was secretary before that, and               22dating back to 2012.
23I don't recall if NexPoint Advisors changed at the             23QSo you've been -- is it fair to say that
24same time.                                                     24you've been an officer of the funds managed by the
25QOkay.Can I refer to HCMFA and NexPoint                    25advisers since at least 2013?

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1Dustin Norris                                         1Dustin Norris
2AI believe so.I'd have to go back and                      2identity of officers, directors, and employees of
3look for sure, but I believe.There may have been              3HCMFA?
4periods of time where I was not, but yes.                      4AUh-huh.
5QOkay.Were any of those periods of time                    5QDo you want to take a look at that topic
6when you were not, at any point since 2018 to the              6on the document that you have in front of you?
7present?                                                       7AYes.
8AI don't believe so.                                        8QOkay.
9QOkay.So to the best of your                               9AThat is -- which topic?
10recollection, you've served as an executive vice               10Q13.
11president of each of the funds managed by the                  11A13, yes.
12advisers since at least the beginning of 2018; is              12QOkay.So let's focus on 13 for a moment.
13that fair?                                                     13Can you -- can you identify for me
14ANo.That's -- that's different than my                     14HCMFA's officers from January 1st, 2018, to the
15prior testimony that -- I was secretary until                  15present --
16April --                                                       16AYes.
17QI apologize.Let me restate the question.                  17Q-- including names and titles?
18You've been an officer of -- of the                      18AYes.
19funds managed by the advisers on a continuous                  19QOkay.
20basis since at least the beginning of 2018; fair?              20ASo from January 1st, 2018 -- and I don't
21AI believe that's correct, yes.                             21have -- I -- I'm assuming that the dates that I
22QThank you for the question -- for -- for                   22have on the incumbency certificates are complete,
23the correction.                                                23but I'm not certain, and -- if there was one in
24So as I think you pointed out earlier,                   24between, but I'm assuming this is -- that the
25one of the topics on the 30(b)(6) notice is the                25dates I have changing is -- is effective when they
                                                         Page 24                                                               Page 25
1Dustin Norris                                         1Dustin Norris
2changed.                                                       2QOkay.
3But Brad Ross was president of HCMFA                     3AAnd February 18th, 2021, Dustin Norris,
4from January 1st, 2018, until, I believe,                      4executive vice president; Frank Waterhouse,
5February 2018 -- sorry -- yeah, until                          5treasurer; Brian Mitts, assistant treasurer; David
6February 2018.                                                 6Willmore, secretary.So Lauren Thedford, no
7In that same time period, Brad Ross,                     7longer secretary.
8president; Trey Parker, executive vice president;              8QAnd have there been any changes since
9Frank Waterhouse, treasurer; Dustin Norris,                    9February 2021?
10secretary.                                                     10AYes.You have April 8, 2021, Dustin
11And effective 26th of February --                        11Norris, executive president; Frank Waterhouse,
12QI apologize.What is Mr. Parker's title?                   12treasurer; Will Mabry, assistant treasurer; and
13AExecutive vice president.                                  13Stephanie Vitiello, secretary.
14QThank you.                                                 14Again, I -- I don't have -- this is
15AAnd beginning February 26th, 2018, Trey                    15based on what was provided to me with effective
16Parker, executive vice president; Frank                        16dates.I don't know if there was any that were
17Waterhouse, treasurer; and Dustin Norris,                      17missing, if that's complete, but I -- I believe
18secretary; and no longer president, Brad Ross.                 18those are accurate.
19There's no president on the lineup.                            19QIs it fair to say that you're relying on
20So continuing on, April 11th, 2019,                      20exclusively on the incumbency certificates to
21Dustin Norris, executive vice president; Frank                 21identify the officers of HCMFA since January 1st,
22Waterhouse, treasurer; Lauren Thedford, secretary.             222018?
23QAnd Trey Parker was no longer an officer                   23AFor this purpose, yes.
24as of that time?                                               24QDo you have any other information that you
25AHe was no longer an officer.                               25can share with me regarding the identity of any

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1Dustin Norris                                         1Dustin Norris
2officers of HCMFA since January 1st, 2018?                     2through the general partners.So HCMFA does
3AI don't, no.                                               3not -- Strand -- whatever the Strand entity does,
4QOkay.Can you identify for me HCMFA's                      4Jim Dondero is the sole director.
5direct and indirect owners since January 1st,                  5QOkay.And what about employees?Does
62018?                                                          6HCMFA have any employees?
7AI can, yes.Generally Jim Dondero and                      7AIt does have some front-office employees,
8Mark Okada are the indirect owners through trusts.             8trading professionals.
9They own approximately two-thirds, Jim Dondero, a              9QAre there any employees who perform any
10little less than a third, Mark Okada, with a                   10services other than trading services?
11general partner that is -- that owns 1 percent.                11ATrading in front-office investment
12QAnd who is the general partner?                            12analysts, portfolio managers, generally that's
13AIt's a Strand entity that I believe is                     13been the structure with HCMFA, is they held --
14owned 100 percent by Mr. Dondero.                              14they had employees that performed front-office
15QSo Mr. Dondero controls the general                        15functions, and we, as I believe you're aware,
16partner --                                                     16outsourced the back-office accounting, compliance,
17ARight.                                                     17and legal services to Highland Capital Management,
18Q-- of HCMFA?                                               18LP, during this time period.
19ACorrect, and owns approximately two-thirds                 19QLet's go to Topic Number 12.
20of the equity.                                                 20AOkay.
21QAnd is that a controlling interest to the                  21QAnd Topic Number 12 asks for a witness who
22best of your knowledge?                                        22can testify as to all communications that HCMFA
23AYes, I believe so.                                         23"made in the bankruptcy case concerning the notes,
24QOkay.Does HCMFA have any directors?                       24including any pleadings, court filing, or
25AIt does not.It has a sole director                        25argument."
                                                         Page 28                                                              Page 29
1Dustin Norris                                         1Dustin Norris
2Do you see that?                                         2QOkay.And you're aware that after
3AI do.                                                      3Highland commenced this action, HCMFA filed its
4QAre you prepared to answer questions on                    4original answer; correct?
5that topic?                                                    5AThat's correct.
6AI am.                                                      6QOkay.And Topic Number 1 on your list, in
7QAll right.You're aware that obviously                     7fact, is the answer, correct, the original answer?
8Highland has commenced an adversary proceeding                 8AThat's correct.It's Topic Number 1.
9against HCMFA to collect on two promissory notes;              9MR. MORRIS:Okay.Can we put
10right?                                                         10Deposition Exhibit 5 up on the screen?
11AI am, yes, and I believe this right here                   11We're going to look at the original
12is the complaint filed January 22nd.                           12answer.
13QOkay.And you're aware that the notes                      13(Exhibit 5 tendered.)
14that are the subject of the lawsuit were dated                 14BY MR. MORRIS:
15May 2nd and May 3rd, 2019, respectively; right?                15QAnd, again, feel free to let me know if
16ASorry.Can you repeat that?                                16there's any portion of this document that you need
17QYou're aware that the notes that are the                   17to see.But looking at the first page -- and
18subject of the lawsuit are dated May 2nd and                   18perhaps we can continue to scroll through it -- is
19May 3rd, 2019, respectively; correct?                          19this the original answer that was filed on behalf
20AYes.The notes that are attached to the                    20of HCMFA on March 1st, 2021?
21complaint, May 2nd and May 3rd.                                21AI'll take your representation that it is.
22QOkay.And can we refer to those two                        22It looks to be, yeah.
23notes -- those two promissory notes for the rest               23QOkay.
24of this deposition collectively as "the notes"?                24AI was not involved in the filing of it,
25AYes.                                                       25but...

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1Dustin Norris                                         1Dustin Norris
2QOkay.Is the copy that you have with you                   2ANone that I know of.
3dated March 1st, 2021?                                         3QAnd there was no restriction or limitation
4AYes, it is.                                                4on HCMFA's ability to speak with you at or prior
5QAnd if you can turn to Page 6 of 7, does                   5to March 1st, 2021; correct?
6it appear to be the exact same as what appears on              6AThat's correct.
7the screen, showing the March 1st, 2021, date?                 7QHow about Ms. Thedford?Are you aware of
8AIt does.                                                   8any restriction or limitation on HCMFA's ability
9QAnd do you refer to the March 1st, 2021,                   9to speak with her prior to March 1st, 2021?
10date, as "the answer date"?                                    10AYes.
11AYes.                                                       11QOkay.And what restriction was that?
12QOkay.HCMFA did not assert any                             12AYeah.So she was part of the Highland
13affirmative defenses in this pleading; correct?                13legal team.She was an employee of HCMLP.And
14AThat's my understanding.                                   14during this time period, we had outsourced our
15QOkay.And HCMFA had full access to you as                  15legal and compliance functions to them.And if --
16of March 1st, 2021; correct?                                   16I would refer you to Mr. Sauter's declaration and
17AYes.                                                       17the attachments and schedules.There's a very
18QAnd HCMFA had full access to Mr. Dondero                   18strict direction from Mr. Seery that
19as of March 1st, 2021; correct?                                19individuals -- particularly on the legal team --
20AIn the term "full access," they could have                 20could not work on anything that would be inimical
21talked to him, yes.                                            21to the debtor.
22QRight.And there was no restriction from                   22QOkay.
23the bankruptcy court or otherwise on HCMFA's                   23AAnd so Ms. Thedford, on multiple
24ability to communicate with Mr. Dondero that you               24occasions, told us she was unable to work on
25know of; correct?                                              25things, and that began back in fall of 2000- --
                                                         Page 32                                                            Page 33
1Dustin Norris                                         1Dustin Norris
2fall of 2020 -- late summer 2020, actually.And                2they were working on.
3so she was not accessible for things like this.                3QDid -- did -- were there any restrictions
4QHow about Mr. Post?Do you know who                        4or limitations on HCMFA's ability to speak with
5Mr. Post was employed by in 2018 and 2019?                     5Mr. Post prior to March 1st, 2021?
6A2018 and '19, he was employed by Highland                  6ASo once -- so Jason -- one important
7Capital Management, LP.                                        7component here is Jason Post did leave the debtor,
8QDo you know whether, in your conversations                 8and working with Mr. Seery, I believe, to then
9with him, does he have any personal knowledge                  9leave and become an employee of NexPoint Advisors,
10regarding the NAV error?                                       10and that was at the request of our retail board,
11AYes.                                                       11as there were restrictions on Mr. Post at that
12QWas he involved in any of the issues                       12time.
13surrounding the NAV error?                                     13And as chief compliance officer of the
14AHe was knowledgeable -- as he was                          14funds, the board had become very uncomfortable
15chief -- chief compliance officer of the retail                15that they had restrictions on Mr. Post.And so it
16advisers at that time, and interacted with the                 16was in everybody's interest to allow him to become
17HCMLP employees and the board regarding the NAV                17an employee of NexPoint Advisors, and so that was
18error, he also -- in your schedules, you'll notice             18late 2020, I believe.I don't know the exact
19in one of the memos, he participated in calls with             19date.And at that time, there were certain things
20the SEC, and so he was -- he was involved in the               20that Jason was able to then help the adviser with,
21process of the NAV error and understood and worked             21but there were still restrictions.And he had
22with the other HCMLP employees, which naturally                22limited access to his prior data.He left the
23they would.We had outsourced valuation services               23debtor, but he didn't have -- I believe he had
24to HCMLP.We had outsourced legal and compliance               24restrictions on what he could access in the
25to HCMLP, and as such, that was all part of what               25information.

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1Dustin Norris                                         1Dustin Norris
2QOkay.But it is fair to say that between                   2could have been something, but --
3January 21st, 2021, the day that the complaint was             3QOkay.I'm just asking about your
4filed, and March 1st, 2021, the date that HCMFA                4knowledge, not what could have been.
5filed its original answer, HCMFA had complete and              5All right.So we're going to use
6unfettered access to you, to Mr. Dondero, and                  6March 1st, 2021, as the answer date.
7Mr. Post; correct?                                             7Are you aware of any document that
8AAgain, the complete and unfettered access                  8HCMFA filed with the bankruptcy court prior to the
9on the Jason Post aspect, they could have talked               9answer date that concerns or relates in any way to
10to him.I'm not sure if there were any other                   10the notes?
11restrictions related to what he had or information             11AI'm thinking if I'm aware.
12he had or based on his prior role of the debtor,               12Not that I'm aware of.
13he was restricted on what he could or couldn't                 13QAre you aware -- withdrawn.
14talk about, if he had any lease agreement.I'm                 14Do you know what a "pleading" is, if I
15not certain on that.But, yes, we could talk                   15use that phrase?
16to -- or HCMFA could talk to Mr. Post.                         16AI believe so.These are the answers that
17QOkay.And the topics that you just raised                  17we gave.The first answer, the amended answer,
18are speculation on your part; correct?                         18and the second amended answer, that -- I believe
19AIt is.                                                     19those are the two pleadings.Is that correct?
20QYou're not aware of any restriction of --                  20QYou know what?I think my first question
21you don't have any knowledge of any restriction or             21was broad enough, because I just used the word
22limitation placed on HCMFA in respect of its                   22"document," so I'm going to let that sit.
23ability to communicate with Mr. Post between                   23Are you aware of any argument that
24January 21st, 2021, and March 1st, 2021; correct?              24anybody ever made on behalf of HCMFA prior to the
25ABased on my personal knowledge, no.There                  25answer date that concerned or related to any of
                                                         Page 36                                                            Page 37
1Dustin Norris                                         1Dustin Norris
2the notes?                                                     2AOkay.That makes sense.Okay.
3AAnd you mean an argument to the Court?                     3QAnd so if I use the phrase "you," just as
4QYes.                                                       4we did in the deposition notice, I'm really
5ANot that I'm aware of.                                     5referring to HCMFA; is that fair?
6QOkay.Are you aware of any statement of                    6AThat's fair.
7any kind that was made to the bankruptcy court                 7QOkay.So let me just ask the questions
8prior to the answer date that concerned or related             8again with that clarification.
9in any way to the notes?                                       9Are you aware, in your capacity as the
10ANot that I can remember.But there's                       1030(b)(6) witness today, of any document that was
11obviously been a lot of documents with the Court,              11ever filed on behalf of HCMFA prior to the answer
12but not that I'm aware of.                                     12date that concerns or relates to the notes?
13QRight.But you -- did you do anything to                   13ANo.
14prepare yourself to answer questions on Topic 12?              14QAre you aware, in your capacity as the
15AYes.                                                       15HCMFA 30(b)(6) witness, of any argument that was
16QAnd do you believe that you're able to                     16ever made to the Court prior to the answer date
17competently answer my questions relating to                    17that concerns or relates in any way to the notes?
18Topic 12 as HCMFA's 30(b)(6) witness?                          18ANo.
19AI am.But I guess in this regard you're                    19QAre you aware of -- again, when I use the
20asking to my knowledge.And so, I guess, that --               20phrase "you," I'm referring to HCMFA, just to
21are you asking my personal knowledge or as my                  21shorten these questions a little bit.
22knowledge as a representative of the company?                  22Are you aware of any statement that
23QAll right.I appreciate that.                              23was ever made on your behalf to the bankruptcy
24I am only examining you today in your                    24court prior to the answer date that concerns or
25capacity as a 30(b)(6) witness.                                25relates in any way to the notes?

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1Dustin Norris                                         1Dustin Norris
2ANot that I recall.                                         2QAnd you've seen that before; right?
3QOkay.When did HCMFA first learn of the                    3AI have.
4existence of the notes?                                        4QOkay.And are you -- do you see that it
5ASo HCMFA's position is that they learned                   5was sent to Mr. Waterhouse?
6of them when they were demanded, or after they                 6AYes.
7were demanded.I don't even know that when we                  7QAnd Mr. Waterhouse was the treasurer of
8received -- or who they were sent to, but it was               8HCMFA on December 3rd, 2020; correct?
9after they were demanded.                                      9ACorrect.
10QOkay.And do you recall when they were                     10QOkay.So is it fair to say that HCMFA
11demanded?                                                      11knew of the existence of the notes on
12AI don't have the exact date.If you could                  12December 3rd, 2020?
13remind me or show a document, that might be                    13AIt's safe to say that Frank Waterhouse
14helpful.I don't know if you have the demand, or               14received this.I'm not sure the date exactly
15if that's one of the documents, but I don't                    15when -- when the company became aware.Frank,
16remember the specific date.                                    16yes, is an officer.He's also -- the irony here,
17MR. MORRIS:Can we put Exhibit 1                         17he's CFO of the debtor who is demanding this, so
18up on the screen?                                            18he's demanding it from himself.I know it's
19It's actually the complaint -- the                       19coming from -- from who is sending it, but at this
20original complaint, sir.                                     20time, I don't know when Mr. Dondero or other
21(Exhibit 1 tendered.)                                      21officers became aware of it.Sometime after
22BY MR. MORRIS:                                                 22December 3rd.
23QIf you go to Exhibit 3, do you see there's                 23QOkay.Do you know if HCMFA ever responded
24a demand letter there?                                         24to this demand letter prior to the time the
25AYes.                                                       25complaint was filed on January 21st, 2021?
                                                         Page 40                                                              Page 41
1Dustin Norris                                         1Dustin Norris
2AI don't believe they did.                                  2Again, all of the compliance and legal
3QSo it's fair to say that nobody on behalf                  3functions at this time, December 2020, were being
4of HCMFA ever told any representative of Highland              4outsourced to HCMLP, and we were told they were
5that it was previously unaware of the existence of             5unable to help with anything that was inimical to
6the notes?                                                     6the debtor.And so there were no employees of
7ASorry.Can you repeat that one more time?                  7HCMFA that were legal compliance professionals,
8QHCMFA never responded to this letter prior                 8and so this -- this was -- I guess -- this is my
9to the commencement of the lawsuit; right?                     9speculation -- was put in the back of the line, or
10ANot to my knowledge, didn't respond to                     10further back from the actual litigation that they
11HCMLP on this.                                                 11were defending or working against the daily
12QIs there a reason why they didn't reach                    12depositions and coordinating.
13out to Highland to let Highland know that it                   13QDo you have any reason to believe, as you
14disputed the existence of these notes?                         14sit here right now, that Mr. Waterhouse did not
15AI don't know if there's a reason, but I do                 15receive this demand letter on or about
16know, during this time period, you'll recall,                  16December 3rd, 2020?
17December and January, leading up to the actual                 17AI don't know.I don't have any reason to
18demand -- or the initial complaint, there was a                18believe that, but I don't know.
19lot going on.We were almost in daily depositions              19QOkay.
20and court hearings.There was a hearing                        20AAnd I don't recall what he testified to in
21injunction handed out against Jim.There was a                 21regard to receiving the demand, but we see here it
22restraining order.There -- TRO.There were                    22was sent to him.We can assume it got sent to
23lawsuits against the advisers.And so there was a              23him.
24lot going on, and I think this was put back in the             24QOkay.Let me ask the question again, and
25priority line.                                                 25I would appreciate you listening carefully to my

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1Dustin Norris                                         1Dustin Norris
2question.                                                      2AJune 2019.
3As HCMFA's 30(b)(6) witness today,                       3Correct.
4does HCMFA contend that this letter was not                    4QAs the executive vice president of HCMFA,
5received by Mr. Waterhouse on or about                         5have you ever reviewed HCMFA's audited financial
6December 3rd, 2020?                                            6statements?
7MR. RUKAVINA:Well, that's not our                       7AI have not.
8contention.We agree that it was received                    8QIs there anybody on behalf of HCMFA who is
9on or about that date.                                       9charged with the responsibility of reading HCMFA's
10MR. MORRIS:Okay.                                        10audited financial statements?
11THE WITNESS:Yeah.That's --                             11AYeah.We -- again, the key here is we
12yeah.                                                        12outsourced finance, accounting, back-office
13BY MR. MORRIS:                                                 13functions.It includes financial statement
14QOkay.HCMFA actually knew about the notes                  14preparation.The treasurer of HCMFA is an HCMLP
15just weeks after they were signed; correct?                    15employee, Frank Waterhouse, at that time, and at
16MR. RUKAVINA:Objection; form.                           16all times that we're talking about.And so with
17THE WITNESS:So the debtor                               17we -- and Frank is a professional, and his team
18employees who created the notes knew about                   18are professionals, right?We outsource to an
19them, but it was not knowledge of HCMFA.                     19accounting group to prepare and oversee, work with
20Those were all Highland Capital                              20the auditors in preparation of those financials.
21Management, LP, employees.                                   21And so they were tasked with that.And we relied
22BY MR. MORRIS:                                                 22on them.And there was not a specialist during
23QSo it's your testimony that HCMFA had no                   23this time period that did that.
24knowledge of the existence of the notes in                     24QDoes Frank Waterhouse have any
25June 2019; is that correct?                                    25responsibility, as the treasurer of HCMFA, to make
                                                         Page 44                                                              Page 45
1Dustin Norris                                         1Dustin Norris
2sure that HCMFA's audited financial statements are             2role, I would say the treasurer role was to
3true, accurate, and reliable?                                  3oversee the financial aspects of the advisers.
4AHim and his team, yeah.We actually --                     4QAnd was one of those aspects HCMFA's
5that's what we rely on them for.                               5audited financial statements?
6QAnd did you rely on him not only in his                    6AAs -- yeah.And he was -- again, I'll
7capacity as an employee of Highland, but in his                7reiterate, he was the CFO of Highland who was
8capacity as the treasurer of HCMFA?                            8tasked with creating the financial statements for
9AYeah, he was -- let's take the first --                    9the advisers.
10as a -- in his capacity under the shared services              10MR. MORRIS:Okay.I'm again going
11agreement, okay, doing accounting, books and                   11to move to strike.
12records, audited -- audit support, yes, we relied              12BY MR. MORRIS:
13on him in that capacity.And he also, as an HCMLP              13QI'm not asking about his role as CFO of
14employee, served as a treasurer of HCMFA.In that              14Highland.I'm limiting it strictly to his role as
15role, we would expect him to oversee the                       15the treasurer of HCMFA.
16financials.                                                    16AAnd I don't have --
17MR. MORRIS:Okay.And move to                            17QDid Frank -- let me ask my question.
18strike.                                                      18Is any officer of HCMFA responsible
19BY MR. MORRIS:                                                 19for making sure that HCMFA's audited financial
20QAnd I'm going to ask you very                              20statements are true and accurate?
21specifically:As HCMFA's representative today,                 21AI don't know, but I would assume -- and I
22did Frank Waterhouse have a duty as the treasurer              22don't want to make assumptions here as the
23of HCMFA to make sure that HCMFA's audited                     23representative -- but I would assume that the
24financial statements were true and accurate?                   24treasurer would have that role.
25AThat -- very specific from the treasurer                   25QOkay.And what is your assumption based

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1Dustin Norris                                         1Dustin Norris
2on?                                                            2AI do.
3ABased on the understanding of what a                       3MR. MORRIS:Okay.And if we could
4treasurer role would be.But I -- I don't have                 4just scroll, I think, to the third page.
5any -- I don't have any knowledge, I'm not                     5BY MR. MORRIS:
6representing that we have any roles and                        6QDo you see that it's signed by
7responsibilities or defined procedures that the                7PricewaterhouseCoopers on June 3rd, 2019?
8treasurer does this, that, or the other.                       8AI see that the audit opinion is signed by
9QOkay.Have you -- as you sit here right                    9them, yes.
10now, have you ever seen HCMFA's audited financial              10QCorrect.And -- and you're aware that
11statements for the period ending December 31st,                11PricewaterhouseCoopers was the outside auditor
122018?                                                          12retained by HCMFA to conduct the audit of HCMFA's
13AI saw them in the materials that were                      13financial statements; correct?
14provided in your schedules, I believe.                         14AGiven that they gave an opinion, yes.
15QOkay.Let's --                                             15QOkay.And you have no reason to believe
16AThat was the first time.                                   16that the document that's up on the screen is
17QLet's take a quick look at it.                             17anything other than HCMFA's audited financial
18MR. MORRIS:If we could put up on                        18statements for the period ending December 31st,
19the screen the document that's been marked                   192018, do you?
20Exhibit 45.                                                  20And we're happy -- I'm happy to scroll
21(Exhibit 45 tendered.)                                     21through whatever you need to see.
22BY MR. MORRIS:                                                 22AYeah.And there they're distinguishing --
23QOkay.And do you see that this is the                      23you have an audit opinion and having audited
24first page of HCMFA's audited financial statements             24financials, I assume that you have all that is
25for the period ending December 31st, 2018?                     25here.You showed me the first page of the
                                                         Page 48                                                            Page 49
1Dustin Norris                                         1Dustin Norris
2financials, which --                                           2backup, but I would assume that's the case.
3QYeah.Yeah.Let's --                                       3QAnd not only do the dollar amounts line
4ASo I'm assuming that's the --                              4up, but do you see that the statement in
5QLet's scroll down just a little bit.                       5"Subsequent Events" specifically identifies the
6You can see that the next page is                        6notes as having been issued in the year 2019?
7HCMFA's balance sheet.Do you see that?                        7AYes.
8AI do.                                                      8QAnd are you aware of any notes that
9QOkay.                                                      9anybody in the world contends were signed by HCMFA
10MR. MORRIS:Can we go to                                 10between January 1st, 2019, and June 3rd, 2019,
11"Subsequent Events"?I think it's                            11other than the two notes that Highland is suing
12Page 17.                                                     12on?
13BY MR. MORRIS:                                                 13ANo.
14QHave you seen this page of HCMFA's audited                 14QOkay.So can you conclude, as HCMFA's
15financial statements before?                                   1530(b)(6) witness, that the notes that are
16AJust in preparation for this.                              16described in the subsequent events are the very
17QDo you understand that in the "Subsequent                  17notes that are the subject of the pending lawsuit?
18Events" section, the notes are described in the                18AThat appears to be the case.
19audited financial statements?                                  19QOkay.And so it's also fair to say, then,
20AThere is a reference to promissory notes                   20that HCMFA does not dispute that its own audited
21in aggregate of $7.4 million, yes.                             21financial statements that were the subject of a
22QAnd those are the two notes that Highland                  22June 3rd, 2019, opinion by PricewaterhouseCoopers
23is suing on; correct?                                          23disclosed the existence of the notes at issue;
24AI would assume that's the case, because                    24correct?
25the dollar amounts line up.But I don't have the               25ANo.We don't dispute that that was

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1Dustin Norris                                         1Dustin Norris
2included in the financial statements.You know,                2Exhibit 147?
3I -- I think we're going to get into it in our                 3(Exhibit 147 tendered.)
4affirmative defenses, but we dispute that the                  4BY MR. MORRIS:
5notes were actually valid notes, and we would say              5QOkay.Do you see that this is -- or at
6that this was an error.These should not have                  6least this appears to be a bank account statement?
7been included, but were included in good faith by              7AYes.BBVA Compass is a bank, so I'll take
8the accounting team who thought that they were                 8your representation it's a statement.
9valid notes.                                                   9MR. MORRIS:All right.And if we
10QOkay.                                                      10can just scroll down.
11ASo --                                                      11All right.Stop right there.
12MR. MORRIS:I move to strike                             12BY MR. MORRIS:
13everything other than the first portion of                   13QDo you see that there's a reference on
14your answer that was responsive to my                        14May 2nd to a 2.4-million-dollar transfer?
15question.                                                    15AI do.
16BY MR. MORRIS:                                                 16QOkay.And is that consistent with your
17QHCMFA does not dispute that it received                    17testimony just now that on May 2nd, Highland
18$2.4 million from Highland on May 2nd, does it?                18transferred $2.4 million to HCMFA?
19ANo.                                                        19AThat's correct.
20QHCMFA does not dispute that it received                    20QAnd lower on the page, the statement shows
21$5 million on May 3rd, 2019, does it?                          21a transfer of $5 million on May 3rd; correct?
22ANo.                                                        22AYes.
23QLet's just confirm that, if we can.                        23QAnd that's the payment that HCMFA
24MR. MORRIS:Can we put on the                            24acknowledged -- acknowledges receiving from
25screen a document that's been marked as                      25Highland on that day; correct?
                                                         Page 52                                                             Page 53
1Dustin Norris                                         1Dustin Norris
2AIs this HCMFA's bank statement or is this                  2So my understanding of the company's
3HCMLP's?                                                       3position is that -- and -- and it may be helpful
4QNo.It's HCMLP's.                                          4to provide some additional color leading up to the
5AOkay.It just says "Highland Capital                       5accounting.I don't know if we want to address
6Management," and I'm assuming it lines up -- I'm               6that later in our affirmative defenses, if you
7assuming this is the transfer, but --                          7have a preference there.
8QOkay.                                                      8QI'd just like you to -- maybe it's my
9A-- I can't confirm an entity.But we're                    9question, but I just want you to focus on my
10not denying that there was cash received those                 10question.
11dates from HCMLP.                                              11AUh-huh.
12QOkay.And are you aware --                                 12QAnd that is:First, do you know how HCMFA
13MR. MORRIS:We can take this down                        13accounted for these two payments in its books and
14now.                                                         14records?
15BY MR. MORRIS:                                                 15AYeah.So the HCMLP employees who were
16QDo you recall that Topic Number 10 asks                    16tasked with creating books and records of the
17for a witness who can testify about the accounting             17adviser, the accounting team recorded, we -- we --
18of these transfers?                                            18our position is that is an incorrect recording of
19AUh-huh.Yup.                                               19a payable to HCMLP.And so there was a payable
20QAre you prepared to testify on Topic                       20booked on the balance sheet of HCMFA by the HCMLP
21Number 10?                                                     21accounting team.
22AYes.                                                       22MR. MORRIS:Okay.I'm going to
23QCan you tell me how HCMFA accounted for                    23move to strike.
24these payments on its books and records?                       24BY MR. MORRIS:
25AI can, yeah.                                               25QI -- I'd appreciate not having the

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1Dustin Norris                                         1Dustin Norris
2commentary.Your counsel can ask those questions               2ASo my understanding is the audited
3or if it's responsive to a question.I'm just                  3financials recorded in a subsequent event -- you
4asking a very simple question.                                 4showed me that -- they recorded a subsequent
5AYup.                                                       5event.The balance sheet as of 12/31/2018 wasn't
6QHow -- how did HCMFA record these payments                 6amended because it was a subsequent event.But on
7on its books and records?                                      7their books and records at that time, or
8AYeah.My understanding is they recorded a                  8subsequent to that, they recorded a liability.
9payable to HCMLP, a liability.                                 9QAnd -- and do you know if that liability
10QAnd do you know when HCMFA first                           10was recorded contemporaneously in May of 2019?
11discovered that the payments were booked on its                11AI don't know.
12books and records as a liability?                              12QBut it's -- it's HCMFA's position that,
13AOur position is that that was revealed                     13notwithstanding the recording of the liability on
14through after the -- sorry -- after the demand.                14it's books and records, that HCMFA didn't learn of
15And as we began to get additional information --               15that fact until after the demand letter was sent
16particularly, and I would refer you to                         16in December of 2020.
17Mr. Sauter's declaration, our amended response,                17Do I have that right?
18and our second amended response that was filed                 18ACorrect.
19yesterday regarding each of those time periods.                19QOkay.Have there been any changes in
20But it was after the demand we found out how it                20HCMFA's books and records since it learned of the
21was booked.                                                    21promise -- of the existence of the promise --
22QOkay.So just to simplify this:HCMFA's                    22withdrawn.
23books and records recorded the transfers on                    23Has -- has HCMFA changed its books and
24May 2nd and May 3rd as liabilities from HCMFA to               24records after learning that the payments were
25Highland; correct?                                             25recorded as liabilities?
                                                         Page 56                                                              Page 57
1Dustin Norris                                         1Dustin Norris
2AI'm not aware of how it's been treated                     2entries have been done since then, but -- yeah,
3since then.                                                    3I'm not aware.
4QOkay.                                                      4QOkay.But you'll -- you'll agree that the
5MR. RUKAVINA:And, John, no                              5accounting for these two payments was among the
6urgency, but find some time in the near                      630(b)(6) topics, correct, Number 11 -- Number 10?
7future for the restroom break.The                           7AYes.
8morning coffee is working its magic.                         8QAnd as the 30(b)(6) witness for HCMFA, can
9MR. MORRIS:Happy to do it right                         9you confirm that, to the best of your knowledge,
10now, Davor.                                                  10those payments were booked as liabilities and the
11THE WITNESS:I can use that, too.                        11booking of those payments as -- as liabilities has
12I'm almost through my water bottle.                          12not changed?
13MR. MORRIS:All right.So, look,                         13ATo the best of my knowledge, they were
14it's 12:05.Let's just come back at 12:15                    14booked as liabilities, and I don't know how they
15or 11:15.                                                    15have been treated.There's not been a year-end
16THE WITNESS:Thank you.                                  16audit for 2021, and I'm sure the accountants and
17MR. MORRIS:Thanks so much.                              17auditors will determine based on current facts and
18(Recess from 11:05 a.m. to 11:16 a.m. CST)                   18circumstances how those will be reported.
19BY MR. MORRIS:                                                 19QOkay.But as of today, you have no
20QTo the best of your knowledge, has HCMFA                   20knowledge that the booking of those payments as
21ever changed its books and records in order to                 21liabilities has ever been changed; correct?
22reverse the booking of the payments that were made             22AThose -- there's no financial statements
23by Highland in May from liabilities to something               23that are prepared, I believe, intra-year, during
24else?                                                          24the year, for audited purposes.And so, you know,
25AI'm not aware of how the accounting                        25that -- that would be, I'm sure, determined based

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1Dustin Norris                                         1Dustin Norris
2on any audit needs.                                            2AYes.We record liabilities on the balance
3QDoes HCMFA maintain an accounts payable                    3sheet.
4ledger?                                                        4QOkay.Did HCMFA complete its audit for
5AI'm sure it does.                                          52019?
6QDid you do anything to try to ascertain                    6AI don't -- not that I'm aware of.I don't
7whether or not these notes appear as liabilities               7believe they had an audit for 2019.
8on the accounts payable ledger?                                8QOkay.Now, HCMFA contends that the
9AAs current accounts payable ledger?                        9payments were -- should not have been booked as a
10QYeah.                                                      10loan because they were supposed to be compensation
11ANo.                                                        11for the error that Highland made in connection
12QDid you -- other than the audited                          12with the NAV error; correct?
13financial statements, did you take any steps to                13ACorrect.
14ascertain how these payments were recorded in                  14QOkay.Did HCMFA ever issue an invoice or
15HCMFA's books and records, or is -- or is it only              15a bill of any kind to Highland?
16on the audited financial statements?                           16ANot that I'm aware of.
17ASo at the time that they were recorded, we                 17QOkay.Is there anything in HCMFA's books
18know they were recorded as liabilities on the                  18and records that reflects its position that the
19books and records.                                             19payments should not have been billed as
20QAnd when you say that it was recorded as a                 20liabilities, but they should have been billed as
21liability in the books and records, where in the               21income?
22books and records was it recorded as a liability?              22AAs compensation?
23AMeaning on the balance sheet?                              23QYeah.
24QOkay.So the balance sheet is one place;                   24AYes.
25is that right?                                                 25Anything in their records?
                                                         Page 60                                                            Page 61
1Dustin Norris                                         1Dustin Norris
2QYes.                                                       2payments were supposed to be made as compensation
3AI -- I would refer you to the testimony of                 3rather than in the form of loans?
4Mr. Dondero and Mr. Waterhouse, who both testified             4AI -- I would say that the pleadings are a
5to this; Mr. Dondero that it was compensation, and             5part of our books and records now.I would say
6that Frank testified in his deposition that he                 6depositions.And within that, it is well
7don't -- didn't remember Mr. Dondero saying it was             7documented.
8a loan, and that Mr. Dondero told him to get the               8QOkay.Let me ask a different question
9money from Highland.And so it's -- it's -- that               9then.
10is on the record and in the record.                            10Remember we were using the answer date
11But in HCMFA's other records, we have                    11as being March 1st, 2021.
12the president of HCMLP, Jim Dondero, who made that             12ACorrect.
13transfer and has said that that is for                         13QIs there anything in HCMFA's books and
14compensation.                                                  14records that was created prior to March 1st, 2021,
15So there is -- but there is -- I                         15that corroborates HCMFA's position that the
16wouldn't -- I would be surprised to see some kind              16payments were intended to be compensation and not
17of a settlement agreement or invoice with -- to                17in the form of a loan?
18affiliates.                                                    18AYeah, and I would, again, refer you to
19MR. MORRIS:Okay.I move to                              19DC's -- what do you call it -- declaration.That
20strike.                                                      20prior to that, we didn't have access to -- to,
21BY MR. MORRIS:                                                 21largely, our books and records as that was
22QAnd my answer -- my question is really                     22outsourced to Highland Capital Management, LP, and
23simple.                                                        23to their employees, legal, compliance, and
24Is there anything in HCMFA's books and                   24accounting.So our position is we did not have
25records that reflects its position that these                  25anything at that point related to this agreement.

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1Dustin Norris                                         1Dustin Norris
2MR. MORRIS:Okay.I move to                              2I'm still on 30(b)(6) Topic Number 10.
3strike.                                                      3Is there anything in HCMFA's books and
4BY MR. MORRIS:                                                 4records that was created before the answer date
5QAnd listen carefully to my question.                       5that shows that the payment should have been
6Is HCMFA aware of anything that was                      6accounted for as compensation rather than as a
7created prior to the answer date that corroborates             7loan?
8its position today that the payments were intended             8AAs far as an accounting record, I wouldn't
9to be treated as compensation rather than a loan?              9expect there to be, because the accountant
10AI -- I think as far as books and records                   10function was outsourced to HCMLP, and -- and I
11go, we have NAV error memos, we have communication             11would refer you to our latest response and our
12with the SEC.Right?                                           12amended response of -- of what was discovered and
13There's -- there is a lot of                             13found throughout the process here.
14information related to the services that were                  14The accountants recorded a liability
15performed under the shared services agreement,                 15and they thought it should be liability.And so,
16were for valuation purposes that Highland had                  16no, there wasn't anything, to my knowledge, prior
17created and was responsible for the valuation                  17to that that was in the accounting books and
18process, and that is a host of documents that are              18records.And I -- you know, I'm not surprised
19in the record, yes.                                            19there wasn't, because of the facts that you'll --
20MR. MORRIS:Okay.I -- I move to                         20you'll see in our amended answers.
21strike.                                                      21QOkay.Do you know whether, if it was
22BY MR. MORRIS:                                                 22intended to be compensation, that HCMFA's income
23QI'm asking about accounting.Maybe it's                    23statement should have shown the inflow of the
24my fault.Okay?I'll -- I'll take responsibility               24$7.4 million?
25for this.I'm asking as a matter of accounting.                25AI don't know how it would be reported for
                                                         Page 64                                                           Page 65
1Dustin Norris                                         1Dustin Norris
2accounting purposes.I -- I do have an accounting              2AYes, that's correct.The accounting
3background, but I haven't done accounting in a                 3function was outsourced to HCMLP.
4long time, and I'm not an expert in adviser                    4QOkay.And there's -- was there anybody --
5financial statements.So I would say I don't                   5was there any officer of HCMFA who had
6have -- and I guess -- I guess that -- stepping                6responsibility for reviewing HCMFA's balance
7back and answering on behalf of the company here,              7sheet?
8I don't have a knowledge of how that would be                  8AI believe I already answered this earlier.
9recorded for income statement purposes.                        9QI actually asked the question on the
10QOkay.                                                      10audited financial statements.
11ABut it would -- it would be compensation                   11AOkay.
12that would be reported --                                      12QNow I'm going to ask specifically.Is
13QOkay.                                                      13there anybody who served as an officer of HCMFA
14A-- somewhere in the financial statements.                  14who had the responsibility of making sure that
15QSo it's your testimony today, as HCMFA's                   15HCMFA's balance sheets were true and accurate?
1630(b)(6) witness, that HCMFA was unaware that its              16AYes.So Frank Waterhouse and his team,
17audited financial statements disclosed these notes             17Frank was the named treasurer of HCMFA, and his
18until after the lawsuit was commenced.                         18role at HCMLP, as a service provider, would have
19Do I have that right?                                    19had that responsibility along with his team.
20AThat's correct.                                            20QOkay.Let's go to the next topic,
21QAnd it's your position today, as HCMFA's                   21Topic 11.Do you see Topic 11 refers to
2230(b)(6) witness, that HCMFA was unaware that the              22"communications in 2020 with any retail board --
23payments that were made by Highland were booked as             23AYes.
24liabilities until sometime after the lawsuit was               24Q-- concerning the amounts due and owing to
25commenced; correct?                                            25Highland"?

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1Dustin Norris                                        1Dustin Norris
2AYes, I do.                                                2ACorrect.
3QOkay.HCMFA is a financial advisory firm;                 3QAnd can we refer to the boards that manage
4correct?                                                      4the funds that are served by the advisers as "the
5AIt is.                                                    5retail board"?
6QAnd it provides advisory services to                      6AYes.
7certain funds; correct?                                       7QOkay.Did you participate -- are you
8AIt does.                                                  8aware that in the fall of 2020 the retail board
9QAnd those advisory services are provided                  9conducted a review in connection with the
10pursuant to written agreements; correct?                      10determination as to whether or not to renew
11AThey are.                                                 11HCMFA's contracts?
12QAnd those agreements are subject to annual                12AI am aware, yes.
13review; correct?                                              13QDid you participate in that process?
14AThey are.                                                 14AI did, in some -- in some parts, yes.
15QAnd those agreements the principal source                 15QWhat parts did you participate in?
16of HCMFA's revenue?                                           16AYeah, so I attended the board meetings in
17AYes, I believe so.                                        17relation to -- we call this the 15(c) analysis.
18QOkay.It's among the most important                       18And so it's Section 15(c) of the 1940 Act requires
19contracts HCMFA has; correct?                                 19the board to determine and renew the contracts on
20AYes.                                                      20an annual basis.And so they look at a number of
21QIn fact, it's the reason for HCMFA's                      21factors.And there's, I believe, certain case law
22existence, is that fair, is to serve the funds?               22that dictates the things that they should look at:
23ALargely, yes.                                             23Quality of services, performance, fees.
24QAnd the funds are managed by boards;                      24And so my aspect -- the biggest part
25correct?                                                      25of my contribution is to talk about the
                                                        Page 68                                                              Page 69
1Dustin Norris                                        1Dustin Norris
2performance of the funds, how they performed                  2part, this process is managed and run by the HCMLP
3during the year.We hire an outside third party               3employees as part of that shared services.Legal
4to come in and talk about performance and fees. I             4and compliance help draft the memos.They are --
5help provide insight, talk about -- as I oversee              5QAnd I'm going to interrupt you, and I
6the sales and business development of the firm, I             6really apologize for doing that.I'm not asking
7talk about inflows and outflows, which help --                7about HCMLP.
8helps impact the economies of scale funds.We                 8AYeah.
9have certain funds that are shrinking, some that              9QThese are -- these are HCMFA's contracts;
10are growing.So talking about future, talking                 10correct?
11about mergers, talking about different aspects of             11AThey are.
12that.                                                         12QAnd they're the most important contracts
13And so my -- mine is more of the sales                  13that HCMFA has; correct?
14business development function and regarding the               14ACorrect.
15services.One of the things that we do as the                 15QOkay.So who -- which officers of HCMFA
16adviser is we, again -- they have to determine                16are involved in the 15(c) analysis?
17that the quality of services we're providing are              17AYeah, one -- going back to -- to clarify
18sufficient, and so they have to get comfortable               18on your -- you know, this is the most important
19with the various functions.                                   19thing, you know, that we have, it is, and as such
20QOkay.Who else on behalf of HCMFA                         20we have -- a lot of those functions, and to talk
21participated in the 15(c) analysis that you've                21about HCMFA's role, we have front-office
22just described?                                               22investment professionals who join those meetings
23AYeah, so as -- again, going back to the                   23to talk about the funds and performance.The
24shared services agreement, I point you to the                 24aspects of the adviser that we provide and source
25services that are provided by HCMLP.In large                 25is the management of the funds:The performance,

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1Dustin Norris                                         1Dustin Norris
2the investment selection.And then we bring in                 2correct?
3HCMLP to provide the various other services.And               3ANot that I'm aware of.If you have
4so they are a huge part of that.To say that --                4something you could -- you know, a document or
5yeah, it's not -- they are legal, compliance,                  5something that you're thinking of?
6accounting, finance, back office, settlement.                  6QSo you participated in the 15(c) process,
7Those are all functions that they're providing.                7and you have no knowledge of HCMFA informing the
8QI know -- I appreciate that they're                        8retail board of the existence of the notes?
9functions that they play under the shared services             9AOf these notes?No.And I would say that
10agreement.                                                     10there was a question from the retail board posed
11AYup.                                                       11to the advisers, which we passed along to HCMLP,
12QLet me -- let me move on.                                  12which included Lauren Thedford as an HCMLP
13AOkay.Go ahead.                                            13employee and Frank Waterhouse, is:Were there any
14QIn October 2020, HCMFA informed the retail                 14liabilities to -- owed to Highland?
15board that HCMFA was obligated to pay Highland the             15QSo let's take a look -- I'm sorry.Go
16outstanding principal amount due under the notes;              16ahead.
17correct?                                                       17ANo, go ahead.
18MR. RUKAVINA:Objection; form.                           18QI was going to say, let's take a look at
19THE WITNESS:Yeah, the                                   19that.
20obligated -- I would -- sorry.Can you                       20MR. MORRIS:So if we could put up
21ask the question again?                                      21on the screen Exhibit 59.
22BY MR. MORRIS:                                                 22(Exhibit 59 tendered.)
23QSure.                                                      23BY MR. MORRIS:
24In October 2020, HCMFA informed the                      24QHave you seen this document before, sir?
25retail board of the existence of the notes;                    25AI have.
                                                         Page 72                                                             Page 73
1Dustin Norris                                         1Dustin Norris
2QAnd this is the report that the advisers                   2AI don't know.
3gave to the retail board in October 2020 as part               3QDid anybody on behalf of the advisers ever
4of the 15(c) analysis; correct?                                4suggest that this memo was wrong or inaccurate in
5AYes, working closely with HCMLP in the                     5any way to the best of your knowledge?
6accounting, compliance, and legal function did                 6AAt that time?Is that what you mean?
7draft this.                                                    7QYes.
8QOkay.And who -- who on behalf of the                      8ANo, not -- not to my knowledge.
9advisers authorized the sending of this memo?                  9QOkay.When did you see this memo for the
10AI don't know that there's a formal                         10first time?
11authorization.Lauren Thedford, who was the                    11AI may have been copied on it at the time.
12secretary of the advisers and an HCMLP employee,               12I don't remember if I read it, but I did review
13helped prepare the memo along with the rest of the             13it -- and actually, I didn't review the whole
14legal and compliance team.Thomas Surgent was                  14memo.I reviewed the one email that was related
15probably involved.                                             15to the note payable in this.So I don't know that
16MR. MORRIS:Okay.I'm going to                           16I read the whole memo.
17move to strike.                                              17QSo -- so --
18BY MR. MORRIS:                                                 18MR. MORRIS:Can we see how long
19QI don't want to know who was probably                      19the memo is?
20involved.I actually asked a very specific                     20BY MR. MORRIS:
21question, and if you don't know, please just say               21QSo it's two pages, and it's got some
22you don't know.                                                22charts; is that fair?
23Who on behalf of the advisers                            23AThat's fair.
24authorized the sending of this memo to the retail              24QAnd in October 2020, you were the
25board?                                                         25executive vice president of every single entity

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1Dustin Norris                                         1Dustin Norris
2that this email is being sent to and from;                     2employee of HCMFA have any responsibility to make
3correct?                                                       3sure that this memo was true and accurate before
4AI'm looking at the entities.                               4it was sent to the retail board?
5I'm executive vice president of most                     5ALauren Thedford was the secretary of the
6of the entities.                                               6advisers and the funds, and I believe this has to
7QOkay.You're the executive vice president                  7do with -- and depending on the material, I think
8of each of the entities that are sending this                  8this has to do with the note, and other things.
9memo; correct?                                                 9So the finance team, Frank Waterhouse and his team
10ANo.Not NexPoint Securities.                               10at HCMLP, would have been supplying those answers.
11QI appreciate that.Thank you for the                       11QOkay.And why do you keep saying Frank
12clarification.                                                 12Waterhouse at HCMLP instead of Frank Waterhouse as
13Did you review this before it was                        13the treasurer of the entity that's sending this
14sent?                                                          14memo?
15AI don't remember.                                          15ABecause Frank was the CFO of Highland who
16QDid you take any steps to make sure that                   16was responsible for the accounting, finance,
17it was accurate?                                               17back-office functions of these funds.And the
18AProbably not.And that wouldn't have been                  18answer -- the adviser did not have that
19my function.We had a legal and compliance team                19information, and intentionally hired HCMLP to
20that was -- through the shared services agreement              20provide that function.And so that is how it was
21that prepared memos.This is going to the board.               21viewed.Those were HCMLP employees, and that was
22That would have all obviously gone through legal               22under the shared services agreement.
23and compliance.It wouldn't have been my                       23QIs it your testimony as the HCMFA 30(b)(6)
24function.                                                      24witness that Frank Waterhouse did not have any
25QDid anybody who served as an officer or                    25responsibility in his capacity as the treasurer of
                                                         Page 76                                                             Page 77
1Dustin Norris                                         1Dustin Norris
2HCMFA to make sure that this report was true and               2AI don't know for sure, but I highly doubt.
3accurate before it was sent to the retail board?               3He was never, to my knowledge, involved in
4AI don't know of any function or                            4drafting or reviewing 15(c) memos.
5requirement of his role as treasurer of HCMFA that             5QOkay.You'll agree that this memo was
6he was responsible for reviewing 15(c) memos prior             6sent by the advisers in response to the retail
7to going to the board.                                         7board's questions; correct?
8QAnd other than Lauren Thedford, you can't                  8ACorrect.
9identify any officer or employee of HCMFA who had              9QAnd you'll agree --
10any responsibility to make sure that this report               10AAnd actually, let me -- let me correct
11was true and accurate before it was sent; is that              11that.
12correct?                                                       12It was from the advisers.I believe
13ANo.And I can't -- and I would, again, go                  13that HCMLP employees sent it, getting back to --
14back to legal.And this is a memo that is going                14it was sent by -- technicality, but I believe
15to the board and is a legal and compliance                     15Lauren Thedford would have sent this.
16function that would have been provided services by             16QAnd why do you say that she sent it in her
17HCMLP.And that was always the case.Those                     17capacity as an HCMLP employee rather than as the
18employees, for years, have provided the                        18secretary of the entity that's actually the author
19legal/compliance support of memos of the 15(c)                 19of the memo?
20process and the support for everything that went               20ABecause that was the function that they
21into it.                                                       21were providing as part of the shared services
22MR. MORRIS:Okay.Move to strike.                        22agreement.And I -- yeah.That was what -- she's
23BY MR. MORRIS:                                                 23part of the legal team at HCMLP, and that was the
24QDo you know if Jim Dondero reviewed this                   24service she was providing.We didn't have a legal
25before it was sent?                                            25and compliance function at HCMFA.

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1Dustin Norris                                         1Dustin Norris
2QOkay.                                                      2your answer that was responsive to my
3MR. MORRIS:Can we scroll down to                        3question.
4Question 2, please?                                          4BY MR. MORRIS:
5BY MR. MORRIS:                                                 5QAs HCMFA's 30(b)(6) witness today, have
6QHave you seen Question 2 before?                           6you done anything to determine whether or not the
7AYes.                                                       7$12.286 million number includes the principal
8QDo you have an understanding of what was                   8amount of the notes?
9being requested by the retail board in Question                9ALooking at it, we can't tell.Because it
10Number 2?                                                      10doesn't line up exactly with those notes.There
11AYes.They are asking for amounts                           11were other notes that had been recorded in the
12currently payable or due in the future to HCMLP by             12books for several years before.And if you add
13HCMFA or NexPoint Advisors.                                    13those two together, it doesn't add up.So it's
14QAnd -- and did the advisers report to the                  14not clear.
15retail board in October 2020 that, quote,                      15QDid you read the testimony of Mr. Klos and
16"$12,286,000 remains outstanding to HCMLP from                 16Ms. Hendrix?I think you said you did; right?
17HCMFA"?                                                        17AI did.
18AIt says it right there.That's in the                      18QDid you read the portion of their
19memo.                                                          19testimony where they said that this number
20QOkay.                                                      20includes the notes as well as certain other
21AAnd I would note that came from Frank                      21amounts that were due and owing to certain
22Waterhouse and his team, that information, the                 22Highland affiliates?
23accounting department at HCMLP.                                23AI did -- I didn't read every single line,
24MR. MORRIS:Okay.I move to                              24and there were, between the two of them -- I don't
25strike everything after the portion of                       25know -- 600 pages.So if it's in there and you
                                                         Page 80                                                              Page 81
1Dustin Norris                                         1Dustin Norris
2can point to it, then I can take your                          2look at the email chain, it didn't look too
3representation.But I don't remember that.                     3extensive.And if you even look at this, he's
4QAll right.So did anybody acting on                        4saying that the earliest the note between HCMLP
5behalf of HCMFA -- withdrawn.                                  5and HCMFA can come due is May 21st.He himself
6Did any officer of -- or employee of                     6seems to be confused here, because as we found out
7HCMFA do anything to make sure the information in              7through discovery and in the testimony of what has
8this response was true and accurate before it was              8come out, there was an agreement -- that was a
9sent to the retail board?                                      9separate agreement.That wasn't related to the
10AWe received it from the individuals                        10notes at issue in this case.
11responsible.And there was no -- you know, there               11And so I don't know the extent that
12was no reason to doubt that it was incorrect.                  12was gone into this, but it -- it -- there's
13Right?These were professionals.We were relying               13confusion even in the response.
14on them.This is Frank Waterhouse, Dave Klos,                  14MR. MORRIS:Okay.I move to
15Kristen.We anticipated this would be accurate.                15strike.
16QOkay.You anticipated it.But it's your                    16BY MR. MORRIS:
17testimony that no officer or employee of HCMFA did             17QAgain, I was just asking about the
18anything independently to make sure that it was                18identity of anybody who was charged with the
19accurate; that they completely and 100 percent                 19responsibility of making sure that this was true
20just deferred and relied on somebody else under a              20and accurate.
21contract?                                                      21Is there any officer or employee of
22AFrank Waterhouse was the treasurer.You                    22HCMFA who was charged with the responsibility of
23said any -- any officer.He was -- in his role,                23making sure this response was true and accurate?
24he provided this information.And I don't know                 24AYeah.It was sent to -- the request went
25his extent of how he looked into it, but if you                25to Frank Waterhouse because he and his team would

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1Dustin Norris                                        1Dustin Norris
2have this information.That's -- that's where we              2and what is owing.We don't have information on
3would get this information.                                   3the other notes.So discussed it with counsel,
4QOkay.Thank you.                                          4but I -- we don't have any backup to support or --
5MR. RUKAVINA:Hey, John, let me                         5QDid you make -- did you make any attempt
6just interject for a little.Let's go off                   6to speak with Ms. Thedford?
7the record for just a minute.                               7ANo, I didn't.And she wouldn't have that
8(Discussion off the record.)                              8information.She's an attorney and was involved
9BY MR. MORRIS:                                                9in the legal field, and she's no longer employed
10QDo you know, as HCMFA's 30(b)(6)                          10there or at Skyview.
11representative, whether the $12.286 million                   11MR. MORRIS:I move to strike.
12includes the $7.5 million -- withdrawn.                       12BY MR. MORRIS:
13Do you know if the 12. -- withdrawn.                    13QOkay.And so you don't know what the
14As HCMFA's 30(b)(6) witness, do you                     14component parts of this $12.286 million number
15know whether the $12.286 million referenced in                15are; correct?
16Response Number 2 includes the $7.4 million in                16AI don't.
17principal amount on the notes?                                17QOkay.Do you see the last sentence of
18AI don't.                                                  18this response that says, quote:"The adviser
19QOkay.Did you do anything to try to                       19notes that both entities have the full faith and
20answer that question before appearing for today's             20support of Jim Dondero," close quote?
21deposition?                                                   21AI do.
22AYeah.We discussed this with counsel.We                  22QDo you know what that means?
23don't have underlying backup.We couldn't talk to             23AOther than what Frank Waterhouse
24Frank Waterhouse on this in preparation, but the              24testified -- and I, again, refer you to his
25numbers just don't match up to principal amounts              25deposition -- that -- I believe that wording came
                                                        Page 84                                                               Page 85
1Dustin Norris                                        1Dustin Norris
2from him, and he emailed that.So I would refer               2AI'm not aware, and if you look at Frank's
3you to his testimony.                                         3testimony, I believe he testified that he -- he
4QWell, as the 30(b)(6) witness, you were                   4didn't have that authority either, but I'm not
5asked to be prepared about communications to the              5sure.I would refer you to his -- I don't have
6retail board; correct?                                        6any other knowledge.
7AYes.                                                      7QOkay.So it's HCMFA's position that the
8QOkay.Did you do anything to try to                       8statement in the last sentence of Response
9figure out what that sentence meant -- that                   9Number 2 was unauthorized.Do I have that
10sentence meant, other than reading Frank                      10correctly?
11Waterhouse's deposition transcript?                           11AI don't know that we're taking that
12AKnowing that it came from Frank, and Frank                12position either way.It wasn't something
13elaborated, I didn't do any additional research.              13that -- that we're -- was even part of the -- our
14QDid you ask Mr. Dondero if he was aware                   14arguments.
15that that statement was included in the report to             15QI'm not asking if it's part of your
16the retail board?                                             16arguments.I'm just asking you, as a factual
17AI did not.                                                17matter, does HCMFA contend that that sentence was
18QDo you know why this statement was                        18included without authorization?
19included in the report to the retail board?                   19AI don't have the knowledge of that.
20AI could speculate, but I don't know                       20That's -- I'm not going to contend that.
21specifically.                                                 21QOkay.
22QDo you know if Mr. Dondero authorized the                 22AIt may have been.I don't know.
23advisers to inform the retail board, in October               23QOkay.So this letter was sent over a year
24of 2020, that the advisers had the full faith and             24ago.Do I have that right?
25support of Mr. Dondero?                                       25AWhat's the date on it?

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1Dustin Norris                                         1Dustin Norris
2MR. MORRIS:If we can go back to                         2meeting as part of the 15(c) process, but -- I
3the top.                                                     3don't know if you have that in hand, but I believe
4THE WITNESS:Yup.                                        4that was supplied.I'm not certain.Sometimes it
5BY MR. MORRIS:                                                 5was 12/31 balance sheets, sometimes it was a
6QOkay.Has -- have the advisers ever told                   6June 30th balance sheet.
7the retail board that the response to Question                 7QOkay.Can we -- are you aware -- have you
8Number 2 was inaccurate in any way?                            8seen an email exchange that preceded the -- the
9ASpecifically saying, "Hey, let me tell you                 9finalization of this memo to the retail board?
10this memo, Question 2, let me go back, it was                  10AI believe it was part of your exhibits.
11inaccurate," no, that was never a specific                     11QAll right.
12disclosure of the retail board.                                12MR. MORRIS:So let's put that up
13However, the retail board is aware of                    13on the screen, Exhibit 36.
14all of the facts and circumstances surrounding the             14(Exhibit 36 tendered.)
15notes, and so they're aware of our position.                   15BY MR. MORRIS:
16They're aware of -- they've been demanded.                     16QSo is this the document that you've seen
17There's been a lawsuit involved on both notes.                 17before?
18And -- and -- but, no, this specific                     18AYes.
19Number 2 is incorrect, no.But they're aware of                19QOkay.
20our position and what we found out since then.                 20MR. MORRIS:And can we start at
21QOkay.Earlier in 2020, before this memo                    21the bottom of the document?
22was sent to the retail board, HCMFA had provided               22BY MR. MORRIS:
23to the retail board its financial statements for               23QOkay.And do you know who Stacy from
24the period ending June 30, 2020; correct?                      24Blank Rome is?
25AI believe that's typical in our August                     25AI do.
                                                         Page 88                                                              Page 89
1Dustin Norris                                         1Dustin Norris
2QAnd who is that?                                           2all of them.I don't know if you have the memo.
3AShe is independent counsel for the retail                  3If you represent that is all the questions,
4board, the independent directors.                              4then --
5QAnd did she provide to the people on this                  5QYeah.
6email string certain questions that the retail                 6A-- then I'll take that representation,
7board had in connection with its annual 15(c)                  7but --
8review?                                                        8QAnd -- and Question Number 2 is the same
9AYes.These were follow-up requests.So                     9Question Number 2 that we just looked at in the
10they have a memo that she provides early on with               10report that was given to the retail board;
11an extensive list of questions, and these were the             11correct?
12follow-up questions from the board.                            12AI don't know if it's exact, but -- I don't
13QOkay.And so it was sent to you,                           13know if you want to pull that up.
14actually; correct?                                             14QDon't you have a copy of it with you right
15ATo me and Lauren.                                          15there?
16MR. MORRIS:Can we scroll up a                           16AI don't know if I have a copy of that.
17little bit, please?Keep going.                              17Oh, I have the exhibits.What exhibit was that?
18BY MR. MORRIS:                                                 18I have it in PDF.
19QAnd then Lauren forwards it to certain                     19QYeah, that's -- that was 59.
20people, including you; correct?                                20AI'm scrolling.There are 650 pages here.
21AShe forwards it to Thomas and copies me.                   21Sorry.Which exhibit again?
22QUh-huh.And -- and she includes the                        22QYou know, let's just move on.
23questions that are being asked by the retail                   23Is it fair to say that Ms. Thedford
24board; correct?                                                24forwarded to Mr. Surgent, you, and others,
25AI don't know if -- I don't know if that's                  25questions that had been presented by Stacy, the

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1Dustin Norris                                         1Dustin Norris
2retail board's outside counsel?                                2would go to them as the source for that
3AJust one correction there.She forwarded                   3information.
4it to Mr. Surgent and copied me.                               4QOkay.
5QFair enough.                                               5MR. MORRIS:And let's scroll up
6AI'm not on the "To" line.That would                       6and see the response.
7be --                                                          7BY MR. MORRIS:
8MR. MORRIS:Let's scroll down,                           8QAnd do you see Mr. Waterhouse responded
9please.Let's scroll.                                        9with one word:"Yes"?
10BY MR. MORRIS:                                                 10AYes, I see that.
11QAnd then -- and then she forwards it                       11QAnd then Ms. Thedford asked if
12further to Mr. Waterhouse, Mr. Klos, and                       12Mr. Waterhouse could provide the amounts.
13Ms. Hendrix.                                                   13Do you see that?
14Do you see that?                                         14AI do.
15AI do.                                                      15QAnd you're still copied on this email
16QAnd you're still copied on it; correct?                    16chain; correct?
17AI am.                                                      17AI am.
18QAnd do you see that she's asking Frank,                    18QSo --
19Mr. Klos, and Kristin to respond to Question                   19AWhich, again, is not unusual to copy me on
20Number 2 that concerns material outstanding                    20some things I wish they wouldn't.But I was
21amounts currently payable or due in the future to              21copied on board items fairly regularly.
22Highland or its affiliates by either of the                    22MR. MORRIS:Okay.I move to
23advisers?                                                      23strike.
24AYes, it -- HCMLP will take that as a typo.                 24BY MR. MORRIS:
25But yes.And that would be standard.Lauren                    25QI appreciate your wishes, but the question
                                                         Page 92                                                            Page 93
1Dustin Norris                                         1Dustin Norris
2was simply whether or not, you know, you would                 2Okay.
3acknowledge that you were copied on this email.                3A"Are there material outstanding amounts
4AYup, that's my email.                                      4currently payable or due to the future by HCMLP to
5QOkay.And let's see what the next                          5HCMFA" -- yeah -- "or any other affiliate?"
6response is.                                                   6Okay.
7And do you see Mr. Waterhouse                            7QHaving read that, does that change your
8responds -- can you read Mr. Waterhouse's                      8answer at all?
9response?                                                      9AAnd so -- go back to your original
10AI can.He said:"It's on the balance                       10question on whether his --
11sheet that was provided the board as part of the               11QRight.So Mr. --
1215(c) materials."                                              12MR. MORRIS:Can we scroll back up
13QOkay.So everybody to whom Mr. Waterhouse                  13to Mr. Waterhouse's response?
14has sent -- withdrawn.                                         14BY MR. MORRIS:
15So you don't dispute, as HCMFA's                         15QThank you for your patience, Mr. Norris.
1630(b)(6) witness, that Mr. Waterhouse informed all             16AUh-huh.
17of the recipients of his email on Tuesday,                     17QYou'll see that Mr. Waterhouse responds at
18October 6th, 2020, at 6:05 p.m. that the answer to             186:05 p.m. on October 6th, and my question is a
19the retail board's Question Number 2 could be                  19simple one:Does HCMFA dispute that in
20found in HCMFA's balance sheet; correct?                       20Mr. Waterhouse's email that he is telling the
21ACorrect.                                                   21recipients that the answer to the retail board's
22QOkay.Let's go --                                          22Question Number 2 can be found in HCMFA's balance
23AActually, can you go back down to the                      23sheet?
24answer -- the exact question?                                  24AI would say the answer -- his -- his
25QOf course.                                                 25response is the answer to the retail board is not

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1Dustin Norris                                         1Dustin Norris
2completely accurate, because there was -- there's              2financials.And, again, to correct to me, I'm
3not enough there to be responsive.I think what                3CC'd.It's a nuance, but she's representing to
4he's saying here is to Lauren, "Hey, it's on the               4Frank and Dave and Kristin with a CC to me.
5balance sheet.Can you look at it and figure it                5QOkay.Does HCMFA acknowledge that the
6out?"                                                          6information contained in the October 23rd, 2020,
7And I -- I think they go back and                        7report to the retail board with respect to
8forth, "Well, can you give us more information?"               8Question Number 2 was derived from HCMFA's
9And so it's -- this is not responsive to the                   9June 30th, 2020, financials?
10question and isn't what was provided to the board,             10ASorry.One more time?
11but that's --                                                  11QWill you agree, as HCMFA's 30(b)(6)
12QWell, let -- let's see what Ms. Thedford                   12witness, that the information provided to the
13does.Ms. Thedford's the lawyer; right?                        13retail board in October 2020 in response to
14AShe is.                                                    14Question Number 2 was taken directly from HCMFA's
15QYeah.But she's also the secretary of                      15financial statements for the period ending
16HCMFA; correct?                                                16June 30th, 2020?
17AAt this time, I believe so, yes.                           17AYeah.The unaudited financials, yes.
18QAnd you wouldn't dispute that she is                       18QOkay.And so -- so as HCMFA's 30(b)(6)
19taking the lead on formulating the advisers'                   19witness, you will agree that the $12,286,000
20response to the retail board; correct?                         20figure that was included in the former response to
21AI would not dispute that.                                  21the retail board was obtained from HCMFA's
22QOkay.And do you see that she reports to                   22unaudited financial statements for the period
23you and everybody else in her email that she has               23ending June 30th, 2020; correct?
24taken information from the 6/30 financials?                    24AIt appears that way.
25AYes, I see the below from the 6/30                         25And I -- I think -- and, again, we're
                                                         Page 96                                                             Page 97
1Dustin Norris                                         1Dustin Norris
2looking at a draft answer here.I don't have the               2secretary for the advisers; correct?
3final answer.But it looks as work product that                3AThat's correct.
4she's pulling numbers from the unaudited balance               4QAnd you are the executive vice president
5sheet and plugging them in here.                               5for the advisers; correct?
6QOkay.And we can look at the final if you                  6AAs of this date, yes.
7want, but that $12,286,000 number that was due to              7QAnd you had no position with Highland;
8HCMLP as of June 30th 2020, that's the exact                   8correct?
9figure that was given to the retail board in the               9AAt this time?
10final report; correct?                                         10QCorrect.
11A"Final report," meaning the final memo --                  11ANo position with Highland, no.
12final memos?                                                   12QOkay.How about Mr. Post?Had he
13QYes.                                                       13transitioned from Highland to the advisers as of
14AYes.Yes, I believe so.                                    14October 6th?
15QOkay.                                                      15AI don't believe so.
16MR. MORRIS:Can you scroll back up                       16QOkay.It happened in October, though;
17to the last email?                                           17right?
18BY MR. MORRIS:                                                 18AI -- I don't know.
19QSo this is Mr. Waterhouse's response to                    19QOkay.
20Ms. Thedford.And, again, Mr. Waterhouse is                    20ALate October/November.It was late in the
21Highland's CFO and the advisers' treasurer;                    21year.
22correct?                                                       22QOkay.And do you know if anybody ever
23ACorrect.                                                   23told Mr. Waterhouse in October 2020 that there was
24QAnd at this time, Ms. Thedford is an                       24any aspect of his email that was incorrect?
25attorney at Highland, but she also serves as the               25ANot at that time, no, that I'm -- not that

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1Dustin Norris                                          1Dustin Norris
2I'm aware of.                                                   2full faith and backing."
3QOkay.                                                       3So I don't know the exact board
4AAnd -- and would we have reason to doubt                    4meeting.However, we do have an August board
5him?This -- he was the source of the                           5meeting related to 15(c).There's typically an
6information.                                                    6in-person or telephonic meeting in August, and
7QOkay.And do you see that the last                          7then there's a September board meeting that is
8sentence of his email actually refers to the last               8devoted almost exclusively to the 15(c) process.
9sentence of Response Number 2 that was given to                 9And after that, there is follow-up
10the retail board later in October 2020?                         10meetings -- multiple sometimes, particularly in
11AI do.                                                       112020 during the bankruptcy proceedings that --
12QDid you ever ask Mr. Waterhouse anything                    12where the board was getting comfortable.So it
13about that last sentence?                                       13would have been one of those meetings, but I don't
14AI don't believe so.                                         14know which one.
15QDo you see that he says, quote:"The                        15QAnd -- and did you personally participate
16response should include, as I covered in the board              16in a board meeting where Mr. Waterhouse covered
17meeting, that both entities have the full faith                 17the topic of the advisers having the full faith
18and backing from Jim Dondero, and to my knowledge               18and backing from Mr. Dondero?
19that hasn't changed"?                                           19AI -- I probably would have been in most or
20Do you see that?                                          20all of those board meetings, but I don't remember
21AI do.                                                       21that specifically.
22QDo you know what board meeting he's                         22QOkay.Do you know -- do you know whether
23referring to?                                                   23anybody who's copied on this email ever questioned
24A"The response should include, as I covered                  24any aspect of the last sentence of
25in the board meeting, that both entities have a                 25Mr. Waterhouse's email at any time prior to the
                                                         Page 100                                                            Page 101
1Dustin Norris                                          1Dustin Norris
2sending of the final memo on October 23rd?                      2correct?
3ANot that I'm aware of.                                      3AI don't know what the conversations were
4QYou didn't; isn't that right?                               4had between the others, but I have no knowledge of
5AI don't know that I read it, but I didn't                   5that.
6question it.If I -- I either didn't read it or I               6QOkay.
7didn't question it.                                             7AAnd -- and you've got -- sorry.Go ahead.
8QOkay.So you have no recollection of ever                   8QThis email string is -- is an email string
9asking Mr. Waterhouse what he meant by the last                 9devoted for the sole purpose of addressing
10sentence of this email; correct?                                10questions posed by the retail board in connection
11ANo, I have no recollection.                                 11with the 15(c) review; correct?
12QAnd you have no recollection of any                         12AI believe so.
13recipient of this email asking Mr. Waterhouse what              13QOkay.Have you ever seen HCMFA's
14he meant by that last sentence; correct?                        14unaudited financial statements for June 30th,
15AI don't remember.                                           152020?
16QAnd you never told Mr. Waterhouse that you                  16AYes.
17had no knowledge of him having covered this issue               17QAnd do you know if those audited --
18before the board?                                               18unaudited financial statements included the
19AYou're wondering if I ever told him I had                   19amounts due and payable under the notes?
20no knowledge?                                                   20AI -- I think that -- I -- I don't
21QYeah.                                                       21remember, but I think our position is it's
22ANo, I never talked to him about that.                       22unclear, because the amounts don't agree to
23QAnd to the best of your knowledge, no                       23the -- again, we have prior notes, we have these
24recipient of this email ever challenged                         24notes.The amounts don't line up.
25Mr. Waterhouse's statement in this last sentence;               25So it's -- it's -- the underlying

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1Dustin Norris                                          1Dustin Norris
2backing is not provided.There's no footnotes.                  2(Recess from 12:11 p.m. to 1:06 p.m. CST)
3It's just a number that says due to HCMLP.                      3BY MR. MORRIS:
4QDo you know -- do you know -- do you have                   4QMr. Norris, Topic Number 9 relates to
5any recollection as to the totality of HCMFA's                  5consent fees.
6liabilities as of June 30th, 2020?                              6Do you understand that?
7AIncluding this note?Or just this note?                     7AI do.
8QAll -- all liabilities.What's the bottom                   8QDo you have an understanding of what a
9of the balance sheet?                                           9"consent fee" is?
10AI don't know.Do you have it?Do you                        10AI do.
11want to pull it up?                                             11QDid you do anything to prepare for this
12QI don't.                                                    12particular topic?
13AYeah, I don't remember.                                     13AI did.
14MR. RUKAVINA:Hey, John, it's                             14QWhat did you do to prepare for this topic?
15approaching 12:15.Just whenever, you                         15AI discussed the consent fee with
16know --                                                       16Mr. Dondero, with Mr. Rukavina, and with
17MR. MORRIS:Yeah.You know what?                          17Mr. Sauter.
18I was just about to change topics, so this                    18QOkay.Mr. Sauter has no personal
19is a good time.                                               19knowledge of any consent fee that was paid in the
20MR. RUKAVINA:Okay.                                       20spring of 2019; correct?
21MR. MORRIS:Why don't we stop                             21ANo.
22here, and we'll come back at the top of                       22QOkay.What's your understanding of what a
23the hour.                                                     23"consent fee" is?
24MR. RUKAVINA:Excellent.Thank                            24AGenerally or the specific consent fee
25you.                                                          25in -- that --
                                                         Page 104                                                            Page 105
1Dustin Norris                                          1Dustin Norris
2QLet's start generally.                                      2AYeah.So the consent fee was related to
3AYeah.So a "consent fee" is a fee paid to                   3the global allocation fund that converted from an
4a -- paid to someone who's agreeing to amend terms              4open-end fund to a closed-end fund, and there was
5or change the structure of the -- of a document or              5a 3 percent fee that would be paid to investors
6a loan.In -- in bank loan world, or loan world,                6that, one, consented to the conversion from an
7if you are going to amend or extend or change the               7open-end fund to a closed-end fund, but also held
8terms, typically there was a consent fee paid to                8their investment through the conversion.
9those willing to consent.                                       9The conversion was finalized in
10Those that have voted or consented                        10February of 2019, and the consent fee was an
11receive a fee.                                                  11operational challenge because you had to determine
12QOkay.And did HCMFA pay any consent fees                    12who the investors were that voted yes and that
13in or around April or May 2019?                                 13held on to the conversion.
14AIt began to pay consent fees in May                         14So with that, the -- the amounts that
15of 2019, I believe.                                             15were paid, there was an operational challenge to
16QOkay.Are you looking at something as you                   16determine who -- who needed to be paid, and so
17prepare your answer?                                            17they were deposited and then paid out over a
18AYeah.I'm looking at Topic Number 9 that                    18couple-month period.
19says consent fee in April or May 2019.                          19QAnd who made the decision to pay the
20QOkay.Thank you so much.                                    20consent fee?
21And -- and I think you testified that                     21ASo the consent fee was a collaborative
22they began paying consent fees at around that                   22decision of senior management.Jim Dondero and
23time?                                                           23myself were involved in the decision, the
24AThat's right.                                               24discussion to -- and it was a novel idea in terms
25QWhat do you mean by that?                                   25of converting from an open-end fund to a

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1Dustin Norris                                          1Dustin Norris
2closed-end fund, and it was submitted to                        2determine what the likely total fee would be?
3investors.It went through SEC review as a proxy                3AYeah.I'm sure they did.
4statement, and it went out to shareholders who                  4QDo you know what the total fee
5needed to vote for the proposal.                                5paid -- what the total consent fee paid was?
6QAnd who paid the consent fee?HCMFA?                        6AI don't have the exact amount, but it was
7AMy understanding is HCMFA as the adviser                    7over $5 million.
8of the global allocation fund paid the consent fee              8QOkay.And over what period of time were
9to investors.                                                   9the consent fees paid?
10QAnd whose idea was it to seek consent to                    10AI know they were paid in May and June, and
11change from an open fund to a closed-end fund?                  11there may be a portion that were paid thereafter,
12AI -- I would say it was collaborative of                    12but at least May and June of 2019.There were
13senior management.Jim Dondero, myself, legal                   13certain broker-dealers that reported later, and
14compliance was involved.It was, you know, Mark                 14when those were reported and verified, they were
15Okada, who was a partner at the time.There was a               15paid out.I don't remember the final date of the
16lot of discussion involved.                                     16last distribution.
17QAnd when the decision was made to seek                      17QOkay.And forgive me.It's not my
18consent to change from an open-end fund to a                    18business.But were the consent fees paid to the
19closed-end fund, did HCMFA understand that there                19fund's shareholders?
20would be costs, fees, and expenses associated with              20AThey were paid to the shareholders.
21that decision?                                                  21That's correct.
22ABeing cost fees as in the consent fee?                      22QOkay.
23QCorrect.                                                    23AThat's consented.The shareholders had to
24AYes.                                                        24vote, and they had to be a shareholder on
25QAnd did it undertake any analysis to                        25conversion date.
                                                         Page 108                                                            Page 109
1Dustin Norris                                          1Dustin Norris
2QOkay.And the decision to seek and obtain                   2AYes.
3consent, was that a voluntary decision by HCMFA?                3QAnd, in fact, it used approximately
4ATo seek consent to move to a closed-end                     4$5 million of the moneys paid in May 2019 to pay
5fund?                                                           5the consent fee of approximately $5 million; is
6QYes.That's not something that any                          6that fair?
7regulator required, was it?                                     7AAt least $5 million.
8ANo.                                                         8QOkay.Do you know the exact number?
9QIt's not something that any rule or                         9AOf the consent fee?
10anybody mandated; correct?                                      10QWithdrawn.
11ANot that I believe.                                         11Do you have a better or more precise
12QOkay.How did HCMFA fund the payment of                     12estimate of the total consent fee other than
13the total consent fee of over $5 million?                       13$5 million?
14AYeah, from cash that it had on the balance                  14AIt was over $5 million.I don't remember
15sheet.                                                          15the exact amount, whether it was 5.6 or 5.2 --
16QAnd where did it get the cash that was on                   16QAll right.
17the balance sheet?                                              17A-- because it was paid over time.
18AThe cash came from the transaction that we                  18QLet's talk about the TerreStar valuation
19discussed earlier -- and you showed the capital                 19issue for a few minutes, if we can.
20coming in from Highland -- which was compensation               20AOkay.
21for the NAV error.                                              21QJust generally, in 2018/2019, HCMFA spent
22QSo it used the money that it received in                    22a fair amount of time addressing the consequences
23the transfers that we talked about to pay the                   23of a valuation error concerning TerreStar.Do I
24consent fee.Do I have that right?Or at least                  24have that right?
25some of it?                                                     25AThere was a lot in there, but there was,

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1Dustin Norris                                          1Dustin Norris
2during that time, a lot of discussions with                     2QCan you describe for me the services that
3TerreStar over the concerns of a valuation error                3were provided by Houlihan Lokey in connection with
4in 2018 and '19.                                                4the TerreStar --
5QAnd did it ultimately turn out that there                   5AAnd I would say I do generally.I was not
6was a valuation error involving TerreStar?                      6involved in the individual details.That was all
7AThere was.                                                  7the HCMLP employees.
8QOkay.And had HCMFA retained Houlihan                       8So all of the Highland employees that
9Lokey in connection with doing the TerreStar                    9were involved in the shared services agreement,
10valuation?                                                      10the valuation committee, valuation services were
11AHoulihan Lokey was involved in the                          11the responsibility of HCMLP.Key inputs were
12valuation, yes.                                                 12provided by HCMLP.Key estimates and
13QAnd who retained Houlihan Lokey?                            13interpretations to Houlihan, and they used their
14AI don't know.                                               14models to calculate a valuation that was then
15QAs you sit here right now, you can't tell                   15approved by the valuation committee at HCMLP.
16me who retained Houlihan Lokey?                                 16And so that's my general understanding
17AI don't know if it was HCMLP or HCMFA                       17of the valuation process.
18or -- I don't know.                                             18QDo you know how much Houlihan Lokey was
19QOkay.Are you familiar with the firm                        19paid for its work?
20Houlihan Lokey?                                                 20AI don't.
21AI am.                                                       21QDo you know if there's an engagement
22QAnd do you know what services they                          22letter pursuant to which Houlihan Lokey provided
23provided in connection with the TerreStar                       23these services?
24valuation?                                                      24AI'm not aware.
25AI do.                                                       25QWould you dispute that HCMFA is the entity
                                                         Page 112                                                            Page 113
1Dustin Norris                                          1Dustin Norris
2that retained Houlihan Lokey?                                   2AI'm not sure.
3AI don't know.                                               3QDoes HCMFA contend that Houlihan Lokey
4QWould you agree that Houlihan Lokey is                      4made any mistakes in connection with its valuation
5fairly described as an independent third-party                  5services?
6valuation consultant?                                           6AI'm not sure.
7AYes, generally.                                             7QDoes HCMFA have a position as to whether
8QOkay.And do you know when Houlihan Lokey                   8or not Houlihan Lokey made any mistakes in any of
9was retained?                                                   9the services that it performed in connection with
10AI don't.                                                    10the TerreStar valuation?
11QHoulihan Lokey's retention was approved by                  11AI think they don't have details and would
12the retail board, wasn't it?                                    12retain their rights to understand what their role
13AI'm not sure.                                               13and -- sorry.What was the original question?
14QHave you ever seen any of the work product                  14QJust whether HCMFA has a position as to
15of Houlihan Lokey in connection with the TerreStar              15whether or not Houlihan Lokey made any mistakes in
16valuation?                                                      16the work that it did in connection with the
17AYeah.I remember seeing the valuation                       17TerreStar valuation?
18model.                                                          18AYeah.I think they're retaining their
19QSo Houlihan Lokey did prepare the                           19rights to understand that better.
20valuation model that is the subject of the                      20QIs there any agreement with Houlihan Lokey
21TerreStar valuation issue; is that fair?                        21that would give HCMFA the time to do that?Is
22AWorking very closely with the HCMLP                         22there a tolling agreement or anything like that?
23employees with the inputs, yes.                                 23ANot that I'm aware of.
24QDid HCMFA rely on the Houlihan Lokey                        24QIs HCMFA undertaking any analysis to
25valuation model?                                                25determine whether or not Houlihan Lokey made any

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1Dustin Norris                                          1Dustin Norris
2mistakes in connection with the work that it did                2QBut HCMFA has not undertaken any analysis
3on the TerreStar valuation?                                     3or investigation, to the best of your knowledge,
4ASorry.One more time.                                       4to try to determine if Houlihan Lokey was the
5QIs HCMFA undertaking any analysis or                        5responsible party; fair?
6investigation to try to determine whether Houlihan              6AWe don't know if there is a contract or
7Lokey made any mistakes?                                        7not.At this point, we're talking about the
8AThere are -- I don't know.I don't know.                    8defense of Highland's responsibility.There's no
9QYou have no knowledge, as you sit here                      9question they were responsible for the valuations.
10today, as to whether HCMFA is undertaking any                   10They were outsource provider of the valuation
11analysis or investigation to try to determine                   11committee.Every individual working and
12whether Houlihan Lokey did anything wrong in                    12coordinating with Houlihan Lokey was an HCMFA
13connection with its valuation services; correct?                13employee.All the data and information that was
14AAnd I wasn't prepared -- I don't think                      14provided to them came from HCMLP.There's no
15this is one of the topics -- you know, Houlihan                 15question that Highland was responsible for the NAV
16Lokey's, you know, involvement, and so I wasn't                 16error.No one ever questioned that.That was
17prepared to answer that one.                                    17always known.It was all the employees that were
18QOkay.Well, the defense -- HCMFA's                          18involved.
19defense is that Highland is responsible for the                 19MR. RUKAVINA:John, I'll just
20TerreStar valuation issue; correct?                             20reiterate that we did not understand your
21AYes.                                                        21topics to include Houlihan Lokey.If you
22QAnd there's no question that Houlihan                       22need more information about that or if we
23Lokey provided services in connection with that                 23need to have a supplemental deposition,
24valuation; correct?                                             24that's fine.But this is just not
25ACorrect.                                                    25something that we reasonably anticipated
                                                         Page 116                                                            Page 117
1Dustin Norris                                          1Dustin Norris
2you asking about.                                             2have produced it to you.So if you have
3MR. MORRIS:I think it's -- I                             3anything like that, we'd love to see it.
4think I have the answer that I need and                       4We do not even know whether we had a
5that the executive vice president and                         5contract with Houlihan Lokey or not.So
630(b)(6) witness has no knowledge of any                      6we'll try to find you information, John.
7investigation or analysis that has been                       7We just -- we just don't have it.
8undertaken by HCMFA to try to even                            8MR. MORRIS:We'll get to that in a
9determine whether Houlihan Lokey is at                        9moment.
10fault.                                                        10BY MR. MORRIS:
11BY MR. MORRIS:                                                  11QHas HCMFA -- withdrawn.
12QDo I have that right, Mr. Norris?                           12Has HCMFA ever told Houlihan Lokey
13MR. RUKAVINA:Well, I will just                           13that it believed it made any mistake or error of
14object that that was not your prior                           14any kind in connection with its work on the
15question.                                                     15TerreStar valuation?
16MR. MORRIS:All right.Well,                              16AAgain, I -- this is not a topic that we
17that's my question now.                                       17reviewed, so I don't know.
18BY MR. MORRIS:                                                  18QOkay.You're not aware of anything today;
19QIs that correct, Mr. Norris?                                19correct?
20AI know there's been discussion with                         20AAgain, the employees working with Houlihan
21counsel.                                                        21Lokey were the HCMLP employees.So I don't know
22MR. RUKAVINA:Well, I will                                22if the debtor employees have that conversation,
23represent to you that we have looked for a                    23but --
24Houlihan Lokey contract and have not been                     24MR. MORRIS:Yeah, I'm going to
25able to find one.Otherwise, we would                         25move to strike.

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1Dustin Norris                                          1Dustin Norris
2BY MR. MORRIS:                                                  2QThey sent to the board of the fund?
3QAnd I'm asking about HCMFA.                                 3AOh, the board of the fund.
4Did -- has HCMFA ever informed                            4There were a number of memos and
5Houlihan Lokey that HCMFA believes that Houlihan                5presentations.If you have one you want to pull
6Lokey made a mistake or error in the work that it               6up, you can -- we can refer to it.
7did?                                                            7QSure.
8AThere were ongoing discussions extensively                  8MR. MORRIS:Let's put up what
9throughout this with Houlihan Lokey and the debtor              9we've marked as Exhibit 182.
10employees regarding the error and what the causes               10(Exhibit 182 tendered.)
11were.It was extensive discussions.                             11BY MR. MORRIS:
12MR. MORRIS:Okay.Move to strike.                         12QAnd while we're doing that, have you ever
13BY MR. MORRIS:                                                  13seen a single document anywhere at any time in
14QHas HCMFA ever told Houlihan Lokey that                     14which any representative of HCMFA took Highland to
15HCMFA believes that Houlihan Lokey made a mistake               15task for the work that it did in connection with
16or an error in connection with its valuation                    16the TerreStar valuation?
17services?                                                       17A"Took them to task"?Define "take them to
18AIt may have, but I'm not aware.                             18task."
19QThank you.                                                  19QTold them that they were the source and
20Are you familiar with the report that                     20cause of the NAV error.
21HCMFA prepared and sent to the Global Allocation                21AThe irony of all of the reporting to the
22Fund concerning the TerreStar valuation issues?                 22board, all of the valuation knowledge was from
23AThey sent to the fund?                                      23HCMLP's employees.We -- we outsourced that to
24QUh-huh.                                                     24them.There was -- there was no question that
25AWhat do you mean "they sent to the fund"?                   25they were at fault, and that's -- every employee
                                                         Page 120                                                            Page 121
1Dustin Norris                                          1Dustin Norris
2involved was an HCMLP employee.                                 2analyzed and debated and communications with the
3MR. MORRIS:I move to strike.                             3SEC, during that entire period, Jim Dondero was in
4BY MR. MORRIS:                                                  4control of both HCMFA and Highland; correct?
5QAnd I'm going to ask you, sir, to listen                    5AYes, I believe so.
6carefully to my question.                                       6QOkay.Can you identify any employee of
7Have you ever seen a document that                        7Highland who was fired as a result of any of the
8HCMFA sent to Highland in which HCMFA accused                   8mistakes that were made in connection with the
9Highland of being the cause of the NAV error?                   9TerreStar valuation?
10AI have not.                                                 10ANo.
11QThank you.                                                  11QCan you identify --
12Do you see the document that's on the                     12ANot that I can remember.
13screen?                                                         13QCan you identify any steps that
14AI do.                                                       14Mr. Dondero took against any employee who was
15QBefore I get to that, so the NAV error                      15allegedly involved in the NAV error?
16occurred sometime prior to May 2019; correct?                   16AThat would have been an HCMLP matter. I
17ABeginning -- I don't know the specific                      17don't have any knowledge of HCMLP's hiring or
18dates.I believe it began in May of 2019 --                     18firing practices.
19sorry.May 2019 --                                              19QOkay.So at no time did anybody ever tell
20QThat's when it ended; right?                                20you that any disciplinary measures were imposed
21AWhat's that?                                                21upon any Highland employee as a result of the NAV
22QThat's when it ended; right?That's --                      22error that Highland allegedly caused; correct?
23AYeah, it was before May 2019.                               23AAny firing practice?Is that what you
24QOkay.So during the entire time that the                    24said?
25TerreStar NAV error was being discussed and                     25QDisciplinary.Firing.Anything.

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1Dustin Norris                                          1Dustin Norris
2AThere was a remediation process that had                    2ANot to the Global Allocation Fund.This
3to go into effect, which was improvement of                     3is a memo to the board.
4controls, and they maybe even hired additional                  4QThank you for the clarification.
5people.But it was -- and I don't -- I'm not                    5Subject to that clarification, is my
6aware of any disciplinary, but there could have                 6description otherwise correct?
7been.                                                           7AI believe so.There had been a number of
8QOkay.But that would just be speculation                    8communications with the board, and this is the
9on your part; correct?                                          9resolution of the whole process, or most of the
10AYeah.                                                       10process.
11QSo have you seen the document that's up on                  11QThis was a pretty big issue for HCMFA,
12the screen?                                                     12wasn't it?
13AI have.                                                     13AThere was a lot of people involved.It
14QDid you read it before it was sent?                         14was -- there was a lot of involvement from --
15AI don't think so.                                           15mostly Highland Capital Management, LP, employees,
16QDid anybody -- did any officer or employee                  16but it was -- there was a lot involved.
17take responsibility for making sure that --                     17QAnd who -- what outside counsel was
18withdrawn.                                                      18retained?
19What is this document?                                    19AAdviser counsel is counsel -- is -- I
20AIt is titled "Resolution of the Funds Net                   20believe it was K&L Gates for HCMFA.
21Asset Value Error."                                             21QAnd who was Highland's counsel?
22QAnd was -- is it your understanding that                    22AI don't know.
23the purpose of this document was to enable HCMFA                23QDo you know if Highland had counsel?
24to explain to the Global Allocation Fund how the                24AI don't know.
25resolution of the NAV error was being conducted?                25QDo you --
                                                         Page 124                                                            Page 125
1Dustin Norris                                          1Dustin Norris
2AI know they had counsel they referred to                    2the responsible party.
3for SEC matters, and I don't know if they utilized              3But I would say every single person
4them here or not.They were all Highland                        4that interacted with the SEC, I believe, were
5employees that worked on this.So I'm sure you                  5HCMLP employees.We can see that on the other
6probably have that in your records.                             6memo that they have to the SEC following up on a
7QSir, can you identify any outside counsel                   7call; all HCMLP employees.So whether they told
8that was retained by Highland to advise it in                   8them or not, they were all HCMLP employees.
9connection with the TerreStar valuation issues                  9MR. MORRIS:Okay.Move to strike
10that were the subject of an SEC investigation?                  10after the very first portion of the answer
11AI have -- I have no knowledge of that.                      11that was responsive.
12QOkay.Did you see this memo that's up on                    12BY MR. MORRIS:
13the screen that's been marked as Exhibit 182 prior              13QDid anybody -- did any officer or employee
14to the time that it was sent?                                   14of HCMFA ever inform the SEC that Highland Capital
15AI don't recall.                                             15Management, LP, was the responsible party for the
16QThe NAV error was the subject of an SEC                     16NAV error?
17investigation; correct?                                         17ASpecifically, not that I'm aware of.
18ACorrect.                                                    18QOkay.Was any HCMFA officer or employee
19QDo you know if HCMFA ever told the SEC                      19responsible for making sure that the memorandum up
20orally, in writing, or otherwise that Highland                  20on the screen that's been marked as 182 was true
21Capital Management, LP, was the cause of the NAV                21and accurate before it was sent to the board of
22error?                                                          22the Highland Global Allocation Fund?
23ANot that I'm aware of, but they were                        23AI don't know that there is a -- there's a
24concerned about the ultimate correction of the NAV              24specific requirement of an officer to verify the
25error.I don't think they were concerned about                  25accuracy.

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1Dustin Norris                                          1Dustin Norris
2QOkay.But my question was a little bit                      2ANot that I'm aware of.
3broader, and that was whether there was any                     3QDid HCMFA send this memorandum --
4officer or employee who was given the                           4withdrawn.
5responsibility of making sure this document was                 5Did HCMFA intend this -- withdrawn.
6true and accurate before it was sent to the board               6Did HCMFA expect the GAF board to rely
7of the GAF.                                                     7on this memorandum?
8AI don't even know who drafted this.It                      8AI don't know what the intention was.
9would have come from Highland's compliance legal                9QYou don't know what HCMFA's intention was
10and accounting team with all the expertise around               10in sending this memorandum?
11the NAV error and all of those that were involved.              11AIf it's addressed to the board, it could
12QSo did you see this document at or around                   12be to educate.But I'm sure that the board
13the time it was sent to the GAF board?                          13would -- would rely on or expect that that memo
14AI probably did.                                             14would be accurate.
15QDo you recall telling anybody at that time                  15QOkay.And this is dated after all of the
16that you believed there were any errors in the                  16payments have been made that we've been talking
17document?                                                       17about, the May 2nd and the May 3rd payments;
18AI think, as I testified before, I                           18correct?
19don't -- I don't remember reading it.But I                     19ACorrect.
20didn't -- I didn't say there were errors in the                 20QTake a look at the second paragraph.
21document, no.                                                   21AYup.
22QPrior to the answer date of March 1st,                      22QDo you see the first sentence refers to
232021, did anybody acting on behalf of HCMFA ever                23two initial determinations that were made by the
24tell anybody in the world at any time that there                24adviser and Houlihan Lokey?
25was any error in this memorandum?                               25ASorry.Which part?Just the first
                                                         Page 128                                                            Page 129
1Dustin Norris                                          1Dustin Norris
2sentence of the second paragraph?                               2QOkay.And HCMFA told the GAF board at
3QYeah.First of all, do you see that the                     3that time that HCMFA and Houlihan Lokey, quote,
4second paragraph refers to the adviser and                      4"initially determined that the March transactions
5Houlihan Lokey?                                                 5were non-orderly and should be given zero
6AIt does.                                                    6weighting for purposes of fair value."
7QAnd do you see that the reference to                        7Is that correct?
8Houlihan Lokey includes a reference to Houlihan                 8AThe HCMLP, as part of the valuation -- or
9Lokey having been approved by the board?                        9as the outsource valuation provider, were the
10AYes.                                                        10employees that made that determination.The
11QAnd do you understand that that means the                   11adviser ultimately has the responsibility, but it
12board of GAF?                                                   12was outsourced.And those were HCMLP employees,
13AYes.                                                        13along with Houlihan Lokey, that determined the
14QDoes that refresh your recollection that                    14March transactions were non-orderly.
15the GAF board approved of the retention of                      15MR. MORRIS:I'm going to move to
16Houlihan Lokey as an independent third-party                    16strike.
17expert valuation consultant?                                    17BY MR. MORRIS:
18AIt doesn't refresh my recollection, but it                  18QAnd I'm going to ask you to listen
19says it there.I don't know that I have a                       19carefully to my question.
20document saying they -- I haven't seen the                      20I'm asking you what HCMFA told the GAF
21approval, the agreement.                                        21board.Did HCMFA tell the GAF board on May 28th,
22QBut you don't dispute that this memo was                    222019, that HCMFA and Houlihan Lokey, quote,
23sent to the GAF board on or about May 28th, 2019;               23"initially determined that the March transactions
24correct?                                                        24were non-orderly and should be given zero
25ACorrect.                                                    25weighting for purposes of determining fair value."

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1Dustin Norris                                          1Dustin Norris
2Is that correct?                                          2agree with me that there's no reference to
3AThe -- in the memo, it says that on this                    3Highland Capital Management, LP, anywhere in this
4date, there were many other conversations probably              4report; correct?
5around this date and on this date discussing the                5ANo, there's not, but the board knew that
6determinations and non-orderly and that it was the              6HCMLP was preparing the valuations.
7HCMLP employees, and the board knew that.They                  7MR. MORRIS:All right.I move to
8were very aware that it was the -- the valuation                8strike after the word "no."
9control environment of HCMLP that determined these              9BY MR. MORRIS:
10were non-orderly transactions.                                  10QAnd it was the determination concerning
11QSo this -- so this report is inaccurate,                    11whether or not it was orderly or non-orderly, and
12according to you?                                               12whether or not to use zero weighting that were the
13ANo.There's -- there's just -- your                         13two causes of the NAV error; correct?
14question was did they tell the board.There is a                14AThose were key portions.
15lot that we told the board outside of this memo.                15QIn the last sentence, in fact, that's the
16This memo does say advised from Houlihan Lokey.                 16only portions; isn't that fair?
17The adviser is ultimately responsible.But there                17A"Initially determined" -- well, it doesn't
18was a lot of communication with the board --                    18say that there's not other factors.They're the
19QOkay.                                                       19only ones mentioned.
20A-- around this, that they knew exactly who                  20QLet me -- let me -- let me read the last
21was responsible for valuation as the board                      21sentence.
22determining that these were market transactions                 22Quote:"The orderly determination and
23and orderly or non-orderly.                                     23adoption of the weighted fair value methodology
24QOkay.I want to focus on this memo,                         24resulted in NAV errors in the fund," and that's
25because this is the one that I have.And you'll                 25what it's defining as the NAV error.
                                                         Page 132                                                             Page 133
1Dustin Norris                                          1Dustin Norris
2Have I read that correctly?                               2dispute that Houlihan Lokey was approved by the
3AYou did.                                                    3board.You're just telling me that, as you sit
4QAnd so would you agree with me, as HCMFA's                  4here today, that's the one fact that you've not
530(b)(6) witness, that on May 28th, 2019, HCMFA                 5been able to confirm; is that fair?
6told the GAF board that the two causes of the NAV               6AAs far as I know, yeah.
7error were the orderly determination and the                    7QOkay.Let's go on to the next paragraph.
8adoption of the weighted fair value methodology --              8MR. MORRIS:If we could just
9fair value -- fair valuation methodology?                       9scroll up a little bit.
10AThose were -- it doesn't say those are                      10BY MR. MORRIS:
11exclusively the only factors, but those are                     11QI'm going to try and summarize here, but
12mentioned here.                                                 12if you don't think it's a fair summary, of course
13QIt says those two factors resulted in the                   13I would encourage you to let me know.
14NAV error; correct?                                             14Is it fair to say that, as a general
15AThose -- no, it didn't say "the NAV                         15matter, the next paragraph describes a total loss
16error."It said "in NAV errors."                                16from the NAV error as being approximately
17QWhich it's defining as the NAV error;                       17$7.5 million?
18correct?                                                        18AYeah, including processing costs and
19ADefines as "the NAV error."                                 19rebates and offsets, yes.
20QOkay.Does HCMFA contend that there's                       20QRight.That's what the parenthetical
21anything in this paragraph that is inaccurate?                  21says, a total loss --
22AAgain, I -- I don't know that Houlihan                      22AYup.
23Lokey was approved by the board, but I don't know               23Q-- of approximately $7.5 million?
24of any other contention.                                        24ACorrect.
25QOkay.And you don't -- and HCMFA doesn't                    25QAnd the next paragraph states that that

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1Dustin Norris                                          1Dustin Norris
2loss was funded with two payments.Do I have that               2negligent valuation services in connection with
3correct in the first sentence?                                  3the NAV error; correct?
4ACorrect.                                                    4ASorry.One more time.
5QOkay.Did HCMFA pay approximately                           5QHCMFA contends that the $7.4 million in
6$5.186 million on or around February 15, 2019, in               6payments was supposed to be compensation resulting
7connection with the NAV error?                                  7from Highland's negligent valuation services;
8AI believe so.                                               8correct?
9And if we go to the next page, it has                     9AYes, subject to all of our defenses that
10dates and payments.I think it's represented                    10we've laid out in our pleadings.
11there.                                                          11QOkay.When did HCMFA reach the conclusion
12QOkay.Where did HCMFA get the money to                      12that Highland was the cause of the NAV error?
13make that payment?                                              13AThe -- there was never -- I don't think
14AA combination of insurance proceeds and                     14there was ever a question.It was always known
15cash that it had.And, again, that's detailed, I                15that HCMLP employees were the ones creating the
16believe, on the next page.                                      16valuation, overseeing the valuation, working with
17QHCMFA contends that the $7.4 million                        17the value -- you know, everything that was done
18transferred by Highland to HCMFA was mistakenly                 18was outsourced to HCMLP.
19recorded as a loan; correct?                                    19And so it was discussed with the
20AThere's -- there's two different amounts                    20board.It was discussed in-depth internally.The
21that we contend were recorded as a note, a                      21employees were all HCMLP employees.So I can't
22combined 7.4 million, yes.                                      22pinpoint a date, but there -- it was a known
23QOkay.And HCMFA contends that the                           23factor that HCMLP was responsible.
24$7.4 million in payments was not to be a loan, but              24MR. MORRIS:Okay.I move to
25was supposed to be compensation for Highland's                  25strike.
                                                         Page 136                                                            Page 137
1Dustin Norris                                          1Dustin Norris
2BY MR. MORRIS:                                                  2QNo question -- no question that HCMFA knew
3QThe only thing I'm asking you for is a                      3before February 15, 2019, that there was a NAV
4date.And if you don't know, the answer is "I                   4error; correct?
5don't know."So let me try one more time.                       5ACorrect.
6Do you know when HCMFA first                              6QNo question that HCMFA knew before
7determined that Highland was negligent?                         7February 15, 2019, that the NAV error was caused
8AI don't know the first date.                                8by Highland; correct?
9QDo you know if it was in 2018 or 2019?                      9AYeah.Like I said, it was always known
10AI don't know.                                               10that these were Highland employees that were
11QDo you know when the NAV error first --                     11outsourced through the valuation, and they were
12was first identified?                                           12the ones at fault.
13AI believe the NAV error was determined in                   13QOkay.Do you know if -- if HCMFA ever
14early 2019.                                                     14demanded compensation from Highland for any errors
15QWas it before or after -- I mean, the --                    15or mistakes it may have made in connection with
16the NAV error must have been identified before                  16the TerreStar valuation?
17February 15, 2019; correct?                                     17AYeah.Mr. Dondero told Frank to make the
18ACorrect.                                                    18payments to compensate for the NAV error.
19QOkay.                                                       19QAnd did he do that in his capacity as the
20AWell, I should say whether there -- I                       20person in control of HCMFA, or did he do that in
21don't know.I don't remember -- we'll have to                   21his capacity as the person in control of Highland?
22look through the documents -- what the actual --                22AI would imagine it would have been both.
23oh, you're saying before February 15th.Yes,                    23Further supported, he transferred money -- of his
24that's when the paid insurance proceeds came in.                24own money to HCMLP to then pay HCMFA.And so
25So yes.                                                         25he -- yes, he was on both sides of it, but he had

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1Dustin Norris                                          1Dustin Norris
2the authority on both sides to make that decision.              2an agreement to that effect, no.
3QOkay.And so Mr. Dondero reached an                         3QYou haven't seen anything; correct?
4agreement with himself pursuant to which HCMFA                  4ANo.
5demanded and Highland agreed to pay the                         5QHave you looked?
6$7.4 million as a consequence of Highland's                     6AWe have.I actually wouldn't be
7negligent conduct in the performance of its                     7surprised -- I would be surprised to see one.And
8valuation services.Do I have that right?                       8it's -- my understanding is -- and the company's
9ASounds like there's a legal determination                   9position is that there doesn't need to be an
10there that needs to be made.I --                               10agreement.Right?We --
11QIt's a factual one, I promise.                              11QI'm not asking -- I'm going to interrupt
12AEntering -- whether entering into an                        12you again.I'm not asking you --
13agreement or not, I -- that seems like a legal                  13MR. RUKAVINA:Well, John --
14determination.But maybe ask the question again.                14MR. MORRIS:-- anything like that.
15QDid somebody on behalf of Highland agree                    15I need him to answer my questions or we're
16to pay HCMFA $7.4 million in order to compensate                16going to be here all night.
17HCMFA for Highland's negligent services in                      17MR. RUKAVINA:John, hold on.
18connection with the TerreStar valuation?                        18BY MR. MORRIS:
19AYes.Mr. Dondero.                                           19QHave you ever -- have you ever seen
20QThank you.                                                  20anything --
21Is there any document anywhere that                       21MR. RUKAVINA:John, hold on.Hold
22you have ever seen that reflects Highland's                     22on.
23agreement to pay $7.4 million as compensation to                23MR. MORRIS:No, no.Davor,
24HCMFA?                                                          24please -- please --
25AI haven't seen a settlement agreement or                    25MR. RUKAVINA:John, it is not our
                                                         Page 140                                                              Page 141
1Dustin Norris                                          1Dustin Norris
2position -- it is not -- it is our                            2QAnd the cash portion was really just the
3position that there is no settlement                          3deductible?
4agreement.                                                    4AIf you want to go to Page 2, we can look
5MR. MORRIS:Thank you very much.                          5at the details.
6BY MR. MORRIS:                                                  6QSure.Sure.
7QIs it your position that there is any                       7AI don't have it all by memory.
8document of any kind that reflects Highland's                   8QThat's fair.
9agreement to pay $7.4 million as compensation?                  9MR. MORRIS:Let's go to the next
10ANo.Subject to our defenses, but there's                    10page.
11none.                                                           11BY MR. MORRIS:
12QDid Mr. Dondero tell Mr. Waterhouse that                    12QLooking at this, do the third and fourth
13the money that he was asking to be transferred                  13lines refresh your recollection --
14from Highland to HCMFA be transferred as                        14AYes.
15compensation for the NAV error?                                 15Q-- that the February payment was funded
16AOur position is that this was compensation                  16through insurance proceeds and an insurance
17for the NAV error, and that was discussed.                      17deductible paid by the adviser?
18Mr. Dondero told Frank.And I believe Frank even                18AYes, I believe that's correct.
19testified to that, and Mr. Dondero testified to                 19QOkay.And Topic Number 8 on the 30(b)(6)
20that in their depositions.                                      20notice relates to the insurance claim; right?
21QOkay.Now, you said that the February                       21AUh-huh.
22payment of over $5 million was funded through                   22QOkay.Did you do anything to familiarize
23insurance proceeds and cash.                                    23yourself with the insurance claim?
24Do I have that right?                                     24AI did.
25AYes.                                                        25QAnd what did you do to familiarize

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1Dustin Norris                                          1Dustin Norris
2yourself with the insurance claim?                              2insurance company --
3AI discussed with DC and Davor the                           3QAnd -- and the filing --
4company's position on the insurance claim.                      4A-- on behalf of HCMFA.
5QOkay.I don't want to know what the                         5QAnd the filing that was made, was that a
6company's position is.I want to know what the                  6claim that was made on behalf of HCMFA?
7facts are.                                                      7AI believe so, yes.
8Did you learn any facts in connection                     8QAnd did HCMFA authorize the filing of that
9with your diligence and your preparation to answer              9claim?
10topic -- questions on Topic Number 8?                           10AOur position is that that -- that is a
11AYeah.The HCMFA policy was -- was -- the                    11valid claim from HCMFA.
12HCMFA -- HCMFA had an insurance policy with ICI                 12QAll right.Did HCMFA authorize the filing
13Mutual; and based on the NAV error, the policy                  13of the insurance claim?
14was -- I don't know what the word is -- was used                14AI -- I don't know.
15to seek reimbursement for the NAV error.                        15QDid -- has HCMFA ever told anybody at any
16QOkay.So --                                                 16time that the insurance claim was not authorized
17(Reporter discussion off the record.)                       17by HCMFA?
18BY MR. MORRIS:                                                  18ANo.
19QSo did HCMFA file a claim for insurance                     19QAnd HCMFA received almost $5 million on
20coverage with ICI Mutual in connection with the                 20account of the claim; right?
21NAV error?                                                      21ACorrect.
22AThe HCMLP employees, I believe, through                     22QAnd HCMFA wanted to recover on its
23Frank Waterhouse and his team, did that.They --                23insurance claim; correct?
24they managed the insurance as part of the shared                24AYes.
25services agreement, and they filed with the                     25QDid the claim -- was the claim made in
                                                         Page 144                                                           Page 145
1Dustin Norris                                          1Dustin Norris
2writing?                                                        2interacting with ICI Mutual.
3AI believe so.                                               3QHCMFA and HCMLP broke up at the end of
4QHave you seen the claim?                                    4February; is that fair?
5AI don't -- I don't recall seeing the                        5AThat's correct.
6claim.                                                          6QAt any time since the end of February, has
7QIn connection with the defense of this                      7HCMFA made any effort to obtain any information
8lawsuit and the preparation, have you made any                  8concerning this insurance claim from ICI Mutual?
9efforts to identify the actual claim that was                   9AI don't know where we got the source of --
10filed on behalf of HCMFA?                                       10of the documents, but there -- there was -- they
11MR. RUKAVINA:Let me interject --                         11were searching for the ICI documents.I don't
12let -- let me interject.And we can talk                      12know if it came from ICI or another source.
13about this offline.We searched for that                      13QAnybody --
14and could not find it.We suspect it                          14AI don't --
15might be in HCMLP's legal documents that                      15QAnybody from HCMFA reach out to ICI Mutual
16we don't have access to, but we have and                      16for information relating to this insurance claim
17we continue to actively search for the                        17at any time?
18claim itself.We have not been able to                        18AI don't -- not that I'm aware of.
19find it.                                                      19QOkay.
20BY MR. MORRIS:                                                  20AThey may have, but I don't know.
21QDoes HCMFA use an insurance broker?                         21QDo you know when the claim was filed?
22AI don't believe so for this.I think it's                   22AI don't.I -- I don't.I -- I think it
23directly with ICI Mutual.And it -- we -- there's               23may have been late 2018, but I'm not sure.
24no broker, but it goes through HCMLP's employees.               24QAnd at the time HCMFA filed the claim for
25Frank Waterhouse would have been the one probably               25insurance, it had already formed the opinion that

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1Dustin Norris                                          1Dustin Norris
2Highland Capital Management, LP, was the                        27.4 million, with the net -- net loss that's shown
3responsible party; correct?                                     3there, estimated loss.
4AI believe so, yes.                                          4QRight.So it's fair to say, then, from --
5QDid HCMFA tell the insurance company that                   5that it's HCMFA's position that it received
6Highland Capital Management was the responsible                 6$7.4 million from Highland as compensation, and
7party?                                                          7approximately $5 million from the insurance
8AI'm not sure.Again, this was Highland                      8carrier as compensation for total receipts of
9employees that filled out the materials and was                 9$12.4 million in connection with the NAV star --
10working with ICI.So I don't know if your                       10with the TerreStar valuation error?
11employees notified them.                                        11ACorrect.
12QSo the total estimated loss was                             12QOkay.Why would H- -- why does HCMFA
13approximately $7.5 million; right?That's the top               13contend that its entitled to $12.4 million from
14number on the right?                                            14Highland and the insurance company when the total
15AYes.                                                        15loss was only $7.4 million?
16QOkay.And roughly two-thirds of that was                    16AYeah, it's -- it's our position that the
17financed through insurance proceeds that were                   17collateral -- and I'm not an attorney.But
18received in February of 2019; correct?                          18understanding our position here, that under Texas
19ACorrect.                                                    19law, the collateral source rule would permit you
20QAnd thereafter, it's HCMFA's contention                     20to recover value from the insurance company and to
21that Highland paid it another $7.4 million for                  21the individual or the -- the company that created
22purposes of providing compensation in connection                22the -- or caused you harm.
23with its negligent work on the -- on the TerreStar              23QSo you're -- would you agree that HCMFA
24valuation error; correct?                                       24has profited by about $5 million as a result of
25AYes, that's correct.And that lines up,                     25the NAV error under that theory?
                                                         Page 148                                                             Page 149
1Dustin Norris                                          1Dustin Norris
2AI -- I don't know that -- how the theory                    2QOkay.I just want to make this really
3relates to profits, but we've -- we've paid -- and              3clean.
4say, "What's the logic for this?"We paid in                    4The estimated net loss from the NAV
5insurance premiums for years, significant                       5error is $7.442 million; correct?
6insurance premiums.And so there's been a loss                  6AThe estimated loss from the NAV error,
7for years and years for the insurance, and then                 7yes.
8we're now hitting that insurance to say there's a               8QOkay.And notwithstanding that HCMFA
9gain of $5 million, whatever number you threw out.              9believed that Highland was the responsible party,
10I would disagree with that.                                     10HCMFA, nevertheless, filed a claim for insurance
11But, yes, there was proceeds of                           11coverage with ICI Mutual; correct?
1212-and-a-half million, but we've been paying in                 12AThat's correct.
13insurance proceeds or premiums for a long time.                 13QAnd ICI Mutual paid almost $5 million in
14We're going to continue, and likely, I would                    14connection with that claim; correct?
15imagine, those premiums will go up because of the               15ACorrect.
16claim.                                                          16QAnd in addition to that almost $5 million,
17So I -- I'm, again, not a lawyer. I                       17it's HCMFA's position that it received and was
18don't understand all the reasons why it's                       18entitled to receive an additional $7.4 million
19permitted.But our position is that the                         19from Highland as compensation for its error;
20collateral source rule under Texas law permits you              20correct?
21to receive from the insurance -- your insurance                 21ACorrect.
22provider and from the party that did you harm.                  22QSo that notwithstanding the fact that the
23And as you said, here we believe it's negligence.               23estimated net loss was $7.44 million, HCMFA
24It may be breach of contract, but we believe it's               24received and contends that it's entitled to keep
25negligence.                                                     25$12.4 million; correct?

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1Dustin Norris                                          1Dustin Norris
2AThat's correct, subject to our defenses.                    2(Recess from 2:07 p.m. to 2:21 p.m. CST)
3QOkay.Did -- has -- has HCMFA ever                          3BY MR. MORRIS:
4informed ICI Mutual that it received $7.4 million               4QSo we were talking a bit about the
5from Highland on account of the NAV error?                      5insurance payment that was received in February
6ANot that I'm aware of.                                      6of 2019.Do you remember that?
7QHas HCMFA ever told ICI Mutual that                         7AYes.
8Highland was at fault?                                          8QAnd there was a claim that was filed on
9AAgain, I think I already answered that. I                   9behalf of HCMFA that resulted in that insurance
10don't know.Communication with ICI was done by                  10proceed payment; correct?
11the HCMLP employees as part of the shared services              11ACorrect.
12agreement, and I'm not sure if they communicated                12QAnd do you recall if that insurance claim
13that.                                                           13was filed in 2018 or 2019?
14MR. MORRIS:Okay.I move to                               14AI don't recall, but I believe it was late
15strike.                                                       152018.But I don't know.
16BY MR. MORRIS:                                                  16QYeah.
17QI just -- I'm just asking for your                          17AAnd as we testified, we don't have that
18knowledge, not speculation.                                     18claim.We've searched for it.It's probably on
19Do you have any knowledge that anyone                     19your server, as I -- Frank Waterhouse and his team
20on behalf of HCMFA ever informed ICI Mutual that                20would have submitted that.
21Highland was the cause of the NAV error?                        21QYeah.But you haven't made any effort to
22AI have no knowledge.                                        22get it from the carrier; right?
23MR. MORRIS:Let's take a short                            23ANo, not that I know of.
24break.The time now is 3:06 -- or 2:06.                       24QOkay.And would you agree with me that
25Let's just come back at 3:20.                                 25it's probably extremely unlikely that an insurance
                                                         Page 152                                                             Page 153
1Dustin Norris                                          1Dustin Norris
2carrier would have processed a claim of that                    2reference to a period from March 18, 2018, to
3magnitude in six weeks?                                         3January 19, 2019?
4AI know they expedited it and they                           4AYes.
5specialize in -- sorry.I'll step back.                         5QThat's what they've defined as the NAV
6I have no knowledge of how quick                          6restatement period.Do you see that?
7carriers make these claims --                                   7AYes, I do.
8QAll right.Do you know --                                   8QOkay.Looking at that period, does that
9AOther than hail on my house -- hail damage                  9refresh your recollection at all as to when in
10on my roof, I don't have personal knowledge of                  102018 HCMFA first learned about the NAV error?
11insurance claims.                                               11ANo, because that was -- that was the
12MR. MORRIS:You know, I apologize,                        12period of time when the market -- the off-market
13but can I ask Ms. Canty to put back up on                     13or on-market transactions happened, March 18th.
14the screen that last exhibit that we had?                     14QOkay.
15I don't have the exhibit number.                              15AIt was sometime in between that they found
16All right.And go to the prior                            16out that there was an error.
17page.And go to the bottom of that page.                      17QOkay.And do you know if it was the first
18BY MR. MORRIS:                                                  18half of 2018 or the second half?
19QSo we've put back up on the screen, I                       19AThe midyear audits of some of our funds, I
20think --                                                        20believe, is when it first came up.
21MS. CANTY:182.                                           21QAnd --
22MR. MORRIS:182.                                          22ASo 6/30 audits that were due 60 days
23BY MR. MORRIS:                                                  23later.So second half -- I believe second half of
24QAll right.And do you see in the next to                    242018.
25the last paragraph, Mr. Norris, there's a                       25QSo is it fair to say sometime in August or

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1Dustin Norris                                          1Dustin Norris
2September is when HCMFA first learned about it?                 2several weeks, if not months.
3AAbout -- define "it."Is that the NAV                       3So that is not when they found out
4error.                                                          4about a NAV error, but the questions over
5QI apologize.Let me ask the question                        5valuation, yes.
6again.                                                          6QOkay.So then let me state the question
7Is it fair to say, based on the timing                    7differently then.
8of the audit, 60 days after June 30th would take                8Is it fair to say that HCMFA first
9us to approximately August 31st; right?                         9learned in or about August 2018 of the valuation
10AIt does.                                                    10issues?
11QAnd so is it fair to say, then, that HCMFA                  11AThe "about" is key here.I don't know the
12first learned about the NAV error sometime in                   12specific date, but around that time or earlier --
13August of 2018 while it was preparing the                       13QOkay.
14financials for the period ending June 30th?                     14A-- or later.On or around that time.
15ANo.I don't think there was a                               15QAnd did HCMFA conclude, at the same time
16determination of whether there was a NAV error or               16it learned of the valuation issues, that HCMFA was
17not at that point.I think the reason they have                 17the responsible party?Or was there a gap between
18going all the way to January 19 -- 2019 is it                   18learning about the valuation issues and making the
19wasn't determined -- finalized if there is an                   19determination that Highland was the responsible
20error or not.                                                   20party?
21There was a lot of discussion with the                    21AYeah, first you said HCMFA was the
22SEC and auditors over whether there was or wasn't               22responsible party, and then you said Highland.
23an error, what the amount was, what the proper                  23QI apologize.Let me try and restate that.
24valuation should be.There was consultation with                24Did HCMFA conclude that Highland was
25the SEC, and that process lasted, I believe,                    25the responsible party at or around the same time
                                                         Page 156                                                            Page 157
1Dustin Norris                                          1Dustin Norris
2that it learned of the valuation issues, or was                 2QDo you know when there was a determination
3there a period during which it knew about the                   3that there was a NAV error?
4valuation issues, but not -- had not yet formed                 4AI don't know the specific time, no.
5the conclusion that Highland was the responsible                5QDo you know if it was in 2019 or 2018?
6party?                                                          6AI don't remember.
7AFrom the beginning, everybody knew who the                  7QIs it fair to say that it was before
8responsible party was for the valuation.Those                  8May of 2019?
9reporting the issues, those responding to                       9AThat there was a determination there was a
10auditors, those responding to SEC and the board                 10NAV error?Yes.
11were all HCMLP employees from the beginning.But                11QAnd is it fair to say that HCMFA had
12I don't have a specific date.                                   12concluded that the loss of that NAV error was
13Again, as you look here, it doesn't                       13going to be more than a million dollars prior to
14say when the NAV error was determined, but from                 14May 2019?
15the beginning, it was the knowledge that HCMLP was              15AMore than a million?Probably -- yes.
16responsible for the valuations.                                 16QOkay.Is there a reason that HCMFA waited
17QOkay.Do you know when HCMFA first                          17until May to have Highland pay it for the
18determined that the estimated loss was                          18compensation?
19approximately $7.4 million?                                     19AI think that the whole process -- as you
20AI don't, no.I don't have specifics, but                    20see, the resolution memo is in May to the board.
21it was after there was a determination there was                21That was the conclusion of the overall process.
22actually a NAV error.And it may be in some of                  22So our stance would be that that was when it was
23the documents that you have.I believe it may be                23the right time and everything was -- the right
24in, you know, a memo to the board or the SEC, but               24time to be sent.
25I don't know offhand.                                           25MR. MORRIS:Okay.Can we put up

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1Dustin Norris                                        1Dustin Norris
2on the screen a document that's been                        2that right?
3marked as, I think, as Exhibit 13? I                        3AOn the second amended answer, yes.
4don't know if you're able to get that,                      4QYes.
5La Asia.                                                    5AI'm sorry.The first amended answer, yes.
6MS. CANTY:Yup, I got it.                               6QAnd as of today, is it your understanding
7MR. MORRIS:Thank you.                                  7that this is HCMFA's operative pleading?
8(Exhibit 13 tendered.)                                    8ANo.
9BY MR. MORRIS:                                                9QHas it been amended after this time?
10QAre you aware, sir, that there came a                     10AYeah, we --
11point in time when HCMFA amended its answer?                  11MR. RUKAVINA:Well, he doesn't
12AYes.                                                      12know what "operative pleading" means.
13QAnd I think topic --                                      13THE WITNESS:Oh.
14ATopic 2 is our amended answer.                            14MR. RUKAVINA:Yes, it is our
15QOkay.So that's the document that's in                    15operative pleading, Dustin.
16front of you?                                                 16THE WITNESS:It is our operative
17AYes.                                                      17pleading then.
18QAnd you've seen that before; correct?                     18BY MR. MORRIS:
19AYes.                                                      19QAnd I didn't mean to trick you. I
20QOkay.                                                     20apologize.I just meant to say that this has not
21MR. MORRIS:Can we turn to Page 5                       21been amended as of today; correct?
22of 9, please?                                               22AWe filed a -- wait.Let me see what it's
23And if we can scroll to the bottom.                     23called.
24BY MR. MORRIS:                                                24QYou filed a motion for permission to amend
25QThese are HCMFA's affirmative defenses; is                25it further --
                                                       Page 160                                                            Page 161
1Dustin Norris                                        1Dustin Norris
2AYes.                                                      2This amended complaint was prepared
3Q-- but that motion hasn't been granted;                   3after DC Sauter conducted an investigation
4right?                                                        4concerning the circumstances surrounding the two
5ATo my understanding, no.                                  5notes that Highland was suing on; right?
6QOkay.And you understand that your -- the                 6AYes.My understanding is it is after
7answer that's up on the screen can't be amended               7he -- so background, when he -- we filed our
8unless the Court grants the motion; right?                    8initial response, we didn't have access to the
9AI -- if you tell me that that's the                       9HCMLP employees during that time period.They
10process, I'll take that for what it's worth.I'm              10were not permitted to talk to us about things like
11not an attorney.I don't know the process.                    11this.And so he did the best he could to prepare
12QOkay.So let's just look at this                          12a response.But once they were mostly all fired
13document.                                                     13by HCMLP and formed their own company called
14Is it fair to say that Paragraph 38                     14Skyview, he was able to talk to them on
15through 45 deals with --                                      15particulars.As you note in his -- his statement,
16AI'm going to grab the --                                  16he was able to talk to Frank Waterhouse, where he
17QYeah.                                                     17wasn't before, on this topic.
18A-- thing here so I can see it on my desk,                 18QRight.So by the time this document has
19too.                                                          19been prepared, HCMFA had copies of the notes that
20QSure.                                                     20Highland was suing on for six months; right?
21AOkay.                                                     21Because the lawsuit was commenced in January, and
2238?                                                     22the notes were attached as exhibits to the
23QRight.                                                    23complaint; right?
24AOkay.                                                     24AYes.This is July 6th this is filed.
25QNow -- actually, a little background.                     25QRight.Okay.So this is filed almost six

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1Dustin Norris                                          1Dustin Norris
2months after the complaint is filed; right?                     2Topic Number 1?No.It's just the answer.
3AMore like a five-month -- five months and                   3In looking at the answer, did you look
4a week, but yeah.                                               4at the original complaint?
5QAll right.I won't quarrel with you.                        5AYes.
6AOr five and a half -- five and a half                       6QDo you recall seeing that the notes were
7months, yeah.                                                   7attached to the original complaint?
8QOkay.                                                       8AI looked at thousands of pages in
9AWhether you consider that --                                9preparation, so I just -- I could take your word
10QOkay.                                                       10for it if you say it's in there, or if you want to
11A-- six full months or not.                                  11show it to me, we can look at it.
12QSo --                                                       12MR. RUKAVINA:They are, Dustin.
13AWe know the dates January 22nd and                          13They are.
14July 6th.                                                       14MR. MORRIS:Yeah.I think you'll
15QOkay.So for that entire time period of                     15have to take my word for it.Thank you,
16time, there's no dispute that HCMFA had in its                  16Davor, for confirming my word.
17possession copies of the notes that Highland was                17BY MR. MORRIS:
18suing on; correct?                                              18QSo let me just try this again to make it
19AI'm looking at the original -- you said                     19clean.
20they were attached, but I --                                    20Based on my representation, that
21QYeah.                                                       21Mr. Rukavina has agreed with, that the notes that
22AIf you want to show me the original notes                   22Highland are suing on were attached to its
23on the original filing.                                         23complaint in January, you would agree with me that
24QWell, I asked you to look at the original                   24HCMFA had the notes in its possession from at
25complaint.I think -- was the original complaint                25least the time the complaint was filed until the
                                                         Page 164                                                            Page 165
1Dustin Norris                                          1Dustin Norris
2time HCMFA filed this amended answer on July 6th;               2investigation?An analysis?What word do
3correct?                                                        3you -- would you use?Due diligence?How would
4AYes.                                                        4you characterize the work that Mr. Sauter did
5QAnd this amended answer was filed because                   5that's set forth in his declaration?
6HCMFA had a -- had previously made a motion to the              6AI -- I'm looking here.I want to see how
7Court for leave to amend its answer; correct?                   7he characterizes it.
8MR. RUKAVINA:That's correct,                             8I think he does a very good job of
9Dustin.                                                       9explaining.
10He wouldn't know about that, but                          10My investigation would be of the
11that's all correct.                                           11following.So he calls it an investigation.
12BY MR. MORRIS:                                                  12QOkay.So HCMFA would agree that after
13QOkay.Well, you're familiar with the                        13Mr. Waterhouse left the employ of Highland, that
14Sauter declaration; right?                                      14DC Sauter conducted an investigation into the
15AI am.                                                       15circumstances surrounding the notes that Highland
16QAnd the Sauter declaration purports to                      16was suing on; correct?
17describe an investigation that Mr. Sauter                       17ACorrect.
18undertook to determine the circumstances                        18QAnd as part of that investigation, he
19surrounding the notes; is that fair?                            19spoke with Mr. Waterhouse; correct?
20AI don't know if I'd characterize it                         20AYes.
21investigation, but he was tasked with -- and I've               21QAnd as part of that investigation, he
22got it right here.I would refer you to the                     22spoke with Mr. Dondero; correct?
23agreement on -- or his -- to his declaration on --              23AI believe so, but let me -- let me confirm
24QHow would you -- how would you                              24in his statement.
25characterize the work that he did?An                           25Because I believe in -- yeah.

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1Dustin Norris                                          1Dustin Norris
2QIs that correct, that he spoke with                         2notes of James Dondero, formerly the CEO of the
3Mr. Dondero in connection with his investigation?               3debtor, Mr. Dondero.
4AI'm -- I'm seeing what he rep'ed to in his                  4So this is March 1st when that first
5statement.                                                      5filing was made.So he did speak with Mr. Dondero
6QAnd does his statement say that?I don't                    6prior, and then I believe the source of the
7have it in front of me.                                         7additional information was being able to speak
8AI don't know.That's what I'm looking at.                   8with Frank Waterhouse and Will Mabry.
9QAnd you don't know, independently of the                    9QOkay.And is it fair to say that the
10document, whether Mr. Sauter spoke with                         10amended complaint is based on Mr. Sauter's
11Mr. Dondero as part of his investigation?                       11investigation?
12AI know he did.I know he talked                             12AYes, I believe so.
13throughout from when we received the original                   13QYeah.
14complaint on.I just -- you're asking about the                 14AYes.
15time frame between filing the original filing.                  15QThat's why HCMFA amended its complaint.
16And I think he may have spoken with him before                  16It's because Mr. Sauter had undertaken this
17that, too, but I -- I just want to take a...                    17investigation, and he learned what he believed
18So at the time -- this is on                              18were relevant facts, and those facts are described
19March 1st, filed the defendant's original answer.               19in his declaration, and they formed the basis of
20At that -- at the time the debtor filed a                       20the affirmative defenses that we're looking at now
21complaint, I promptly undertook an internal review              21in the amended answer; fair?
22of the background facts concerning the notes. I                 22ALet me pull up the amended answer just
23had no knowledge of them since I had not been                   23to --
24employed by HCMFA.And a few employees of HCMLP                 24QIt's up on the screen, but if you have a
25had no knowledge of notes.I also discussed the                 25hard copy, that's fine.
                                                         Page 168                                                            Page 169
1Dustin Norris                                          1Dustin Norris
2AYeah.I have a hard copy here, although I                   2A38 to 45.
3may have mixed my documents.                                    3Yeah, it -- the NAV error items are
4Yeah, it was based on additional facts                    4included in there as one of our defenses.
5that weren't available at the time of the original              5QRight.
6response.                                                       6A43 and 44 and 45 discuss additional
7QOkay.And is it fair to say that                            7defenses related to the note and who may or may
8Paragraphs 38 through 45 relate to the affirmative              8not have signed the note and who had authority to
9defense that Highland was responsible for the NAV               9sign the note.
10error, and the $7.4 million payment was intended                10QOkay.
11to be compensation for Highland's negligent work?               11MR. MORRIS:Can you -- can we turn
12ASorry.Can you ask that one more time?                      12to Paragraph 42?
13There was a couple parts there.                                 13THE WITNESS:Yes.
14QNo problem.                                                 14BY MR. MORRIS:
15Is it fair to say that                                    15QDo you see the first four -- first few
16Paragraphs 35 -- withdrawn.                                     16words in Paragraph 42 are, quote:"The defendant
17Is it fair to say that Paragraphs 38                      17accepted responsibility for the NAV error"?
18to 45 relate to HCMFA's affirmative defense that                18AYes.
19the $7.4 million that was transferred from                      19QOkay."Defendant" there refers to
20Highland to HCMFA in May 2019 was intended to be                20Highland Capital Management, LP; correct?
21compensation for Highland's negligent work in                   21ANo.I believe --
22connection with the NAV error and not in the form               22QOh, I apologize.I apologize.
23of a loan?                                                      23AThank you.
24AYou said 38 to 42?                                          24QIt's HCMFA; right?
25Q38 to 45.                                                   25AHCMFA.

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1Dustin Norris                                          1Dustin Norris
2QOkay.And is -- did -- did HCMFA accept                     2Dondero, in his capacity as the president of
3responsibility for the NAV error?                               3Highland Capital Management, LP, accepted
4AThey did.They -- they are the adviser,                     4responsibility on behalf of Highland Capital
5and there's already -- in the next sentence, HCMLP              5Management, LP, for having caused the NAV error?
6then accepted that they had a contract with and                 6AHe, and in addition all of the employees
7accepted responsibility.                                        7involved.Right?The valuation team members,
8QOkay.And so when did the plaintiff                         8Frank Waterhouse was CFO, Dave Klos overseeing the
9accept responsibility for having caused the NAV                 9valuation process, they were all Highland
10error?                                                          10employees, and Jim Dondero as well as president
11AAgain, going back to -- this was always                     11recognized that based on all the communications
12known and communicated that it was HCMLP                        12and conversations they would have had.
13employees.It was the valuation services they                   13MR. MORRIS:Okay.I'm going to --
14were performing.The legal and compliance team                  14I'm going to move to strike.
15was all outsourced in the shared services                       15BY MR. MORRIS:
16agreement.                                                      16QAnd I'm going to ask you to listen
17And that was -- again, there's not a                      17carefully to my question.
18singular determination; but Jim Dondero, as                     18Who had the authority to accept, on
19president, I would say effectuated that with the                19behalf of plaintiff, the responsibility for having
20payment of the NAV -- for the NAV error.                        20caused the NAV error?
21QSo you can't tell me when the plaintiff                     21AUltimately Jim Dondero, as president here,
22accepted responsibility for having caused the NAV               22had that authority.
23error; correct?                                                 23QOkay.And then it says, quote:"The
24ANot a specific date.                                        24plaintiff ultimately, whether through insurance or
25QOkay.And it's HCMFA's position that Jim                    25its own funds, compensated the defendant."
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1Dustin Norris                                          1Dustin Norris
2Do you see that?                                          2for today's deposition, about that sentence in
3AYes.                                                        3Paragraph 42 and whether or not Highland had ever
4QIs that statement accurate?                                 4filed an insurance claim?
5MR. RUKAVINA:I'll object to                              5AI didn't ask about that sentence, but we
6vagueness, given the different points in                      6did discuss whether Highland had filed an
7time.                                                         7insurance claim.And to our knowledge, we don't
8BY MR. MORRIS:                                                  8know that they have.I'd, again, ask you as their
9QDoes HCMFA believe that that statement is                   9attorney.That would be a question for you.
10accurate today?                                                 10QWell, with all due respect, you have
11AWe know now.It's come out in discovery                     11complete and unfettered access to the former
12that -- and it was represented that Mr. Dondero                 12president and CFO of Highland; correct?
13transferred money to Highland who transferred it                13AI do, but -- I'm sorry.You said
14to HCMFA.And I don't know -- and it says "or,"                 14president and CEO?
15"or its own funds."So it's accurate whether                    15QThe former president and CFO.
16through insurance or its own funds.                             16APresident and -- I don't have unfettered
17But at the time of this writing, we                       17access to the former CFO.
18didn't have all the details and have firmed up                  18MR. RUKAVINA:I'll -- I'll object
19those details, and I would refer you to                         19to that.We have been prohibited by
20depositions and the pleadings and our additional                20Waterhouse's attorney from discussing the
21statement regarding cash and movement.                          21matter with him.
22QDid Highland file an insurance claim, to                    22BY MR. MORRIS:
23the best of your knowledge?                                     23QYou're -- you're not allowed -- did -- did
24ANot that I know of.                                         24you -- did HCMFA ask Mr. Waterhouse at any time
25QDid you ever ask anybody, in preparation                    25whether Highland had filed an insurance claim?

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1Dustin Norris                                          1Dustin Norris
2ANot -- not that I know of.However, we've                   2complete, unfettered access to Mr. Waterhouse from
3been not permitted to talk to him related to this,              3the time he left Highland in early March 2021
4based on his attorney.So --                                    4until at least the end of July 2021; right?
5QWell, when did --                                           5AYeah.And I would add a point to
6AWe never really discussed -- go ahead.                      6Mr. Sauter's declaration and our pleadings and the
7QI'm sorry.                                                  7depositions for the various details of what we've
8AGo ahead.You were --                                       8discovered since.However, the unfettered access
9QI was just going to ask:When did that                      9was also inhibited -- or -- or Mr. Sauter
10prohibition go into effect?                                     10represented this.There was a lot going on in
11MR. RUKAVINA:John, the witness                           11March, April, May of 2021.
12wouldn't know that.It's about three                          12QYeah.
13months ago that the lady from Baker                           13AAnd we were trying to lift out an entire
14McKenzie, Deb -- I don't know her last                        14business and keep everything afloat, and -- as
15name -- got angry at me because I tried to                    15you're very aware.And so there was a lot going
16talk to Frank and she said, "Absolutely                       16on.
17not.You're forbidden, and you're                             17QRight.Right.
18violating your ethical rules if you do."                      18Do you see -- can we go to
19MR. MORRIS:So sometime in                                19Paragraph 43, please?
20September?                                                    20AYes.
21MR. RUKAVINA:I would say August                          21MR. MORRIS:If we could just
22or September.                                                 22scroll down to Paragraph 43, please.
23MR. MORRIS:Okay.                                         23Thank you.
24BY MR. MORRIS:                                                  24BY MR. MORRIS:
25QBut sometime -- but you had -- HCMFA had                    25QNow, again, this amended complaint is
                                                         Page 176                                                            Page 177
1Dustin Norris                                          1Dustin Norris
2filed is July 2006; correct?                                    2before there was any limitation or restriction
3AJuly 6th, not July 2006.                                    3imposed on HCMFA's ability to communicate with
4QI apologize.Let me ask the question                        4Mr. Waterhouse?
5again.                                                          5AYes.Once he left in March of 2021 is
6This amended answer was filed on                          6when that happened.And, again, in March, we
7July 6th, 2021; correct?                                        7were, on both sides, the creation of Skyview, as
8ACorrect.                                                    8well as our employees, trying as -- doing
9QAnd it was filed after Mr. Sauter                           9everything we could do to transition the
10conducted his investigation to determine the                    10businesses and services.And so that was an
11circumstances surrounding the note; correct?                    11important time.
12AUh-huh, correct.                                            12MR. MORRIS:Okay.Move to strike.
13QAnd it was filed after HCMFA had had in                     13BY MR. MORRIS:
14its possession since January copies of the notes                14QI just want to confirm that HCMFA had
15that Highland was suing on; correct?                            15unfettered access to Mr. Waterhouse between the
16ACorrect.                                                    16time he left Highland and the time this amended
17QAnd it was filed at a time before any                       17answer was filed in July.
18limitation or prohibition was placed on HCMFA's                 18AWe had access to him to ask him what we
19ability to communicate with Mr. Waterhouse since                19needed.Unfettered in the sense of, "Hey, we can
20the time he had left Highland; correct?                         20access you whenever we need," no, because there
21ASorry.You want to repeat the first part                    21was a lot involved in launching and -- launching
22of that?                                                        22of Skyview and creating all the services needed
23QSure.                                                       23for our funds since we -- HCMLP is sharing
24It was filed at a time after                              24services provided --
25Mr. Waterhouse left the employ of Highland but                  25QDoes Mr. Sauter have a role with HCMFA?

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1Dustin Norris                                          1Dustin Norris
2AI don't believe so.                                         2people, Highland's legal team migrated to Skyview
3QDo you know who authorized him to conduct                   3in early 2021; is that fair?
4this investigation?                                             4AYes.
5AYeah.It would have been management,                        5QOkay.And among the people who migrated
6Mr. Dondero, and probably our outside counsel.At               6were Stephanie Vitiello; correct?
7the time, we had been utilizing Highland's                      7AYes.
8services as legal services, all the way up until                8QAnd Isaac Leventon; correct?
9the end of February.                                            9ACorrect.
10There were legal and compliance                           10QAnd he's the chief litigation guy at
11services that were part of the shared services                  11Highland prior to the bankruptcy; right?
12agreement.There was an entire legal team, entire               12AI -- I don't know if that was Isaac or if
13team of litigators who were unable to work on                   13it was Scott Ellington.I don't know.
14this.                                                           14QAnd Scott -- Scott Ellington also
15Mr. Sauter was a real estate attorney                     15migrated; right?
16for us, and he picked up the slack and was                      16ACorrect.
17assigned by Mr. Dondero to help in these causes                 17QSo you had access to those folks for the
18working with outside counsel, because HCMLP was                 18first six months of 2021; right?
19not providing or no longer able to provide those                19ANo.I would -- our position is that those
20legal services based on their -- their view, even               20individuals were unable to work on -- even though
21though they were contracted to do those.                        21they had left, they were unable to work on
22QThat contract ended at the end of                           22something of this nature.
23February; isn't that right?                                     23I -- I believe there was also a
24AThat's correct.                                             24preliminary injunction still in place where Jim or
25QAnd with the exception of a couple of                       25his employees could not talk to Scott or Isaac. I
                                                         Page 180                                                             Page 181
1Dustin Norris                                          1Dustin Norris
2don't remember all the specific details, but the                2asked him to help with the -- the legal items, and
3legal team at Highland -- or at Skyview was not                 3stepped in and help in the absence of HCMLP's
4working on this.                                                4help.
5QOkay.                                                       5QOkay.And based on that investigation
6AIt was probably professional -- I don't                     6looking at Paragraph 43, HCMFA took the position,
7know the standards, but they were unable to work                7quote:"Waterhouse signed the two promissory
8on -- on this.                                                  8notes the subject of the complaint," close quote;
9QAll right.But you would agree that at                      9correct?
10the time HCMFA asked the court for permission to                10AThat's right.It's our position that
11amend its answer, it did so based on Mr. Sauter's               11at -- and I'd refer you to our amended pleading
12investigation; correct?                                         12with additional information, but it's -- it's our
13AYes, and I would caveat that subject to                     13position that Mr. Waterhouse saw the notes, was
14our -- our pleadings.                                           14confronted, discussed with DC, and said, "Look,
15QRight.And I think I moved to strike your                   15that's my signature.I signed them."
16earlier answer, so let me try and ask the question              16QOkay.So that's -- and it was on the
17again.                                                          17basis of Mr. Waterhouse's conversation with
18Did Mr. Dondero authorize Mr. Sauter                      18Mr. Sauter that HCMFA wrote that sentence; is that
19to conduct the investigation?                                   19fair?
20AI don't have specific knowledge of that.                    20AI believe so.And I would refer you to
21QAll right.I think you used the phrase                      21Mr. Sauter's declaration as well, which goes into
22"management."Did management authorize Mr. Sauter               22details on that.
23to conduct this investigation on behalf of HCMFA?               23QAnd Mr. Sauter specifically said that
24AI don't know specifically who -- who would                  24Mr. Waterhouse signed the notes; correct?
25have asked him to do the -- Jim and -- Jim Dondero              25AWe can look at Mr. Sauter's declaration.

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1Dustin Norris                                          1Dustin Norris
2I -- I believe he said he was -- Mr. Waterhouse                 2he told his controller, Mr. Klos, to transfer the
3told him he signed, but --                                      3funds, and Mr. Klos then turned around and asked
4QRight.And, in fact, HCMFA's position                       4Kristin to paper it up as a note, and to transfer
5throughout this entire case was that                            5the cash.And Ms. Hendrix -- Kristin Hendrix then
6Mr. Waterhouse signed the notes, but he did so by               6added Mr. Waterhouse's JPEG signature to the Word
7mistake and without authority; correct?                         7document, which then was filed away.
8AThat's right.And if you look at the                        8So we -- we, through the process of
9depositions, he testified of that, that he didn't               9depositions and discovery, were able to find more
10remember signing them, and he didn't have a                     10information that Frank Waterhouse did not
11recollection, and Mr. Dondero never told him to                 11remember.He didn't remember signing but said his
12sign it, and he never asked him whether -- or                   12signature is on there, so he must have signed it.
13he -- Mr. Dondero told him never -- told him                    13MR. MORRIS:All right.I move to
14shouldn't be -- didn't -- Mr. Dondero didn't tell               14strike.My question is really, really
15him it was a note, and he never asked if it should              15simple.
16be a note.                                                      16BY MR. MORRIS:
17With this -- this amended pleading,                       17QUp until the time that you filed the
18the thought was he mistakenly thought it was a                  18motion last night, HCMFA's publicly stated
19note, because that was the practice for other                   19position has always been that Frank Waterhouse
20notes or other -- other transfers of this                       20signed the notes, and that he did so by mistake
21nature -- not of this nature, but other transfers               21and without authority; correct?
22between companies, and so he had papered it up as               22ACorrect.It says it here:
23a note.                                                         23"Mr. Waterhouse made a mistake in preparing and
24But if you look at the depositions,                       24signing the notes for the defendant."
25you'll see that additional details came out that                25QOkay.Good enough.
                                                         Page 184                                                           Page 185
1Dustin Norris                                          1Dustin Norris
2AAnd then it says:"Upon information" --                     2consideration.We -- there were notes, but there
3QThat's --                                                   3was no payment for those notes.The payment was
4A-- "and belief, Waterhouse was not aware                    4for compensation related to the NAV error, so
5that the payment from the plaintiff to defendant                5there was no payment -- or no compensation for
6were to compensate the defendant for the NAV                    6notes that had been drafted.
7error."                                                         7QOkay.And the next defense there in
8QI'm sorry.Where are you reading from?                      8Paragraph 47 is "mutual mistake."
9Oh, that's 44?                                                  9Do you see that?
10AThat's in number 44.                                        10ACorrect.
11QOkay.                                                       11QDo you have any facts that support that,
12AYeah."Waterhouse made a mistake in                         12that the mistake was mutual?
13preparing and signing the notes for the                         13AYeah.I -- I would look to the
14defendant."                                                     14depositions.And if you go to the testimony of
15QRight.Okay.                                                15Frank and Jim Dondero and David Klos and Kristin,
16ABut, again, I'll refer you to the                           16it was a clear path and a clear record of mutual
17depositions and the evidence --                                 17mistake.
18MR. MORRIS:Move to strike.It's                          18Jim told Frank to transfer the money
19not responsive to my question.                                19for the NAV error.Frank then goes, tells
20BY MR. MORRIS:                                                  20Mr. Klos, the controller, to go and transfer the
21QDo you see in Paragraph 47 there's a                        21money, who tells Kristin to transfer the money --
22reference to "lack of consideration"?                           22or to make the transfer and to paper it up.
23AYes.                                                        23Kristin then papers it up, following the process
24QOkay.What does that mean?                                  24that she's always followed or she said she's
25AMy understanding is that there was no                       25followed for many other notes.

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1Dustin Norris                                          1Dustin Norris
2She lacked the authority to do so.                        2and any schedules and other forms that are filed
3Mr. Klos lacked the authority.Mr. Waterhouse was               3with the court, there's -- there's plenty there.
4never told to make a note, and so the note itself               4QOkay.What schedules are you referring
5is drafted by an accountant without authority to                5to?
6do so with a maker and a counterparty that is on                6AI would say all of your supporting
7both sides of this, representing supposedly both                7schedules, all of your documentation, the notes
8sides.                                                          8themselves, the -- the Word documents that we
9And our position is that the maker of                     9received as well in discovery that have the
10this -- even if you look at the document, Frank                 10metadata showing that Kristin Hendrix applied
11Waterhouse signs as maker, not as his position.                 11Frank Waterhouse's JPEG signature.
12He's signing as the maker.                                      12QOkay.
13And so there's various aspects of this                    13AAll of those items as well as, again,
14that had errors on both sides, the -- the position              14depositions all -- of all those individuals.
15of HCMFA where they thought they had authority and              15QSo -- so I just want to make sure that I
16the position of HCMLP.                                          16have this clear.
17QAnything else, sir?                                         17So you've got the JPEG documents.
18AI -- I would refer you to the -- again,                     18You've got the deposition transcripts.You know
19the depositions and our pleadings.But there's --               19what?Let me restate the question.
20there's a host of support there.                                20You've identified the JPEG documents.
21QOther than the deposition transcripts and                   21Other than the JPEG documents, are you aware of
22the -- and HCMFA's pleadings, are you aware of any              22any document in the world that was created before
23document anywhere in the world that corroborates                23the answer date that supports or corroborates the
24the defense of mutual mistake?                                  24defense of mutual mistake?
25AOther than the documents, the pleadings,                    25AI'm -- again, I -- I'd point to the --
                                                         Page 188                                                            Page 189
1Dustin Norris                                          1Dustin Norris
2let -- let me take a look here again.                           2answer date; correct?
3QWhat is it you're looking at?                               3AWell, you're saying -- you -- it was
4AThis is the amended complaint.                              4before the answer date.
5QOkay.                                                       5QPardon me?
6AWhich paragraph was that again?                             6AThe answer date being when we did the
7QIt's 47.                                                    7amended answer?
8A47.                                                         8QNo.Let me ask the question again.
9QYeah.There's -- it's a -- there's --                       9AYes, please.Sorry.
10AMutual mistake.                                             10QCan you identify any document in the
11Q-- one of the defenses there.It's up on                    11world, other than the JPEG documents, that support
12the screen.                                                     12or corroborate the defense of mutual mistake that
13AYeah.                                                       13was created before March 1st, 2021?
14QThere's "mutual mistake," and I just want                   14AI got you.
15you to identify for me every document that HCMFA                15The JPEG documents is the Word
16is aware of that was created before the answer                  16documents with the metadata.
17date of March 1st, 2001 [sic], other than the JPEG              17QCorrect.
18documents --                                                    18AThere were emails that went between the
19AI would -- I would refer you to --                          19accounting team on how to paper it up.That is in
20Q-- that support or corroborate -- that                      20your -- your documentation as well, and I would
21support or corroborate the defense of mutual                    21say any other document that's in the court
22mistake?                                                        22filings.
23AYeah.And I'd also point you to DC                          23QCan you identify them?That's kind of --
24Sauter's declaration.                                           24that's not really helpful to me.
25QOkay.That wasn't created before the                        25AYeah.I -- there's the -- there's an

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1Dustin Norris                                          1Dustin Norris
2email -- and this was used in depositions.                      2Let's take a short break.I may be
3There's an email that went -- was David Klos                    3done.It's 4:09.Can we just come back
4instructing the group -- or instructing Kristin to              4in six minutes?
5send the cash and to record a note.                             5THE WITNESS:Yes.Thank you.
6QAnd you believe that -- and it's HCMFA's                    6MR. RUKAVINA:Sure.
7contention that that document supports their                    7MR. MORRIS:Thank you.
8position of mutual mistake.Do I have that right?               8(Recess from 3:09 p.m. to 3:19 p.m. CST)
9AAgain, I'm not an attorney, so tying the                    9BY MR. MORRIS:
10definition as little M, little M, I'm going to                  10QJust a couple more questions, Mr. Norris.
11have to say I don't know.                                       11If you can take a look again at
12QOkay.Other than the emails, the two                        12Paragraph 47 of the amended answer.
13emails that you referenced and the JPEG documents,              13AYes.
14can you identify any other document created before              14QDo you see there's also a reference to,
15May 1st -- March 1st, 2021, that supports or                    15quote, "the lack of authority from the defendant
16corroborates the defense of mutual mistake?                     16to Waterhouse," close quote?
17AThere may be a document.I -- I don't                       17AYes.
18know.                                                           18QHCMFA does not dispute that Mr. Waterhouse
19QOkay.                                                       19was an officer of HCMFA in May of 2019, does it?
20AAnd, again, as you've seen, there's a lot                   20ANo, we don't dispute that.
21of stuff that's come out in discovery, and it's                 21QAnd HCMFA doesn't dispute that
22important that testimony of -- of those witnesses               22Mr. Waterhouse, in fact, served as the treasurer
23is taken into account.                                          23of HCMFA in May 2019; correct?
24MR. MORRIS:Okay.Move to strike                          24AWe don't, no.
25the last portion of that answer.                              25QOkay.Is the sole basis for the assertion
                                                         Page 192                                                            Page 193
1Dustin Norris                                          1Dustin Norris
2that Mr. Waterhouse lacked authority was that                   2and a half million dollars.Overall from the
3Mr. Dondero did not specifically approve it?                    3operating business, it was meaningful.But seven
4ABy nature, just the size of this note and                   4and a half million dollars in any entity would
5the nature of it would have required Mr. Dondero's              5have required Jim Dondero's approval.
6authority.And both Mr. Waterhouse and                          6QAnd so can you explain to me why, if it
7Mr. Dondero testified to that in their deposition.              7would have required his approval, nobody at HCMFA
8So I'd refer you to that.They both testified he                8noticed that it was carried on HCMFA's books and
9did not have the authority.                                     9records as a liability since May of 2019?
10MR. MORRIS:I'm not sure that he                          10AYeah.I think it's a simple mistake.
11did, so I'm going to move to strike.The                      11There were other notes of a similar nature in
12testimony will be what the testimony will                     12size.And as Mr. Dondero testified, he wasn't
13be, not your characterization of it.                          13reviewing these regularly, the balance sheet.
14BY MR. MORRIS:                                                  14Frank Waterhouse was.The accounting team was.
15QBut what about the size of the notes                        15And so the HCMFA side, there was other notes of
16causes HCMFA to contend that Mr. Waterhouse didn't              16similar size and nature.It didn't occur to them
17have authority?                                                 17that there was new notes.The accounting team, as
18AA seven and a half million dollar note is                   18we've -- which is our position, created the notes,
19large enough to rise that Jim Dondero would have,               19added the signature of Mr. Waterhouse, and then
20in any instance, authorized or needed to authorize              20they continued to record those as liabilities on
21this, and he did not.                                           21the balance sheet.And --
22QAnd is that because a $7.4 million note is                  22QIs --
23a substantial obligation for HCMFA?                             23A-- that was -- you had -- and, again, I'd
24AYou know, substantial -- define                             24refer you to our pleadings and our amended
25"substantial."It's sizeable.Right?It's seven                 25pleadings and the recent pleading yesterday that

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1Dustin Norris                                          1Dustin Norris
2we discovered in the discovery process.But                     2patience.
3Kristin Hendrix and Dave Klos and Frank Waterhouse              3MR. RUKAVINA:And I'll just say,
4made it very clear what the process -- and I would              4John, that was a bit of a confusing
5say why -- in answer to your question, it was                   5question.
6probably a little sloppy.It may have cut                       6MR. MORRIS:Okay.And that's
7corners.They should have received Mr. Dondero's                7fair.Let me try again.
8authorization, and they didn't.And so                          8BY MR. MORRIS:
9that's -- that's our position.                                  9QDoes HCMFA contest that Frank Waterhouse
10QDoes --                                                     10knew, on May 2nd and May 3rd, 2019, that the
11AAnd I would say these are all                               11corporate accounting group was going to paper the
12professionals.These are good people.I don't                   12transfers from Highland as loans?
13think they were dishonest.I think they made a                  13ADid we contest that he knew that?
14mistake.Professionals make mistakes, but this                  14QCorrect.
15was a costly mistake.                                           15AI think his testimony speaks -- I'll refer
16QDid -- does -- does HCMFA contest that                      16you to his testimony.I think he testified that
17Frank Waterhouse knew, on May 2nd and May 3rd,                  17he didn't know, right?He didn't know that
182019, that the corporate accounting group was                   18they -- yes, he was copied on an email, but he
19going to paper these transactions as loans?                     19didn't have any recollection that they were
20AAgain, I would refer you to the actual                      20papered up as a loan.
21depositions and pleadings -- and our pleadings.                 21QOkay.And on the basis of that testimony,
22But our position is -- sorry.One more time, do                 22does HCMFA now contend that Mr. Waterhouse didn't
23you want to ask the question?                                   23know, in May of 2019, that these transfers were
24QYeah.I think you need to -- I want to                      24papered as loans?
25try to finish up, and I really appreciate your                  25AI would say that's part of it.I would,
                                                         Page 196                                                               Page 197
1Dustin Norris                                          1IN THE UNITED STATES BANKRUPTCY COURT
                                                                    FOR THE NORTHERN DISTRICT OF TEXAS
2again, refer you to all the pleadings, our                      2DALLAS DIVISION
3pleadings and depositions that -- of these                      3In re:)Chapter 11
                                                                    )
4individuals.There's -- there's a lot of support                4HIGHLAND CAPITAL MANAGEMENT, LP, )
5there.                                                          )Case No.
                                                                    5Debtor.)19-34054-SGJ-11
6QRight.                                                      ________________________________ )_______________________
7Have you seen the emails from May 2nd                     6HIGHLAND CAPITAL MANAGEMENT, LP, )
8and May 3rd?                                                    )
                                                                    7Plaintiff,)
9AI can't remember if they were included in                   )
10your exhibits, but I know they were discussed in                8vs.)Advisory Proceeding No.
                                                                    )21-03004
11detail in the depositions from Dave Klos and                    9NEXPOINT ADVISORS, LP; JAMES)
12Kristin and Frank.                                              DONDERO; NANCY DONDERO; and THE)
                                                                    10DUGABOY INVESTMENT TRUST,)
13QRight.Okay.                                                )
14MR. MORRIS:I have no further                             11Defendants.)
15questions.This is not particularly                           12
                                                                    REPORTER'S CERTIFICATION
16helpful.Thanks.                                              13REMOTE DEPOSITION OF
17MR. RUKAVINA:Okay.I'll reserve                          DUSTIN NORRIS
                                                                    14December 1, 2021
18questions.Thank you.                                         15I, Rebecca A. Graziano, Certified Shorthand
19MR. MORRIS:Okay.Thanks a lot.                           16Reporter in and for the State of Texas, hereby
                                                                    17certify to the following:
20MR. RUKAVINA:Thank you.                                  18That the witness, DUSTIN NORRIS, was duly
21(Off the record at 3:25 p.m. CST)                           19sworn and that the transcript of the oral
                                                                    20deposition is a true record of the testimony given
22
                                                                    21by the witness;
23                                                                  22I further certify that pursuant to FRCP Rule
24                                                                  2330(f)(1) that the signature of the deponent:
                                                                    24____ was requested by the deponent or a
25                                                                  25party before the completion of the deposition and


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                                                               Page 198                                                             Page 199
1returned within 30 days from date of receipt of                       1ERRATA SHEET
2the transcript.If returned, the attached Changes                     2Case Name:
3and Signature Page contains any changes and the                       3Deposition Date:
4reasons therefor.
                                                                          4Deponent:
5____ was not requested by the deponent or a
                                                                          5Pg.No. Now ReadsShould ReadReason
6party before the completion of the deposition.
                                                                          6______ ________________________________________
7I further certify that I am neither attorney
                                                                          7______ ________________________________________
8nor counsel for, related to, nor employed by any
9of the parties to the action in which this                            8______ ________________________________________
10testimony was taken.                                                  9______ ________________________________________
11Further, I am not a relative or employee of                        10______ ________________________________________
12any attorney of record in this cause, nor do I                        11______ ________________________________________
13have a financial interest in the action.                              12______ ________________________________________
14Subscribed and sworn to on this 1st day of
                                                                          13______ ________________________________________
15December, 2021.
                                                                          14______ ________________________________________
16
                                                                          15______ ________________________________________
17
18                                                                        16______ ________________________________________

19                                                                        17______ ________________________________________
20__________________________________                            18______ ________________________________________
Rebecca A. Graziano, CSR, RMR, CRR                             19______ ________________________________________
21Texas CSR 9306                                                20
Expiration:07/31/22                                           21_____________________
22California CSR 14407
                                                                          22Signature of Deponent
Expiration:09/30/22
                                                                          SUBSCRIBED AND SWORN BEFORE ME
23Illinois CSR 084.004659
                                                                          23THIS ____ DAY OF __________, 2021.
Expiration: 05/31/23
24                                                                        24____________________

25                                                                        25(Notary Public)MY COMMISSION EXPIRES:__________




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                              EXHIBIT 193




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                                                                                    Page 1
1IN THE UNITED STATES BANKRUPTCY COURT

2FOR THE NORTHERN DISTRICT OF TEXAS

3DALLAS DIVISION

4
IN RE:)Chapter 11
5HIGHLAND CAPITAL)Case No.
MANAGEMENT, LP,)19-34054-
6Debtor.)sgj11
--------------------------)
7HIGHLAND CAPITAL)
MANAGEMENT, LP,)Adversary
8)Proceeding
Plaintiff,)No.
9)21-03004
vs.)
10)
HIGHLAND CAPITAL)
11MANAGEMENT FUND ADVISORS,)
LP,)
12)
Defendant.)
13--------------------------)

14

15

16

17REMOTE ZOOM DEPOSITION OF DENNIS C. SAUTER

18Wednesday, November 17, 2021

19

20

21

22

23Reported by:

24Stacey L. Daywalt

25JOB NO. 202810


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                                                              Page 2                                                                Page 3
1                                                                     1A P P E A R A N C E S:
2                                                                     2(All appearances via remote Zoom)
3Wednesday, November 17, 2021                              3
41:08 p.m.                                                 4PACHULSKI STANG ZIEHL & JONES
5                                                                     5Attorneys for Plaintiff
6                                                                     6780 Third Avenue
7Remote Zoom Deposition of DENNIS C.                           7New York, New York 10017
8SAUTER, held before Stacey L. Daywalt, a Court                     8BY:JOHN MORRIS, ESQ.
9Reporter and Notary Public of the District of                      9
10Columbia.                                                          10MUNSCH HARDT KOPF & HARR
11                                                                     11Attorneys for Defendant
12                                                                     12500 North Akard Street
13                                                                     13Dallas, Texas 75201
14                                                                     14BY:DAVOR RUKAVINA, ESQ.
15                                                                     15
16                                                                     16STINSON LLP
17                                                                     17Attorneys for James Dondero and Nancy
18                                                                     18Dondero
19                                                                     193102 Oak Lawn Avenue
20                                                                     20Dallas, Texas 75219
21                                                                     21BY:MICHAEL AIGEN, ESQ.
22                                                                     22
23                                                                     23ALSO PRESENT:
24                                                                     24
25                                                                     25LA ASIA CANTY


                                                              Page 4                                                                Page 5
1D. Sauter                                                 1D. Sauter
2D E N N I SC.S A U T E R,                                        2A.I don't think so.
3called as a witness, having been                              3Q.Okay.So very simple ground rules.
4duly sworn by a Notary Public, was examined and                    4I'm going to ask you a series of
5testified as follows:                                              5questions, and it's important that you allow me
6                                                                     6to finish my question before you begin the
7EXAMINATION BY                                                     7answer.
8MR. MORRIS:                                                        8Is that fair?
9Q.Can you please state your name for                           9A.Yes, sir.
10the record.                                                        10Q.And I will certainly attempt to do
11A.Dennis Sauter.                                               11the same for you and -- insofar as I will
12Q.Good afternoon, Mr. Sauter.My name                          12attempt to allow you to finish your answer
13is John Morris.I'm an attorney at Pachulski                       13before I begin my question.
14Stang Ziehl & Jones.We are counsel to the                         14But if I fail to do that, will you
15reorganized Highland Capital Management, LP.                       15let me know?
16Are you aware of that?                                        16A.I will.
17A.Yes, sir.                                                    17Q.If there's anything that I ask you
18Q.Okay.And we're here for your                                18that you don't understand, will you let me know
19deposition today.Correct?                                         19that?
20A.Yes, sir.                                                    20A.I will.
21Q.And I've examined you previously.                            21Q.If you want to take a break at any
22Is that right?                                                     22time, just let me know and I'll try to
23A.I don't believe so.                                          23accommodate you.I'd only ask that you don't
24Q.Okay.Have you ever been deposed                             24ask for a break while a question is pending.
25before?                                                            25Is that fair?

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1D. Sauter                                         1D. Sauter
2A.That's fair.                                         2Gruber until 2006.
3Q.Okay.Do you have a license to                       3And I went in-house with a
4practice law, sir?                                         4development firm called St. Ives Realty.I was
5A.I do.                                                5there until 2009.
6Q.In what states are you admitted to                   6And in 2009, I went back to work
7practice?                                                  7with the group I'd worked with before but now
8A.Just Texas.                                          8it was called Langley Weinstein.I was with
9Q.When did you obtain your license?                    9Langley Weinstein until December 31 of '13.
10A.November of 2001.                                    10And in 2014, I started at Wick
11Q.And did you graduate from law                        11Phillips Gould & Martin, and I was at Wick
12school?                                                    12Phillips until February of 2020 when I began at
13A.I did.                                               13Nexpoint.
14Q.Where did you graduate from law                      14Q.And while you were at Nexpoint -- I
15school?                                                    15mean, withdrawn.
16A.Southern Methodist University.                       16While you were at Wick Phillips, did
17Q.And can you describe for me your                     17you provide services to Highland or any of its
18employment history from the time you graduated             18affiliates?
19law school until today.                                    19A.I provided services primarily to
20A.Sure.                                                20Nexpoint advisors and its wholly owned
21Out of law school I began at a firm                   21subsidiaries.
22called Winstead Sechrest & Minick.And I was               22I did have occasion to do a couple
23there just till tax day, so April 15 of 2002,              23of discrete engagements for -- I think they
24when my group moved to a firm at the time that             24were CLOs but managed by Highland.
25was called Godwin Gruber.I was at Godwin                  25Q.Prior to the time that you joined
                                                      Page 8                                                                Page 9
1D. Sauter                                         1D. Sauter
2Nexpoint, did you have any particular expertise            2counsel of Nexpoint?
3in a specified area of the law?                            3A.I don't recall exactly, but I would
4A.For about the last ten years, real                   4say April or May of this year.
5estate.                                                    5Q.All right.So from approximately
6It was, before that, kind of a                        6February of 2020 until approximately April of
7hybrid of construction related litigation,                 72021, you were the general counsel of real
8landlord-tenant disputes, you know,                        8estate, and since approximately April of 2021
9foreclosures.It was all real estate related               9you were -- you have been the general counsel
10litigation and then real estate transactional              10of Nexpoint.
11work.                                                      11Do I have that right?
12Q.How did you come to become employed                  12A.Correct.
13by Nexpoint?                                               13Q.Was there a general counsel of
14A.I had worked with the folks here at                  14Nexpoint during the time you served as general
15Nexpoint for my entire tenure at Wick Phillips,            15counsel of real estate?
16and they gave me an offer and I accepted.                  16A.There was not.
17Q.What offer did they give you?What                   17Generally the way things worked is
18position?                                                  18Scott Ellington was general counsel at Highland
19A.I was hired to be general counsel of                 19Capital, and most of the legal department
20real estate.                                               20reported to him.I was the one attorney that
21Q.Are you still the general counsel of                 21was not under him.
22real estate?                                               22So no, there was not.
23A.I'm now the general counsel of                       23Q.Okay.To whom do you report today?
24Nexpoint.                                                  24A.Matt McGraner.
25Q.When did you become the general                      25Q.And what is Mr. McGraner's title?

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1D. Sauter                                          1D. Sauter
2A.I believe it's managing director.                     2defense of the lawsuit that Highland has
3Q.When did you begin reporting to                       3commenced against it?
4Mr. McGraner?                                               4MR. RUKAVINA:Allow me to interject
5A.The day I was hired.                                  5just a little bit here, John.
6Q.What are your duties and                              6You subpoenaed Mr. Sauter in the
7responsibilities today as the general counsel               7HCMFA lawsuit.
8of Nexpoint?                                                8Why are you asking him all about
9A.A lot different than I anticipated                    9this Nexpoint?
10when I came on.                                             10MR. MORRIS:Just because he told me
11Q.Fair.                                                 11that's where he works.
12A.It's a little bit of everything. I                    12MR. RUKAVINA:Yeah, that's fine.
13get lots of questions from lots of different                13I mean, I'm not trying to be rude.
14people.                                                     14Just --
15As you can imagine, there's been                       15MR. MORRIS:I appreciate that.
16quite a shuffle with the Skyview formation,                 16MR. RUKAVINA:-- if you're --
17people leaving, people staying, and so, you                 17(Simultaneous crosstalk.)
18know, it's been fairly fluid.So I try to                   18MR. MORRIS:Duly noted.Thank you,
19handle whatever somebody brings me.                         19Davor.
20Q.In your capacity as general counsel,                  20THE REPORTER:Please watch the
21do you have any responsibility for overseeing               21overlap of talking.Thank you.
22Nexpoint's litigation matters?                              22BY MR. MORRIS:
23A.I do.                                                 23Q.Mr. Sauter, Mr. Rukavina brings up a
24Q.Okay.And do you have                                 24good point.
25responsibility for overseeing Nexpoint's                    25Are you also the general counsel of
                                                      Page 12                                                         Page 13
1D. Sauter                                          1D. Sauter
2Highland Capital Management Fund Advisors, LLP?             2expertise, people bring it to me and I work on
3A.I'm not.                                              3it.
4Q.You are not?                                          4Q.And what's an "affiliated entity" in
5A.I'm not the general counsel of                        5the way that you've used that term?
6Highland Capital Management Fund Advisors.                  6A.I generally refer to HCMFA, Nexpoint
7Q.Okay.Can we refer to that entity                     7Advisors and the wholly owned subsidiaries of
8as HCMFA today?                                             8Nexpoint Advisors as the affiliated entities.
9A.Yes, sir.                                             9HCMFA also owns Nexpoint Securities,
10Q.Do you have any title or role with                    10which is the broker dealer, and so I do work
11HCMFA today?                                                11with those folks from time to time as well.
12A.I don't have any official capacity                    12Q.Is there a source of affiliation
13with HCMFA, although I do perform work from                 13between Nexpoint and HCMFA?
14time to time for HCMFA.                                     14A.Yes, Mr. Dondero.
15Q.Okay.Does HCMFA have a general                       15Q.And he controls them both to the
16counsel, to the best of your knowledge?                     16best of your knowledge.Is that right?
17A.It does not.                                          17A.I -- I guess it depends on how you
18Q.Does HCMFA have any officers today,                   18define "control."
19to the best of your knowledge?                              19But yes, he is a controlling person
20A.It does, but I'm not sure I can name                  20of Nexpoint Advisors, and yes, for all intents
21them off to you.                                            21and purposes, he's the controlling person of
22Q.Okay.What services do you provide                    22HCMFA.
23to HCMFA?                                                   23Q.Okay.And can we refer to HCMFA and
24A.Again, like other affiliated                          24Nexpoint Advisors, LP together as "the
25entities, when it has legal needs that meet my              25advisors"?

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1D. Sauter                                         1D. Sauter
2A.That's fine.                                         2discrete business line.They're separate
3Q.The advisors are each advisory                       3entities, but not necessarily funds.
4firms.Is that right?                                      4Q.And are each of them owned
5A.Correct.                                             5indirectly or directly by Nexpoint Advisors,
6Q.And each of them provide advisory                    6LP?
7services to certain funds.Is that correct?                7A.Yes, sir.
8A.Correct.                                             8Q.Okay.
9Q.Okay.Do you hold any titles with                    9When did you first meet Mr. Dondero?
10any of the funds that are advised by either of             10A.I don't recall.
11the advisors?                                              11I think I met him once at an event
12A.Yes, I am general counsel for                        12that I was invited to years ago, maybe 2017.
13Nexpoint Residential Trust and I'm general                 13Q.Do you know if he holds a title at
14counsel of Nexpoint Real Estate Finance.                   14HCMFA?
15Q.Any others?                                          15A.I don't believe he does.
16A.No, sir.                                             16Q.How about Nexpoint?Does he hold a
17Q.Okay.Do you have --                                 17title at Nexpoint?
18A.Wait.Wait.Let me clarify.                          18A.Yes, he's the president.
19I think I am general counsel of                       19Q.And even though he doesn't hold a
20Nexpoint Real Estate Advisors, and I may be                20title at HCMFA, it's your understanding that he
21general counsel of each of them.I think there             21controls HCMFA.Is that right?
22are nine in total.                                         22A.I don't know that I would say that.
23Q.Okay.And are each of them separate                  23And again, I would need to look at
24funds?                                                     24the organizational documents.
25A.Each of the advisors are -- manage a                 25Q.Well, as -- withdrawn.
                                                     Page 16                                                            Page 17
1D. Sauter                                         1D. Sauter
2Do you know if Mr. Dondero serves as                  2manager of GAF was in 2019?
3the portfolio manager for any of the funds to              3A.I do not.
4which the advisors provide advisory services?              4Q.Do you know if it was Mr. Dondero?
5A.He does.                                             5A.I do not.
6I don't know which ones.                              6Q.In the course of your investigation,
7Q.We're going to talk in a little                      7did you ever ask who the portfolio manager of
8while about a TerreStar NAV issue.                         8GAF was?
9MR. MORRIS:And Stacey, that's all                    9A.I did not.
10caps N-A-V, and it's T-E-R-R-A-S-T-A-R [sic].              10Q.Do you know Frank Waterhouse?
11Q.We're going to talk a little bit                     11A.I do.
12about a TerreStar NAV issue.                               12Q.When did you first meet
13Are you generally familiar with                       13Mr. Waterhouse?
14that?                                                      14A.I think I met him just before I came
15A.Generally.                                           15on.It would have been maybe December of 2019.
16Q.Okay.And is it your understanding                   16Q.Okay.Do you know if Mr. Waterhouse
17that that NAV issue, that TerreStar NAV issue,             17holds any titles with either of the advisors?
18related to certain equity positions that were              18A.I believe so, but I'm not exactly
19held by certain funds managed by HCMFA?                    19sure.
20A.Yes, I think it was -- Global                        20MR. RUKAVINA:I'm going to object
21Allocation Fund is the one that was                        21to vague or form there.
22particularly the insured.                                  22What time are you specifying,
23Q.And can we refer to that as GAF?                     23Mr. Morris?
24A.Yes, sir.                                            24MR. MORRIS:I appreciate that.Let
25Q.Do you know who the portfolio                        25me restate the question.

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1D. Sauter                                          1D. Sauter
2BY MR. MORRIS:                                              2Q.Do you have any understanding as to
3Q.Mr. Sauter, do you know if                            3when Mr. Waterhouse became the treasurer and/or
4Mr. Waterhouse held any position with either of             4the CFO of HCMFA?
5the advisors at any time in 2019?                           5A.I do not.
6A.I believe he did, but I -- I would                    6Q.Do you know if Mr. Waterhouse holds
7say it was probably treasurer and CFO, but I'm              7any positions with any of the funds that are
8speculating.                                                8advised by either of the advisors?
9Q.In the course of your investigation,                  9A.I believe he -- I'm speculating. I
10did you try to determine what title                         10don't know for certain.
11Mr. Waterhouse held with HCMFA?                             11Q.During the course of your -- you
12A.I have not.                                           12conducted an investigation around the TerreStar
13Q.Have you ever tried to determine                      13NAV issue.Right?
14what title Mr. Waterhouse held at HCMFA at any              14A.Correct.
15time?                                                       15Q.Okay.During the course of your
16A.At one point I knew what it is. I                     16investigation, did you ever try to determine
17just can't recall.                                          17whether Mr. Waterhouse served in any capacity
18Q.Okay.Does -- do you know if                          18with any of the funds that are managed by
19Mr. Waterhouse holds a position with HCMFA                  19HCMFA?
20today?                                                      20A.Whether he -- yes.
21A.I believe he does.                                    21Q.And what did you -- what information
22Q.Do you have any understanding as to                   22did you learn in the course of your
23what that position is?                                      23investigation on that issue?
24A.Again, I think it's CFO and/or                        24A.My understanding is that the
25treasurer.That's consistent, I think.                      25valuation team was a subset of the group that
                                                      Page 20                                                         Page 21
1D. Sauter                                          1D. Sauter
2Mr. Waterhouse ran.                                         2Q.Okay.And what's the basis for that
3Q.Right.                                                3speculation?
4I'm asking you specifically about                      4A.Because he's at Skyview, and I think
5whether he held positions at any of the funds.              5all of the employees that were at Nexpoint
6Did you understand that when I asked                   6Advisors or HCMFA remained where they were.
7my question?                                                7Q.Do you know what position he held at
8A.I don't know whether he held any                      8Highland in 2019, if any?
9position with the funds.                                    9A.I don't know.
10Q.Okay.And during your                                 10Q.Do you know anything about
11investigation, did you make any effort to try               11Mr. Mabry's skills or expertise, if any?
12to determine whether he held any positions with             12A.Other than I believe he was the
13GAF?                                                        13assistant treasurer at GAF and he was on the
14Let's be very specific.                                14valuation team as well.
15A.I don't recall.                                       15Q.So your understanding is he was the
16Q.Do you know a gentleman named Will                    16assistant treasurer of the fund that we have
17Mabry?                                                      17defined as GAF.
18A.I do.                                                 18Do I have that right?
19Q.And do you know if Mr. Mabry was                      19A.That's my understanding.
20ever employed by either of the advisors?                    20Q.Okay.And what's the basis for that
21A.I don't know who employed Mr. Mabry.                  21understanding?
22Q.Do you know if he was ever employed                   22A.That's just what I recall.
23by Highland Capital Management, LP?                         23Q.Okay.To the best of your
24A.I would suspect that he was employed                  24knowledge, does he have an accounting
25by Highland Capital Management, LP.                         25background?

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1D. Sauter                                        1D. Sauter
2A.I don't know.                                       2SEC?
3Q.And is it your understanding that he                3A.I do not.
4was part of a valuation team?                             4Q.Did you ask him?
5I think you used that term.                          5A.I don't recall.
6A.Yes, I believe he was.                              6Q.Do you know when he left Highland?
7Q.Okay.And what's the basis for that                 7A.I think he was terminated with the
8understanding on your part?                               8other employees.
9A.Discussions that I've had with Frank                9Q.You submitted a declaration in
10and his knowledge of the TerreStar NAV error.             10connection with the adversary proceeding that
11Q.Did Mr. Mabry tell you that he was                  11Highland commenced against the HCMFA.
12part of the valuation team?                               12Do I have that right?
13A.I don't recall.                                     13A.Yes, sir.
14Q.Did you ask him?                                    14Q.All right.Let's take a look at
15A.I don't recall.                                     15that, if we can put that up on the screen.
16Q.Do you know if Mr. Mabry played any                 16So from time to time, my assistant
17role in any aspect of the TerreStar                       17Ms. Canty is going to put some documents up on
18investigation that was conducted by the SEC?              18the screen, Mr. Sauter.And it's very
19A.I don't know.                                       19important that you understand that I will give
20Q.Did you ask Mr. Mabry if he played                  20you every opportunity that you believe you need
21any role in connection with the SEC                       21in order to read the document.
22investigation?                                            22So you know, if there's something
23A.I did not.                                          23that I put up there that you want to see more
24Q.Do you know if Mr. Mabry played any                 24of, just let me know and we'll just scroll
25role in formulating HCMFA's response to the               25around.Okay?
                                                    Page 24                                                           Page 25
1D. Sauter                                        1D. Sauter
2A.Okay.                                               2Q.And is it fair to say that your
3(Exhibit 181, Declaration of Dennis                  3declaration describes the investigation that
4C. Sauter, Jr., previously marked for                     4you did initially after the complaint was filed
5identification.)                                          5and then basically a second phase of the
6Q.Okay.Do you see the first page of                  6investigation after Mr. Waterhouse and
7this document states that it's your                       7Mr. Mabry migrated from Highland?
8declaration?                                              8A.Yes.
9A.I do.                                               9Q.Okay.So the purpose of your
10Q.And if we can go to the signature                   10investigation was to understand the origin of
11line, please.                                             11two promissory notes.Right?
12And that's your signature there,                     12A.Yes, sir.
13sir?                                                      13Q.Okay.I just want to go through to
14A.It is.                                              14the notes to make sure that the record is clear
15Q.And did you sign this on or about                   15that we're talking about the same thing.
16May 21st, 2021?                                           16There are certain documents that
17A.Yes, sir.                                           17we've used in other depositions so they've been
18Q.Do you remember the purpose of this                 18premarked, and I'd ask Ms. Canty to put up the
19declaration?                                              19document that's already been marked as
20A.It was requesting to file an amended                20Exhibit 54.
21answer.                                                   21MS. CANTY:Okay.John, do you want
22Q.Okay.Is it fair to say that your                   22to let the court reporter know this current one
23declaration sets forth the factual basis for              23is 181, premarked 181, this declaration.
24the proposed amendment?                                   24MR. MORRIS:Okay.Fine.
25A.Yes.                                                25(Exhibit 54, E-mail chain with

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1D. Sauter                                          1D. Sauter
2attachment dated 5/2/19, D-CNL003777-779,                   2I can't recall receiving one from
3previously marked for identification.)                      3them either.
4Q.So if could just scroll down a                        4Q.Do you see that in this e-mail
5little bit.                                                 5Mr. Klos asks to have $2.4 million transferred
6Do you see there's -- do you see                       6from HCMLP to HCMFA?
7it's -- there's an e-mail from David Klos dated             7A.I do.
8May 2nd?                                                    8Q.And do you see that he states:
9A.Yes.                                                  9"This is a new interco loan"?
10Q.Do you know who Mr. Klos is?                          10A.I do.
11A.I do.                                                 11Q.And if we can see the response
12Q.And who do you understand Mr. Klos                    12above, do you see how Ms. -- do you know
13to be?What role did he play in May of 2019?                13Kristin Hendrix?
14A.I don't know.                                         14A.I do.
15I know he worked under Frank.                          15Q.And who is Ms. Hendrix, to the best
16Q.He worked out of -- do you see                        16of your knowledge.
17there's an e-mail to a corporate accounting                 17A.I believe she worked under Mr. Klos.
18group?                                                      18Q.And do you see that she wrote to
19A.Yes.                                                  19someone named Blair and attached a copy of a
20Q.Have you ever sent or received an                     20note?
21e-mail from a Highland corporate accounting                 21A.Yes.
22e-mail chain called the corporate accounting                22Q.Okay.
23group?                                                      23A.That's what it says.
24A.I've never sent an e-mail from the                    24Q.And can we go to the next page,
25corporate accounting group.                                 25please.
                                                      Page 28                                                          Page 29
1D. Sauter                                          1D. Sauter
2And do you see that this is a                          2A.Yes.
3promissory note for $2.4 million dated May 2,               3Q.Okay.Let's look at the next note,
42019?                                                       4please.
5A.I do.                                                 5(Exhibit 57, Promissory Note dated
6Q.Okay.And can we go to the                            65/3/19, D-CNL003764-65, previously marked for
7signature line.                                             7identification.)
8Do you see Mr. Waterhouse's                            8Do you see this is a note for
9signature?                                                  9$5 million and it's dated the next day,
10Do you see Mr. Waterhouse's                            10May 3rd, 2019?
11signature, sir?                                             11A.I see that.
12A.I can't verify whether that's his                     12Q.Do you see that it's -- it also
13signature, but I'll take your word for it.                  13defines as the maker Highland Capital
14Q.Okay.Can you go to the top of the                    14Management Fund Advisors, LP?
15note, please.                                               15A.That's what it says on the first
16Do you see that the maker is defined                   16page, yes.
17to be Highland Capital Management Fund                      17Q.Okay.And if we can go to the
18Advisors, LP?                                               18signature line.
19A.I do see that that's what it says on                  19Again, does that appear to be
20the first page.                                             20Mr. Waterhouse's signature?
21Q.Okay.And this is one of the two                      21A.Again, I can't verify whether that's
22notes that was the source of your                           22Mr. Waterhouse's signature or not.
23investigation.Right?This was one of the two               23But it does say that the maker is
24notes that you were investigating the origins               24Frank Waterhouse, not Highland Capital
25of?                                                         25Management Fund Advisors.

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1D. Sauter                                          1D. Sauter
2Q.I understand.                                         2BY MR. MORRIS:
3But the definition of "maker" is                       3Q.All right.We're going to refer to
4above.Correct?                                             4these two notes collectively as "the notes."
5A.I wouldn't -- that's not how I would                  5Is that okay?
6draft a promissory note.                                    6A.That's fine.
7Q.I didn't ask you how you would draft                  7Q.And these are the two notes that you
8it.                                                         8were investigating.Right?
9I'm just asking you whether, having                    9A.Yes.
10just looked at the document and as a lawyer                 10Q.And it's your understanding that
11admitted to practice in law, would you agree                11these are the two notes that Highland Capital
12that the term "maker" is a defined term in this             12Management is suing to collect on.Right?
13document?                                                   13A.Yes.
14MR. RUKAVINA:I'll just object to                      14Q.Okay.According to your
15form here and also that this witness has not                15declaration, if we can go to Paragraph 13, if
16been called as an expert, even though he's a                16we can put that back up on the screen, as part
17lawyer.                                                     17of the initial investigation -- withdrawn.
18So I'll just preserve that for the                     18I'm going to use the phrase "initial
19record.                                                     19investigation" to mean the investigation that
20MR. MORRIS:Fair.That's fine.                         20you conducted between the time the complaint
21THE WITNESS:I would agree that                        21was filed and the time that HCMFA filed its
22"maker" is defined on the first page, but that              22original answer on March 1st.
23would be an improper signature block, if it was             23Is that okay?
24intended to be Highland Capital Management Fund             24A.Sure.
25Advisors.                                                   25Q.And during that initial
                                                      Page 32                                                           Page 33
1D. Sauter                                          1D. Sauter
2investigation, you spoke with Jim Dondero.                  2that right?
3Correct?                                                    3A.He couldn't recall the genesis,
4A.I did.                                                4correct.
5Q.Okay.And according to                                5Q.Did he have any recollection at all
6Paragraph 13, he couldn't recall the genesis of             6as to what the notes related to?
7the notes.Is that right?                                   7A.I don't -- I don't believe so,
8A.That's correct.                                       8because if he had, then I would have been able
9Q.Did you show him the notes?                           9to pin it down further.
10A.I don't recall.                                       10Q.How many conversations did you have
11Q.Did you tell him that the notes were                  11with Mr. Dondero as part of your initial
12dated May 2nd and May 3rd, 2019?                            12investigation?
13A.I don't recall that either.                           13A.I don't recall.
14Q.Did you do anything to try to                         14Two, three.
15refresh his recollection about the timing of                15Q.Was there anybody present other than
16the notes?                                                  16the two of you?
17A.I'm sure I did.                                       17A.Again, I don't recall.
18But I don't recall that conversation                   18Q.Do you recall if they took place on
19in any detail as I'm sitting here today.                    19the phone or were they in person?
20Q.Did you tell him the principal                        20A.It would have been in person.
21amount of the notes?                                        21Q.And why do you say it would have
22A.Yes.                                                  22been in person?
23Q.And even though you told him the                      23A.Well, now that you say that, no, it
24principal amount of the notes, he still had no              24probably wasn't in person because he would not
25recollection as to what they related to.Is                 25have been in the office at that time.

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1D. Sauter                                          1D. Sauter
2There was obviously a lot of things                    2Q.Do you have a recollection of
3going on at this point.Mr. Dondero had been                3speaking to Mr. Norris, or are you just
4evicted from the building, and so that made --              4surmising that you probably did?
5I shouldn't say evicted.He'd been kicked out               5A.I'm surmising that I probably would
6by the debtor, and so that made our                         6have.
7communications a little more difficult.                     7There was a lot, again, that was
8So I would have spoken with him on                     8happening.I didn't have the historical
9the phone because I did not go over to the                  9knowledge of these things, and so I talked with
10NexBank office very often.                                  10Mr. Post and Mr. Norris daily about everything
11Q.Paragraph 13 says that you also                       11that was going on just to get some background
12spoke with "the few employees of HCMFA."                    12on all of the moving parts.
13Do you see that in the middle of the                   13Q.Okay.Do you know if Mr. Norris
14paragraph?                                                  14held any position with HCMFA in 2019?
15A.Yes.                                                  15A.I don't -- I don't know for certain.
16Q.Can you identify the other CMFA                       16I believe he did.
17employees that you spoke with as part of your               17I can't recall what his position
18initial investigation?                                      18would have been.
19A.I would have spoken with Dustin                       19Q.Does he have a position with HCMFA
20Norris and --                                               20today, to the best of your knowledge?
21Q.Do you recall speaking -- I                           21A.I believe he does.
22apologize for interrupting.                                 22Q.And what do you understand his
23Go ahead.                                              23position to be?
24A.And so he wasn't an HCMFA employee,                   24A.I would say vice president.
25but Jason Post.                                             25Q.Do you know when he became vice
                                                      Page 36                                                            Page 37
1D. Sauter                                          1D. Sauter
2president of HCMFA?                                         2A.He was chief compliance officer for
3A.I do not.                                             3Nexpoint Advisors.
4Q.Do you know if he was vice president                  4He may have been the chief
5of HCMFA in October 2020?                                   5compliance officer for HCMFA as well.
6A.I do not.                                             6Q.Okay.
7Q.Do you know if Mr. Norris holds any                   7A.And if I had to guess, he would have
8positions with DAF -- I'm sorry.                            8had those same positions back in 2019 --
9Do you know if Mr. Norris holds any                    9Q.Okay.
10positions with GAF?                                         10A.-- because Thomas Surgent was the
11A.I don't know.                                         11chief compliance officer for HCMLP and Jason
12Q.How about Mr. Post?Do you know if                    12worked under him.
13Mr. Post held any positions with HCMFA in 2019?             13And I think that started sometime in
14A.I don't.                                              142014, maybe earlier.
15Q.Do you know if he holds any                           15Q.And did Mr. Norris and Mr. Post tell
16positions with HCMFA today?                                 16you during your initial investigation that they
17A.He does not.                                          17had no knowledge of the notes?
18Q.Is Mr. Post a compliance officer, to                  18A.Yeah, generally I don't think that
19the best of your knowledge?                                 19they were aware of the notes, or I should say
20A.He was.                                               20they weren't aware of the genesis of the notes.
21He left a week ago to take another                     21Q.Were they aware of the existence of
22job.                                                        22the notes?
23Q.So he was -- and who did he -- for                    23A.They were.
24whom did he serve as the chief compliance                   24Q.Did they tell you when they had
25officer until a week ago?                                   25learned of the existence of the notes?

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1D. Sauter                                          1D. Sauter
2A.I think it's something that I raised                  2prior to my conversation with them.
3to them because I didn't know where the notes               3Q.Now, Paragraph 13 says that
4had come from.                                              4Mr. Dondero could not recall the genesis of the
5Q.Right.                                                5notes.
6And they told you that they were                       6Do you see that?
7aware of the notes but they didn't know the                 7A.Yes.
8genesis of them?                                            8Q.Did Mr. Dondero indicate to you that
9A.I don't recall whether they were                      9he was aware of the existence of the notes even
10aware of the notes before I asked about them.               10though he couldn't recall the genesis of the
11Q.Did you ask them if they were aware                   11notes?
12of the notes prior to the time you showed it to             12A.That's not how I would characterize
13them?                                                       13it, but...
14A.I would have asked them what the                      14Q.How would you characterize it?
15notes were about.                                           15A.He suggested that I talk to
16Q.I don't want to know what you would                   16Mr. Waterhouse.
17have done.                                                  17Q.Did you ask Mr. Dondero when he
18I know this is hard, Mr. Sauter.                       18first learned of the existence of the notes?
19I'm really just asking you to search your                   19A.No.
20memory.                                                     20Q.Did he say to you anything that
21Do you recall asking them whether                      21caused you to believe that he was unaware of
22they were aware of the existence of the notes               22the existence of the notes prior to the
23prior to your conversation with them?                       23commencement of the lawsuit?
24A.I don't recall if I asked whether                     24A.No.
25they were aware of the existence of the notes               25I guess let me clarify.
                                                      Page 40                                                           Page 41
1D. Sauter                                          1D. Sauter
2He didn't make any comments that                       2were.
3made me think one way or the other.                         3Q.Did you make any effort to try to
4Q.And you didn't ask.                                   4determine whether HCMFA had accounted for the
5Is that fair?                                          5notes in its books and records?
6A.Correct, I did not ask.                               6A.I did not.
7Q.So you had no information as to                       7Q.Do you know today whether HCMFA ever
8whether or not Mr. Dondero actually knew of the             8accounted for the notes in its books and
9existence of the notes prior to the                         9records?
10commencement of the lawsuit.                                10A.I don't know.
11Is that fair?                                          11Q.Have you ever reviewed HCMFA's
12A.Correct.                                              12balance sheets?
13Q.Okay.Paragraph 13 also states that                   13A.I think I have, but I don't -- I
14you reviewed limited books and records of                   14can't recall exactly when.
15HCMFA.                                                      15Q.Did you ever make any effort to
16Do you see that?                                       16determine whether HCMFA carried these notes on
17A.Yes.                                                  17its balance sheet as liabilities?
18Q.Okay.What books and records did                      18A.I did not.
19you review as part of your initial                          19Q.Do you know if HCMFA ever requested
20investigation?                                              20an extension of time to respond to the
21A.I don't recall exactly what I looked                  21complaint?
22at or for.                                                  22A.I don't know, but I would assume so.
23I literally had to just go onto the                    23Q.Okay.Do you have any knowledge of
24system and try to find anything that related to             24HCMFA having done so?
25the notes so I could try to find out what they              25A.No.

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1D. Sauter                                          1D. Sauter
2Q.Okay.Do you know if -- prior to                      2A.Correct.
3the time it filed its original answer, whether              3Q.And HCMFA had no access to the
4HCMFA ever asked HCMLP to provide any documents             4debtor's employees who had provided services to
5in connection with the adversary proceeding?                5HCMFA under shared services agreements.
6A.Say that again.                                       6Correct?
7Q.Sure.                                                 7A.I think our view was it was
8So HCMFA filed its answer on                           8potentially improper to reach out to those
9March 1st, according to Paragraph 12.                       9employees on a matter that was adverse to
10Do I have that right?                                  10HCMLP, and so we refrained from doing so.
11A.I believe that's right.                               11Q.Okay.And so under those
12Q.Okay.Do you know if HCMFA ever                       12circumstances, HCMFA nevertheless filed an
13asked Highland for any documents before it                  13answer that asserted no affirmative defenses.
14filed its answer?                                           14Correct?
15A.I don't recall.                                       15A.Yes.
16Q.So at the time HCMFA filed its                        16Q.But this situation changed in
17answer, Mr. Dondero couldn't recall the genesis             17mid-April 2001.Correct?
18of the notes.Correct?                                      18A.Yes.
19A.That's right.                                         19Q.If we can scroll down to
20Q.And neither Mr. Post nor Mr. Norris                   20Paragraph 19.
21could recall the genesis of the notes.                      21(Discussion was held off the
22Correct?                                                    22record.)
23A.Correct.                                              23Q.So in April 2001, the situation
24Q.And HCMFA had limited access to                       24changed because Mr. Waterhouse and other former
25books and records.Correct?                                 25employees of Highland had migrated over to
                                                      Page 44                                                          Page 45
1D. Sauter                                          1D. Sauter
2Skyview so that you had access to them.Is                  2requests, and those were either granted or
3that right?                                                 3denied.And so there were a litany of
4A.Correct.                                              4documents that were sent over.
5Q.And that's when you conducted the                     5Q.Can you identify any documents that
6second phase of your investigation.Correct?                6you reviewed as part of either the initial
7A.Yes.                                                  7investigation or the follow-up investigation in
8Q.And you'll see at the end of Page 4                   8April 2021?
9you reference that the debtor had provided                  9A.Yes.
10access to HCMFA of much of its books and                    10I would have reviewed documents
11records.                                                    11related to the TerreStar NAV error.
12Do I have that right?                                  12Q.And can you describe what those
13A.Yes.                                                  13documents are.
14Q.Okay.And what books and records                      14A.Memos.
15did Highland provide between March 1st and                  15Q.Okay.Do you recall how many memos
16mid-April when you conducted the second phase               16you reviewed that concerned the TerreStar NAV
17of your investigation?                                      17issue?
18Are there any particular books and                     18A.I want to say that there were three,
19records that you're referring to in that                    19four or five, something along those lines.
20sentence?                                                   20I think there was a memo that was
21A.I can't recall exactly what it was.                   21submitted to the board and then maybe some
22There was a process that we were                       22communications with the SEC.
23going through that I think -- if you'll recall,             23Q.And is it your testimony that HCMFA
24that we went back and forth on obtaining access             24did not have those memos until after March 1st,
25to books and records, submitting written                    252021?

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1D. Sauter                                          1D. Sauter
2A.I don't know whether we had access                    2please.
3to those memos, but I didn't -- I wasn't able               3Actually, look at Paragraph 21
4to speak to Frank Waterhouse, and so I didn't               4first.
5know to look for them.                                      5According to Paragraph 21, as part
6Q.And neither Mr. Dondero nor                           6of the second phase of your investigation, you
7Mr. Norris nor Mr. Post thought to inform you               7spoke with Mr. Waterhouse and Mr. Mabry.
8about the NAV star error [sic] because they had             8Correct?
9no idea what the notes related to.Correct?                 9A.Yes.
10A.That's my recollection.That's                        10Q.Did you speak with anybody else as
11correct.                                                    11part of the second phase of your investigation?
12Q.Okay.Other than the three to five                    12A.Yes, I would have spoken with Jason
13memos that you've just described, are there any             13Post and Dustin Norris.
14other documents that you recall reviewing as                14Q.And is it fair to say based on the
15part of your investigation?                                 15second phase of your -- withdrawn.
16A.No.                                                   16Is it fair to say that your
17Q.Do you know to whom the memos that                    17conclusions that resulted from the second phase
18you've just described were addressed?                       18of your investigation are set forth in
19Who were they sent to?                                 19Paragraph 22?
20A.I believe there was one that was                      20A.(Reviewing document.)
21sent to the board.                                          21I wouldn't say all of my
22And then the others, I think, were                     22conclusions.But yes, that's some of them.
23just either internal communications or                      23Q.Okay.Is it fair to say that, based
24communications with the SEC.                                24on the second phase of your investigation, you
25Q.Can we scroll down to Paragraph 22,                   25concluded, among other things, "that the notes
                                                      Page 48                                                          Page 49
1D. Sauter                                          1D. Sauter
2were signed by mistake by Waterhouse without                2Q.Do you recall which of the three
3authority from HCMFA"?                                      3conversations was the longest, which was the
4A.Yes.                                                  4shortest?
5Q.Okay.Let's talk about your                           5I just want to get a sense of how
6discussions with Mr. Waterhouse as part of your             6much time you spent with Mr. Waterhouse.
7investigation.                                              7A.I don't, because again, there was
8How many times did you speak with                      8lots going on.
9him?                                                        9The first one was in the conference
10A.Probably three.                                       10room on the 11th floor at NexBank.The second
11Q.And was anybody else present for any                  11one was in his office.And I think the third
12of the three conversations?                                 12was on a phone call.
13A.I don't recall.I don't think so.                     13Q.Did any of them last more than ten
14Q.Did you take any notes of your                        14minutes?
15conversations with Mr. Waterhouse?                          15A.I can't say for certain.
16A.I don't recall.                                       16I would think so, but...
17Q.Do you recall whether you sent                        17Q.Okay.Did you show Mr. Waterhouse
18anybody any e-mails summarizing your                        18either of the notes as part of either of these
19conversations with Mr. Waterhouse?                          19three interviews?
20A.I don't recall.                                       20A.I don't recall if I did.
21Q.Did the three conversations take                      21But he knew -- he knew the notes.
22place in person, on the phone or some mix                   22Q.And what did he say to you that led
23thereof?                                                    23you to believe that he knew the notes?
24A.I think it would have been a mix                      24A.Because he was aware of the notes.
25thereof.                                                    25I...

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1D. Sauter                                          1D. Sauter
2Q.Did he tell the circumstances                         2chief financial officer.Correct?
3surrounding the execution of the notes?                     3A.I don't think I said that, but that
4A.Yes.                                                  4would have been my assumption.
5Q.What did he tell you?                                 5Q.Okay.I think if we can -- give me
6A.He said those notes were executed in                  6just one moment.I think I...
7connection with the TerreStar NAV error.                    7Can we go to Paragraph 29, please.
8Q.During your discussions with                          8You'll see, according to your
9Mr. Waterhouse, did he ever deny signing the                9declaration, it says:"Returning to the notes,
10notes?                                                      10Waterhouse was the chief financial officer of
11A.No.                                                   11both the debtor and the HCMFA during the above
12Q.He never told you that he was                         12events and at the time he signed the notes."
13unaware of the existence of the notes, did he?              13Have I read that correctly?
14A.No.                                                   14A.You did.
15Q.In fact, before signing your                          15Q.Does that refresh your recollection
16declaration, you believed Mr. Waterhouse in                 16that at the time you signed this declaration
17fact had signed the notes.Correct?                         17you believed that Mr. Waterhouse was HCMFA's
18A.Yes.                                                  18CFO at the time he signed the notes?
19Q.And that's why in Paragraph 22 you                    19A.It does.
20specifically wrote that the notes were signed               20Q.Okay.During your investigation did
21by mistake by Waterhouse.Right?                            21Mr. Waterhouse ever tell you that he signed the
22A.Yes.                                                  22notes by mistake?
23Q.And you understood at the time you                    23A.No.
24signed your declaration that Mr. Waterhouse had             24Q.Did you ever ask Mr. Waterhouse
25signed the notes at a time when he was HCMFA's              25during your investigation whether he signed the
                                                      Page 52                                                            Page 53
1D. Sauter                                          1D. Sauter
2notes by mistake?                                           2A.I don't think there's anything else
3A.I guess I'd like to clarify that                      3in my declaration from --
4response, if I may.                                         4Q.Okay.There's nothing --
5Q.Go right ahead.                                       5(Simultaneous crosstalk.)
6A.I asked Mr. Waterhouse why he would                   6Q.I apologize.
7have signed it -- the notes in his personal                 7A.-- from May that would suggest that
8capacity.                                                   8Mr. Waterhouse didn't sign the notes.
9And his response was, I don't know,                    9Q.There's nothing in here, in your
10I didn't prepare them.                                      10declaration, that states that Mr. Waterhouse
11So I don't know if that gives you                      11admitted that he made a mistake in signing the
12the answer you're looking for, but there was                12notes.Correct?
13some confusion about the execution of those                 13A.Correct.
14notes.                                                      14Q.There's nothing in your declaration
15Q.Okay.Did he say anything else                        15that suggests that Mr. Waterhouse in fact did
16that -- on the topic of whether signing the                 16not sign or did not authorize the signing of
17notes was a mistake?                                        17his signature to these notes.Correct?
18A.No.                                                   18A.Correct, because he told me he did.
19Q.Okay.Your declaration doesn't                        19Q.Okay.And Mr. -- he told you that
20disclose what you just described for me.                    20he had signed the notes.Correct?
21Correct?                                                    21A.Yes.
22A.Not in those exact words, no.                         22He said that he didn't use his
23Q.Is there anything in your                             23electronic signature then, and if his signature
24declaration that suggests that Mr. Waterhouse               24was on them, it would have been his.
25hadn't signed the notes?                                    25Q.Okay.Mr. Waterhouse never filed

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1D. Sauter                                          1D. Sauter
2his own declaration in support of HCMFA's                   2A.No.
3motion for leave to amend their answer.                     3Q.Okay.Your declaration certainly
4Correct?                                                    4doesn't say that Mr. Waterhouse admitted
5A.Correct.                                              5signing the notes without authority.Correct?
6Q.During your investigation did you                     6A.Correct.
7ask Mr. Waterhouse if he had authority to sign              7Q.Mr. Waterhouse never filed a
8the notes?                                                  8declaration in this case stating that he had
9A.Probably not in those exact words.                    9filed the notes without authority.Correct?
10Q.Okay.Did you ask him in form or                      10A.Correct.
11substance whether he was authorized to sign the             11Q.Are you aware that Mr. Waterhouse
12notes?                                                      12was deposed in this case?
13A.Yes.                                                  13A.I'm -- yes, I'm aware.
14Q.And what did he say?                                  14Q.Have you reviewed his deposition
15A.I think he -- well, his response was                  15transcript?
16if he signed them, he was authorized to sign                16A.I have not.
17them.                                                       17Q.Has his testimony been described for
18Q.Okay.And Mr. Waterhouse never told                   18you by anybody?
19you that he signed the notes without authority.             19MR. RUKAVINA:And I'll just caution
20Correct?                                                    20you, Mr. Sauter.You know, I think that's a
21A.He told me that -- I asked him if                     21yes or no answer, but don't go into the
22Mr. Dondero had approved the notes.                         22substance of any discussions with me.
23And I don't think he could recall.                     23THE WITNESS:Yes.Okay.
24Q.Okay.Did Mr. Waterhouse ever tell                    24Yes.
25you that he signed the notes without authority?             25
                                                      Page 56                                                           Page 57
1D. Sauter                                          1D. Sauter
2BY MR. MORRIS:                                              2A.I think I implied it.
3Q.All right.Are you aware that he                      3Q.Do you have a recollection of
4testified that nobody has ever told him that he             4actually telling him that he made a mistake?
5made a mistake in signing the notes?                        5A.That would be my recollection.
6MR. RUKAVINA:Objection, form.                         6Obviously he disagrees with it.
7THE WITNESS:I'm not.                                  7Q.Do you know if any -- and on what
8Q.Are you aware of anybody in the                       8basis did you conclude that he made a mistake?
9world ever telling Mr. Waterhouse that he made              9Withdrawn.
10a mistake in signing the notes?                             10You have no personal knowledge of
11A.Yes.                                                  11anything that happened in connection with the
12Q.And who told him that?                                12TerreStar valuation issue.Correct?
13A.Me.                                                   13A.I was not personally involved in the
14Q.And when did you tell him that?                       14TerreStar valuation issue, correct.
15A.When we had this discussion.                          15Q.You weren't involved in any of the
16Q.Okay.So it's your testimony that                     16decisions that were made in connection with the
17you actually told Mr. Waterhouse that he made a             17TerreStar valuation.Correct?
18mistake in signing the notes.Right?                        18A.Correct.
19A.I asked him who had approved these                    19Q.You weren't made -- you weren't
20notes and what was the process.                             20involved and had no responsibility for HCMFA's
21And he said he couldn't give me any                    21response to the SEC.Correct?
22process.He said the money was transferred,                 22A.Correct.
23and so we signed the notes.                                 23Q.You had no responsibility or
24Q.Okay.But did you tell him that he                    24involvement in the decision as to how HCMFA was
25made a mistake?                                             25going to fund the losses to the GAF.Correct?

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1D. Sauter                                         1D. Sauter
2A.Correct.                                             2Mr. Waterhouse, does it?
3Q.You had no responsibility or                         3A.It does not.
4involvement in how HCMFA reported to GAF.                  4Q.In fact, your declaration is just --
5Correct?                                                   5withdrawn.
6A.Correct.                                             6If we can go to Paragraph 30.
7Q.But nevertheless, despite having no                  7Take a look at Paragraph 30.We'll
8personal knowledge of those issues, you told               8kind of parse it through.
9Mr. Waterhouse or implied to Mr. Waterhouse                9The first sentence says:"It
10that he made a mistake in executing the notes.             10appears clear that Mr. Waterhouse made a
11Correct?                                                   11mistake."
12A.Correct.                                             12Do you see that?
13Q.What did Mr. Waterhouse say in                       13A.Yes.
14response?                                                  14Q.But again, Mr. Waterhouse never
15A.Not much.He just disagreed.                         15admitted to making a mistake.Correct?
16Q.Did he just say, I disagree, and                     16A.Correct.
17that's it or did he actually -- do you recall              17Q.And this is your -- this is a
18anything specific that he said?                            18conclusion that you're reaching in May of 2021,
19A.I think I've already testified he                    19more than two years after the fact.Correct?
20said, we transferred the money, so I executed              20A.Based upon my review of the
21the notes.HCMFA didn't have the money to pay              21documents and my discussions with Mr. Post and
22GAF, and so we transferred it from HCMLP and I             22Mr. Norris.
23executed the notes.                                        23Q.Did you ever have any discussions
24Q.Okay.Your declaration doesn't                       24with Mr. Dondero in May of 2021 as you were
25attribute any specific statements to                       25preparing this document?
                                                     Page 60                                                         Page 61
1D. Sauter                                         1D. Sauter
2A.Did I have any discussions with him                  2Q.Okay.Again, that's your own
3about this?                                                3conclusion.Is that fair?
4Q.I apologize.That was a bad                          4A.That's correct.
5question.                                                  5Q.And then you continue on and you
6Did you discuss in May of 2021 the                    6write:"Third" -- withdrawn.
7issues concerning the notes with Mr. Dondero,              7You write:"Third, it therefore
8or was that just part of the initial                       8appears that Mr. Waterhouse prepared the notes
9investigation?                                             9for some internal accounting or other purpose
10A.I don't recall.                                      10but without there being actual consideration
11Q.And then a couple of lines down, you                 11for the notes and without any intention on the
12say -- you wrote:"It appears that                         12part of the debtor and HCMFA that there be
13Mr. Waterhouse assumed incorrectly that the                13notes or that there be a loan transaction."
14funds being paid by the debtor were a loan to              14Have I read that correctly?
15HCMFA."                                                    15A.Yes.
16Do you see that?                                      16Q.So did Mr. Waterhouse tell you that
17A.Yes.                                                 17he prepared the notes for some internal
18Q.Did you ask Mr. Waterhouse if he                     18accounting or other purpose?
19actually made the assumption that you're                   19A.Yes.
20attributing to him?                                        20Q.And did he tell you what the purpose
21A.Yes.                                                 21of the notes was?
22Q.And did he ever admit that the                       22A.Yes.
23assumption was incorrect?                                  23He said if he transferred money he
24A.He did not admit that the assumption                 24had to have a note to go with it.
25was incorrect.                                             25Q.You state in your declaration:

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1D. Sauter                                          1D. Sauter
2"There was no" -- withdrawn.                                2Q.What's the basis for your sworn
3You state in your declaration that                     3statement concerning the debtor's intentions?
4there was no "intention on the part of the                  4MR. RUKAVINA:Again, I'll object.
5debtor and HCMFA that there be notes or that                5Just so that we're clear, Mr. Sauter
6there be a loan transaction."                               6says "it appears that."He does not say it is
7Do you see that?                                       7a fact.He says "it appears that."There is a
8A.Yes.                                                  8distinction there.
9Q.What's the basis for --                               9MR. MORRIS:Okay.You've got your
10MR. RUKAVINA:Object to the form.                      10objection.
11I apologize.I apologize, John.                        11BY MR. MORRIS:
12I apologize, DC.                                       12Q.What's the basis for your statement
13I'll just object to the form.                          13that it appeared the debtor had no intention
14That's not what this says.                                  14that there would be notes or that there would
15Go ahead.                                              15be a loan transaction?
16MR. MORRIS:Well, then let me                          16A.If you're talking about a
17restate it if I read it incorrectly.                        17$7.4 million obligation, I would assume that
18BY MR. MORRIS:                                              18there would be a process internally on who was
19Q.Mr. Sauter, does the last sentence                    19responsible for the payment of the fees for
20of your Paragraph 30 state, among other things,             20the -- or the expenses for the NAV error.
21that the notes were prepared "without any                   21Based upon my discussions with Frank
22intention on the part of the debtor and HCMFA               22Waterhouse, there was no process or the legal
23that there be notes or that there be a loan                 23department was not involved in making a
24transaction"?                                               24determination as to whether there should be
25A.Yes.                                                  25notes.It was merely a ministerial act that
                                                      Page 64                                                           Page 65
1D. Sauter                                          1D. Sauter
2accounting performed when they transferred the              2A.I don't know for certain.
3funds to pay GAF.                                           3But I know there was a policy in
4Q.Is it your testimony as the general                   4place as of 2018.
5counsel of Nexpoint that the law department or              5Q.Okay.Other than the policy, have
6the legal department is involved in every note              6you ever seen any memo written -- withdrawn.
7that's executed by one of the Highland                      7Have you ever seen any document in
8affiliates?                                                 8the world that states that HCMLP is responsible
9MR. RUKAVINA:Object to the form.                      9for the TerreStar NAV error?
10THE WITNESS:I can't answer that.                      10A.I would say the memos that
11Q.Okay.So other than the fact that                     11acknowledged that there was a mistake.
12it didn't go past the legal department, do you              12Q.And is it your recollection that the
13have any other basis for your statement that it             13memos specifically say that HCMLP was
14appears that the debtor had no intention that               14responsible for the mistake?
15there would be notes?                                       15A.No, because the memos were vis-‡     -vis
16A.Yes, there's an internal NAV error                    16HCMFA and GAF.
17correction policy that obligates the                        17Q.Okay.So let me ask you the
18responsible party to pay for it.                            18question again.
19In this case it was HCMLP that made                    19During the course of your two
20the NAV error.                                              20investigations, did you ever see a document
21Q.There's a policy that you're                          21that stated that HCMLP was responsible for the
22referring to?                                               22TerreStar NAV error?
23A.Yes.                                                  23A.I don't recall.
24Q.And do you know when that policy was                  24Q.You don't recall seeing one.Is
25adopted?                                                    25that correct?

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1D. Sauter                                          1D. Sauter
2A.That's correct.                                       2MR. MORRIS:We're not taking a
3Q.Okay.                                                 3break, bud.I'm not --
4A.Can we take a quick break?                            4(Simultaneous crosstalk.)
5Q.Yeah, now would be perfectly fine.                    5MR. RUKAVINA:We'll be back in ten
6Give me just one second before we go                   6minutes.
7off the record.                                             7MR. MORRIS:Hey, Davor, I'm going
8So it's 2:15 local time.Can we                        8to ask your client a question.Okay?
9limit it to ten minutes, Mr. Sauter?                        9(Simultaneous crosstalk.)
10A.Yeah, that would be fine.                             10MR. RUKAVINA:-- but we're not --
11Q.Okay.And I would ask that you're                     11I'm sorry.
12still under oath, and I would ask that you not              12You can ask him afterwards who he's
13speak with counsel or communicate with anybody              13talked to and about what, but you don't get to
14about the substance of your deposition.                     14tell him that he can't talk to anyone.
15Is that fair?                                          15So let's go take a piss break and be
16MR. RUKAVINA:Don't answer that                        16back in nine minutes.
17question, Mr. Sauter.                                       17MR. MORRIS:Put that on the record.
18The law is what it is, and we're not                   18(Recess was taken from 2:17 p.m. to
19going to agree to something (audio issue) than              192:28 p.m.)
20the law requires.                                           20BY MR. MORRIS:
21MR. MORRIS:Well, then I'm not                         21Q.Are you ready to proceed, Mr.
22going to take a break.How about that?                      22Sauter?
23Let's keep going.                                      23A.I am.
24MR. RUKAVINA:No, we're taking a                       24Q.During the break did you speak to
25break and I'm going to the restroom.                        25anybody about the substance of your testimony?
                                                      Page 68                                                           Page 69
1D. Sauter                                          1D. Sauter
2A.I did not.                                            2right?
3Q.Okay.Did you communicate with                        3A.Well, I didn't review them in
4anybody about the substance of your testimony?              4connection with my preparation of the
5A.I did not.                                            5declaration, but yes, I had reviewed them.
6Q.I want to stick with the focus on                     6Q.And in reviewing them, did you learn
7the debtor's intent as stated in Paragraph 30.              7that the debtor had in fact carried the notes
8Before you prepared your                               8as assets on its balance sheet or on its
9declaration, did you spend any time reviewing               9schedules of assets and liabilities?
10any of the debtor's bankruptcy filings?                     10MR. RUKAVINA:I'm going to object
11A.Yes.                                                  11to the form.
12Q.And are you aware that throughout                     12THE WITNESS:I was aware that the
13the bankruptcy the debtor disclosed these notes             13debtor sought to collect on the note from
14as assets of the estate?                                    14HCMFA, the notes.
15A.Yes.                                                  15BY MR. MORRIS:
16Q.And what documents did you review                     16Q.Are you aware that Mr. Dondero was
17that led you to conclude that the debtor was                17in control of Highland Capital Management, LP
18disclosing the notes as assets of the estate?               18from at least the date of the bankruptcy filing
19Do you recall?                                              19in October 2019 through around January 9th,
20A.I mean, I would have known it from                    202020?
21the schedules.I would have known it from your              21A.Yes.
22complaint.                                                  22Q.Okay.Are you aware that, while
23Q.Okay.So you reviewed the debtor's                    23Mr. Dondero was in control of the debtor during
24schedules of assets and liabilities prior to                24that period, that Highland filed statements of
25the time you signed your declaration.Is that               25financial affairs and schedules of assets?

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1D. Sauter                                          1D. Sauter
2A.Generally, I guess, yes.                              2in this particular adversary proceeding?
3But I'm not aware of a particular                      3A.Yes.
4document called statement of financial affairs.             4Q.Are you aware that both HCMFA and
5Q.Are you aware that while Mr. Dondero                  5Highland disclosed the existence of the notes
6was in control of Highland during the                       6to their outside auditors within 30 days of
7bankruptcy, the debtor filed documents stating              7their execution?
8that the notes were assets of the estate?                   8MR. RUKAVINA:Objection, form.
9A.I was not.                                            9THE WITNESS:Yes.
10Q.Okay.Did you ever, as part of your                   10And it's my understanding that's why
11investigation, try to see how the debtor                    11the notes were prepared.
12treated the notes in its court filings?                     12Q.And what's that understanding based
13A.I did not, beyond the filing of the                   13on?
14complaint.                                                  14MR. RUKAVINA:And now, Mr. Sauter,
15Q.So you never had a conversation with                  15let's be very careful here.
16anybody -- withdrawn.                                       16Please answer only if it's based on
17Did you ever ask Mr. Waterhouse how                    17factual information that a nonlawyer told you.
18the debtor treated the notes in its books and               18THE WITNESS:Yeah.I believe
19records?                                                    19Mr. Waterhouse told me that he needed a note to
20A.No.                                                   20document the transfer of funds.
21Q.Did you ever ask Mr. Waterhouse how                   21BY MR. MORRIS:
22HCMFA treated the notes in its books and                    22Q.Okay.But I asked you a different
23records?                                                    23question, and that's simply whether or not
24A.No.                                                   24you're aware as you sit here today whether
25Q.Have you been following developments                  25HCMFA and Highland disclosed the existence of
                                                      Page 72                                                         Page 73
1D. Sauter                                          1D. Sauter
2the notes to the outside auditors.                          2December 31st, 2018.
3MR. RUKAVINA:I'll object again.                       3Do you see that?
4THE WITNESS:Yes, I am aware.                          4A.I do.
5Q.Have you ever seen HCMFA's audited                    5Q.And I think you said you may have
6financial statements?                                       6seen it before.
7A.I don't recall.                                       7Did I get that wrong?
8I think you asked me that earlier.                     8A.I said I may have.
9And I may have seen them, but I don't recall                9In looking at this, I don't think
10specifically.                                               10I've ever seen this document.
11Q.Do you recall looking at the audited                  11Q.Okay.Can we just go to the third
12financial statements as part of your                        12page and see the date.
13investigation?                                              13Do you see that this is the report
14A.No.                                                   14of the independent auditors
15Q.Let's put up HCMFA's audited                          15PricewaterhouseCoopers?
16financial statements for the period ending                  16A.Yes.
17December 31st, 2018.And it's previously been               17Q.And you do see it's dated June 3rd,
18marked as Deposition Exhibit 45.                            182019?
19(Exhibit 45, Consolidated Financial                    19A.Yes.
20Statements and Supplemental Information                     20Q.And do you understand that this
21December 31, 2018, D-CNL002273-296, previously              21document was prepared by HCMFA's outside
22marked for identification.)                                 22auditors prior to Highland's bankruptcy filing?
23Q.Do you see the first page there?                      23A.That's what it purports to be.
24This is the HCMFA consolidated                         24Q.Okay.And it also purports to have
25financial statements for the period ending                  25been prepared prior to the commencement of the

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1D. Sauter                                         1D. Sauter
2adversary proceeding as you understand the                 2financial statements for -- as subsequent
3timing.Correct?                                           3events at the time you executed your
4A.Yep.                                                 4declaration.Correct?
5Q.Let's go to Page 17, please.                         5A.Correct.
6Do you see there's a section in the                   6Q.Now that you know that, do you think
7audited financial statements called Subsequent             7HCMFA made a mistake in including these notes
8Events?                                                    8in the audited financial statements, or does it
9A.Yep.                                                 9cause you to reconsider your conclusion that
10Q.Do you have any understanding as to                  10the issuance of the notes was a mistake?
11what a Subsequent Events section is in audited             11MR. RUKAVINA:I'll object to that
12financial statements?                                      12question based on form.
13A.Yes.                                                 13THE WITNESS:You're asking me for
14Q.What's your understanding of what                    14my legal conclusion?
15that section is supposed to include?                       15Q.No, I'm not actually, but it
16A.It's intended to pick up events that                 16probably wasn't a great question.
17occurred after the date of the financials but              17So your conclusion was that the
18prior to the date the financials are                       18execution of the notes was a mistake.Correct?
19executed -- or issued.                                     19A.Yes.
20Q.And do you see in the second                         20Q.But HCMFA is reporting the notes as
21paragraph there's a description of the two                 21part of its audited financial statements.
22notes?                                                     22Correct?
23A.Yes.                                                 23A.Yes.
24Q.Okay.You were not aware that the                    24Q.And do you understand that these
25two notes were included in HCMFA's audited                 25financial statements have been audited by
                                                     Page 76                                                          Page 77
1D. Sauter                                         1D. Sauter
2independent -- an independent outside firm                 2notes was a mistake?
3called PricewaterhouseCoopers?                             3MR. RUKAVINA:I'll again object.
4A.I assume they're audited financials.                 4This witness is not an expert.He's
5And yes, what you've shown me, it                     5not going to be a trial expert.And a motion
6appears as though they were prepared by                    6to amend has already been agreed upon and ruled
7PricewaterhouseCoopers.                                    7upon.
8Q.Okay.Would you agree with me that                   8BY MR. MORRIS:
9it's inconsistent that the notes can't be both             9Q.You can answer, sir.
10a mistake and be reported as valid obligations             10A.I would say that the audited
11in the audited financial statements?                       11financials were prepared by
12MR. RUKAVINA:I'll object.                            12PricewaterhouseCoopers with input from the
13This witness is not an expert.He                     13accounting team.
14has no personal knowledge.This is well                    14And as I stated previously, I think
15outside the scope of his factual investigation             15there was an -- a breakdown in the process that
16in May of 2021.                                            16should have occurred, and had others looked at
17BY MR. MORRIS:                                             17this, they wouldn't have come to the same
18Q.You can answer, sir.                                 18conclusion.
19A.I would agree that the two                           19Q.So do you believe, based on the
20statements are at odds with one another.                   20investigation that you did, that a second
21Q.Okay.So I'm just asking you                         21mistake occurred not only in signing the notes
22whether -- now that you know that HCMFA                    22but including them in the audited financial
23included these in the audited financial                    23statements?
24statements, does that cause you to question at             24MR. RUKAVINA:Again, I'll object.
25all your conclusion that the execution of the              25This witness is not an expert.He

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1D. Sauter                                          1D. Sauter
2has no personal knowledge.                                  2again, Mr. Sauter, to exclude our
3THE WITNESS:Yeah, I can't tell you                    3communications, please.
4whether that's a mistake.                                   4THE WITNESS:Okay.
5My experience is that generally                        5Q.Do you know if HCMFA ever reached
6accounting folks internally said that.                      6out to PricewaterhouseCoopers to inform them
7So if the accounting folks made a                      7that their audited financial statements were
8determination that the notes should be included             8incorrect?
9as a subsequent event, then the auditors would              9A.I don't know.
10include it as a subsequent event.                           10Q.Do you know whether the debtor
11BY MR. MORRIS:                                              11included reference to the notes in its audited
12Q.Okay.Do you know, is there anybody                   12financial statements?
13at HCMFA who's responsible for overseeing the               13A.I don't.
14preparation of the audited financial                        14Q.Let's go back to your declaration,
15statements?                                                 15please, Paragraph 28.
16A.I think Mr. Waterhouse.                               16Okay.So Paragraph 28 says:"The
17Q.When did you first learn that the                     17debtor accepted responsibility to HCMFA for
18notes had been included in the financial                    18having caused the NAV error, and the debtor
19statements?                                                 19ultimately, whether through insurance or its
20Are you learning that for the first                    20own funds, compensated HCMFA for the above
21time right now or did you know that before                  21payments."
22today?                                                      22Have I read that correctly?
23A.I think I heard that a couple weeks                   23A.Correct.
24ago.                                                        24Q.Paragraph 28 doesn't cite any source
25MR. RUKAVINA:Let's be careful here                    25for that statement.Right?
                                                      Page 80                                                          Page 81
1D. Sauter                                          1D. Sauter
2A.Correct.                                              2You have no personal knowledge that
3Q.Okay.You don't attribute that                        3Mr. Surgent accepted, on behalf of the debtor,
4statement to any particular person.Correct?                4responsibility for the NAV error.Correct?
5A.That's correct.                                       5A.I have no personal knowledge of
6Q.What is the basis for your statement                  6that, correct.
7that the debtor accepted responsibility to                  7Q.Okay.And did Mr. Waterhouse tell
8HCMFA?                                                      8you that the debtor accepted responsibility to
9A.It would be that the debtor's                         9HCMFA for having caused the NAV error?
10employees who performed the valuation function              10A.I think Mr. Waterhouse said that the
11acknowledged that they had made a mistake.                  11HCMLP employees who formed the valuation
12Q.And who are those employees?                          12committee ultimately concluded that they had
13A.Well, ultimately I don't know                         13made a mistake and they needed to accept that.
14exactly who it was that came to that                        14Q.Okay.It doesn't say that in your
15determination, but I think it was Frank                     15declaration, does it?
16Waterhouse and Thomas Surgent.                              16A.Doesn't say what?
17Q.Did you ever interview Mr. Surgent                    17Q.That Mr. Waterhouse told you that.
18as part of your investigation?                              18A.No.
19A.No, I was prohibited from speaking                    19Q.In fact, is there any particular
20with him.                                                   20reason why you didn't share that with the
21Q.So you're not aware of                                21court?
22Mr. Waterhouse ever saying that the debtor                  22A.No.
23accepted responsibility -- withdrawn.                       23Q.Is there anything in writing that
24You're not aware of Mr. Surgent --                     24you've ever seen which states that the debtor
25withdrawn.                                                  25accepts responsibility to HCMFA for having

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1D. Sauter                                         1D. Sauter
2caused the NAV error?                                      2(Exhibit 182, Memo dated 5/28/19,
3A.Other than what I've identified, no.                 3previously marked for identification.)
4Q.And what you've identified is that                   4BY MR. MORRIS:
5policy.Is that right?                                     5Q.Is this one of the memos that -- and
6A.There's a policy and the                             6again, Mr. Sauter, if you need to see more of
7acknowledgment that the NAV error was made by              7it, just let me know.
8the HCMLP employees who were on the valuation              8But is this one of the memos that
9committee.                                                 9you saw as part of your investigation?
10Q.Okay.You're aware that shortly                      10A.I believe so.
11after HCMFA paid the $7.4 million to the fund,             11Q.Okay.And do you understand that
12HCMFA sent the fund a written report.Is that              12this is a memo from HCMFA to the board of the
13right?                                                     13Highland Global Allocation Fund?
14A.Yes.                                                 14A.Yes.
15Q.Let's take a look at that, if we can                 15Q.And this is where HCMFA describes
16put that on the screen.                                    16for the board the resolution of the NAV error.
17MS. CANTY:Sorry, John, you went                      17Correct?
18out for a second.                                          18A.Correct.
19Can you say that again.                               19Q.Okay.And did you discuss this memo
20MR. MORRIS:Yeah.                                     20with anybody as part of your investigation?
21If you could, I think -- I think I                    21A.I mean, other than reviewing it, no.
22had it listed as Exhibit 37, but it's one of               22Q.So -- and how did you obtain a copy
23the new ones.It's the memo, I think, from                 23of it?
24HCMFA to the funds.                                        24A.Mr. Post.
25MS. CANTY:Got it.                                    25Q.So Mr. Post gave it to you.
                                                     Page 84                                                          Page 85
1D. Sauter                                         1D. Sauter
2But you didn't speak with him about                   2Yes.Okay.
3it in substance.Correct?                                  3Q.So then the second page is this NAV
4A.I mean, I spoke to him about the                     4error breakdown.
5transaction and the mistake.                               5Do you see that?
6I did the same thing with Dustin                      6A.Yes.
7Norris.                                                    7Q.All right.We'll come to that, but
8Q.Okay.But you didn't speak with                      8let's go back to the first page.
9anybody about the substance of this memo.                  9Have you taken a look at the second
10Correct?                                                   10paragraph there that begins:"The advisor and
11A.Correct.                                             11Houlihan Lokey, an independent third party
12Q.Okay.And -- but you did see this                    12expert valuation consultant approved by the
13memo before you signed your declaration.                   13board," have you read that paragraph?
14Correct?                                                   14A.Yes.
15A.Yes.                                                 15Q.Okay.To the best of your
16Q.Okay.And do you have an                             16knowledge, did HCMFA accurately define "NAV
17understanding of what this memo is?                        17error" for the board in that paragraph?
18A.Yeah.                                                18MR. RUKAVINA:Objection --
19I'd like to take a -- I'd like to                     19THE WITNESS:As far as I know, yes.
20see the memo in full.                                      20MR. RUKAVINA:This witness is not
21Q.Sure.Take your time.                                21an expert and has no personal knowledge.
22So just tell Ms. Canty when you want                  22Q.Do you have any reason to believe
23to see more and then she'll scroll.                        23that HCMFA did not accurately describe for the
24Okay.Stop right there.                               24board the definition of "NAV error"?
25A.(Reviewing document.)                                25A.No.

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1D. Sauter                                         1D. Sauter
2Q.Do you have any reason to believe --                 2Q.Okay.Who's Houlihan Lokey?Do you
3take a look at the last sentence.                          3know who Houlihan Lokey is?
4"The orderly determination and                        4A.It's a third party valuation firm.
5adoption of the weighted fair valuation                    5Q.Do they have a good reputation?
6methodology resulted in NAV errors in the                  6A.Yes.
7fund."                                                     7Q.And did they do the valuation of
8Do you see that?                                      8TerreStar?
9A.Yes.                                                 9A.That's my understanding.
10Q.And that's what's being defined as                   10Q.Okay.And were they retained by the
11the NAV error.Correct?                                    11advisor or by HCMLP?
12A.Yes.                                                 12A.I don't know.
13Q.Do you have any reason to believe                    13Q.Did you ever ask anybody who hired
14that that sentence is false or misleading in               14Houlihan Lokey?
15any way?                                                   15A.I did not.
16A.I do not.                                            16Q.Do you know whether HCMFA utilizes
17Q.Nothing you uncovered during your                    17Houlihan Lokey's valuation services in the
18investigation caused you to believe that that              18ordinary course of its business?
19sentence was false or misleading in any way.               19A.I don't know.
20Correct?                                                   20I know that Houlihan Lokey has been
21A.No.                                                  21utilized by either HCMLP, HCMFA or Nexpoint
22Q.Okay.And the advisor was the                        22Advisors in the past.
23entity that made the orderly determination.                23Q.And to the best of your knowledge,
24Correct?                                                   24has -- have those entities continued to use
25A.That's what this memo says.                          25Houlihan Lokey even after May 2019?
                                                     Page 88                                                          Page 89
1D. Sauter                                         1D. Sauter
2A.I -- I don't know.                                   2to two different payments?
3Q.Do you know whether anybody ever                     3A.Yes.
4suggested that Houlihan Lokey was responsible              4Q.A payment of approximately
5for the valuation error?                                   5$5.2 million was made on February 15th, 2019,
6A.I don't.                                             6and a second payment of approximately
7Q.Did you ever ask anybody if Houlihan                 7$2.4 million was made on May 2nd.
8Lokey was responsible for the valuation error?             8Do I have that right?
9A.No.                                                  9A.Yes.
10Q.Do you know if -- to the best of                     10Q.Do you know what the source of
11your knowledge, this memo was given to the                 11funding was for the first payment?
12board by HCMFA.Correct?                                   12A.I do not.
13A.Yes.                                                 13Q.Did you ever ask anybody how
14Q.Did -- having reviewed the memo, is                  14HCMFA -- withdrawn.
15there anything that you're aware of in this                15Did you ever ask anybody what the
16memo where HCMFA tells the board that HCMLP is             16source of HCMFA's funding was to make the
17responsible for the NAV error?                             17payment on February 15th, 2019?
18A.No.                                                  18A.Say that again.
19And I don't think that they would.                    19Q.Did you ever ask anybody what the
20It would be irrelevant.                                    20source of HCMFA's capital was to make that
21MR. MORRIS:I move to strike the                      21payment on February 15th?
22latter portion of the answer.                              22A.I was told that it was a transfer
23Q.Let's take a look at the bottom                      23from HCMLP.
24paragraph there.                                           24Q.You were told that the transfer from
25Do you see that there's a reference                   25HCMLP was made in February of 2019?

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1D. Sauter                                          1D. Sauter
2A.Yes.                                                  2page.
3Q.Who told you that?                                    3Have you seen this before?
4A.Mr. Waterhouse.                                       4A.I have.
5Q.Okay.Do you know what the source                     5Q.Did you ever have any discussions
6was -- hold on one second.                                  6with anybody at any time during your
7And do you know what the source of                     7investigation about this page?
8the second payment was, that $2.4 million on                8A.I did at some point, and I don't
9May 2nd, 2019?                                              9recall exactly when.
10A.HCMLP.                                                10Q.Okay.
11Q.Now, we saw earlier that one of the                   11A.But probably it may have been after
12notes was for $2.4 million on May 2nd.                      12the declaration.
13Do you recall that?                                    13Q.Okay.Do you understand that the
14A.Yes.Yes.                                             14first -- I think it's a row -- shows that the
15Q.Okay.So is it fair -- did you                        15total estimated net loss resulting from the NAV
16conclude as part of your investigation that at              16error was approximately $7.44 million?
17least the amount and the date of the payment                17A.Yes, I see that.
18matched the amount and the date of the note?                18Q.Okay.And do you understand that
19A.I did on the second note, yes.                        19this chart depicts the sources that are going
20Q.Okay.But the -- neither the amount                   20to be called upon to fund the $7.44 million
21nor the date of the first payment matched the               21payment from HCMFA to the fund?
22amount or the date of the second note.                      22A.I -- yes, I understand that now.
23Correct?                                                    23Q.And do you understand that
24A.That's correct.                                       24approximately $5 million was going to be funded
25Q.Let's take a look at the second                       25through insurance proceeds?
                                                      Page 92                                                          Page 93
1D. Sauter                                          1D. Sauter
2A.That's what it appears to show.                       2advisor to make GAF whole was approximately
3Q.And during your investigation, were                   3$2.4 million?
4you aware that HCMFA had obtained almost                    4That's the 2,398,842 number there.
5$5 million in connection with the NAV error                 5A.I've not done the math.
6that it was using to fund the payment to GAF?               6Q.Well, that number there matches the
7A.I subsequently learned that, yes.                     7number in the bottom paragraph of the first
8Q.And were you aware prior to the time                  8page, if we can scroll back up.
9that you signed your declaration -- I apologize             9A.Yeah.No, I understand.
10if I asked this before -- withdrawn.                        10Q.Okay.So that's the total payment
11Were you aware of the almost                           11that was made on May 2nd, 2019, according to
12$5 million in insurance proceeds that was --                12this memo?
13that were obtained by HCMFA before you signed               13A.That's total payment made to GAF.
14your declaration?                                           14What I'm unclear about is that it's
15A.I was not.                                            15the total amount out of pocket from the
16Q.So that's new information for you                     16advisor, which may be different, but...
17since the time you signed your declaration?                 17Q.Do you know what the total out of
18A.Yes.                                                  18pocket was from the advisor?
19Q.Okay.Were you aware at the time                      19A.I don't.
20you signed your declaration that HCMFA had paid             20(Simultaneous crosstalk.)
21an insurance deductible of almost $250,000?                 21THE WITNESS:-- what's listed here.
22A.I was not.                                            22Q.And do you understand that a total
23Q.Is it your understanding that after                   23of $7.44 million was paid by HCMFA to GAF?
24the sources described in the top portion of                 24A.I do.
25this page, that the total amount needed by the              25Q.Okay.And do you have any reason to

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1D. Sauter                                          1D. Sauter
2believe that the source of the funding is                   2BY MR. MORRIS:
3anything other than what's set forth on this                3Q.And that's because you believe the
4page?                                                       4notes were executed by mistake.Correct?
5A.I don't.                                              5A.I believe that Highland made the NAV
6Q.And the $2.4 million, that's the                      6error and was responsible for making GAF whole,
7$2.4 million that HCMFA obtained from Highland              7albeit vis-‡
                                                                               -vis HCMFA, its advisor.
8on May 2nd.Correct?                                        8Q.Okay.So because Highland created
9MR. RUKAVINA:Objection.                               9the NAV error, your understanding based on your
10The witness is not qualified to                        10discussions with Mr. Post and Mr. Norris is
11answer that.                                                11that Highland paid the $7.4 million to HCMFA
12Q.During the course of your                             12not as a loan but as compensation for the error
13investigation, did you learn that Highland                  13that it made.
14transferred $2.4 million to HCMFA on May 2nd,               14Do I have that right?
152019 so that it could pay GAF?                              15A.That would not be based on my
16A.That's what I was told.                               16discussions with Mr. Post and Mr. Norris.
17Q.Okay.Is it your conclusion that                      17But yes, your conclusion is
18Highland was responsible for the $7.44 million              18accurate.
19estimated net loss resulting from the NAV                   19Q.Okay.And let's be really clear
20error?                                                      20what the conclusion is.
21MR. RUKAVINA:Objection.                               21It's your conclusion that because
22This witness is not an expert, and                     22Highland was negligent in making the NAV error,
23he has no personal knowledge.                               23that when it paid $7.4 million to HCMFA on
24THE WITNESS:Yes, I believe that                       24May 2nd and May 3rd, 2019, it did so as
25that's accurate.                                            25compensation for its negligent conduct and not
                                                      Page 96                                                          Page 97
1D. Sauter                                          1D. Sauter
2as a loan.Correct?                                         2not the investigation generally.
3A.I didn't say negligent, and I don't                   3THE WITNESS:Yes.
4know that I can make that conclusion.                       4And as I said, the May declaration,
5But it should have been indemnity                      5I was unaware of the $5 million in insurance
6and reimbursement for the error that Highland               6payments.
7created.                                                    7BY MR. MORRIS:
8Q.Okay.Can you tell me why HCMFA                       8Q.Now that you're aware of it, does it
9took $5 million from an insurance company at                9cause you to question your conclusion that the
10the same time it was being made whole by                    10payment made by Highland in May of 2019 was
11Highland?                                                   11compensation and not a loan?
12MR. RUKAVINA:I'll instruct you not                    12MR. RUKAVINA:I instruct you not to
13to answer that.                                             13answer that, Mr. Sauter.
14That is attorney client privileged                     14MR. MORRIS:On what basis?That
15and work product.                                           15you don't like the question?
16Q.Sir, as part of your investigation,                   16MR. RUKAVINA:No.
17did you make any assessment as to why HCMFA                 17Let's be professional here, John. I
18accepted $5 million in proceed -- in insurance              18don't know why you've got to get --
19proceeds at the same time it believed that the              19(Simultaneous crosstalk.)
20$7.4 million was being paid by Highland as                  20MR. MORRIS:I don't understand.
21compensation?                                               21It's a --
22MR. RUKAVINA:Just want to make                        22MR. RUKAVINA:No, you -- the way --
23sure, Mr. Sauter, you understand that counsel               23MR. MORRIS:It's an investigation.
24is asking about your investigation in May of                24He made a conclusion in the investigation.
25this year as referenced in your declaration and             25He's now learned a new fact.I'm

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1D. Sauter                                           1D. Sauter
2allowed to ask him if it changes his                         2answer.There's no point in you and I arguing
3conclusion.                                                  3about it now.
4MR. RUKAVINA:Let me just explain                       4If you feel my objection is
5what I understand, what's going on here.                     5inappropriate, then you have your rights
6He undertook an evidentiary and                         6intact.
7factual conclusion, which is fair game for you               7MR. MORRIS:All right.I'm going
8to ask about.Pardon me.                                     8to continue to ask questions.
9He's told you that he didn't know                       9BY MR. MORRIS:
10about this.His declaration says -- I'm                      10Q.Sir, you had this document before
11paraphrasing -- it appears that there was a                  11you signed your declaration.Correct?
12mistake.                                                     12A.I did.
13He has never claimed to have                            13Q.Okay.And your conclusion was that
14personal knowledge.He has never claimed to be               14because Highland made the NAV mistake, the
15an expert.He is not going to be a trial                     15$7.4 million payment was supposed to be
16witness.He has never testified and is not                   16compensation and not in the form of a loan.
17testifying today that there was a mistake.                   17Correct?
18But most importantly, and why I'm                       18MR. RUKAVINA:Objection, form.
19instructing him not to answer, is because the                19THE WITNESS:Correct.
20issue of how this payment relates to the                     20Q.Okay.And now the document that you
21insurance payable, which again arose after his               21had before you signed your declaration
22declaration and is something that he and I have              22discloses that HCMFA received almost $5 million
23discussed and is my work product.That is not                23as part of the insurance proceeds in connection
24a part of his factual investigation.                         24with the NAV error.Correct?
25So I am instructing him not to                          25A.Yes.
                                                      Page 100                                                         Page 101
1D. Sauter                                           1D. Sauter
2Q.Okay.Does that cause you to change                    2Q.Have you ever asked anybody?
3the conclusion that you reached as set forth in              3A.No.
4your declaration?                                            4MR. RUKAVINA:You've got to wait a
5A.I don't know enough about the                          5second, Mr. Sauter, before answering.
6insurance proceeds, the insurance policy and                 6Go ahead.
7what transpired at the time to make that                     7Q.During the course of your
8determination.                                               8investigation, did anybody tell you that on
9Q.Do you know if HCMFA has ever                          9May 3rd, 2019, HCMFA needed another $5 million?
10informed the insurance carrier that HCMLP was                10A.Not during the course of my initial
11responsible for the NAV error?                               11investigation.
12A.I do not.                                              12Q.Are you aware of that today?
13Q.Did you ever ask anybody?                              13A.I am, yes.
14A.I did not.                                             14Q.Okay.And do you understand that
15Q.As part of your investigation, did                     15that $5 million was needed in order for HCMFA
16you try to determine whether HCMFA ever told                 16to pay what's called a consent fee?
17the insurance company that HCMLP was                         17MR. RUKAVINA:I'm going to object.
18responsible for the NAV error?                               18And I'm going to instruct the
19A.I think I already said I wasn't                        19witness not to answer.
20aware of the insurance proceeds at the time of               20Again, this is attorney-client
21my declaration.                                              21privilege and work product.
22Q.Has HCMFA returned all or any                          22He learned about all of this well
23portion of the insurance proceeds to the                     23after his investigation and well after his
24carrier?                                                     24declaration.
25A.I wouldn't know.                                       25MR. MORRIS:These are facts.

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1D. Sauter                                           1D. Sauter
2I don't get it.These are facts.                        2calling him at trial because he conducted an
3And I'm not limited to his declaration.He's                 3investigation.
4here under a subpoena.I can ask him whatever                4And I don't think that I need to
5I want factually.                                            5stop asking questions as of the date of his
6I don't understand, Davor.                              6declaration.I'm asking purely factual
7MR. RUKAVINA:Well, there's three                       7questions.
8things.                                                      8So you know, if you want to continue
9You're generally right, you can ask                     9to direct him not to answer, we'll deal with
10him whatever you want factually.I'm not                     10it, but I'm going to continue to ask him
11saying that he -- I haven't prevented you from               11factual questions.
12asking factually.That's issue one.                          12MR. RUKAVINA:To me, this is --
13Issue two, he's not a trial witness.                    13(Simultaneous crosstalk.)
14His role is limited to the motion to amend,                  14BY MR. MORRIS:
15which was granted by consent.                                15Q.Mr. Sauter, do you understand that
16And issue three, the question you're                    16the $5 million was needed by HCMFA on May 3rd,
17asking him right now, if he has any knowledge,               172019 to pay a consent fee?
18he can have only through discussions with me                 18MR. RUKAVINA:I'm going to instruct
19and things he's learned through me in this                   19you not to answer that, Mr. Sauter.
20litigation.He's told you he did not know                    20Q.Are you going to follow your
21about this during his investigation.                         21counsel's instructions?
22So I'm going to stick by my                             22A.I am.
23instruction not to answer that, Mr. Sauter.                  23Q.Do you know what a consent fee is,
24MR. MORRIS:And I'm going to tell                       24sir?
25you he is a trial witness.I will certainly be               25A.I don't.
                                                      Page 104                                                         Page 105
1D. Sauter                                           1D. Sauter
2Q.Did you ever have -- withdrawn.                        2you?
3Did anybody ever tell you that                          3A.It was payment for a consent fee.
4Highland was responsible for any consent fee                 4Q.All right.Okay.
5that HCMFA paid?                                             5And who told you that?
6MR. RUKAVINA:You're instructed not                     6A.Mr. Norris.
7to answer that to the extent that whoever told               7Q.And did Mr. Norris tell you that
8you that would be an attorney.                               8Highland had any responsibility for the payment
9BY MR. MORRIS:                                               9of that consent fee by HCMFA?
10Q.Okay.Did anybody other than an                        10A.I don't know that we got into that.
11attorney ever tell you that Highland was                     11Q.Okay.Did anybody else tell you
12responsible for any consent fee ever paid by                 12that the May 3rd, 2019 $5 million payment was
13HCMFA?                                                       13made so that HCMFA could pay the consent fee?
14A.That Highland was responsible for                      14MR. RUKAVINA:Again, I'll instruct
15paying a consent fee?                                        15you not to answer the extent you learned
16Q.That Highland was responsible for                      16anything from an attorney.
17any consent fee that was paid by HCMFA.                      17THE WITNESS:I don't believe so.
18A.I don't believe so.                                    18Q.Okay.Did you speak with
19Q.During your discussions as part of                     19Mr. Waterhouse about the $5 million consent fee
20your investigation with Mr. Norris and Mr. Post              20that Mr. Norris mentioned to you?
21and Mr. Dondero and Mr. Waterhouse, did anybody              21A.I have not spoken with
22tell you why Highland paid HCMFA $5 million on               22Mr. Waterhouse for quite some time about this,
23May 3rd, 2019?                                               23since he's represented by counsel.
24A.Yes.                                                   24Q.No.
25Q.And why did -- what did they tell                      25But as part of your investigation,

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1D. Sauter                                           1D. Sauter
2after you learned from Mr. Norris that the                   2Q.Okay.Let's go back to your
3$5 million was paid so that HCMFA could pay the              3declaration, please, Paragraph 31.
4consent fee, did you follow up with                          4Is it fair to summarize this
5Mr. Waterhouse at all?                                       5paragraph as saying that because HCMFA and the
6A.I didn't know about the consent fee                    6debtor had executed that acknowledgment, that
7at the time of my investigation.                             7it would have been illogical for Highland to
8Q.Okay.When did Mr. Norris tell you                     8lend HCMFA $7.4 million in May 2021?
9about the consent fee?                                       9A.Yes.
10A.Probably within the last six weeks.                    10Q.Okay.And what was the source of
11Q.And does learning about the consent                    11your information for Paragraph 31?
12fee from Mr. Norris cause you to question your               12A.I'm not sure I follow.
13conclusion that the $7.4 million was paid by                 13Q.So you've got the acknowledgment
14Highland to HCMFA on account of the mistake                  14that you attached as Exhibit 4.Correct?
15that Highland made on the NAV error?                         15A.Yes.
16MR. RUKAVINA:I'll again object                         16Q.Did you discuss with anybody during
17that this witness is not an expert and he has                17your investigation any of the facts or
18no personal knowledge.                                       18conclusions that are set forth in Paragraph 31
19Q.You can answer, sir.                                   19or did you -- or is it based just on your
20A.I wasn't aware of the consent fee.                     20review of Exhibit 4?
21I don't know much about the consent                     21A.Based on my review.
22fee.I don't know what it is, who paid it, why               22Q.Okay.Are you aware that in
23they paid it, what the consideration was for                 23May 2019, Mr. Dondero contemporaneously and
24it.                                                          24personally paid Highland exactly $7.4 million
25So I'm not prepared to answer that.                     25that was owed by Mr. Dondero to Highland under
                                                      Page 108                                                         Page 109
1D. Sauter                                           1D. Sauter
2a promissory note where he was the maker?                    2A.Yes.
3A.I was not.                                             3Q.As Nexpoint's general counsel, did
4Q.Nobody told you that as part of your                   4you participate in the annual renewal process
5investigation, that the way Highland was able                5in the fall of 2020?
6to transfer the $7.4 million to HCMFA was to                 6A.I would have participated in the
7get that money from Mr. Dondero on account of a              7process, but only with respect to NXRT,
8note that he signed?                                         8Nexpoint Residential Trust and Nexpoint Real
9A.No one told me that.                                   9Estate Finance.
10Q.You're hearing that for the first                      10Q.I see.
11time today?                                                  11A.I had some limited involvement in
12A.I am.                                                  12the 15(c) process with respect to Nexpoint's
13Q.If Mr. Dondero paid down                               13strategic opportunities fund, but very limited.
14$7.4 million in obligations that he owed to                  14Q.Do you know who the representative
15Highland, would it change your view that it was              15was for HCMFA who was responsible for the 15(c)
16illogical for Highland to loan that money to                 16annual renewal process in the fall of 2020?
17HCMFA in May of 2019?                                        17A.I don't.
18A.Again, without seeing the documents                    18I can speculate, and I would assume
19and the timing and the details of the                        19it's Mr. -- a combination of Mr. Norris and
20transaction, I can't answer that.                            20Mr. Sella (phonetic).
21Q.Okay.Now, the advisors have                           21Q.And why do you speculate that it's a
22contracts with the funds they advise.Correct?               22combination of them?
23A.Advisory agreements, yes.                              23A.Because they were actively involved
24Q.And those advisory agreements are                      24in the process just from conversations I had
25subject to annual renewal.Correct?                          25with them.

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1D. Sauter                                           1D. Sauter
2Q.Okay.Have you ever seen any of the                    2A.Could you clarify the question.
3reports that the advisors sent to the retail                 3Q.Sure.
4board in connection with the 15(c) annual                    4Have you ever seen any of the
5review?                                                      5reports that were issued by the advisors to the
6MR. RUKAVINA:Now, this one,                            6retail board in the fall of 2020 in connection
7Mr. Sauter, I am going to instruct you not to                7with the 15(c) review?
8answer.                                                      8MR. RUKAVINA:Mr. Sauter, I'm
9MR. MORRIS:Have you ever seen the                      9instructing you not to answer that if your
10document?That's what, you're going to                       10answer involves working with me in this
11instruct him not to --                                       11adversary proceeding.
12MR. RUKAVINA:Don't answer that.                        12If you saw it otherwise as part of
13Don't answer that.That relates to discovery                 13business operation, that's fine.
14and work product privilege.                                  14THE WITNESS:In the fall of 2020, I
15The document was produced to you.                       15would have had -- I would not have been
16Mr. Sauter helped me find that document.Other               16involved and I would not have seen anything
17than that, nothing about that document and his               17sent to the board.
18knowledge is fair game.                                      18BY MR. MORRIS:
19MR. MORRIS:Well, I'm going to ask                      19Q.All right.Well, let's put it up on
20my questions, and you can keep directing him                 20the screen.It's, I think, a document that was
21not to answer.                                               21previously marked as Deposition Exhibit 59.
22BY MR. MORRIS:                                               22(Exhibit 59, Memo dated 10/23/20,
23Q.Mr. Sauter, have you ever seen any                     23HCMFAS 000025-031, marked for identification.)
24of the reports that were issued by the advisors              24Q.Have you ever seen this document
25to the funds?                                                25before, sir?
                                                      Page 112                                                         Page 113
1D. Sauter                                           1D. Sauter
2A.Could you scroll down.                                 2review in October of 2020?
3Q.Sure.                                                  3A.I think that's accurate.
4A.(Reviewing document.)                                  4MR. MORRIS:We're going to do the
5Q.We can keep going.                                     530(b)(6) deposition on December 1st?
6A.All right.                                             6MR. RUKAVINA:I think I'm waiting
7What's the date on this?                                7for you to confirm.
8Q.October 23rd, 2020.                                    8I think that's what --
9A.I honestly don't think I would have                    9MR. MORRIS:Let's confirm that
10been involved in that or seen that.                          10right now.
11Q.Okay.Did you ever ask anybody as                      11I'll send you an e-mail, but I
12part of your investigation -- withdrawn.                     12just...
13Are you aware that the advisors were                    13MR. RUKAVINA:Okay.10 a.m.,
14asked to provide information to the retail                   14Dallas?
15board as to the obligations that it owed to                  15MR. MORRIS:Yeah, that sounds fair.
16Highland and its affiliates in connection with               16BY MR. MORRIS:
17the 15(c) annual review?                                     17Q.All right.Let's go back to your
18A.I was not.                                             18declaration, please, Paragraph 32.
19Q.So is it fair to say that you never                    19I'm almost done, sir.
20saw this document as part of your                            20So you state, among other things,
21investigation?                                               21that -- and I'm paraphrasing.Let me know if
22A.I don't think so.                                      22I -- if this is fair -- that as a result of
23Q.Is it fair to say that nobody ever                     23your investigation in April of 2019, HCMFA now
24told you about the advisors' responses to the                24believes that it has affirmative defenses to
25retail board in connection with the 15(c)                    25the notes that includes the defense of mutual

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1D. Sauter                                           1D. Sauter
2mistake.                                                     2the payments to the fund.
3Do I have that right?                                   3A transfer was made.A note was
4A.Yes.                                                   4executed without any analysis.
5Q.Okay.What does "mutual" -- excuse                     5Q.And do you have anything else to add
6me -- what does "mutual mistake" mean?                       6to that?
7MR. RUKAVINA:Are you asking for                        7A.I don't think so.
8his legal opinion or how he used it in this                  8Q.Okay.You also say that the notes
9declaration?                                                 9are void for lack of consideration.
10MR. MORRIS:Only how he used it in                      10Do I have that right?
11the declaration.                                             11A.Yes.
12THE WITNESS:Well, wouldn't that be                     12Q.You don't dispute that Highland paid
13a legal conclusion because it's an affirmative               13HCMFA $2.4 million on May 2nd, 2019.Correct?
14defense?                                                     14A.No.
15BY MR. MORRIS:                                               15Q.And you don't dispute that Highland
16Q.Well, I don't know.It's in your                       16paid HCMFA $5 million on May 3rd, 2019.
17declaration.I'm just asking you what you                    17Correct?
18meant when you used the phrase -- withdrawn.                 18A.I mean, I believe that's right.
19Let me ask a better question.Maybe                     19That's what I've been told.
20it's my fault.                                               20So yeah, I don't dispute that.
21Mr. Sauter, what did you mean when                      21Q.Your reference to "a lack of
22you used the phrase "mutual mistake"?                        22consideration" means only that, in your
23A.What I meant is that there was no                      23opinion, the money should not have been
24analysis or consideration of what had                        24transferred in the form of a loan.
25transpired and who is legally responsible for                25Do I have that right?
                                                      Page 116                                                          Page 117
1D. Sauter                                           1D. Sauter
2A.You do.                                                2papering a transaction like a $7.4 million
3Q.It does not mean that HCMFA did not                    3loan.And my understanding of the process, as
4receive an amount of money exactly equal to the              4described to me by Frank Waterhouse, was not
5principal amount of the notes.Correct?                      5the proper process.
6A.Based upon what I've been told,                        6Q.Is there a policy or a law that
7correct.                                                     7requires a particular process to be followed
8Q.Okay.You also write here that                         8that you're aware of?
9Mr. Waterhouse did not "have proper authority                9A.What I would expect is
10to sign the notes."                                          10communications among the various parties that
11Do I have that right?                                   11are involved and agreement that this should be
12A.Yes.                                                   12a loan rather than just transferring money and
13Q.What does "proper" -- what did you                     13sign a note.
14mean by the phrase "proper authority"?                       14Q.You knew when you signed this
15A.I mean going through the process of                    15declaration that Mr. Waterhouse in fact was an
16what I would expect to see in making a loan of               16officer of HCMFA at the time his signature was
17$7.4 million.                                                17put on the notes.Correct?
18Q.So that's just your own subjective                     18A.Yes.
19view.                                                        19Q.And is it your view that an officer
20Is that fair?                                           20is not authorized to execute notes on behalf of
21A.No.                                                    21the company for which he or she works for?
22I mean, I think there's a legal                         22A.I think every company has
23basis for that, so yeah.                                     23limitations on authority.
24Q.What's your legal basis for that?                      24Q.And what limits are you aware of on
25A.There is a process to go through in                    25Mr. Waterhouse -- withdrawn.

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1D. Sauter                                           1D. Sauter
2What limits are you aware of that                       2There's a number of factors that come into it.
3existed on Mr. Waterhouse's authority to sign                3Q.But you didn't --
4notes on behalf of HCMFA in May of 2019?                     4A.So --
5A.I don't know what the HCMFA -- what                    5Q.But you made no inquiry as to any of
6the partnership agreement says, or I should say              6those issues.Correct?
7the general partnership agreement says.                      7A.I made an inquiry of Mr. Waterhouse
8But what I would expect is the full                     8as it relates to this transaction.
9participation of legal, accounting and then                  9Q.Okay.And again, Mr. Waterhouse did
10perhaps Mr. Dondero.                                         10not admit that he was not authorized to sign
11Q.Do you know if Mr. Waterhouse has                      11these notes.Correct?
12ever signed any other notes on behalf of HCMFA               12A.Sorry.He did not admit that he was
13or any other affiliated entity?                              13not authorized to sign the notes, correct.
14A.I'm sure he has.                                       14Q.Okay.
15Q.Did you do -- as part of your                          15MR. MORRIS:Let's just take a
16investigation, before reaching your conclusion               16five-minute break.I may be done.
17that Mr. Waterhouse didn't have proper                       17It's 4:28.Let's just come back at
18authority, did you try to determine whether in               184:35 so I can take a break.
19fact he had previously issued notes on behalf                19(Recess was taken from 3:29 p.m. to
20of HCMFA or other affiliates?                                203:37 p.m.)
21A.I can't answer your question without                   21MR. MORRIS:Mr. Sauter, I greatly
22knowing the facts surrounding the execution of               22appreciate your time and attention today. I
23any particular note.                                         23have no further questions.
24I mean, I think it matters the                          24THE WITNESS:Okay.
25amount of the note, the term of the note.                    25MR. RUKAVINA:I'll pass the
                                                      Page 120                                                                   Page 121
1D. Sauter                                           1District of Columbia, to wit:

2witness, save my questions till trial.Thank                 2I, Stacey L. Daywalt, a Notary

3you.                                                         3Public of the District of Columbia, do hereby

4MR. MORRIS:Thank you, sir.Have a                      4certify that the within-named witness remotely

5good day.                                                    5appeared before me at the time and place herein

6MR. RUKAVINA:Madam Reporter, just                      6set out, and after having been duly sworn by

7before we're done, just to confirm, the witness              7me, according to law, was examined by Counsel.

8does want his 30 days to read and review, so                 8I further certify that the

9please send the transcript to me with exhibits.              9examination was recorded stenographically by me

10THE REPORTER:And Michael, do you                       10and this transcript is a true record of the

11need a copy?                                                 11proceedings.

12MR. AIGEN:Yeah, we'll order one,                       12I further certify that I am not of

13just regular time.Doesn't need to be                        13counsel to any of the parties, nor an employee

14expedited.                                                   14of counsel, nor related to any of the parties,

15(Time Noted:3:38 p.m.)                                 15nor in any way interested in the outcome of

16                                                               16this action.

17                                                               17As witness my hand and Notarial Seal

18---------------------                             18this 17th day of November, 2021.

19DENNIS C. SAUTER                                  19

20                                                               20

21Subscribed and sworn to before me                            21___________________________________

22thisday of2021.                                  22Stacey L. Daywalt, Notary Public

23                                                               23My Commission Expires:4/14/2026

24---------------------------------------                      24

25Notary Public                                                25



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1--------------------I N D E X------------------              1NAME OF CASE:
2
                                                                 2DATE OF DEPOSITION:
WITNESSEXAMINATION BYPAGE
3                                                               3NAME OF WITNESS:
4DENNIS C. SAUTERBY MR. MORRIS4
                                                                 4Reason Codes:
5
--------------------EXHIBITS-------------------               51.To clarify the record.
6                                                               62.To conform to the facts.
7PREVIOUSLY MARKED EXHIBITSPAGELINE
8Exhibit 181                                                  73.To correct transcription errors.
Declaration of Dennis C. Sauter,                              8Page ______ Line ______ Reason ______
9Jr.243
10Exhibit 54                                                   9From _____________________ to _____________________
E-mail chain with attachment dated                            10Page ______ Line ______ Reason ______
115/2/19
D-CNL003777-7792525                              11From _____________________ to _____________________
12                                                               12Page ______ Line ______ Reason ______
Exhibit 57
13Promissory Note dated 5/3/19                                 13From _____________________ to _____________________
D-CNL003764-65295                              14Page ______ Line ______ Reason ______
14
Exhibit 45                                                    15From _____________________ to _____________________
15Consolidated Financial Statements                            16Page ______ Line ______ Reason ______
and Supplemental Information
                                                                 17From _____________________ to _____________________
16December 31, 2018
D-CNL002273-2967219                              18Page ______ Line ______ Reason ______
17
                                                                 19From _____________________ to _____________________
Exhibit 182
18Memo dated 5/28/19832                           20Page ______ Line ______ Reason ______
19Exhibit 59
                                                                 21From _____________________ to _____________________
Memo dated 10/23/20
20HCMFAS 000025-03111122                           22Page ______ Line ______ Reason ______
21
                                                                 23From _____________________ to _____________________
22
23                                                               24
24                                                               25________________________
25




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     9                                                                10 Exhibit 1    Promissory Note, 5M, May 3                   30
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    10   ADVISORS, L.P.,                  )                           12 Exhibit 2    Promissory Note, 2.4M, May 2                 30
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                                                                      14 Exhibit 3    Email from David Klos, May 2, 2019,          31
    12    ____________________________________________________
    13                                                                15              HCMLP to HCMFA loan
                              DEPOSITION OF
    14                       KRISTIN HENDRIX                          16
    15                      October 27, 2021                          17 Exhibit 4    Promissory Note, 5M, May 3                   42
    16    ____________________________________________________        18
    17
                                                                      19 Exhibit 5    Promissory Note, 2.4M, May 2                 42
    18              DEPOSITION OF KRISTIN HENDRIX, produced as a
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    19 witness, duly sworn by me via videoconference at the
    20 instance of the DEFENDANTS, was taken in the                   21 Exhibit 6    Promissory Note, 5M, May 3                   43
    21 above-styled and numbered cause on October 27, 2021,           22
    22 from 10:11 A.M. to 1:19 P.M., before BRANDON D. COMBS,
                                                                      23 Exhibit 7    Promissory Note, 2.4M, May 2                 43
    23 CSR, RPR, in and for the State of Texas, reported by
                                                                      24
    24 computerized machine shorthand, at 500 North Akard
                                                                      25 Exhibit 8    Info, HCMF loan 05.03.2019                   56
    25 Street, 38th Floor, Dallas, Texas.



                                                                2                                                                   4
     1                         APPEARANCES                              1   Exhibit 9 Info, HCMF loan 05.02.2019              56
     2                                                                  2
     3             MUNSCH, HARDT, KOPF & HARR, PC, 500 North            3   Exhibit 10 Email from Scott Ellington, Dec 2,     59
     4 Akard Street, Suite 3800, Dallas, TX 75201, represented          4           2020, HCM - HCMFA financial
     5 by DAVOR RUKAVINA, Attorney at Law, appeared as counsel          5           statements
     6 on behalf of the Defendants.                                     6
     7             Email: drukavina@munsch.com                          7   Exhibit 11 Email from John Morris to             62
     8                                                                  8           James Seery, Jan 6, 2021,
     9                                                                  9           HCM information request
    10             PACHULSKI, STANG, ZIEHL & JONES, 780 Third          10
    11 Avenue, 34th Floor, New York, NY 10017-2024, represented        11   Exhibit 12 Letter, Dec 3, 2020, Demand on         65
    12 by JOHN A. MORRIS, Attorney at Law, appeared as counsel         12           Promissory Notes
    13 on behalf of the Plaintiff.                                     13
    14             Email: jmorris@pszjlaw.com                          14   Exhibit 13 Promissory Note, $30,746,812.33,           72
    15                                                                 15           May 31
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    17             STINSON, LLP, 3102 Oak Lawn Avenue, Suite 777,      17   Exhibit 14 NPA $30.7M                       76
    18 Dallas, TX 75219, represented by MICHAEL AIGEN, Attorney        18
    19 at Law, appeared via videoconference as counsel on              19   Exhibit 15 HCMLP Notes Receivable                 83
    20 behalf of the Defendants Jim Dondero, HCMS and HCRE             20
    21 Partners.                                                       21   Exhibit 16 Email from Frank Waterhouse to             85
    22             Email: michael.aigen@stinson.com                    22           Lauren Thedford, Oct 6, 2020, 15(c)
    23                                                                 23           follow-up
    24                                                                 24
    25                                                                 25


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                                                                                                                 2 (Pages 5 to 8)
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                                                              5                                                                 7
     1 Exhibit 17 Email from James Seery to           88              1 understood my question; okay?
     2         James Dondero, Jan 7, 2021, demand                     2   A. Yeah.
     3         on promissory note                                     3          MR. MORRIS: Objection.
     4                                                                4       Q. (BY MR. RUKAVINA) Sometimes Counsel will
     5 Exhibit 18 Email from Kristin Hendrix, Jan 12,    90           5   make objections. Unless he instructs you not to
     6         2021, NexPoint Note to HCMLP                           6   answer, you're still required to answer my questions.
     7                                                                7       A. Okay.
     8                                                                8       Q. Now, in preparation for this deposition, did
     9                                                                9   you read the deposition transcript or any part of it of
    10                                                               10   Frank Waterhouse?
    11                                                               11       A. I did not.
    12                                                               12       Q. Did anyone provide you a synopsis or summary
    13                                                               13   of it?
    14                                                               14       A. Maybe a few bits and pieces, but...
    15                                                               15          MR. RUKAVINA: Off the record for a second.
    16                                                               16          (Off the record.)
    17                                                               17       Q. (BY MR. RUKAVINA) What do you mean bits and
    18                                                               18   pieces?
    19                                                               19       A. I don't recall anything specific that was
    20                                                               20   said, other than it was very long.
    21                                                               21       Q. Did you talk to Frank Waterhouse about it?
    22                                                               22       A. Did not.
    23                                                               23       Q. Other than Highland's legal counsel, did you
    24                                                               24   talk to anyone else about -- or -- strike that.
    25                                                               25          Other than Highland's legal counsel, did you


                                                              6                                                                 8
     1               KRISTIN HENDRIX,                                 1   talk to anyone about Frank Waterhouse's deposition from
     2    having been first duly sworn, testified as follows:         2   last week?
     3                 EXAMINATION                                    3      A. I did not.
     4      Q. (BY MR. RUKAVINA) Good morning. If you'll              4      Q. Did you review -- strike that.
     5   state your name.                                             5          Did you see any of the video of
     6      A. Kristin Hendrix.                                       6   Mr. Waterhouse's deposition?
     7      Q. We're doing this both ways. You're on the              7      A. Nope.
     8   Zoom remotely and they can see you, but I would ask          8      Q. Same questions now for Mr. Seery, S-e-e-r-y.
     9   that you and I maintain eye contact. Of course, if           9          Did you read any portion or the whole of
    10   someone is asking you on the Zoom, then maintain            10   Mr. Seery's deposition from last week?
    11   contact with them, if that's okay with you.                 11      A. I did not.
    12      A. Sure.                                                 12      Q. See any of the video?
    13      Q. Have you been deposed before?                         13      A. No.
    14      A. No.                                                   14      Q. Did you see any synopsis or summary of his
    15      Q. So I'm sure your counsel explained to you,            15   deposition?
    16   but very quickly, you understand that you're testifying     16      A. No.
    17   under oath and penalty of perjury as though you were in     17      Q. Did you talk to him about his deposition?
    18   a court of law?                                             18      A. I did not.
    19      A. Yes.                                                  19      Q. Other than talking to Highland's counsel, did
    20      Q. And you understand my job is to ask clear             20   you talk to anyone about Mr. Seery's deposition?
    21   questions that you understand?                              21      A. No.
    22      A. Yes.                                                  22      Q. Other than talking to Highland's counsel, did
    23      Q. And if for whatever reason you don't                  23   you talk to anyone about your deposition today?
    24   understand my questions, please let me know or ask me       24      A. Just John Morris and Dave Klos.
    25   to rephrase; otherwise, I'm going to assume that you        25      Q. When did you talk to Mr. Klos, K-l-o-s?


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                                                                                                                 3 (Pages 9 to 12)
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                                                                 9                                                              11
     1      A. First time about this was last Friday. And               1      A. Yes.
     2   then again Monday this week. And yesterday. And this           2      Q. And has your CPA license been current since
     3   morning.                                                       3   then?
     4      Q. Friday was there any lawyer present during               4      A. Sure has.
     5   your discussion with Mr. Klos?                                 5      Q. Have you faced any kind of disciplinary
     6      A. Yes, every time Mr. Morris was present.                  6   action as a CPA?
     7         MR. RUKAVINA: Is it your position that those             7      A. I have not.
     8   four discussions would be privileged, Counsel?                 8      Q. Now, please walk me through your work
     9         MR. MORRIS: Yes.                                         9   history. Let's say starting with after you graduated
    10         MR. RUKAVINA: Then we'll move on.                       10   college.
    11      Q. (BY MR. RUKAVINA) So we've established the              11      A. Sure. December of 2005, which was shortly --
    12   four times you talked to Mr. Klos with counsel present.       12   sorry, 2004, shortly after I graduated from
    13   Did you do anything else related to or in preparation         13   North Texas, I started at Highland. It was my first
    14   for today's deposition?                                       14   real job out of college. I have been there ever since,
    15      A. Yes, probably went through and reviewed some            15   almost 17 years now.
    16   emails, documentation that I may have had that I need         16          Have worked in the corporate accounting
    17   to refresh memory on.                                         17   department the entire time. Started off as the AP
    18      Q. These documents and emails that you might               18   associate, and worked my way up over the years and
    19   have reviewed, did you supplementally provide them to         19   currently am the controller.
    20   counsel or anyone else?                                       20      Q. So even when you were getting your MBA and
    21      A. Yes.                                                    21   CPA you were employed by Highland?
    22      Q. This would have been in the last week or                22      A. Yes.
    23   10 days?                                                      23      Q. Impressive. You're the controller today you
    24      A. Yes.                                                    24   mentioned?
    25      Q. Prior to the last week or 10 days, are you              25      A. Yes.


                                                                10                                                              12
     1 aware that my office served requests for production on           1       Q. That's -- when did you become the controller,
     2 Highland?                                                        2   sometime February or March of this year?
     3      A. Yes.                                                     3       A. Yes.
     4      Q. And did you do anything prior to the last                4       Q. Before you became the controller, what was
     5   week or 10 days to try to search both your personal            5   your role at Highland?
     6   records and corporate records for any responsive               6       A. Right before that I was assistant controller.
     7   documents?                                                     7   That was I believe April of 2020. Before that, the
     8      A. Not that I recall.                                       8   senior accounting manager, and I held that position for
     9      Q. Is that something that you understand legal              9   years.
    10   counsel was charged with?                                     10       Q. So in May of 2019 would you have been the
    11      A. Yes.                                                    11   senior -- you said senior account?
    12      Q. Let's go briefly now about your background,             12       A. Senior accounting manager I believe was my
    13   please.                                                       13   title.
    14         Where do you live?                                      14       Q. And would that have been your title in May of
    15      A. I live in Denton, Texas.                                15   2017?
    16      Q. And what is your date of birth, please?                 16       A. Yes, I believe so.
    17      A. January 26, 1982.                                       17       Q. And let's focus now on May 2019 as the senior
    18      Q. And walk me through your educational                    18   accounting manager. How would you describe your role
    19   background, starting with any postsecondary, if any,          19   at Highland in May of 2019? What were your duties?
    20   schooling or college or anything like that.                   20       A. Sure. I helped with treasury management
    21      A. Sure. Graduated in 2004 from the University             21   function, cash forecasts and things like that. And
    22   of North Texas with a degree in finance. Went on to           22   oversaw the financial reporting from the last batch of
    23   get my MBA from SMU in 2009. And then went further and        23   AP to all the way to financials and reporting on
    24   got my CPA license I believe in 2015.                         24   audits.
    25      Q. In the state of Texas?                                  25       Q. Who did you report to in May of 2019?


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                                                                                                              4 (Pages 13 to 16)
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                                                             13                                                               15
     1      A. David Klos.                                            1      A. Yes, you can say the debtor.
     2      Q. What was Mr. Klos' title to your                       2      Q. So when I say the debtor and you say the
     3   understanding back then?                                     3   debtor we understand each other to mean Highland
     4      A. I believe he was the controller.                       4   Capital Management, comma, LP; correct?
     5      Q. And do you have an understanding as to who             5      A. Correct.
     6   Mr. Klos reported to back then?                              6      Q. I apologize. In the December 2020 period, I
     7      A. Yes, Frank Waterhouse.                                 7   would imagine that the debtor had its own -- that
     8      Q. Frank Waterhouse. Who was he in May of 2019?           8   was -- strike that.
     9      A. The CFO.                                               9         We'll cut to the chase.
    10      Q. Is Mr. Klos still with Highland today?                10         In December of 2020, the debtor was providing
    11      A. He is.                                                11   services to various other entities affiliated with
    12      Q. What is his role now?                                 12   Mr. Dondero; correct?
    13      A. He's now CFO.                                         13      A. Correct.
    14      Q. You mentioned treasury management as of 2019,         14      Q. That would have included NexPoint Advisors,
    15   May. What do you mean by treasury management? What is       15   LP?
    16   that?                                                       16      A. Correct.
    17      A. Generally speaking, we -- it's not just me as         17      Q. And you're aware that NexPoint Advisors was
    18   one person. We have checks and balances.                    18   the obligor on at least one promissory note to the
    19         My team would be in charge of sending out             19   debtor; correct?
    20   payments, reconciling bank statements, making sure          20      A. Correct.
    21   money is in the right accounts, creating cash forecasts     21      Q. And did the debtor in December 2020 provide
    22   and reporting on those every week with the CFO and          22   so-called treasury management services to NexPoint
    23   oftentimes the CEO.                                         23   Advisors?
    24         Generally that's everything that fell under           24         MR. MORRIS: Objection to the form of the
    25   the umbrella.                                               25   question.


                                                             14                                                               16
     1      Q. And would your description of treasury                 1          THE WITNESS: Yes.
     2   management be the same for the December 2020 period?         2      Q. (BY MR. RUKAVINA) As part of that, in
     3      A. Yes.                                                   3   December 2020, would it have been employees of the
     4      Q. Who at Highland or which group at Highland in          4   debtor that would have scheduled for potential payment,
     5   December of 2020 would have been responsible for noting      5   subject to approval by NexPoint, NexPoint's future
     6   that there are certain bills that need to be paid in         6   obligations as they were coming due?
     7   the near or subsequent future.                               7      A. Yes, we would have scheduled, only with
     8          By way of, let's say, accounts payable or             8   approval.
     9   promissory notes or taxes or anything like that?             9      Q. And would that have included NexPoint's
    10      A. Can you repeat your question.                         10   obligations on the promissory note to Highland?
    11      Q. Sure. So obviously, Highland was a pretty             11      A. Yes.
    12   sophisticated business; correct?                            12      Q. Back to your background briefly.
    13      A. Yeah.                                                 13          Do you have any legal training at all?
    14          MR. MORRIS: Objection to the form.                   14      A. I do not.
    15      Q. (BY MR. RUKAVINA) And had various accounts            15      Q. Do you have any courses, have you taken any
    16   payable; right?                                             16   courses in drafting promissory notes?
    17      A. Yes.                                                  17      A. No.
    18      Q. And it had maybe, let's just say, certain             18      Q. Do you believe that your expertise as a
    19   note obligations that it had to pay from time to time;      19   certified public accountant gives you any greater
    20   correct?                                                    20   qualification than anyone else to prepare a promissory
    21          MR. MORRIS: Objection to the form of the             21   note?
    22   question. Do you mean Highland Capital?                     22          MR. MORRIS: Objection to the form of the
    23          MR. RUKAVINA: I mean Highland Capital                23   question.
    24   Management; correct, I'm sorry. The debtor.                 24          THE WITNESS: No.
    25      Q. (BY MR. RUKAVINA) Can we say the debtor?              25      Q. (BY MR. RUKAVINA) Have you ever prepared or


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                                                             17                                                               19
     1   drafted a promissory note?                                   1      Q. By updating, what do you mean?
     2       A. That term is probably used loosely. I have            2      A. There's a few things that would need
     3   not completely drafted a promissory note from scratch,       3   updating, the date.
     4   no.                                                          4      Q. Maker?
     5       Q. And we'll go into the details. Fair to say            5      A. Maker.
     6   that you have taken a form promissory note and revised       6      Q. Amount?
     7   it?                                                          7      A. The dollar amount, the interest rate.
     8       A. Absolutely.                                           8      Q. And is it your testimony that the corporate
     9       Q. Was this part of your job in May of 2019 at           9   accounting group would do these things on its own
    10   Highland?                                                   10   without necessarily the involvement of the legal group?
    11       A. Yes.                                                 11         MR. MORRIS: Objection to the form of the
    12       Q. Going back to the May 2019 time frame, were          12   question.
    13   you part of a particular group at Highland, like            13         THE WITNESS: Generally, yes.
    14   accounting or legal or compliance?                          14      Q. (BY MR. RUKAVINA) Do you have any memory in
    15       A. Yes, corporate accounting.                           15   or before May of 2019 if the corporate -- I'm sorry, if
    16       Q. Corporate accounting. That's what you                16   the legal group became involved in drafting or
    17   described before about treasury management and              17   executing any prior intercompany promissory notes?
    18   projections and forecasts?                                  18      A. Yes.
    19       A. Yes.                                                 19      Q. Explain to me what you remember about that.
    20       Q. In May of 2019, was it the practice at               20      A. I do know that they were involved with
    21   Highland that corporate accounting would be responsible     21   drafting restructured notes. So taking demand notes
    22   for drafting intercompany promissory notes?                 22   and turning them into a 30-year amort note.
    23       A. Not necessarily drafting, but updating a             23         That was in 2017. I know for sure that they
    24   draft that had been previously produced and provided by     24   were involved in that because it was something
    25   our legal team, yes.                                        25   different. We weren't just updating a demand note.


                                                             18                                                               20
     1       Q. And Highland in May -- the debtor in May of           1      Q. Is it your testimony that to the best of your
     2   2019 did have a legal department?                            2   recollection by May of 2019 and in May of 2019 it would
     3       A. Yes.                                                  3   have been the corporate accounting group that would
     4       Q. Kind of like the corporate accounting, there          4   have handled routine intercompany demand notes?
     5   was a separate legal department; correct?                    5      A. Yes.
     6       A. Correct.                                              6      Q. And you can think of more than one instance
     7       Q. And who would have been in charge of that             7   on which that happened?
     8   department in May of 2019?                                   8      A. Yes.
     9       A. Scott Ellington, E-l-l-i-n-g-t-o-n.                   9      Q. And this is not a memory test, but going back
    10       Q. In May of 2019 or by May of 2019 was there           10   in time can you try to give an estimate of what year
    11   any practice at Highland as to whether its legal            11   that first started happening, that the corporate
    12   department would be involved with the drafting or           12   accounting would handle the drafting or execution of
    13   execution of any intercompany promissory notes?             13   intercompany demand notes?
    14          MR. MORRIS: Objection to the form of the             14      A. As far as I can remember.
    15   question.                                                   15      Q. Is it your testimony that as -- maybe even
    16          THE WITNESS: It depends on the note.                 16   going back as far as 2005 there were intercompany
    17       Q. (BY MR. RUKAVINA) What did it depend on?             17   demand notes?
    18       A. Our typical practice is if we have a loan            18      A. Yes.
    19   with certain affiliates that it's a demand note. We         19      Q. I don't know how to ask this question, but
    20   have a template that we have used for years that was        20   was this a significant thing in corporate accounting or
    21   created by either our internal legal team or an outside     21   just another routine deal when you handled demand
    22   law firm, I'm not sure which.                               22   notes?
    23          The typical practice is always updating a few        23          MR. MORRIS: Objection to the form of the
    24   things on that template, getting it executed, and           24   question.
    25   filing it in our audit folders.                             25          THE WITNESS: This is a routine job duty that


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                                                                21                                                                  23
     1 we routinely did.                                                1     A. If the debtor needed cash to lend to another
     2   Q. (BY MR. RUKAVINA) Between 2005 and 2019, do                 2 entity.
     3 you remember any maker on these intercompany demand              3    Q. I see. So again, it's all one big happy
     4 notes actually being required to pay a demand note, in           4 family, and whoever needed cash, the cash moved around;
     5 other words, Highland making demand?                             5 correct?
     6       A. Not that I can specifically recall.                     6    A. Correct.
     7       Q. Do you have any recollection as to what                 7     Q. Was it Mr. Dondero that basically was the
     8   happened to these intercompany demand notes over the           8 only deciding person in each instance that you're aware
     9   years between 2005 and 2019?                                   9 of in those 14 years as to when a note would be made or
    10       A. Yeah. Typically anytime specifically Jim               10 repaid?
    11   Dondero would need to move money between related              11    A. I can't answer specifically to that. Most of
    12   parties, he would pay down -- when I say him, he would        12 my direction came from our CFO at the time,
    13   have us in corporate accounting move money around, pay        13 Frank Waterhouse. So what conversations he would have
    14   off notes, reissue new notes somewhere else.                  14 with Jim Dondero, I can't answer to that. But I would
    15          So a way to move money around between his              15 suspect so, yes.
    16   entities.                                                     16    Q. And in May of 2019 or by May of 2019, did you
    17       Q. So let's use just hypotheticals here so that           17 communicate personally, by email or telephone, in
    18   I'm not trying to pin you down to any specific fact.          18 person, periodically with Jim Dondero?
    19          But between 2005 and 2019, is it fair to say           19      A. I can't say periodically, no.
    20   that if some Dondero entity that's not the debtor             20      Q. Well, I'm not trying to put words in your
    21   needed money and the debtor had money, then Dondero           21   mouth. Is it fair to say that you kind of -- your
    22   would have the debtor lend money to that entity on a          22   communications stopped with Mr. Waterhouse and
    23   demand note basis?                                            23   Waterhouse communicated with Dondero, as opposed to you
    24       A. So long as they have the cash available to do          24   regularly communicating with Dondero?
    25   so.                                                           25      A. That's typical, yes.


                                                                22                                                                  24
     1      Q. "They" being the debtor?                                 1     Q. Can you think of any instances in which
     2      A. Debtor, yes.                                             2 Mr. Dondero gave you any instructions or you came to
     3      Q. And is it fair to say, then, again                       3 him seeking any instructions, without some intermediary
     4   hypothetically without any specifics, that if the              4 between the two of you?
     5   debtor maybe from time to time needed money and one of         5    A. No, usually Frank was present.
     6   these other entities had cash, then Dondero would cause        6     Q. Would you categorize Mr. Waterhouse as kind
     7   that other entity to pay down the demand note?                 7 of guarding with jealousy his access to Mr. Dondero?
     8         MR. MORRIS: Objection to the form of the                 8       MR. MORRIS: Objection to the form of the
     9   question.                                                      9 question.
    10         THE WITNESS: Can you repeat that.                       10         THE WITNESS: No.
    11      Q. (BY MR. RUKAVINA) Sure. So I think you                  11      Q. (BY MR. RUKAVINA) What kind of boss was he
    12   mentioned that from time to time these entities would         12   in May of 2019? Was he laid back, or was he a jerk?
    13   pay down these demand notes?                                  13   Was he demanding? How would you characterize him in
    14      A. To the debtor?                                          14   May of 2019?
    15      Q. To the debtor.                                          15         MR. MORRIS: Objection to the form of the
    16      A. Yes.                                                    16   question.
    17      Q. And is that, hypothetically again, is that              17         THE WITNESS: I would say he was a good boss.
    18   because on occasion the debtor might have needed cash         18      Q. (BY MR. RUKAVINA) You think he was competent
    19   and these entities had the cash, so Dondero would have        19   as far as his job went?
    20   them pay back the note?                                       20      A. Yes, very competent.
    21         MR. MORRIS: Objection to the form of the                21      Q. Do you think he was competent as far as his
    22   question.                                                     22   job went in December of 2020?
    23         THE WITNESS: Yes, that could be a reason.               23      A. Yes.
    24      Q. (BY MR. RUKAVINA) Can you think of any other            24      Q. January 2021?
    25   reason in those 14 years?                                     25      A. Yes.


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                                                            25                                                              27
     1       Q. Was he patient and understanding as a boss?          1      A. Correct.
     2       A. Yes.                                                 2      Q. And how Highland, reorganized Highland
     3       Q. Okay. Was he ever condescending or rude to           3   collects these promissory notes is going to play no
     4   anyone in your presence?                                    4   part in your base and bonus compensation to your
     5       A. No.                                                  5   understanding; is that correct?
     6       Q. So you're the controller today at Highland,          6      A. To my knowledge, yes.
     7   the debtor, the reorganized debtor; right?                  7      Q. So you have no direct or indirect stake in
     8       A. Yes.                                                 8   the outcome of these litigations?
     9       Q. And who do you report to? You mentioned              9      A. No.
    10   Mr. Klos is the CFO?                                       10      Q. And you understand that I represent HCMFA and
    11       A. Yes.                                                11   NexPoint?
    12       Q. And do you also report to Mr. Seery?                12      A. Yes.
    13       A. Yes, I think everybody does.                        13      Q. And these court reporters are not familiar
    14       Q. And I don't need to know details, but I take        14   with some of our terminology. NAP [verbatim], if we
    15   it you're on a salary from reorganized Highland?           15   say that, that means NexPoint; right?
    16       A. Yes.                                                16      A. Uh-huh.
    17       Q. Is any part of your compensation merit or           17      Q. You have to say yes or no.
    18   bonus based?                                               18      A. Yes, NPA, NexPoint.
    19       A. It could potentially be.                            19      Q. NPA. And when we say NexPoint, you and I are
    20       Q. Have you had any discussions with Mr. Seery         20   meaning NexPoint Advisors, LP; right?
    21   or Mr. Klos about some sort of bonus compensation?         21      A. Yes.
    22       A. Yes.                                                22      Q. And when we say HCMFA, we're meaning Highland
    23       Q. Has anything been agreed to?                        23   Capital Management Fund Advisors, LP, yes?
    24       A. Yes.                                                24      A. Yes.
    25       Q. And again, I don't need to know the exact           25      Q. What is your understanding of the two


                                                            26                                                              28
     1   numbers. What would your bonus compensation consist         1   lawsuits, the one against HCMFA and the one against
     2   of? How would it be decided?                                2   NexPoint, that you're being deposed on today?
     3       A. It's actually -- was decided when I agreed to        3          MR. MORRIS: Objection to the form of the
     4   stay on the Highland team back in February 2021, so         4   question.
     5   it's in my employment agreement.                            5      Q. (BY MR. RUKAVINA) Who is suing who and for
     6       Q. So what's your bonus compensation?                   6   what?
     7       A. I'm not sure I understand what you're asking.        7      A. I don't know all the details.
     8       Q. So is the bonus discretionary on the part of         8      Q. So we've established that you've discussed
     9   Highland?                                                   9   these lawsuits in the last week or a little bit more
    10       A. No, it's a set amount.                              10   with legal counsel. I don't want to talk about that.
    11       Q. And what triggers it or governs the set             11          Prior to these recent discussions, did you
    12   amount?                                                    12   have any discussions with anyone at Highland about its
    13       A. Just it gets paid out on a certain date of          13   lawsuits against HCMFA and NexPoint on promissory
    14   the year. It's very straightforward, set out in my         14   notes?
    15   employment agreement.                                      15      A. Repeat that again.
    16       Q. Is it irrespective of the performance of the        16      Q. Sure. So remember we're excluding the recent
    17   reorganized debtor?                                        17   discussions in the last week or 10 days with counsel;
    18       A. Yes.                                                18   right?
    19       Q. So why do you call it a bonus instead of base       19      A. Okay.
    20   compensation?                                              20      Q. Are you aware that in January of 2021 the
    21       A. That's what it's called in my agreement.            21   debtor sued NexPoint to collect on a promissory note?
    22       Q. So your base compensation and your bonus,           22      A. I'm aware that demand notices were sent.
    23   it's your testimony, you're going to earn it               23      Q. So until recently you weren't aware that a
    24   irrespective of whether reorganized Highland does good     24   lawsuit had been filed?
    25   or bad with respect to its profitability?                  25      A. There's a lot of lawsuits filed. I can't


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                                                            29                                                               31
     1   keep track of what is what or what we're talking about      1 about either or both of these two promissory notes?
     2   at certain times.                                           2   A. Sure, yes.
     3      Q. But you have no distinct memory of that?              3       Q. What do you remember?
     4      A. Correct.                                              4       A. I remember seeing them because I've recently
     5      Q. And same question for the lawsuit that the            5   looked at them. I see them all the time in our loan
     6   debtor filed against HCMFA in January.                      6   tracking spreadsheets. My team would have been
     7         Do you have any specific memory of that               7   responsible for the whole process that I explained
     8   lawsuit having been filed?                                  8   before when it comes to a promissory note.
     9      A. Not specifically.                                     9       Q. And --
    10      Q. You mentioned that you're aware that on or           10         MR. MORRIS: Are you finished?
    11   before January 2021, demand letters had been sent?         11         THE WITNESS: Yes.
    12      A. Yes.                                                 12       Q. (BY MR. RUKAVINA) And we have an email here
    13      Q. Did you play any role in either drafting             13   that might give some more context to that if I can find
    14   those demand letters or the decision to send them?         14   it here.
    15      A. No.                                                  15         This will be Exhibit 3. This is an email
    16      Q. So going back to my question about these             16   from David Klos to corporate accounting dated May 2,
    17   lawsuits, do you have any memory of anyone asking          17   2019.
    18   you -- again, excluding the last week or two.              18         (Whereupon, Exhibit 3 was marked for
    19         Do you have any memory of anyone asking you          19         identification.)
    20   to do anything with respect to either or both of these     20       Q. (BY MR. RUKAVINA) Do you see this email,
    21   lawsuits?                                                  21   ma'am?
    22      A. No.                                                  22       A. Yes.
    23      Q. You have no memory of Mr. Waterhouse,                23       Q. Okay. Corporate accounting, would that email
    24   Mr. Klos, Mr. Surgent, or Mr. Seery asking for any         24   group have included you?
    25   background information or your input at all on these       25       A. Yes.


                                                            30                                                               32
     1   two lawsuits?                                               1   Q. And this email says, Kristin, can you or
     2          MR. MORRIS: Better not have been --                  2 Hayley. Do you think that Kristin was you?
     3          THE WITNESS: No.                                     3   A. I do.
     4      Q. (BY MR. RUKAVINA) Who did I say? Did I                4   Q. Do you remember receiving this email?
     5   misspeak? Okay.                                             5       A. Not explicitly.
     6          Now we're going to have some exhibits here.          6       Q. So it says Blair. Who would Blair be?
     7          And do you have the labels?                          7       A. Blair was our AP associate.
     8          Let's take a minute break off the record.            8       Q. What is her last name?
     9          (Off the record.)                                    9       A. At this time it would have been Roeber,
    10      Q. (BY MR. RUKAVINA) Ms. Hendrix, I'm going to          10   R-o-e-b-e-r.
    11   provide to you a promissory note in the original           11       Q. Okay. And did it subsequently change?
    12   principal amount of $5 million from HCMFA. This is the     12       A. Yes, it's now Hillis, H-i-l-l-i-s.
    13   PDF version of this as filed with the Court for            13       Q. Please send $2.4 million from HCMLP to HCMFA.
    14   collection. It's going to be Exhibit 1.                    14   This is a new interco loan. Kristin, can you or Hayley
    15          (Whereupon, Exhibit 1 was marked for                15   please prep a note for execution. I'll have further
    16          identification.)                                    16   instructions later today, but please process this
    17      Q. (BY MR. RUKAVINA) Before you look at                 17   payment as soon as possible.
    18   Exhibit 1, I'm going to do the same thing for              18          Did I read that correctly?
    19   Exhibit 2, which is a promissory note from HCMFA for       19       A. Yes.
    20   $2.4 million, dated May 2, 2019.                           20       Q. Do you have any memory of whether this email
    21          (Whereupon, Exhibit 2 was marked for                21   relates to Exhibit 2, the $2.4 million promissory note?
    22          identification.)                                    22       A. It seems like it does, same date, same
    23      Q. (BY MR. RUKAVINA) Again, Ms. Hendrix, these          23   amount.
    24   are the PDF versions of these notes as filed with the      24       Q. Do you have any memory, or in reviewing your
    25   Court. Sitting here today, do you remember anything        25   files did you see any similar email or document that


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                                                             33                                                                     35
     1   would have related to Exhibit 1, the $5 million              1 the door, is typically how this works.
     2   promissory note?                                             2    Q. Is the answer generally the same for the
     3      A. Yes. I believe there's another email for               3 $5 million note?
     4   that one.                                                    4    A. Yes.
     5      Q. And do you believe that you provided that to           5     Q. So is it fair to say that typically,
     6   counsel?                                                     6 obviously not every time, but typically your corporate
     7      A. Yes.                                                   7 accounting group when it would see intercompany
     8      Q. Recently or some time ago?                             8 transfers in large amounts would believe that they were
     9      A. Well, I don't think I provided it, so I'm not          9 loans?
    10   sure when they got it. I know it has been provided.         10        MR. MORRIS: Objection to the form of the
    11      Q. You know that it has?                                 11 question.
    12      A. Uh-huh.                                               12        THE WITNESS: Typically they were loans.
    13      Q. How do you know?                                      13 There's not really another way to get money from one
    14      A. Because I've seen it.                                 14 entity to another. And if they were papered as a loan,
    15      Q. In the production that was produced to me?            15 that means we were told to set it up that way.
    16      A. Yes.                                                  16     Q. (BY MR. RUKAVINA) What do you mean papered
    17      Q. And also from a David Klos?                           17 as a loan? Aren't you papering it as a loan when
    18      A. This one, or on the -- when I say this one,           18 someone makes the promissory note?
    19   on the $2.4 million or the 5-?                              19     A. Yes, because we're told by somebody to do
    20      Q. On the $5 million note.                               20 that.
    21      A. I'm not sure.                                         21    Q. And in this instance, Mr. Klos on Exhibit 3
    22      Q. Okay. Let me make sure I understand you               22 told the group that this was a loan; right?
    23   correctly.                                                  23     A. Correct. But he would have spoken with
    24         Sitting here today you believe that there is          24 Frank Waterhouse or Jim Dondero prior to that, before
    25   another email referencing the $5 million loan that has      25 telling anybody to do that.


                                                             34                                                                     36
     1   been produced to my office?                                  1     Q. Okay. And do you have any knowledge that he
     2      A. Yes. I believe so.                                     2 did speak to Mr. Waterhouse or Mr. Dondero before
     3      Q. Okay. And going off memory, did it kind of             3 sending this email?
     4   say the same thing as this Exhibit 3 except that it          4     A. Again, I don't have specific knowledge on the
     5   referenced $5 million?                                       5 exact conversations, but that's always how it has
     6          MR. MORRIS: Objection to the form of the              6 worked.
     7   question.                                                    7     Q. That's how it was for 14 or 15 years;
     8          THE WITNESS: Generally, should have said the          8 correct?
     9   similar situation, yeah.                                     9    A. Yes.
    10      Q. (BY MR. RUKAVINA) So Mr. Klos says, this is           10     Q. But you're logically assuming that it
    11   a new interco loan, for Exhibit 3. Other than what he       11 happened here. You don't know that it happened here;
    12   told you, that this is an intercompany loan, did anyone     12 correct?
    13   else tell you or did you have any other information on      13        MR. MORRIS: Objection to the form of the
    14   May 2, 2019 that this was a loan?                           14 question.
    15      A. I don't specifically recall these                     15        THE WITNESS: I would have to be fairly
    16   conversations, but I can tell you our normal practice       16 certain that it did, even though I can't recall
    17   would be we would either likely be in a cash meeting --     17 specific conversations.
    18   and I say "we." Would have been myself, Dave Klos,          18    Q. (BY MR. RUKAVINA) Did you ask Mr. Klos about
    19   Frank Waterhouse, potentially even Jim Dondero.             19 who told him that this is a new intercompany loan on
    20          But I don't recall conversations on this             20 Exhibit 3?
    21   specific date. But general practice is we would talk        21    A. No. It's quite possible I was involved in
    22   about it.                                                   22 the conversation. I reported to him. I wouldn't
    23          Oftentimes, Frank would either call Dave or I        23 question his authority.
    24   or stop by and tell us that, we need to send money to       24   Q. Did you ask Mr. Klos who told him that the
    25   an affiliate, paper up a new loan, let's get a wire out     25 $5 million deal was also an intercompany loan?



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                                                             37                                                                   39
     1      A. I did not ask that specific question that I            1 a consent fee that the advisor of the Global Allocation
     2   can recall.                                                  2 Fund had promised to pay to shareholders of that fund,
     3      Q. Did you ask Mr. Waterhouse whether either of           3 and it was in the amount of $5 million roughly.
     4   these transactions were loans?                               4       So both of these loans were for those
     5      A. I'm sure Mr. Waterhouse is the one that told           5 purposes respectfully.
     6   us they were loans. We wouldn't just paper up a loan,        6   Q. And were you in May of 2019 also aware that
     7   send money out and call it a loan and account for it         7 in addition to the $2.4 million, there was another more
     8   that way, unless somebody specifically told us.              8 than $5 million paid to that fund by HCMFA's insurer as
     9      Q. Do you have any memory of Mr. Waterhouse               9 compensation for the NAV error?
    10   orally or in writing or email or in any way, shape, or      10       A. By the insurance company, yes.
    11   form on or about May 2 or 3, 2019 telling you that the      11       Q. So the $7.4 million, you understood then was
    12   2.4 million or $5 million transfers were intercompany       12   a loan as opposed to compensation to HCMFA?
    13   loans?                                                      13       A. Yes.
    14      A. No specific knowledge of exact conversations,         14       Q. Okay. Did you understand in May of 2019 that
    15   but I'm certain that those conversations were had           15   it had been the debtor and its valuation team that
    16   because that's the only way that we would have papered      16   caused that NAV error?
    17   up a loan, sent money out as a loan, had them on our        17          MR. MORRIS: Objection to the form of the
    18   financials for two years.                                   18   question.
    19      Q. So you're saying that this email, Exhibit 3,          19          THE WITNESS: I can't answer that. I was not
    20   from Mr. Klos was not enough, that there would have         20   involved with the activities leading up to the NAV
    21   been other things that happened to make you and other       21   error.
    22   people in your group confident that these were loans?       22       Q. (BY MR. RUKAVINA) How do you know that the
    23      A. Yes.                                                  23   $7.4 million were being transferred for the NAV error
    24      Q. And these other things would have been in             24   and consent fee?
    25   person or by email?                                         25       A. Because I do know about both of those


                                                             38                                                                   40
     1       A. Most likely in person via phone call.                 1 instances and I do know that HCMFA needed to pay these
     2       Q. Okay. So again, you have no specific memory           2 dollar amounts for both of those.
     3   of it, but based on the 14-year pattern and conduct you      3      Q. And you knew that in May of 2019?
     4   believe that you would have discussed these two              4      A. Yes.
     5   transfers with Mr. Waterhouse and he would have told         5      Q. How did you know that in May of 2019?
     6   you these are loans?                                         6      A. It was lots of discussions had been going on
     7           MR. MORRIS: Objection to the form of the             7   around both of these issues for months. These weren't
     8   question.                                                    8   surprises to anybody.
     9           THE WITNESS: Correct.                                9      Q. So although you weren't involved directly
    10       Q. (BY MR. RUKAVINA) And then would he have             10   with the NAV error issues, it was more or less common
    11   told you to take care of the promissory notes, or was       11   knowledge in your accounting group?
    12   that Mr. Klos here in Exhibit 3?                            12      A. Correct.
    13       A. It could have been both. It's clearly Dave           13      Q. Do you have any knowledge at all as to
    14   in this email, but Frank could have also said that to       14   whether Mr. Dondero decided to transfer these
    15   me.                                                         15   $7.4 million not as a loan, but to compensate HCMFA for
    16       Q. Now, do you -- strike that.                          16   the debtor's alleged liability?
    17           In May of 2019, did you know or were you told       17      A. Have not heard of that.
    18   why these $7.4 million were being transferred from the      18      Q. Ever?
    19   debtor to HCMFA?                                            19      A. Never.
    20       A. Yes. I do have recollection that -- I do             20      Q. But you also never heard Mr. Dondero say that
    21   know that there were two big events in May 2019.            21   these $7.4 million were a loan; correct?
    22   2.4 million was related to a TerreStar NAV error, with      22      A. That was not told to me directly.
    23   one of the funds advised by HCMFA. That's Global            23      Q. Again, you're logically assuming that based
    24   Allocation Fund.                                            24   on many instances of intercompany transfers in the
    25           Similar with the $5 million loan. There was         25   14 years prior to that?


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                                                             41                                                               43
     1        MR. MORRIS: Objection to the form of the                1 answers don't count and I'm in trouble.
     2 question. Mischaracterizes the testimony.                      2      6 will be the $5 million note, and 7 will be
     3       THE WITNESS: Correct.                                    3 the $2.4 million note.
     4        Q. (BY MR. RUKAVINA) I think you answered               4       (Whereupon, Exhibits 6 & 7 were marked for
     5   correct?                                                     5          identification.)
     6        A. Correct.                                             6       Q. (BY MR. RUKAVINA) Okay. So Exhibit 4 and 5
     7        Q. And you mentioned that after these notes, you        7   are the Word documents. Do you have any memory of you
     8   saw them on internal financials and that reinforces          8   doing anything with respect to these two Word
     9   your view that these were loans?                             9   documents?
    10        A. Correct.                                            10       A. I don't have specific memory, but generally
    11        Q. But as of May 2 and 3, 2019, no one had told        11   speaking, it was my job to update promissory note
    12   you directly that these are loans?                          12   templates and create promissory notes.
    13          MR. MORRIS: Objection to the form of the             13       Q. So do you believe that -- we discussed
    14   question. It's in writing.                                  14   earlier that your group would have used a template and
    15          THE WITNESS: That's not what I'm saying at           15   that it would have made changes reflecting the maker,
    16   all.                                                        16   amount, date, interest rate.
    17        Q. (BY MR. RUKAVINA) Other than Mr. Klos' email        17          Do you believe you were the one with respect
    18   or emails, no one told you on May 2 or May 3, 2019 that     18   to 4 and 5 that updated that template to create 4
    19   you remember today that these were loans?                   19   and 5?
    20        A. It quite possibly could have been told to me        20       A. I'm sure that I was, yes.
    21   in addition to this email.                                  21       Q. Well, Exhibit 6 -- do you know what metadata
    22        Q. I understand. You just have no memory of            22   is?
    23   that today; correct?                                        23       A. Sort of.
    24        A. Correct.                                            24       Q. What's your understanding of what metadata
    25        Q. Is there anything that you can think of             25   is?


                                                             42                                                               44
     1   sitting here today to refresh your memory on that            1       A. Just in context from speaking on it recently,
     2   point?                                                       2   it's going to tell you who made changes to the
     3       A. I do not think so. I'm sure there was                 3   documents, is what I would assume.
     4   conversation that unfortunately would not be in an           4           MR. RUKAVINA: Go off the record for one
     5   email.                                                       5   second.
     6       Q. Now, we have the Word documents, the Word             6           (Off the record.)
     7   version of these two promissory notes, and you're going      7       Q. (BY MR. RUKAVINA) So a little bit of error
     8   to have rely on me that I printed these out as               8   on my part. We'll have some more metadata, but we can
     9   Mr. Morris sent to me. If I'm misleading you on that,        9   still talk about 6 and 7.
    10   then I'm in trouble and your answers don't count.           10           It says the author JFORSHEE, J-F-O-R-S-H-E-E.
    11          So please assume that I didn't doctor these          11   Do you recall or do you know who that person was?
    12   and that I printed them out as they were prepared to        12       A. I recognize the name, and it makes sense.
    13   me; okay?                                                   13   This says Strasburger is the company. I think he was
    14       A. Yes.                                                 14   one of the lawyers that we had used at some point in
    15       Q. So Exhibit 4 will be the $5 million note and         15   time.
    16   Exhibit 5 will be the 2.4 million.                          16       Q. Strasburger is a law firm?
    17          (Whereupon, Exhibits 4 & 5 were marked for           17       A. Yes.
    18          identification.)                                     18       Q. And then it says, so Exhibit 6 created May 3,
    19       Q. (BY MR. RUKAVINA) Before I ask about 4 and           19   Exhibit 7 created May 2, modified, accessed. Does that
    20   5, to be fair to you and refresh your memory, I'm going     20   to the best of your understanding comport with when
    21   to provide you printouts of the metadata, metadata --       21   Exhibits 4 and 5 were actually created?
    22   I'm not sure how to better say that -- for both notes.      22       A. Can you repeat that.
    23          And again I'm representing to you that I             23       Q. Yeah. We'll wait for the rest of the
    24   printed out the metadata without doctoring it, so           24   metadata. But let's go back to 4 and 5.
    25   please assume that's true, and if it's not, your            25           In and by May 2019 I think you mentioned that


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                                                             45                                                                   47
     1   it was your job to, I think you said update promissory       1   that Mr. Waterhouse's signature there appears on the
     2   notes?                                                       2   Word document as an image.
     3         MR. MORRIS: Objection to the form of the               3      A. Uh-huh.
     4   question.                                                    4      Q. Do you have any memory of whether there was
     5       Q. (BY MR. RUKAVINA) Let me take that question           5   an image that someone would have affixed of
     6   back.                                                        6   Mr. Waterhouse's signature to promissory notes?
     7         You testified earlier that your group would            7      A. Yes. We typically always -- he was
     8   have taken a template and used it to create or prepare       8   completely fine with having documentations -- sorry,
     9   a new promissory note; right?                                9   having documents signed or executed with his
    10       A. Right.                                               10   e-signature.
    11       Q. How would you call that process? What word           11      Q. Would these pictures of his signature have
    12   would you use for that process?                             12   been his e-signature in May of 2019?
    13       A. Let's call it papering the loan.                     13      A. Yes.
    14       Q. In May of 2019, was it your job to paper the         14      Q. So let's just clarify that because I don't
    15   loan?                                                       15   want there to be any confusion.
    16       A. Yes.                                                 16         I know there's some computer programs out
    17       Q. Would anyone else at the corporate accounting        17   there that are restrictive and have passwords before
    18   group have been responsible to paper a loan?                18   any signature is printed. And then there's some people
    19       A. At that time, I don't think so. I think I            19   that use a stamp or an image; right?
    20   was the one doing it.                                       20         MR. MORRIS: Objection to the form of the
    21       Q. I think you mentioned that you think you             21   question.
    22   papered the loan, respecting Exhibits 4 and 5; correct?     22      Q. (BY MR. RUKAVINA) Are you following me?
    23       A. Correct.                                             23      A. I follow you.
    24       Q. You have no distinct present memory of               24      Q. In May of 2019, did Mr. Waterhouse have any
    25   papering 4 and 5; correct?                                  25   specific program that would have to -- you would have


                                                             46                                                                   48
     1       A. Correct.                                              1 to go through before it would spit out his e-signature,
     2       Q. Can you think of anyone else at the corporate         2 or was he fine with you and his staff using an image
     3   accounting group that would have papered 4 and 5?            3 like this?
     4          MR. MORRIS: Objection to the form of the              4    A. He was fine with using his e-signature, and
     5   question.                                                    5 what is on these documents was that exact e-signature.
     6          THE WITNESS: The only other person that               6 So I don't know if he had -- I don't know how it was
     7   could have would either be Dave Klos or Hayley Eliason.      7 created originally.
     8       Q. (BY MR. RUKAVINA) What was Hayley's role in           8    Q. The e-signature?
     9   May of 2019?                                                 9      A. E-signature.
    10       A. She was the accountant. I can't recall her           10      Q. Do you have any memory with respect to
    11   specific title.                                             11   Exhibits 4 and 5 of getting Mr. Waterhouse's specific
    12       Q. Now, in May of 2019 when you papered a loan,         12   approval to use his e-signature?
    13   would you have consulted with either internal or            13      A. I don't have exact specific memory, same as
    14   external legal before finishing that loan or presenting     14   conversations on these loans. But he would have had to
    15   it for signature or anything else?                          15   approve this loan in the dollar amount, the day.
    16       A. Not if it was just our standard demand note          16          He would have been the one directing us to
    17   that we already had a template on.                          17   create these loans. In past practice he has always
    18       Q. So would it have been your general course in         18   approved using his e-signature to execute documents.
    19   May of 2019, if you prepared Exhibits 4 and 5, not to       19      Q. How would he have approved Exhibits 4 and 5?
    20   seek advice from internal or legal before proceeding        20   By that, I mean by email or memorandum? How would he
    21   with these notes?                                           21   have approved it in May of 2019?
    22       A. With these two specific notes?                       22          MR. MORRIS: Objection to the form of the
    23       Q. Yes.                                                 23   question.
    24       A. Yes.                                                 24          THE WITNESS: I would assume that, as I've
    25       Q. If we flip the page, I'll represent to you           25   stated previously, these directions were coming


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     1 directly from him to paper a loan. These changes that             1     Q. But you have no memory of that authority or
     2 are made are only to the dollar amount. Interest rate             2 approval, specifically for 4 and 5?
     3 is pulled right off the IRS website.                              3      MR. MORRIS: Objection. Asked and answered
     4        That is his approval to paper a loan and in                4 about five times.
     5 fact execute or approve the loan.                                 5       THE WITNESS: Same as my answer I just gave.
     6    Q. (BY MR. RUKAVINA) In May of 2019, would                     6    Q. (BY MR. RUKAVINA) And I think you mentioned
     7 Mr. Waterhouse -- what was his practice as far as using           7 that in your years at Highland your team papered
     8 an ink signature on documents as opposed to an                    8 hundreds of loans?
     9 e-signature? Did he have a practice?                              9      A. Yeah.
    10          MR. MORRIS: Objection to the form of the                10      Q. In your time at Highland, is it your
    11   question.                                                      11   testimony that the accounting -- corporate accounting
    12          THE WITNESS: He has never specifically said,            12   department never made a mistake with respect to
    13   on certain documents I would like to ink it with my            13   anything that it did?
    14   signature. Probably at this time, 99 percent of the            14          MR. MORRIS: Objection to the form of the
    15   stuff my team got his signature on was his e-signature.        15   question.
    16   I think it just depended on the group and what it was.         16          THE WITNESS: No, I did not say that.
    17       Q. (BY MR. RUKAVINA) So how would he authorize             17      Q. (BY MR. RUKAVINA) Do you recall any mistakes
    18   you or your team to use his e-signature for any given          18   in your time at the corporate accounting group at
    19   document in May of 2019?                                       19   Highland that had been made, any significant mistakes?
    20          MR. MORRIS: Objection to the form of the                20          MR. MORRIS: Objection to the form of the
    21   question.                                                      21   question.
    22          THE WITNESS: Through the conversations that             22          THE WITNESS: Significant mistakes, not that
    23   would have been had before these emails went out saying        23   I can recall.
    24   paper loan.                                                    24      Q. (BY MR. RUKAVINA) No accounts payable
    25       Q. (BY MR. RUKAVINA) And -- okay. So, and                  25   mistakenly paid?


                                                                 50                                                             52
     1 after his e-signature was used either on these notes or           1          MR. MORRIS: Objection to the form of the
     2 other documents in May of 2019, would you have brought            2   question.
     3 the documents back to him for any kind of verification?           3          THE WITNESS: I cannot specifically answer
     4       MR. MORRIS: Objection to the form of the                    4   that question with 17 years of work to recall, sorry.
     5 question.                                                         5          MR. RUKAVINA: Just take a quick break. If
     6       THE WITNESS: Probably not. These are all                    6   you need a restroom -- off the record.
     7 very standard. We've papered hundreds of loans. So I              7          (Off the record.)
     8 think he trusted that we can handle updating a date and           8       Q. (BY MR. RUKAVINA) Going back to Exhibits 4
     9 a dollar amount on these loan templates.                          9   and 5.
    10    Q. (BY MR. RUKAVINA) Do you know or believe, or               10          Mr. Waterhouse signed these promissory notes.
    11 your recent review of documents, did it reveal an email          11   Is there any particular reason why he signed them as
    12 from Mr. Waterhouse to you specifically authorizing his          12   opposed to Dondero or someone else?
    13 e-signature on Exhibits 4 and/or 5?                              13       A. No particular reason. He's an officer for
    14    A. Not that I recall seeing, no.                              14   both companies. He's a signatory.
    15    Q. Sitting here today, do you have any memory of              15       Q. Who decided, if anyone, to your knowledge,
    16 Mr. Waterhouse orally or otherwise specifically                  16   that he would be the one signing the notes, these two
    17 authorizing you to affix his e-signature to Exhibits 4           17   notes?
    18 and/or 5?                                                        18       A. I don't know who would have decided that, but
    19    A. Specifically on these loans, no, I don't                   19   typically if Frank specifically wanted Jim Dondero to
    20 recall those conversations. But, again, our practice             20   sign it, he would say, take it to Jim to sign.
    21 has always been we have this discussion, he's under the          21       Q. Do you have a recollection of
    22 understanding that we're going to paper the loans, he's          22   Mr. Dondero -- strike that.
    23 always comfortable with using his e-signature.                   23          Do you have a recollection of Mr. Waterhouse
    24      This is not something me or my team would                   24   signing other promissory notes?
    25 have done without that authority and approval from him.          25       A. Yes. I know for sure he has signed other


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     1 promissory notes. I can't tell you explicitly which            1      Q. Well, let's go back a little bit in time.
     2 ones.                                                          2         Would you agree that at some point prior to
     3          (Off the record.)                                     3   2019 the standard course was that paper notes were ink
     4       Q. (BY MR. RUKAVINA) Are you saying that in May          4   signed?
     5   of 2019 -- strike that.                                      5         MR. MORRIS: Objection to the form of the
     6          By May of 2019, was it not the standard               6   question.
     7   practice at the debtor that Mr. Dondero would sign           7         THE WITNESS: I could not tell you
     8   intercompany promissory notes?                               8   specifically when notes were or were not ink signed.
     9          MR. MORRIS: Objection to the form of the              9      Q. (BY MR. RUKAVINA) Was there any repository,
    10   question.                                                   10   to the best of your recollection, as of May 2019 where
    11          THE WITNESS: No, that's not standard                 11   any ink-signed original promissory notes were kept by
    12   practice. Just needed to be somebody -- somebody who        12   the debtor?
    13   is a signer for the entity on the incumbency                13      A. No. We always would scan them in, save them
    14   certificate.                                                14   on our shared drive. Never had paper copies.
    15       Q. (BY MR. RUKAVINA) Was there a standard               15      Q. So that's -- fixing to ask that question
    16   practice, or did you just describe the standard             16   next.
    17   practice that it was someone on the incumbency              17         So Exhibits 4 and 5, would they even have
    18   certificate?                                                18   been printed after they were papered up?
    19       A. That's correct, somebody on the incumbency           19         MR. MORRIS: Objection to the form of the
    20   certificate. Frank is a great prospect to sign, with        20   question.
    21   giving direction to set loans up, send money out. Why       21         THE WITNESS: Possibly. Somebody could have
    22   wouldn't he sign it.                                        22   printed them.
    23       Q. Do you have any memory sitting here today of         23      Q. (BY MR. RUKAVINA) Do you remember printing
    24   Mr. Waterhouse telling you or agreeing that he would be     24   Exhibits 4 or 5 sitting here today?
    25   signing these two promissory notes for HCMFA?               25      A. I don't recall printing them myself, no.


                                                             54                                                              56
     1      A. Not specifically, but he didn't need to tell           1      Q. Would there have been a reason to print them
     2   me. He typically would tell me if he wanted Jim to           2   out if, as you said, the notes were stored
     3   sign them.                                                   3   electronically?
     4      Q. Sitting here today, do you have any memory of          4          MR. MORRIS: Objection to the form of the
     5   giving Mr. Waterhouse these two promissory notes after       5   question.
     6   they were prepared?                                          6          THE WITNESS: There could be a reason. I
     7      A. I specifically don't remember walking into             7   don't recall that I for any reason printed these
     8   his office and providing it to him, but he could have        8   particular notes.
     9   found it on our shared drive if he wanted to.                9      Q. (BY MR. RUKAVINA) So as of May 2019, is it
    10      Q. Do you have any memory or in your recent              10   your testimony that notes that were papered up by the
    11   review of documents did you see any email to the effect     11   corporate accounting group would have been saved
    12   of you sending either or both of these promissory notes     12   electronically on the system and not kept by way of
    13   to Mr. Waterhouse after they were papered up?               13   paper copies in some file?
    14      A. I don't have any specific recollection,               14      A. Correct. That's right.
    15   again, but he had access to look at them.                   15      Q. This is additional metadata. And you
    16      Q. On the shared drive?                                  16   understand I have a bit of an accent.
    17      A. Yes.                                                  17          What are we on?
    18      Q. In May -- I'm going to ask this question              18          (Off the record.)
    19   multiple different ways, so let's start with kind of        19      Q. (BY MR. RUKAVINA) Ms. Hendrix, Exhibit 8 is
    20   the general.                                                20   going to be additional metadata for the May 3, 2019,
    21          In May or by May of 2019, was there a                21   note that we've been looking at, and Exhibit 9 will be
    22   repository, electronic or paper, where the debtor kept      22   the same thing for the May 2 note that we've been
    23   original promissory notes that were owed -- where money     23   looking at.
    24   was owed to it?                                             24          That's 8. That's 9.
    25      A. Original meaning paper?                               25          (Whereupon, Exhibits 8 & 9 were marked for


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                                                                                                            15 (Pages 57 to 60)
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                                                             57                                                              59
     1          identification.)                                      1   Obviously, you're welcome to use them anytime you need
     2       Q. (BY MR. RUKAVINA) Ms. Hendrix, I'm going to           2   to, but I think we're done with those notes.
     3   represent to you again that my office has faithfully         3          Going to hand you what we're going to mark as
     4   printed this metadata out without doctoring or changing      4   Exhibit 10, which is an email chain produced by the
     5   anything, and I ask you to assume that. If I'm wrong         5   debtor.
     6   on that, then your answers don't count.                      6          And I don't know how anyone on the video will
     7          Ma'am, as I look at these two documents, it           7   see it. I apologize. I'll have to send it to you
     8   says last modified by Kristin Hendrix.                       8   later.
     9          Do you see that?                                      9          (Whereupon, Exhibit 10 was marked for
    10       A. Yes.                                                 10          identification.)
    11       Q. And that would have -- that could have only          11       Q. (BY MR. RUKAVINA) Now, if you start with
    12   been you; correct, in that department?                      12   this email chain, it starts on November 19, 2020 from
    13       A. I hope so, yes.                                      13   Jack Donohue to you, copying Mr. Seery and various
    14       Q. Seeing these two documents, can you agree            14   others.
    15   with me now that it was in fact you that papered up         15          Do you see that?
    16   Exhibits 4 and 5?                                           16       A. Yes.
    17          MR. MORRIS: Objection. Asked and answered.           17       Q. And Mr. Donohue is asking you to provide him
    18          THE WITNESS: I would assume so since my name         18   the financial records of HCMFA due to the funds owed
    19   is on it, yes.                                              19   the debtor.
    20       Q. (BY MR. RUKAVINA) Both of these documents            20          Do you see that?
    21   say last printed -- I'm sorry. If you see related           21       A. Yes.
    22   dates, it says last printed May 2, 2019, 11:27 A.M. Do      22       Q. Do you recall that email from Mr. Donohue to
    23   you have any memory or any understanding as to why that     23   you?
    24   date would be there or what last printed might mean?        24       A. Yes.
    25       A. I don't know why it says last printed the day        25       Q. Do you recall any context or subsequent


                                                             58                                                              60
     1   before it was created. That doesn't make any sense. I        1   discussions or how that email came to be, or do you
     2   have no idea.                                                2   just recall getting that email?
     3         Unless, the only thing I could think of is if          3      A. I just recall getting the email.
     4   we changed this template. When I say "this," the             4      Q. You write back, hi Jack, Scott Ellington is
     5   $2.4 million loan, which was papered on the 2nd, and         5   going to follow up with the board on this request.
     6   then used it for the next day for the template to            6          Do you see that?
     7   update the date, possibly. I have no idea.                   7      A. Yes.
     8       Q. Well, it may be -- and I understand that you          8      Q. Do you recall why you told Jack that
     9   don't have any memory; we're speculating a little bit.       9   Mr. Ellington was going to follow up?
    10         It may be, looking at Exhibits 8 and 9, that          10      A. From what I recall, I had asked Frank
    11   the $2.4 million note was printed on May 2, and then        11   Waterhouse if it was okay to send these financials
    12   after having been used as the template for the              12   over, and he wanted me to check with Scott Ellington
    13   $5 million note, the $5 million note would not have         13   and that was Scott's response.
    14   been printed.                                               14      Q. And did he tell you why he wanted you to
    15         Does that sound possible?                             15   check with Scott Ellington?
    16         MR. MORRIS: Objection to the form of the              16      A. Just to make sure that there were no issues
    17   question.                                                   17   with sending them over.
    18         THE WITNESS: Sure, it could be possible.              18      Q. Mr. Seery writes back, can I get this ASAP.
    19       Q. (BY MR. RUKAVINA) But you don't have any             19   HCMFA is way overdue.
    20   memory either way?                                          20          Do you see that?
    21       A. No. And when these were printed they're              21      A. Yes.
    22   printed to PDF, I believe, is probably what that means.     22      Q. And Mr. Seery writes again, it's about a week
    23       Q. Okay.                                                23   later, and he says, this is an explicit direction from
    24         We're going to switch gears a little bit now,         24   me as CEO of HCMLP. But it looks like you are the
    25   if you want to make a pile of those exhibits.               25   recipient of that December 2 email; correct?


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     1      A. Yes.                                                   1 you, copying Waterhouse, Seery, a bunch of others.
     2      Q. Do you remember him sending you that email             2       Where he says, at the direction of Jim Seery,
     3   and copying those people?                                    3 please provide DSI with the requested information for
     4      A. Yes.                                                   4 each entity below.
     5      Q. Do you remember anything happening in that             5        And you'll see the entity includes both of my
     6   week between his November 25 and December 2 email along      6 clients, NexPoint Advisors and HCMFA. And the
     7   the same discussion lines?                                   7 information includes bank statements, income
     8      A. I don't remember anything. I think I was               8 statements, balance sheets, cash flows.
     9   probably left out of any discussions, and if there were      9       Do you see that?
    10   any, it was with Scott Ellington and whomever he had        10      A. Yes.
    11   discussions with.                                           11      Q. Do you recall this email?
    12      Q. Then subsequent, on December 2, Mr. Seery             12      A. Vaguely, yes.
    13   writes, all, Scott and I have spoken and agree that the     13      Q. Did you have any concerns when you received
    14   information should be provided to James immediately.        14   this email?
    15         Would that have been James Romey, do you              15      A. Concerns about the email, no. I probably
    16   think?                                                      16   checked with -- I would have checked with Frank to make
    17      A. Yes.                                                  17   sure it was okay to send this first.
    18      Q. And who was James Romey?                              18      Q. Frank Waterhouse?
    19      A. He also worked for DSI.                               19      A. Yes.
    20      Q. And then he writes, Kristin, please proceed           20      Q. Do you have any understanding as to why
    21   with James. If anyone has any questions or issues,          21   Mr. Donohue requested bank statements, income
    22   please call me.                                             22   statements, balance sheets for NexPoint and/or HCMFA?
    23         Do you see that?                                      23      A. I do not.
    24      A. Yes.                                                  24      Q. Did he or anyone at DSI tell you why they
    25      Q. Did you proceed with James Romey?                     25   were requesting that?


                                                              62                                                                64
     1     A. I further made sure that Scott was okay, to             1      A. Not that I can recall.
     2 confirm. He said yes, please do, and I did send them           2      Q. If we go forward in time, you'll see that
     3 to James Romey.                                                3   Mr. Waterhouse is writing back to Mr. Donohue. And
     4       Q. So Mr. Seery has some of it in this email             4   then Mr. Seery interjects and says, these are HCMLP
     5   chain, but do you have any understanding as to why           5   business records. Please provide them as requested by
     6   either DSI or Mr. Seery in November of 2020 was asking       6   Jack ASAP.
     7   for the financial records of HCMFA?                          7         Do you see that?
     8       A. I do not, other than what's in this email.            8      A. Yes.
     9       Q. Did you discuss with either DSI or Mr. Seery          9      Q. And it looks like you were not privy to
    10   or Mr. Waterhouse in November or December 2020 whether      10   subsequent communications where Frank and Jim were
    11   the demand notes from HCMFA should be demanded, should      11   talking back and forth about this. You were not privy
    12   be called?                                                  12   to those, like you weren't blind copied or anything to
    13       A. I did not have discussions.                          13   your recollection?
    14       Q. Next exhibit is Exhibit 11. This is another          14      A. No.
    15   email chain.                                                15      Q. Did you in fact on or after January 6, 2021,
    16          And I apologize to the folks on the video.           16   provide Mr. Donohue or anyone on his team the
    17   I'll have to get it to you during some break.               17   information that he had requested as it relates to
    18          MR. MORRIS: Hold on one second.                      18   NexPoint and/or HCMFA?
    19          MR. RUKAVINA: Sure. Off the record.                  19      A. Without going back to check, I couldn't
    20          (Off the record.)                                    20   answer yes or no for certain.
    21          (Whereupon, Exhibit 11 was marked for                21      Q. So I think you mentioned when you received
    22          identification.)                                     22   the email from Mr. Donohue you would have checked with
    23       Q. (BY MR. RUKAVINA) Exhibit 11, Ms. Hendrix,           23   Frank. And what do you remember asking Frank or
    24   if you'll go to the beginning of this email chain, is       24   checking with him about?
    25   an email on January 6, 2021, again from Mr. Donohue to      25      A. I don't remember asking him specifically. In


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                                                                                                             17 (Pages 65 to 68)
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                                                            65                                                                     67
     1   fact, it's possible that Frank just responded on his        1   to?
     2   own here to Jack. Again, would have been a                  2      A. We had a standing weekly cash meeting with
     3   conversation that I can't specifically recall.              3   Frank Waterhouse, myself, Jim Seery. I can't recall
     4      Q. Sure. And you don't specifically remember             4   everyone on it. Some of the DSI folks. We go through
     5   today providing Mr. Donohue any of that information;        5   cash forecasts. It's a 13-week cash forecast. We go
     6   right?                                                      6   through it every week.
     7      A. Right.                                                7         It's going to lay out incoming and outgoing
     8      Q. You don't specifically remember today having          8   payments that are forecasted, of which these term loans
     9   a discussion with Mr. Donohue or Seery or anyone else       9   were in those forecasts, so they were discussed.
    10   at or about that time as to why they were wanting this     10      Q. And Mr. Morris produced some of those to me
    11   information?                                               11   this morning. I haven't had time to go through them.
    12      A. Correct.                                             12         But it is your recollection in November and
    13      Q. Exhibit 12, Ms. Hendrix, is going to be the          13   December of 2020 the fact of the NexPoint term note
    14   December 3, 2020, letter by which Highland called the      14   being out there was known to Mr. Seery?
    15   notes.                                                     15      A. Yes.
    16          MR. MORRIS: Objection to the form of the            16      Q. And the fact of an upcoming December 31,
    17   question if there was one.                                 17   2020, payment was known to Mr. Seery?
    18          (Whereupon, Exhibit 12 was marked for               18      A. Yes.
    19          identification.)                                    19      Q. So with that background, in November and
    20      Q. (BY MR. RUKAVINA) Are you familiar with              20   December of 2020, do you remember discussing with
    21   Exhibit 12, Ms. Hendrix?                                   21   anyone anything to the effect of, oh, it really would
    22      A. No, I haven't seen this.                             22   be better if NexPoint defaulted on that note so we
    23      Q. Prior to today, you don't remember seeing            23   could call it?
    24   this?                                                      24      A. No.
    25      A. No.                                                  25      Q. Did Mr. Seery ever state to you anything in


                                                            66                                                                     68
     1      Q. I think you're answering no?                          1 November or December of 2020 about how the debtor might
     2      A. No, sorry, no.                                        2 monetize that NexPoint note?
     3      Q. On or before December 3, 2020, did anyone             3       A. No.
     4   discuss with you whether Highland should call the           4       Q. Did he discuss with you any potential sale of
     5   demand notes that were outstanding by HCMFA?                5   that promissory note?
     6      A. No.                                                   6       A. No.
     7      Q. Do you recall in December 2020 any discussion         7       Q. Did DSI ever discuss with you in November or
     8   with anyone at the debtor about the NexPoint                8   December 2020 any potential sale of that note?
     9   $30.7 million term note?                                    9       A. No.
    10      A. Repeat your question again, please.                  10       Q. Or how to monetize that note?
    11      Q. Sure. So you're familiar, and we'll talk             11       A. No.
    12   about it in some detail, with the NexPoint                 12       Q. So -- well, strike that.
    13   $30.7 million note?                                        13          Did Mr. Seery or anyone at DSI, or anyone at
    14      A. Yes.                                                 14   all, in November or December of 2020 state any words to
    15      Q. And again, we'll talk about it, but at that          15   you to the effect that they were hoping that NexPoint
    16   point in time that was a term note; correct?               16   would default on that note?
    17      A. Correct.                                             17       A. Never.
    18      Q. Do you remember in the December 2020 or              18       Q. Or that it would be in the debtor's interest
    19   November 2020 time frame discussing with anyone at the     19   for NexPoint to default on that note?
    20   debtor the status of that NexPoint note?                   20       A. No.
    21      A. Yes, we would have discussed this on a weekly        21       Q. In November or December of 2020, do you
    22   basis in our cash meetings that we would have had, as      22   recall having any discussions with Mr. Seery or anyone
    23   identifying that there are payments due on these loans     23   at DSI as to the collectibility of that note? And by
    24   in December.                                               24   that I mean whether NexPoint can pay the note?
    25      Q. What weekly cash meetings are you referring          25       A. I don't specifically recall. It most likely


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                                                                                                              18 (Pages 69 to 72)
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     1 came up in cash conversations.                                   1   not?
     2   Q. I think you were assistant controller back                  2      A. Yes.
     3 then?                                                            3      Q. What's your understanding?
     4    A. Yes.                                                       4      A. Either November 30 or December 1, 2020, I
     5    Q. Would a discussion of a borrower's ability to              5   received a phone call from Frank Waterhouse that said,
     6 repay have been something within your general sphere of          6   no payments are going from any of the Advisors to
     7 responsibility in that time frame?                               7   Highland.
     8        MR. MORRIS: Objection to the form of the                  8      Q. Can you be more specific with what he said?
     9 question.                                                        9      A. That's what he said.
    10        THE WITNESS: It depends on who the borrower              10      Q. So he said no payments from the Advisors to
    11 is, and at that time we did -- we had knowledge over            11   Highland?
    12 that information, so yes.                                       12      A. Yes.
    13    Q. (BY MR. RUKAVINA) Well, you've seen some                  13      Q. Did he reference the promissory note
    14 instructions or requests from Mr. Seery to you and DSI          14   expressly?
    15 to you for financial information of NexPoint and HCMFA.         15      A. No.
    16 We've gone through those documents; right?                      16      Q. But no payments means?
    17       A. Yes.                                                   17      A. Nothing.
    18       Q. Does that refresh your memory that there was           18      Q. That would logically in your mind include the
    19   any internal discussion that you were privy to about          19   promissory note?
    20   the ability of HCMFA and/or NexPoint to pay these             20      A. Yes.
    21   notes?                                                        21      Q. Did you ask him why?
    22       A. I don't recall that specifically being asked.          22      A. No.
    23   It could have.                                                23      Q. Did he tell you why?
    24       Q. Did you ever at any point in time have any             24      A. No.
    25   employment or officer or any title or role with               25      Q. Did you, prior to January 1, 2021, did you


                                                                70                                                             72
     1   NexPoint Advisors, LP?                                         1   hear from anyone as to why Mr. Waterhouse gave that
     2       A. No.                                                     2   instruction?
     3       Q. Were you ever the controller or assistant               3      A. Not that I recall.
     4   controller for NexPoint Advisors LP?                           4      Q. Did you, after that November 30 or December 1
     5       A. No.                                                     5   phone call, did you follow up with him or anyone else
     6       Q. Did you ever at any point in time have any              6   about the upcoming note payment?
     7   employment, officer or any title or role at HCMFA?             7      A. I didn't have any reason to.
     8       A. No.                                                     8      Q. I'm going to -- let me find you a document
     9       Q. Were you ever the controller or assistant               9   for a moment.
    10   controller of HCMFA?                                          10         Just so the record is complete, let's include
    11       A. No.                                                    11   this promissory note. It's going to be Exhibit 13.
    12       Q. So you might have indirectly provided                  12   This is the NexPoint promissory note.
    13   services to those two as part of shared services, but         13         (Whereupon, Exhibit 13 was marked for
    14   never directly; is that fair?                                 14         identification.)
    15         MR. MORRIS: Objection to the form of the                15      Q. (BY MR. RUKAVINA) I take it you've seen this
    16   question.                                                     16   promissory note, Exhibit 13?
    17         THE WITNESS: When you say never directly,               17      A. Yes.
    18   meaning I was not employed by those entities?                 18      Q. And I think you testified about this before,
    19       Q. (BY MR. RUKAVINA) Correct.                             19   but just to summarize to save time.
    20       A. That's correct.                                        20         This would have been a note that you would
    21       Q. Do you have any understanding -- first of              21   not have papered but would have gone through legal
    22   all, NexPoint did not make a payment on December 31,          22   because it was a roll-up. Is that generally accurate?
    23   2020; correct?                                                23      A. Yes.
    24       A. Correct.                                               24      Q. And do you have any memory at all of having
    25       Q. Okay. Do you have any understanding of why             25   anything to do with papering up this loan?


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     1      A. Not that I recall.                                     1       A. At my house.
     2      Q. Would you have had, after 2017 and before              2       Q. Did you answer on a cell phone or landline?
     3   2021, any role with respect to any payments or upcoming      3       A. My cell phone.
     4   payments on this note, any role at all?                      4       Q. Is there any chance in hell that your cell
     5      A. Yes.                                                   5   phone would still have a record of that phone call,
     6      Q. What would have been your role or roles?               6   like what time it was and how long it lasted?
     7      A. That would have been taking direction from             7          MR. MORRIS: Objection to the form of the
     8   Frank Waterhouse or possibly Jim Dondero saying, go          8   question.
     9   ahead and make these payments that are due on these          9       Q. (BY MR. RUKAVINA) I apologize for using
    10   term notes.                                                 10   hell.
    11      Q. Would you have recorded on any books or               11          MR. MORRIS: And to foundation.
    12   records payments that actually were made?                   12          THE WITNESS: I have no idea.
    13      A. Not me personally.                                    13       Q. (BY MR. RUKAVINA) Do you have your cell
    14      Q. Who would have?                                       14   phone with you right now?
    15      A. Our accountant, which could have been one of          15       A. In the other room.
    16   two different people, depending on the time frame.          16       Q. I might ask you during the break to just --
    17      Q. Would you have had any role with respect to           17   we'll take a short break before I'm done, and I'll ask
    18   recording those payments or is that just something that     18   you if you've had a chance to look for November and
    19   your group would have done?                                 19   December 2020 phone logs between you and
    20         MR. MORRIS: Objection to the form of the              20   Mr. Waterhouse. I would ask you to do that, please.
    21   question.                                                   21       A. Sure.
    22         THE WITNESS: I would not have had a role.             22       Q. And I apologize, I think you said you thought
    23   My group would have.                                        23   it was a short telephone call?
    24      Q. (BY MR. RUKAVINA) What about calculating              24       A. I have no idea.
    25   amortization and/or interest payments that are due or       25       Q. Did the telephone call or Mr. Waterhouse's


                                                             74                                                              76
     1   upcoming? Who would have done that, you or someone           1 instructions surprise you in any way?
     2   else?                                                        2    A. Nothing surprises me anymore, so no.
     3      A. Our accountant.                                        3   Q. Did it surprise you back in November or
     4      Q. Do you have any memory of doing that?                  4 December of 2020?
     5         MR. MORRIS: Objection to the form of the               5   A. No.
     6   question.                                                    6   Q. Did it pique your curiosity?
     7         THE WITNESS: Not during 2017 through 2019.             7      A. Nope.
     8      Q. (BY MR. RUKAVINA) What about 2020?                     8      Q. Just another instruction from your boss?
     9      A. No.                                                    9      A. Yep.
    10      Q. Going back to that November 30 or December 1          10      Q. Exhibit 14 is going to be a document that
    11   telephone call, do you recall who initiated the call?       11   we're not sure what it is and we're not sure who
    12      A. To me?                                                12   prepared it. It appears to be a ledger of charges
    13      Q. The one between you and Mr. Waterhouse.               13   against and payments on this promissory note.
    14      A. Frank called me.                                      14         I'm just saying that so the people on the
    15      Q. Frank called you.                                     15   phone know what it is, but you don't have to take what
    16         And was it just to discuss -- or just to give         16   I said as correct.
    17   you that instruction, no payments from the Advisors, or     17         (Whereupon, Exhibit 14 was marked for
    18   was there other things discussed?                           18         identification.)
    19      A. I could not tell you if something else was            19      Q. (BY MR. RUKAVINA) So Ms. Hendrix, Exhibit 14
    20   discussed on that phone call.                               20   was produced by the debtor. And I'm going to ask you,
    21      Q. Do you remember if it was a long phone call           21   do you know what this is or have you seen it before?
    22   or short?                                                   22   Can you help us state what it is?
    23      A. Couldn't tell you.                                    23      A. This looks like it is an amortization
    24      Q. Do you remember where you were when he called         24   schedule of the NexPoint Advisors term loan.
    25   you?                                                        25      Q. Would this have been something that it


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     1   appears to you would have been maintained internally by      1   change but it doesn't use brackets?
     2   the debtor, or does it look like it might have been          2      A. It's a negative number. It's just a
     3   prepared by DSI or someone else for some other reason?       3   formatting issue.
     4      A. It looks like the debtor's amortization                4      Q. What about also on that same page in the
     5   schedule that they kept.                                     5   other column, principal paid, 5/31/2020, it's a
     6      Q. Did the debtor keep an amortization schedule           6   positive number, 575,550.
     7   for the NexPoint promissory note, to your knowledge?         7         MR. MORRIS: Where are you?
     8      A. Yes.                                                   8         MR. RUKAVINA: On page 2 of this exhibit.
     9      Q. Did the debtor keep amortization schedules             9         MR. MORRIS: What date?
    10   for other term promissory notes?                            10         MR. RUKAVINA: May 31, 2020. And it's the
    11      A. Yes.                                                  11   column over, principal paid. It's a positive number,
    12      Q. In what format, like Excel spreadsheets or            12   575,000 and change.
    13   Word documents? What is your recollection for NexPoint      13         MR. MORRIS: Got it, thank you.
    14   specifically?                                               14      Q. (BY MR. RUKAVINA) Do you see that,
    15      A. Excel.                                                15   Ms. Hendrix?
    16      Q. Would that have been on the shared system or          16      A. Yes.
    17   something?                                                  17      Q. Do you have an understanding of why that
    18      A. Yes.                                                  18   number would be positive?
    19      Q. And who would have been responsible on an             19      A. Actually, I think this looks like an entry to
    20   ongoing basis to update the NexPoint amortization           20   me where the interest is what we call picking. So on
    21   schedule?                                                   21   the anniversary date of this loan, which is May, from
    22          MR. MORRIS: Objection to the form of the             22   what I can tell, the accrued interest total, which is
    23   question.                                                   23   that 575-, is being rolled into principal.
    24          THE WITNESS: Depends on what time you're             24         That's what I can tell from looking at it.
    25   asking.                                                     25      Q. Okay. Do you have any understanding as to


                                                             78                                                               80
     1       Q. (BY MR. RUKAVINA) Let's talk about the year           1   why that would have been done or why that would have
     2   of 2020.                                                     2   been done on that day?
     3       A. That would have been Hayley Eliason, our              3          MR. MORRIS: Objection to the form of the
     4   accountant at that time.                                     4   question.
     5       Q. What about the year 2019?                             5          THE WITNESS: Because that's the anniversary
     6       A. Still Hayley.                                         6   date of the loan. I would assume that that's how the
     7         MR. RUKAVINA: I'm going to just ask, to                7   loan is written.
     8   preserve the record, Mr. Morris, if he hasn't already,       8       Q. (BY MR. RUKAVINA) And I think that that
     9   to produce any such Excel spreadsheet in the native          9   Section 1 of the promissory note does say, the unpaid
    10   form.                                                       10   principal balance of this note from time to time
    11       Q. (BY MR. RUKAVINA) If we look at this,                11   outstanding shall bear interest.
    12   Ms. Hendrix -- and I'm a little confused as to what         12          At the rate of 6 percent per annum from the
    13   these entries mean. Maybe you could help me. But            13   date hereof until maturity date, compounded annually on
    14   columns that say interest paid, principal paid, total       14   the anniversary of the date of this note.
    15   paid, do you know what those columns mean?                  15          Do you see that?
    16       A. Exactly as they state. These are interest            16          MR. MORRIS: Objection to the form of the
    17   and principal payments made on the date that's listed,      17   question.
    18   and then you've got a total.                                18          THE WITNESS: Yeah, I see that.
    19       Q. And then they're in brackets because they're         19       Q. (BY MR. RUKAVINA) Assuming that this is the
    20   negative numbers?                                           20   correct amortization schedule for the NexPoint note,
    21       A. Correct.                                             21   and that the numbers in here are correct, if you look
    22       Q. So here's what I'm not understanding. Go to          22   at the second page under the column total paid there
    23   the second page.                                            23   are a number of entries for 2019.
    24         You see there's an entry under interest paid          24          Do you see that, the far right column?
    25   12/30/29 [verbatim] that says negative 530,000 and          25       A. At the top, yes.


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                                                                                                             21 (Pages 81 to 84)
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                                                             81                                                               83
     1      Q. For example, 1.3 million, 2.1 million,                 1   Exhibit 15 and I'm going to represent to you that it's
     2   1.3 million.                                                 2   the email that Mr. Morris sent to me today and I've not
     3         Do you see that?                                       3   doctored it in any way.
     4      A. Yes.                                                   4          (Whereupon, Exhibit 15 was marked for
     5      Q. Assuming that that's correct, do you have any          5          identification.)
     6   memory or understanding whether in the year 2019, or         6          MR. MORRIS: Do you have the email that it
     7   why NexPoint was making these payments on this               7   was attached to?
     8   promissory note?                                             8          MR. RUKAVINA: Somewhere. I can find it at a
     9      A. Without going back and reading through emails          9   break.
    10   I can only assume that, from looking at this, Highland,     10          MR. MORRIS: I'll let the witness testify.
    11   the debtor, would have needed cash, and so this is one      11   This was attached to an email. Not my email, but
    12   way of getting cash to the debtor.                          12   another email. But I'll let the witness testify.
    13      Q. This is kind of like what we discussed in the         13          MR. RUKAVINA: Off the record.
    14   beginning, that Mr. Dondero on a cash needed basis          14          (Off the record.)
    15   would just transfer money between entities?                 15      Q. (BY MR. RUKAVINA) So you have Exhibit 15.
    16      A. Yes.                                                  16          And during the break we established, I don't
    17      Q. Do you have any memory in the first half of           17   have a copy of it right now, but you sent Exhibit 15 on
    18   2019 whether Highland, the debtor, had any particular       18   August 29, 2020, to Mr. Dondero by email, copying
    19   need for cash money at that time?                           19   Mr. Waterhouse, as well as a couple of other
    20      A. We generally always had a need for cash, so           20   attachments; is that correct?
    21   yes.                                                        21      A. Correct.
    22      Q. And so if NexPoint was transferring money             22      Q. Do you recall what prompted you to send that
    23   back to Highland on this note because Highland needed       23   email and this attachment?
    24   the money, would those have been recorded as                24      A. Yes.
    25   prepayments by the debtor?                                  25      Q. What?


                                                             82                                                               84
     1          MR. MORRIS: Objection to the form of the              1      A. Frank Waterhouse called me on August 29, and
     2   question.                                                    2   requested that I do so.
     3          THE WITNESS: Yes.                                     3      Q. Did he tell you why?
     4       Q. (BY MR. RUKAVINA) Sitting here today, do you          4      A. From what I recall, this was a time when Jim
     5   have any reason to believe based on the formatting or        5   was trying to come up with his bargain or pop land,
     6   anything on Exhibit 14 that it's not the amortization        6   whatever he referenced it as. This was all information
     7   schedule as it was maintained by the debtor?                 7   that Frank said he wanted.
     8       A. I don't have any reason to not believe that           8      Q. Okay. So going back to Exhibit 15, what I'm
     9   it was.                                                      9   interested in is NexPoint Advisors, the 23,846,000 and
    10       Q. Going to show you a few documents that I'm           10   change number.
    11   hopefully going to burn through, but you're certainly       11          Do you see that?
    12   entitled to take all the time that you need.                12      A. Yes.
    13          So first is going to be a document that              13      Q. Where did that number -- or where did this
    14   Mr. Morris produced this morning. It's not Bates            14   Exhibit 15 come from, if you understand my question?
    15   labeled. I don't know why.                                  15      A. Sure. These numbers should all be balances
    16          MR. MORRIS: As I said in my email, my                16   off of the corresponding notes that each entity owed to
    17   paralegal is sick and so I wanted you to have the           17   the debtor.
    18   documents. We'll Bates stamp them later, but we have a      18      Q. Did you or someone prepare Exhibit 15
    19   written record from my email of what we produced to         19   specifically for that email? Or was Exhibit 15 already
    20   you.                                                        20   existing somewhere on the system?
    21          MR. RUKAVINA: You're assuming that I read my         21      A. I believe that we prepared it specifically
    22   emails.                                                     22   for this request.
    23          MR. MORRIS: Sorry about that. I confess,             23      Q. Do you recall who?
    24   sometimes I don't as well.                                  24      A. It was either myself or our accountant. I
    25       Q. (BY MR. RUKAVINA) So I'm going to hand you           25   don't recall who put it together.


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                                                                                                             22 (Pages 85 to 88)
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                                                             85                                                               87
     1     Q. Okay. And where would that 23 million and               1           Do you see that, ma'am?
     2 change number for NexPoint have come from, an                  2       A. Yes.
     3 amortization schedule?                                         3       Q. 23 million 683?
     4      A. Yes.                                                   4       A. Yes.
     5      Q. And what about Highland Capital Management             5       Q. And you see, HCMFA due to HCMLP as of
     6   Fund Advisors? You see $10.5 million and change demand       6   June 30, 2020, 12,286,000?
     7   on Exhibit 15?                                               7           MR. MORRIS: Objection to the form of the
     8      A. Yes.                                                   8   question.
     9      Q. Where would that $10.5 million number have             9       Q. (BY MR. RUKAVINA) Strike that.
    10   come from, do you remember?                                 10           It says 12,286. What do you take that 12,286
    11      A. The same. It would have come off of the               11   to mean?
    12   amortization schedules for all of their notes.              12       A. I think that's a typo and it should have
    13      Q. How was there an amortization schedule for a          13   said -- well, there's several things wrong with this,
    14   demand note?                                                14   from looking at it.
    15      A. Because it's accruing interest.                       15           She left off three zeros on the end of it.
    16      Q. So sitting here today, you expect there would         16   Should have said 12,286,000. Secondly, that amount is
    17   be some amortization schedule like Exhibit 14 but for       17   our due to affiliates on HCMFA's books, not just due to
    18   HCMFA?                                                      18   HCMLP.
    19      A. Yes.                                                  19       Q. That was going to be my question, why that
    20      Q. Now we're going to have an exhibit [verbatim]         20   12,286,000 number didn't jive with the 10,530,000
    21   chain that's going to be marked as Exhibit 16.              21   number on Exhibit 15?
    22         (Whereupon, Exhibit 16 was marked for                 22       A. Yes, there's another loan due to a different
    23         identification.)                                      23   affiliate.
    24         MR. RUKAVINA: For the folks on the video,             24       Q. So that $12,286,000 amount doesn't mean that
    25   Exhibit 16 is the email chain that Mr. Morris used last     25   it's all due to Highland; is that correct?


                                                             86                                                               88
     1   week regarding the Section 15(c) document.                   1      A. Correct.
     2       Q. (BY MR. RUKAVINA) Are you familiar with this          2      Q. Exhibit 17 is going to be the January 7, 2021
     3   Exhibit 16 email chain, Ms. Hendrix?                         3   notice from the debtor to NexPoint about the default.
     4       A. Yes.                                                  4          (Whereupon, Exhibit 17 was marked for
     5       Q. Why are you familiar with it?                         5          identification.)
     6       A. Well, I'm copied on it, and I saw it                  6      Q. (BY MR. RUKAVINA) You've been handed
     7   yesterday.                                                   7   Exhibit 17. Have you seen this document before?
     8       Q. Do you have any memory -- well, that's a              8      A. Not that I believe.
     9   stupid question. But prior to yesterday, did you have        9      Q. And I think we've asked this before, but just
    10   any memory of this?                                         10   to clarify.
    11       A. Yes.                                                 11          Did anyone at the debtor, including Mr. Seery
    12       Q. And do you recall the context or the purpose         12   or DSI, discuss with you after December 31, 2020 that
    13   of this exhibit, or this email chain?                       13   the payment had not been made and what, if anything,
    14       A. From what I remember this is the time where          14   the debtor should do about that?
    15   information was being prepared for the retail board to      15          MR. MORRIS: Objection to the form of the
    16   re-up the debtor's shared services.                         16   question.
    17       Q. So, here -- you're certainly welcome to read         17          THE WITNESS: I can't recall specific
    18   it in its entirety and if you feel like you want to or      18   conversations that may or may not have been had around
    19   need to, that's fine. But I only have one question.         19   that topic.
    20   Well, one question with two subparts.                       20      Q. (BY MR. RUKAVINA) Would -- so back then you
    21           I'm looking at Ms. Lauren Thedford's,               21   were the assistant controller, on January 7; right?
    22   T-h-e-d-f-o-r-d's, email October 6, 2000 [verbatim]         22      A. Yes.
    23   where she says, I see the below from the 6/30               23      Q. Do you think that back then Mr. Seery or DSI
    24   financials. NPA, due to HCMLP and affiliates as of          24   would have sought your advice or input as to what they
    25   June 30, 2020.                                              25   should do about the missed payment?


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                                                                                                           23 (Pages 89 to 92)
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                                                            89                                                               91
     1      A. No.                                                   1      Q. Were you aware of it then?
     2         MR. MORRIS: Objection to the form of the              2      A. Was I aware of what?
     3   question.                                                   3      Q. That transfer of $1.4 million and change.
     4         THE WITNESS: No.                                      4      A. On January 14?
     5      Q. (BY MR. RUKAVINA) That would have been                5      Q. Yes.
     6   outside of your purview?                                    6      A. Yes.
     7      A. Yes.                                                  7      Q. Did you facilitate that transfer?
     8      Q. And you see in this notice in the middle, it          8      A. Yes.
     9   says an amount due as of January 8 in the $24,471,000       9      Q. Who told you to make that transfer?
    10   range.                                                     10      A. Frank Waterhouse.
    11         Do you see that?                                     11      Q. Did he tell you why?
    12      A. Yes.                                                 12      A. Nope.
    13      Q. Do you have any idea, I take it you don't,           13      Q. He just said make the transfer?
    14   where that number came from?                               14      A. Yes.
    15         MR. MORRIS: Objection to the form of the             15      Q. Did he tell you that it was on account of the
    16   question.                                                  16   NexPoint note?
    17         THE WITNESS: I don't know who provided that          17      A. Yes.
    18   number or where it came from.                              18      Q. Did he tell you how to, if at all, to credit
    19      Q. (BY MR. RUKAVINA) Do you have any                    19   that note for that amount?
    20   understanding as to why that number is higher than the     20      A. No.
    21   number on Exhibit 15?                                      21      Q. Sitting here today, you have no memory other
    22      A. My guess would be that Exhibit 15 is just            22   than that Frank Waterhouse told you to transfer some
    23   principal balances.                                        23   $1.4 million on the NexPoint note?
    24      Q. Okay.                                                24      A. Right.
    25         Exhibit 18, please.                                  25      Q. And do you recall, was that oral or written


                                                            90                                                               92
     1          (Whereupon, Exhibit 18 was marked for                1   or how would that have been?
     2          identification.)                                     2      A. That was a phone call.
     3       Q. (BY MR. RUKAVINA) Exhibit 18, Ms. Hendrix,           3      Q. Do you recall who initiated the phone call?
     4   is an email chain between you and Mr. Waterhouse on         4      A. Frank called me.
     5   January 12, 2021. Do you remember this email chain?         5      Q. Was that the only topic discussed in that
     6       A. No.                                                  6   phone call to your memory?
     7       Q. Do you remember on January 12 Mr. Waterhouse         7      A. Yes.
     8   emailing you, asking when the last amort payment due        8      Q. Did you ask him why the payment or
     9   and what the amount was for NexPoint?                       9   anything -- did you ask him anything at all?
    10       A. No.                                                 10      A. No.
    11       Q. When was the last time -- well, strike that.        11      Q. And after you made the payment -- or I'm
    12          Do you remember ever seeing this email              12   sorry, after you caused the payment to be made, did you
    13   between then and today?                                    13   take any further steps with respect to the NexPoint
    14       A. No.                                                 14   note?
    15       Q. Do you have any present memory of any               15      A. I forwarded the payment confirmation, showing
    16   communications with Mr. Waterhouse on or about             16   that the money was sent from NexPoint Advisors to
    17   January 12, 2021 regarding the NexPoint default or         17   Highland, forwarded that payment confirmation from the
    18   note?                                                      18   bank to Jack Donohue at DSI, letting him know.
    19       A. Not specific, no.                                   19      Q. Did you let Mr. Donohue or anyone at DSI know
    20       Q. Any general memory?                                 20   about the transfer before the transfer was made?
    21       A. Not that I can pinpoint, no.                        21      A. No.
    22       Q. Were you aware that on or about January 14          22      Q. And you sent that by email to Mr. Donohue?
    23   NexPoint transferred about $1.4 million and change to      23      A. Yes.
    24   the debtor?                                                24      Q. Did Mr. Donohue thereafter have any
    25       A. Yes.                                                25   discussion with you about that in any way?


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                                                                                                            24 (Pages 93 to 96)
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                                                            93                                                               95
     1      A. I have no idea.                                       1   proceedings today.
     2      Q. He didn't ask what this was for or anything           2          I'm going to try to ask you some questions
     3   like that?                                                  3   about these adversary proceedings. I'll try to make it
     4      A. He may have asked what the amount                     4   as quick as possible so we don't keep you here.
     5   represented. I can't specifically recall. But it's          5          You understand that you're still under oath;
     6   possible.                                                   6   is that correct?
     7      Q. Okay. Do you recall any discussion about              7       A. Correct.
     8   that time, January 14, with Mr. Donohue or                  8       Q. First topic I want to ask you about is one of
     9   Mr. Waterhouse or anyone as to whether that payment         9   the defenses in this case related to an oral agreement.
    10   would in any way relieve NexPoint of the default or        10   Let me start off with this question.
    11   would not relieve NexPoint of the default?                 11          Are you aware that some of the defendants in
    12      A. No.                                                  12   these adversary proceedings have raised a defense that
    13      Q. Ms. Hendrix, I believe that I am done. I             13   there was a subsequent oral agreement allowing the
    14   would like you, however, because it's important, to        14   notes at issue to be potentially forgiven if certain
    15   check your phone. Would you like a short, five-minute      15   events occurred?
    16   restroom break and just check --                           16       A. I've recently been made aware that this came
    17      A. Yeah, and I might need help figuring out how         17   up, yes.
    18   to do that.                                                18       Q. When you say recently, approximately when?
    19      Q. I'm not saying that it's possible, but I'm           19       A. Within the last week.
    20   going to ask you on the record to look for that            20       Q. And where did you learn that from?
    21   November 30 or December 1, 2020 phone call.                21       A. In my speakings with John Morris just
    22          MR. MORRIS: We're happy to do that.                 22   preparing for today.
    23      Q. (BY MR. RUKAVINA) But what I would like if           23          MR. AIGEN: And John, I'm going to assume
    24   you find it, I would like you to tell me the time, the     24   that those conversations are privileged?
    25   date and the length of that call.                          25          MR. MORRIS: That's a very fair assumption.


                                                            94                                                               96
     1      A. Okay.                                                 1      Q. (BY MR. AIGEN) Other than the conversation
     2      Q. Thank you.                                            2   you just referred to with Mr. Morris, have you ever had
     3          We'll be back in five minutes.                       3   any other conversations with anyone about this alleged
     4          (Off the record.)                                    4   oral agreement that Defendants are contending occurred?
     5      Q. (BY MR. RUKAVINA) Ms. Hendrix, during the             5      A. No.
     6   break did you look at your phone?                           6      Q. So prior to that conversation with Mr. Morris
     7      A. I did.                                                7   you weren't even aware of this alleged defense related
     8      Q. Did you find anything?                                8   to an oral agreement. Is that fair to say?
     9      A. Sadly, it only goes back to October 5 of              9      A. That's right.
    10   2021.                                                      10      Q. This is a similar question but slightly
    11      Q. Not surprised. Thank you.                            11   different, just to sort of finish this topic. I'm not
    12          Have I been courteous to you today?                 12   asking about this oral agreement as a defense, I'm just
    13      A. Yes.                                                 13   asking more generally.
    14          MR. RUKAVINA: I pass the witness.                   14         Other than this conversation, were you aware
    15          MR. MORRIS: Thank you.                              15   generally of any conversations that anyone had where
    16          MR. AIGEN: Are we ready to move forward?            16   the notes at issue might be forgiven if certain events
    17          MR. MORRIS: Yes. You're a little dark               17   occurred?
    18   there.                                                     18         MR. MORRIS: Objection to the form of the
    19          MR. RUKAVINA: Can we increase the volume on         19   question.
    20   that thing?                                                20         THE WITNESS: No.
    21          (Off the record.)                                   21      Q. (BY MR. AIGEN) Is it fair to say that you
    22                  EXAMINATION                                 22   haven't had any conversations about this subsequent
    23      Q. (BY MR. AIGEN) Good afternoon, Ms. Hendrix.          23   oral agreement with anyone other than Mr. Morris?
    24   My name is Michael Aigen. I represent Mr. Dondero,         24      A. That's fair.
    25   HCMS and HCRE Partners in several of the adversary         25      Q. You never discussed it with Mr. Seery?


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                                                                                                                  25 (Pages 97 to 100)
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                                                               97                                                                  99
     1      A. No.                                                     1      A. Yes.
     2      Q. Never discussed it with Mr. Klos?                       2      Q. Can you tell me why?
     3      A. No. Well, sorry, Mr. Klos was present when              3      A. Sure. It goes along with the same statement
     4   John and I talked about it. But that's it.                    4   as HCMFA and NPA and the phone call that I got from
     5      Q. Have you ever made any investigation or                 5   Frank Waterhouse saying there's no payments coming from
     6   effort in order to determine if this oral agreement           6   any of the affiliates to the debtor.
     7   actually occurred?                                            7      Q. I may have written that down wrong when you
     8      A. No.                                                     8   talked about that before, but I believe your earlier
     9      Q. If there was such an oral agreement to                  9   testimony when you described that conversation was that
    10   potentially forgive the notes, do you believe that you       10   there was no more payments coming from the Advisors,
    11   would have known about such an oral agreement as part        11   not affiliates.
    12   of your duties and responsibilities?                         12         Let me ask you then, what was the
    13      A. Yes, I would hope so.                                  13   conversation? Was it no more payments from affiliates
    14      Q. Why do you say that?                                   14   or Advisors?
    15      A. That's something that should be disclosed in           15      A. It could have been either. I probably did
    16   audited financial statements, and me and my team are         16   say Advisors. But regardless, those payments would
    17   responsible for preparing those financial statements         17   have been directed to me to be made, either by Frank
    18   and presenting them to the auditors as fair and              18   Waterhouse or Jim Dondero.
    19   accurate.                                                    19         And I would assume that nobody directed me to
    20      Q. And is it fair to say that this oral                   20   make those payments because we weren't making any
    21   agreement should have been disclosed to PwC if it was        21   payments from Jim's related parties. I don't know for
    22   determined that it was material?                             22   a fact, but that's what I would assume. Those were all
    23      A. Yes.                                                   23   under the same umbrella.
    24      Q. And have you done any sort of analysis to              24      Q. And again, let's back up a second.
    25   determine whether the oral agreement at issue here           25         When you refer to Advisors, fair to say that


                                                               98                                                                 100
     1 would have been material for purposes of a PwC audit?           1 that does not include HCMS and HCRE; is that correct?
     2   A. I've not done any work, just finding out                   2    A. When I say Advisors, I am referring to HCMFA
     3 about it, but from what it sounds like, it would be             3 and NPA.
     4 material.                                                       4   Q. And when you use the term "affiliates,"
     5     Q. That's your opinion, that it would have been             5 you're referring to all four; is that correct?
     6 material; is that fair to say?                                  6   A. Correct.
     7   A. Fair.                                                      7     Q. Just want to make sure we're on the same
     8      Q. Have you had any discussions with anyone else           8 page.
     9   about whether the oral agreement would have been              9         When you answered the previous question you
    10   material?                                                    10 started to get into assumptions and things like that.
    11      A. No.                                                    11 Let me start off with what your specific recollection
    12      Q. Changing topics a little bit here, are you             12 of that phone call was. Tell me as best as you can
    13   aware --                                                     13 what you remember Frank telling you?
    14         (Off the record.)                                      14   A. I remember it as being no payments from the
    15      Q. (BY MR. AIGEN) Are you aware that a few of             15 Advisors to the debtor.
    16   the loans at issue here, specifically related to HCMS        16   Q. So you don't remember the instruction being,
    17   and HCRE, were term loans as opposed to demand loans?        17 don't make payments from the affiliates. It was, don't
    18      A. Yes.                                                   18 make payments from the Advisors; is that correct?
    19      Q. And are you aware that for those particular            19      A. Correct.
    20   loans, there were payments that were supposed to be          20      Q. So is it fair to say that you don't remember
    21   made but weren't on December 31, 2020?                       21   any instructions telling you not to make any payments
    22      A. Yes.                                                   22   from HCMS or HCRE?
    23      Q. Do you have any understanding as to why those          23      A. That's fair.
    24   payments weren't made with respect to the HCMS and HCRE      24      Q. So if that is the case, why weren't payments
    25   term loans on December 31, 2020?                             25   made from HCMS or HCRE for December 31, 2020, payment?



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                                                                                                             26 (Pages 101 to 104)
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                                                               101                                                              103
     1     A. Sure. Typically what would have happened is               1     Q. And is that because it's only your job to
     2 Frank would be talking to Jim Dondero about making               2 make payments that you're told to specifically make; is
     3 these payments and getting his approval to do so,                3 that correct?
     4 because Jim Dondero is, you know, directing payments             4      A. Yes, in this case, that is correct.
     5 out of these entities.                                           5      Q. Is it fair to say then that as part of your
     6        I have never -- had never been given the                  6   job responsibilities you've never made a payment to
     7 direction to effectuate those payments by anybody.               7   anyone without being specifically told by Mr. Dondero
     8    Q. Is it fair to say, then, that you're not                   8   and Mr. Waterhouse?
     9 aware of any instructions from anyone saying that the            9      A. Sorry, say that again.
    10 HCMS and HCRE payments should not be made on                    10      Q. As part of your job responsibilities, have
    11 December 31, 2020?                                              11   you ever made a payment to anyone without the specific
    12   A. That's fair.                                               12   instruction of Mr. Waterhouse or Mr. Dondero?
    13      Q. So the reason the payments weren't made is              13         MR. MORRIS: Objection to the form of the
    14   because you never got an affirmative instruction to           14   question.
    15   actually make that payment; is that correct?                  15         THE WITNESS: Yes, we make payments all the
    16      A. Correct.                                                16   time.
    17      Q. And you're not aware of Mr. Dondero                     17      Q. (BY MR. AIGEN) So why is this different in
    18   instructing anyone that HCMS and HCRE should not have         18   that this payment was not made without the specific
    19   made the December 31, 2020, payments; is that correct?        19   instructions from Mr. Waterhouse and Mr. Dondero, even
    20      A. I'm not aware personally, no. Correct.                  20   though you believed the payment was due on December 31,
    21      Q. You say personally. In any way are you aware            21   2020?
    22   of such a specific instruction?                               22      A. The difference between making a loan payment
    23      A. No.                                                     23   and making normal course -- or sorry, normal, ordinary
    24      Q. If that payment was to be made, who at the              24   course, you know, overhead expense payments is that
    25   debtor would have been responsible for making those           25   something like that is not necessarily what we would


                                                               102                                                              104
     1 payments on behalf of HCMS and HCRE?                             1   take to Jim Dondero to approve.
     2       MR. MORRIS: Objection to the form of the                   2         He doesn't have time to approve every single
     3 question.                                                        3   overhead payment that we're making out of every single
     4       THE WITNESS: The corporate accounting team.                4   entity. That's what Frank is for.
     5       Q. (BY MR. AIGEN) And that included you?                   5         Something that's once a year that's more
     6       A. Yes.                                                    6   material in amount, such as a loan payment, that is
     7       Q. And in December of 2020, were you aware that            7   something that needs to get approved by Jim Dondero.
     8   those payments were due on December 31, 2020?                  8      Q. You say needs to get approved. What's your
     9       A. Yes.                                                    9   basis for that, something in a policy manual, something
    10       Q. Did you make any attempts or efforts to                10   someone told you?
    11   determine whether Mr. Dondero wanted those payments to        11      A. It's a policy that my team followed. I don't
    12   be made?                                                      12   think that it's written in an actual manual anywhere,
    13       A. I did not, no.                                         13   but anything that's not ordinary course needs to get
    14       Q. Why not?                                               14   approved by Jim Dondero.
    15       A. That would have been something that Frank              15      Q. Is that something that's written in a policy
    16   Waterhouse would have done directly with Jim Dondero          16   anywhere?
    17   himself.                                                      17      A. Not that I know of.
    18       Q. Did you have any conversations with anyone             18      Q. Were you ever told that payments in the
    19   about whether the December 31 payments for HCMS and           19   ordinary course can be made without Mr. Dondero's
    20   HCRE would be made in December of 2020?                       20   approval but loan payments cannot?
    21       A. Not that I can recall.                                 21      A. Yes, I do recall years ago that Frank and I,
    22       Q. And you didn't think it was your                       22   possibly Jim, this was years ago, had a conversation
    23   responsibility to check on those payments and find out        23   that anything ordinary course is up to Frank to
    24   if they should have been made?                                24   approve. And this is, quite frankly, up to Frank.
    25       A. Right, correct.                                        25         Whatever he felt Jim needed to sign off on,


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     1 that's what Jim would sign off on. This was not my               1       A. I can't tell you the exact date, but, yes, I
     2 responsibility to make that decision.                            2   do have a recollection of Frank calling or emailing me
     3     Q. And in December -- prior to the December 31,              3   to have, I believe it was the HCRE wire sent out for
     4 2020, due date you didn't have any conversations with            4   their payment.
     5 anyone about whether this -- these payments that were            5       Q. What about the HCMS payment?
     6 due should be made; is that correct?                             6       A. I don't recall that one as much.
     7   A. Correct.                                                    7       Q. Other than the payment being made, do you
     8     Q. And you didn't try to check with anyone to                8   have any recollection of any other conversations about
     9 see whether anyone wanted these payments to be made; is          9   why the payment was being made?
    10 that correct?                                                   10       A. No.
    11      A. Correct.                                                11       Q. Are you aware of any conversations that
    12      Q. Subsequent to the payment being missed, did             12   anyone had regarding whether these payments would
    13   you ever have any conversations with anyone about why         13   deaccelerate loans?
    14   the payment was not made?                                     14       A. No.
    15      A. Not that I recall.                                      15       Q. Is that something you would normally be part
    16      Q. So is it fair to say that sitting here today            16   of, conversations like that?
    17   you have no idea why the payments were not made for           17       A. No.
    18   HCMS and HCRE on December 31, 2020?                           18       Q. Changing topics here. Not sure if this is an
    19         MR. MORRIS: Objection to the form of the                19   area that you know anything about.
    20   question.                                                     20         Are you familiar with the term, as it's used
    21         THE WITNESS: I don't have any specific                  21   at Highland, NAV ratio trigger period?
    22   evidence telling me why they weren't. I can make              22       A. No.
    23   assumptions but that's not going to help.                     23       Q. This may go very quick. If I represent to
    24      Q. (BY MR. AIGEN) Well, did you ever have any              24   you that it's a term that's used in the -- in the
    25   conversations with anyone about why those payments were       25   fourth amended limited partnership agreement for


                                                               106                                                            108
     1   not made?                                                      1   Highland Capital Management, would that refresh your
     2       A. No.                                                     2   recollection at all?
     3       Q. You have no idea why they weren't made other            3      A. No.
     4   than just speculation; is that fair to say?                    4      Q. Fair to say, then, that you have no knowledge
     5       A. Correct.                                                5   as to whether NAV ratio trigger period was ever reached
     6         MR. MORRIS: Objection. Asked and answered.               6   at any time prior to bankruptcy buyouts?
     7         THE WITNESS: Correct.                                    7      A. No, I don't know.
     8       Q. (BY MR. AIGEN) And are you aware that with              8      Q. Have you ever had any conversations with
     9   respect to those two loans, some payments were actually        9   Nancy Dondero?
    10   made in the next month, in January of 2021?                   10      A. I have not.
    11       A. Yes.                                                   11      Q. Never met her?
    12       Q. What role, if any, did you have with respect           12      A. No. I may have exchanged an email with her
    13   to those payments?                                            13   on an invoice, but that's the extent of it. No
    14       A. Frank Waterhouse would call me and tell me to          14   conversations.
    15   have my team effectuate a wire.                               15      Q. In the years leading up to the bankruptcy of
    16       Q. And you say would call you. Do you remember            16   Highland Capital, was there any time period where
    17   this conversation or are you just assuming it occurred?       17   Highland was unable to pay its salaries?
    18         MR. MORRIS: Objection to the form of the                18      A. Salaries?
    19   question.                                                     19      Q. Salaries of its employees?
    20         THE WITNESS: If we sent a payment out, Frank            20      A. No.
    21   would have told me to do it. I would not have done it         21      Q. In the time leading up to the Highland
    22   on my own.                                                    22   bankruptcy, was there any time period where Highland
    23       Q. (BY MR. AIGEN) Sitting here today, do you              23   wasn't able to pay bonuses owed to any of its
    24   have a specific recollection of the conversation where        24   employees?
    25   someone told you to make the January 2021 payments?           25      A. Not that I know of. Not that I can recall.


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                                                             109                                                           111
     1     Q. Are you aware of any time period leading up             1 behalf of HCMFA in May of 2019 to bind HCMFA to such
     2 to the Highland bankruptcy where Highland was unable to        2 notes?
     3 pay its bills?                                                 3      A. No.
     4       A. There's times where we would be in a cash             4      Q. Thank you, ma'am.
     5   flow crunch and we would stretch our AP, but eventually      5                 EXAMINATION
     6   it would get paid.                                           6      Q. (BY MR. MORRIS) Ms. Hendrix, can you get out
     7       Q. And I think this is the last topic and we can         7   of your pile, Exhibit Number 3.
     8   probably move through this pretty quickly.                   8         And this is the email from Dave Klos to
     9          Are you aware of any loans made by Highland           9   corporate accounting on May 2nd concerning the
    10   to any of its employees or officers that were forgiven      10   $2.4 million that was going to be transferred from
    11   in part or all?                                             11   HCMLP to HCMFA?
    12       A. Yes.                                                 12      A. Yes.
    13       Q. Which officers or employees are you aware of?        13      Q. And how did Mr. Klos characterize that
    14       A. I recall there were two employees. I can't           14   transfer?
    15   remember one of them, but I believe another, the second     15      A. He called it a new intercompany loan.
    16   one, was Paul Adkins. Again, I'm just recalling this        16      Q. What does a new intercompany loan mean to
    17   was years ago.                                              17   you?
    18       Q. And these two are the only ones you're aware         18      A. That means we are creating a new loan
    19   of?                                                         19   document, sending money out, tracking it as a
    20       A. Or I'm sorry, not Paul Adkins, Tim Lawler.           20   brand-new, fresh loan.
    21   It's possible Paul Adkins was the other one, but I          21      Q. And he sent this email to an email group
    22   can't tell you for sure.                                    22   called corporateaccounting@hcmlp.com. Do I have that
    23       Q. Tim Lawler and some other employee that you          23   right?
    24   can't remember the name of are the only two that you're     24      A. Yes.
    25   aware of?                                                   25      Q. Were you included in that email group?


                                                             110                                                           112
     1      A. Yes.                                                   1       A. I was.
     2      Q. This other employee, I know you don't                  2       Q. Can you identify everybody else who you
     3   remember the name. Is there any other description that       3   recall being in that email group?
     4   you can give me, what their position was, how long they      4       A. Yes.
     5   worked, or is it just you remember those loans?              5       Q. Who else was in that email group?
     6      A. I just remember we had two employee loans.             6       A. Dave Klos, Frank Waterhouse, myself, Hayley
     7      Q. Approximately when was this?                           7   Eliason, and Blair Roeber.
     8      A. I couldn't even tell you. All the years just           8       Q. Okay. Did Mr. Waterhouse ever tell anybody,
     9   commingle together.                                          9   to the best of your knowledge, in May 2019 that the
    10      Q. More than five years ago?                             10   transaction should not be booked as a loan?
    11      A. Yes.                                                  11       A. No, not to my knowledge.
    12      Q. More than 10 years ago?                               12       Q. You testified earlier that there was, you
    13      A. I couldn't say.                                       13   recall, a similar email the next day with respect to a
    14         MR. AIGEN: Why don't we take a five-minute            14   $5 million transaction.
    15   break and then I'll either be done or have just a few       15          Do you recall that?
    16   wrap-up questions.                                          16       A. Yes.
    17         MR. RUKAVINA: Okay.                                   17       Q. Do you recall if that email also went to
    18         (Off the record.)                                     18   corporate accounting?
    19              FURTHER EXAMINATION                              19       A. I believe so, yes.
    20      Q. (BY MR. RUKAVINA) Ms. Hendrix, in May of              20       Q. And to the best of your knowledge, would
    21   2019, would you on behalf of Highland alone,                21   Mr. Waterhouse have been informed on May 3, 2019, that
    22   unilaterally, have the authority to lend to HCMFA 2.4-      22   the transaction was being booked by the corporate
    23   and/or $5.0 million?                                        23   accounting department as a loan?
    24      A. No.                                                   24       A. Yes.
    25      Q. And would you have had any authority on               25       Q. Did Mr. Waterhouse tell you at that time or


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                                                            113                                                             115
     1   at any time thereafter that it was a mistake to book it      1   HCMFA. I oversaw all other aspects of the audit my
     2   as a loan?                                                   2   team carried out.
     3       A. No.                                                   3          Any requests from the auditors, emails with
     4       Q. Did Mr. Waterhouse tell you at that time or           4   questions, any issues that arose, all of that went
     5   at any time thereafter that he didn't intend to sign         5   through me.
     6   the promissory notes?                                        6       Q. And did Mr. Waterhouse play a role in
     7       A. No.                                                   7   relation to the annual audit?
     8          MR. RUKAVINA: Objection. To the last                  8       A. Yes.
     9   question, objection to form.                                 9       Q. What is your understanding of
    10          Go ahead.                                            10   Mr. Waterhouse's role?
    11       Q. (BY MR. MORRIS) Okay. The promissory notes,          11       A. Let's see. He was in charge of reviewing the
    12   to be clear, are the two promissory notes that you          12   financial statements as they were done, so he saw the
    13   testified to earlier that have been marked as exhibits      13   end product. He would sign off on the management rep
    14   in this deposition for $5 million and $2.4 million          14   letter. He signed engagement letters.
    15   respectively.                                               15          If there were any big issues, those got --
    16          With that definition as promissory notes, did        16   those would be brought to Frank's attention for sure.
    17   Mr. Waterhouse ever tell you at any time that it was a      17       Q. Okay. And are you a CPA?
    18   mistake to sign those notes?                                18       A. Yes.
    19          MR. RUKAVINA: I'll object to the form.               19       Q. And are you familiar with management rep
    20          Go ahead.                                            20   letters?
    21          THE WITNESS: No.                                     21       A. Yes.
    22       Q. (BY MR. MORRIS) Did Mr. Waterhouse or                22       Q. What is your understanding of what a
    23   anybody -- withdrawn. I'll go back to the first             23   management rep letter is?
    24   question.                                                   24       A. That's basically telling the auditors that
    25          Did Mr. Waterhouse or anybody in the world           25   everything in the audited financial report is accurate


                                                            114                                                             116
     1   ever tell you at any time since May of 2019 that it was      1   to the best of their knowledge, they've presented
     2   a mistake to issue the promissory notes as we've             2   everything that they have fair and accurately, they're
     3   defined them?                                                3   not withholding any information.
     4       A. No.                                                   4       Q. And do you recall that the -- Highland's 2018
     5       Q. Did Mr. Waterhouse or anybody in the world            5   audit was completed in early June 2019?
     6   tell you that Mr. Waterhouse wasn't authorized to affix      6       A. Yes.
     7   his signature to those promissory notes?                     7       Q. And did you cause the two promissory notes
     8          MR. RUKAVINA: And I'll object. Assumes                8   that we're talking about here to be delivered to
     9   facts not in evidence, i.e., the signature. That's           9   PricewaterhouseCoopers in connection with the audit?
    10   what I've been objecting to.                                10       A. Yes.
    11          But go ahead and answer.                             11       Q. And were those two promissory notes delivered
    12          THE WITNESS: Say it again.                           12   to PricewaterhouseCoopers because they constituted
    13       Q. (BY MR. MORRIS) Did Mr. Waterhouse or                13   subsequent events?
    14   anybody in the world tell you at any time that he           14       A. Yes.
    15   wasn't authorized to have his signature affixed to the      15       Q. Do you recall whether those promissory notes
    16   promissory notes?                                           16   were described in Highland's 2018 audited financial
    17          MR. RUKAVINA: Same objection.                        17   statements?
    18          THE WITNESS: No.                                     18       A. Yes.
    19       Q. (BY MR. MORRIS) Did you have anything to do          19       Q. And did Mr. Waterhouse or Mr. Dondero ever
    20   with Highland's annual audit?                               20   tell you at any time that there was a mistake in the
    21       A. Yes.                                                 21   audited financial statements?
    22       Q. What role did you play with respect to               22       A. No.
    23   Highland's annual audit?                                    23       Q. Did they ever tell you -- did Mr. Waterhouse
    24       A. I personally was in charge of completely             24   or Mr. Dondero or anybody in the world ever tell you at
    25   writing the entire audit report for the debtor and for      25   any time that the two notes were mischaracterized in


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                                                            117                                                                  119
     1   the 2018 audited financial statements of Highland            1 reference to these notes in HCMFA's 2018 audited
     2   Capital?                                                     2 financial statements?
     3       A. No.                                                   3          MR. RUKAVINA: Same objection.
     4       Q. Do you know whether HCMFA also had its annual         4          THE WITNESS: No.
     5   financial statements audited by PricewaterhouseCoopers?      5       Q. (BY MR. MORRIS) Okay. Do you recall, did
     6       A. Yes.                                                  6   anybody in the world ever tell you that the
     7       Q. Did you play any role in connection with that         7   transactions described in Exhibit 3 and the other
     8   audit?                                                       8   document that you recall should never have been booked
     9       A. Yes.                                                  9   as a loan?
    10       Q. What role did you play in connection with            10       A. No.
    11   HCMFA's audit of the 2018 financial statements?             11       Q. Did anybody in the world tell you that you
    12       A. Same exact role as with the debtors --               12   made a mistake when you created those promissory notes?
    13       Q. And --                                               13       A. No.
    14       A. -- writing the audit report, overseeing all          14       Q. Can you pull out what was marked as
    15   other audit functions.                                      15   Exhibit 16.
    16       Q. And did you and your group cause HCMFA to            16          Do you understand that the Advisors provide
    17   deliver to PricewaterhouseCoopers the two promissory        17   services to certain retail funds?
    18   notes that we've been discussing from May 2019?             18       A. Yes.
    19       A. Yes.                                                 19       Q. And do you recall that the services are
    20       Q. Did Mr. Waterhouse or Mr. Dondero or anybody         20   subject to an agreement that's subject to annual
    21   in the world ever tell you that it was a mistake to         21   review?
    22   deliver those promissory notes to PwC in connection         22       A. Yes.
    23   with HCMFA's 2018 audit?                                    23       Q. So looking at Exhibit 16, did you understand
    24       A. No.                                                  24   that the retail board had asked Highland to disclose --
    25       Q. Were those notes delivered -- withdrawn.             25   I'll just read it from the document on page 2,


                                                            118                                                                  120
     1          Were those notes delivered to                         1 Bates number ending 881.
     2   PricewaterhouseCoopers because they constituted              2       There's an email from Ms. Thedford that says,
     3   subsequent events in connection with the 2018 audit?         3 quote, are there any material amounts -- withdrawn.
     4      A. Yes.                                                   4      Are there any material outstanding amounts
     5      Q. Do you recall whether PricewaterhouseCoopers           5 currently payable or due in the future, open paren,
     6   included as a liability on HCMFA's balance sheet the         6 e.g., notes, close paren, to HCMLP by HCMFA or NexPoint
     7   obligations reflected in the two promissory notes at         7 Advisors or any other affiliate that provides services
     8   issue?                                                       8 to the funds?
     9          MR. RUKAVINA: Objection. Best evidence.               9         Do you see that?
    10          Answer.                                              10       A. Yes.
    11          THE WITNESS: On the 2018 financials?                 11       Q. And were you generally aware that that was
    12      Q. (BY MR. MORRIS) Correct.                              12   part of the annual renewal process?
    13      A. Those would not have been included as                 13       A. Yes.
    14   liabilities in the 2018 financials.                         14       Q. And you made some comments earlier about
    15      Q. Do you know if HCMFA completed their audit            15   Ms. Thedford's response on the first page.
    16   for 2019?                                                   16         Do you recall that?
    17      A. No.                                                   17       A. Yes.
    18      Q. Okay. Did the notes appear in HCMFA's 2018            18       Q. And you actually were able to correct certain
    19   audited financials under the subsequent events section?     19   mistakes that you perceived in her response.
    20      A. Yes.                                                  20         Do I have that right?
    21          MR. RUKAVINA: Objection. Best evidence.              21       A. Correct.
    22          Go ahead.                                            22       Q. Do you know -- do you see where it says,
    23      Q. (BY MR. MORRIS) Did Mr. Dondero or -- did             23   HCMFA due to HCMLP as of June 30, 2020, let's just call
    24   Mr. Waterhouse or Mr. Dondero or anybody in the world       24   it $12.3 million.
    25   ever tell you that it was a mistake to include              25         Do you see that?


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                                                            121                                                             123
     1       A. Yes.                                                  1   was given to the retail board?
     2       Q. And above that there is a reference to the            2      A. I likely did. I can't tell you for certain
     3   6/30 financials.                                             3   that I was on the correspondence.
     4          Do you see that?                                      4      Q. Do you recall any discussion at any time that
     5       A. I do.                                                 5   the $12.3 million number in Ms. Thedford's email should
     6       Q. Do you know what the reference to the 6/30            6   be changed in the final report to the retail board?
     7   financials is?                                               7      A. I don't believe so.
     8       A. Yes.                                                  8      Q. Did anybody ever tell you at any time that
     9       Q. And what is that reference?                           9   the $12.3 million number was incorrect?
    10       A. That is referencing the amounts on the               10      A. No.
    11   balance sheet at 6/30 that we provided for the 15(c)        11      Q. Did anybody ever tell you at any time that
    12   materials to the board.                                     12   that number wrongly included the $7.4 million reflected
    13       Q. Okay. And does that $12.3 million include,           13   in the two notes?
    14   to the best of your knowledge, the principal amount of      14      A. No.
    15   the two notes that we were talking about?                   15      Q. Okay. Do you recall that earlier that
    16       A. Yes.                                                 16   summer -- we looked at Exhibit 15?
    17          MR. RUKAVINA: Objection. Best evidence.              17      A. Yep.
    18          THE WITNESS: Yes.                                    18      Q. And that was an attachment to an email that
    19       Q. (BY MR. MORRIS) And how do you know that?            19   you personally sent to Mr. Dondero. We saw that
    20       A. Because I kept their financials, I know for a        20   before?
    21   fact that it included all of their outstanding notes        21      A. Right.
    22   and it most certainly included these two notes that         22      Q. And this Exhibit 15, which was attached to
    23   we've been talking about today.                             23   your email, identifies amounts due and owing from
    24       Q. And to the best of your recollection did             24   NexPoint Advisors; right?
    25   HCMFA provide the 6/30 financials to the retail board?      25      A. Right.


                                                            122                                                             124
     1       A. Yes.                                                  1       Q. And it identifies amounts due and owing for a
     2       Q. And to the best of your knowledge did                 2   number of different entities, including HCMFA; right?
     3   Mr. Dondero or Mr. Waterhouse or anybody in the world        3       A. Correct.
     4   ever tell you that the financial statements that were        4       Q. Do you know whether the amount included for
     5   provided to the retail board were erroneous in any way?      5   HCMFA on Exhibit 15 included the principal amount due
     6       A. No.                                                   6   on the two promissory notes?
     7       Q. Did Mr. Dondero or Mr. Waterhouse or anybody          7       A. It does.
     8   in the world ever tell you that the 6/30 financials          8       Q. Did Mr. Dondero or Mr. Waterhouse ever ask
     9   that were given to the retail board should not have          9   you why -- withdrawn.
    10   included the $7.4 million principal amount on the two       10          Did Mr. Dondero or Mr. Waterhouse ever ask
    11   promissory notes?                                           11   you how the $10.5 million number was calculated?
    12          MR. RUKAVINA: Objection. Best evidence.              12       A. No.
    13          Answer.                                              13       Q. Did Mr. Dondero or Mr. Waterhouse ever
    14          THE WITNESS: No.                                     14   suggest to you that the number was incorrect?
    15       Q. (BY MR. MORRIS) Do you know whether -- are           15       A. No.
    16   you at all familiar with the Advisors' actual response      16       Q. Did Mr. Dondero or Mr. Waterhouse or anybody
    17   to the retail board in October 2020?                        17   in the world ever question the number that you gave to
    18       A. Say that again, please.                              18   Mr. Dondero in the summer of 2020 concerning the
    19       Q. So this email string is October 2020; right?         19   principal amount due by HCMFA to HCMLP?
    20       A. Right.                                               20       A. No.
    21       Q. And do you understand that this is kind of a         21       Q. Have you ever made a payment -- withdrawn.
    22   discussion between Mr. Waterhouse and Ms. Thedford as       22          Have you ever caused a payment to be made in
    23   to how to respond?                                          23   connection with an intercompany loan without receiving
    24       A. Yes.                                                 24   the prior approval from either Frank Waterhouse or
    25       Q. Have you ever seen the actual response that          25   Mr. Dondero?


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                                                            125                                                              127
     1      A. No.                                                    1      A. Yes.
     2      Q. Has anybody ever said to you that you made a           2      Q. And was that information that was included on
     3   mistake in applying a payment against principal or           3   the reports to Mr. Waterhouse?
     4   interest due on an intercompany loan?                        4      A. Yes.
     5      A. No.                                                    5      Q. And do you recall whether there were any
     6      Q. We saw this morning, and we produced to                6   specific discussions in November or December of 2020
     7   Mr. Rukavina and he mentioned earlier, 13-week               7   concerning those payments -- withdrawn. That wasn't a
     8   forecasts? Do you understand that?                           8   good question.
     9      A. Yes.                                                   9          Did Mr. Waterhouse or -- withdrawn.
    10      Q. Did you review the 13-week forecasts                  10          Did anybody on behalf of HCMS or HCRE ever
    11   recently?                                                   11   instruct you to make the payments that were due under
    12      A. Yes.                                                  12   their term notes?
    13      Q. And we're talking specifically about the              13      A. No.
    14   13-week forecasts for the November/December 2020 time       14      Q. Did anybody on behalf of NexPoint ever
    15   period. Do you understand that?                             15   instruct you to make a payment that was due at year end
    16      A. Yes.                                                  16   with respect to the NexPoint term note?
    17      Q. Based on your review of those forecasts, did          17      A. No.
    18   those forecasts specifically identify the principal and     18      Q. Were you authorized to make those payments
    19   interest that were due on the three term notes as of        19   without the prior approval of either Mr. Waterhouse or
    20   December 28, 2020?                                          20   Mr. Dondero?
    21      A. Yes.                                                  21      A. No.
    22      Q. And what was the purpose of creating the              22      Q. I think you testified that there were certain
    23   13-week forecasts?                                          23   payments that were made in January 2001 under each of
    24      A. Sure. That was to keep everybody informed             24   the three term notes.
    25   who was on the cash call, Frank Waterhouse, Jim Seery       25          Do I have that right?


                                                            126                                                              128
     1   and others, keep everybody informed of upcoming              1       A. Correct.
     2   payments that were due on term loans well in advance.        2         MR. RUKAVINA: 2021.
     3         Everybody knew about it. It was out there              3         MR. MORRIS: Thank you very much.
     4   for everybody to see that was on these cash calls.           4       Q. (BY MR. MORRIS) With that amendment, do you
     5      Q. Now, is it your understanding that                     5   understand my question?
     6   Mr. Waterhouse -- withdrawn.                                 6       A. Yes.
     7         Did you email these forecasts -- withdrawn.            7       Q. Do you know why the three payments were made
     8         Did anybody email these forecasts to the best          8   in January of 2021 on each of three term notes?
     9   of your recollection in late 2020?                           9       A. Because Frank Waterhouse instructed me to do
    10      A. Yes.                                                  10   so.
    11      Q. And was it sent to the corporate accounting           11       Q. And he had not instructed you to make those
    12   group that we saw earlier?                                  12   payments prior to that time?
    13      A. It was probably sent to Frank, Seery, the DSI         13       A. Correct.
    14   guys that were involved with the cash call.                 14       Q. Did you have to prompt Frank Waterhouse in
    15      Q. Okay. And so did you participate in the               15   January of 2021 to make those payments?
    16   creation of the 13-week forecasts?                          16       A. No.
    17      A. Yes.                                                  17       Q. So based on the 13-week forecast that you
    18      Q. What role did you play in the creation of the         18   prepared and delivered to Mr. Waterhouse, is it your
    19   13-week forecasts?                                          19   understanding that Mr. Waterhouse knew as early as mid
    20      A. I was responsible for creating the entire             20   November 2020 that payments would be due under the
    21   thing.                                                      21   three term notes at the end of the year?
    22      Q. Okay. And based on the work that you did,             22       A. Yes.
    23   was one of the purposes to make sure that                   23       Q. And, in fact, did HCMS and HCRE and NexPoint
    24   Mr. Waterhouse was aware of all payments that were          24   timely make their installment payments that were due at
    25   coming due under the intercompany notes?                    25   year end 2018?


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                                                            129                                                                  131
     1       A. Yes.                                                  1 any reason they weren't, then they were going to raise
     2       Q. And was that done because HCMLP received the          2 an issue, a going concern issue.
     3   instructions of somebody authorized to give the              3        That came up several years in a row with
     4   instruction on behalf of those entities?                     4 HCMFA.
     5       A. Yes.                                                  5   Q. Do you recall that the three term notes at
     6       Q. Did HCMS and HCRE and NexPoint timely make            6 issue here were all signed on May 31, 2017?
     7   the installment payments that were due at year end           7    A. Yes.
     8   2019?                                                        8     Q. And all of those term notes involved a
     9       A. Yes.                                                  9 roll-up of previously issued demand notes; is that
    10       Q. And why did they make those payments?                10 right?
    11       A. Because we were provided instruction and             11      A. Correct.
    12   authorization to do so.                                     12      Q. Do you know why in -- at the end of May 2017
    13       Q. Okay. And is the only reason that the                13   NexPoint, HCRE, and HCMS rolled up their demand notes
    14   payment wasn't made at year end 2020 because nobody on      14   into individualized term notes?
    15   behalf of the Advisors -- withdrawn.                        15      A. Yes.
    16          Is the only reason that no payment was made          16      Q. What is your understanding as to why that
    17   at the end of 2020 is because no one on behalf of           17   happened?
    18   NexPoint, HCRE, or HCMS directed HCMLP to make those        18      A. That would get the auditors a little bit more
    19   payments?                                                   19   comfort over our outstanding loans, ensuring that we
    20       A. Correct.                                             20   have an amortization schedule, an underlying contract,
    21          MR. AIGEN: Objection. Form.                          21   showing that payments will be coming in every year on
    22       Q. (BY MR. MORRIS) And you testified earlier to         22   these outstanding receivables.
    23   a call that you had with Mr. Waterhouse. I think you        23      Q. Okay. As the person responsible for
    24   said it was either November 30 or December 1.               24   preparing Highland's audit, did anybody ever tell you
    25          Do you recall that?                                  25   at any time that any of the notes were not valid


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     1      A. Yes.                                                   1   obligations of the maker?
     2      Q. And did you personally continue to prepare             2      A. No.
     3   the 13-week forecasts after your conversation with           3      Q. As the person responsible for Highland's
     4   Mr. Waterhouse?                                              4   audit, did anybody ever tell you at any time that any
     5      A. Yes.                                                   5   of the notes at issue should not have been signed?
     6      Q. And did those 13-week forecasts continue to            6      A. No.
     7   include the payments that were due under the three term      7      Q. As the person responsible for Highland's
     8   notes at the year end?                                       8   audit, did anybody ever tell you at any time that any
     9      A. Yes.                                                   9   of the notes at issue were signed by mistake?
    10      Q. And that's information that you gave to               10      A. No.
    11   Mr. Waterhouse; is that right?                              11      Q. Did anybody ever tell you at any time that --
    12      A. Right.                                                12   withdrawn.
    13      Q. Mr. Rukavina elicited from you the fact that          13          As the person responsible for Highland's
    14   payments of principal hadn't been made on demand notes      14   audit, did anybody ever tell you at any time that
    15   that were executed in favor of Mr. Dondero's                15   Mr. Dondero didn't approve of any of the notes?
    16   affiliates.                                                 16      A. No.
    17          Do you recall that?                                  17      Q. As the person responsible for Highland's
    18      A. Yes.                                                  18   audit, did anybody ever tell you at any time that
    19      Q. Okay. Was that a topic of conversation with           19   the -- any of the notes at issue were subject to an
    20   PricewaterhouseCoopers at any time?                         20   oral agreement?
    21      A. Yes.                                                  21      A. No.
    22      Q. Can you tell me about that conversation?              22      Q. As the person responsible for Highland's
    23      A. Sure. As part of our annual audit, the                23   audit, did anybody ever tell you at any time that any
    24   auditors would, you know, make sure that our                24   of the notes were amended?
    25   receivables are collectible. And if they thought for        25      A. No.


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                                                            133                                                               135
     1       Q. As the person responsible for Highland's              1              CERTIFICATE OF REPORTER
     2   audit, did anybody ever tell you at any time that any        2          I, BRANDON D. COMBS, a Certified Shorthand
     3   of the notes would be forgiven?                              3   Reporter, hereby certify that the witness in the
     4       A. No.                                                   4   foregoing deposition was by me duly sworn to tell the
     5       Q. During your 15 years at Highland, has an              5   truth, the whole truth, and nothing but the truth in the
     6   intercompany loan ever been forgiven in whole or in          6   within-entitled cause;
     7   part?                                                        7          That said deposition was taken in shorthand by
     8       A. No.                                                   8   me, a disinterested person, at the time and place
     9       Q. During your -- withdrawn.                             9   therein stated, and that the testimony of the said
    10         Can you recall any note that Highland ever            10   witness was thereafter reduced to typewriting, by
    11   held as the payee that was forgiven in whole or in part     11   computer, under my direction and supervision;
    12   in the five years prior to bankruptcy, go back to 2014?     12          That before completion of the deposition,
    13       A. No.                                                  13   review of the transcript was not requested. If
    14       Q. Is it your understanding as the person               14   requested, any changes made by the deponent (and
    15   responsible for Highland's audit that the forgiveness       15   provided to the reporter) during the period allowed are
    16   of notes, if they were in a material amount, would have     16   appended hereto.
    17   had to have been disclosed in the audited financial         17          I further certify that I am not of counsel or
    18   statements?                                                 18   attorney for either or any of the parties to the said
    19       A. Yes.                                                 19   deposition, nor in any way interested in the event of
    20       Q. So is it fair to say that any evidence of the        20   this cause, and that I am not related to any of the
    21   forgiveness of material amounts would have been             21   parties thereto.
    22   disclosed in Highland's financial statements?               22          DATED: November 1, 2021
    23       A. Yes.                                                 23
    24         MR. MORRIS: I have no further questions.              24               ________________________________
    25         MR. RUKAVINA: I have none.                            25               Brandon Combs, Certified Shorthand


                                                            134                                                               136
     1         MR. AIGEN: None.                                       1               State of Texas
     2         MR. RUKAVINA: Okay. Thank you very much.                               Dickman Davenport, Inc. Cert 312
     3         (Whereupon, the deposition adjourned at                2               4228 North Central Expressway
     4         1:19 P.M.)                                                             Suite 101, Dallas, TX 75206
                                                                      3               (214) 855-5100 (800) 445-9548
     5                   --oOo--                                                      Email: info@dickmandavenport.com
     6         I declare under penalty of perjury that the            4               www.dickmandavenport.com
     7   foregoing is true and correct. Subscribed at                                 My commission expires 1-31-23
     8   _________________________, Texas, this ____ day of           5
     9   _______________________, 2021.                               6
    10                                                                7
                                                                      8
    11
                                                                      9
    12   ________________________________                            10
    13   KRISTIN HENDRIX                                             11
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                                                                1                                                                3
     1             IN THE UNITED STATES BANKRUPTCY COURT               1                          INDEX
     2              FOR THE NORTHERN DISTRICT OF TEXAS                 2                                                      PAGE
     3                        DALLAS DIVISION                          3    Examination by MR. RUKAVINA                          4
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                                                                       4    Examination by MR. AIGEN                            95
     5
     6 HIGHLAND CAPITAL MANAGEMENT,                                    5    Examination by MR. MORRIS                          109
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         L.P.,                            )                            6    Further Examination by MR. RUKAVINA                127
     7                                    )                            7
                         Plaintiff,       )                            8
     8                                    )
                                                                       9
                    vs.                   ) No. 21-03004-sgj
     9                                                                10           (No exhibits marked.)
                                          )
         HIGHLAND CAPITAL MANAGEMENT FUND )                           11
    10   ADVISORS, L.P.,                  )                           12
                                          )                           13
    11                   Defendants.      )
                                                                      14
    12    ____________________________________________________
                                                                      15
    13                        DEPOSITION OF
    14                         DAVID KLOS                             16
    15                      October 27, 2021                          17
    16    ____________________________________________________        18
    17
                                                                      19
    18             DEPOSITION OF DAVID KLOS, produced as a
                                                                      20
    19 witness, duly sworn by me via videoconference at the
    20 instance of the DEFENDANTS, was taken in the                   21

    21 above-styled and numbered cause on October 27, 2021,           22
    22 from 2:30 P.M. to 5:14 P.M., before BRANDON D. COMBS,          23
    23 CSR, RPR, in and for the State of Texas, reported by
                                                                      24
    24 computerized machine shorthand, at 500 North Akard
                                                                      25
    25 Street, 38th Floor, Dallas, Texas.



                                                                2                                                                4
     1                        APPEARANCES                              1                  DAVID KLOS,
     2                                                                 2     having been first duly sworn, testified as follows:
     3             MUNSCH, HARDT, KOPF & HARR, PC, 500 North           3                  EXAMINATION
     4 Akard Street, Suite 3800, Dallas, TX 75201, represented         4       Q. (BY MR. RUKAVINA) Sir, state your name for
     5 by DAVOR RUKAVINA, Attorney at Law, appeared via                5   the record, please.
     6 videoconference as counsel on behalf of the Defendants.         6       A. David Klos.
     7             Email: drukavina@munsch.com                         7       Q. K-l-o-s?
     8                                                                 8       A. K-l-o-s.
     9                                                                 9       Q. What's your date of birth?
    10             PACHULSKI, STANG, ZIEHL & JONES, 780 Third         10       A. May 6, 1982.
    11 Avenue, 34th Floor, New York, NY 10017-2024, represented       11       Q. And where do you live?
    12 by JOHN A. MORRIS, Attorney at Law, appeared via               12       A. I live in Dallas.
    13 videoconference as counsel on behalf of the Plaintiff.         13       Q. What's your educational background?
    14             Email: jmorris@pszjlaw.com                         14       A. Undergraduate and graduate degrees. I went
    15                                                                15   to undergrad at Boston College, graduate school at SMU,
    16                                                                16   with a degree in, Master's of Science in accounting and
    17             STINSON, LLP, 3102 Oak Lawn Avenue, Suite 777,     17   MBA from SMU.
    18 Dallas, TX 75219, represented by MICHAEL AIGEN, Attorney       18       Q. Do you hold any professional licenses?
    19 at Law, appeared via videoconference as counsel on             19       A. CPA in the state of Texas and, I don't know
    20 behalf of the Defendants Jim Dondero, HCMS and HCRE            20   if it's technically a license, but Series 27 from
    21 Partners.                                                      21   FINRA.
    22             Email: michael.aigen@stinson.com                   22       Q. And when did you get your CPA license?
    23                                                                23       A. I don't recall specifically, but it would
    24                                                                24   have been probably in the '08, '09 time frame.
    25                                                                25       Q. Is it current?


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                                                                                                                2 (Pages 5 to 8)
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                                                              5                                                                7
     1      A. As far as I know.                                      1         There were a few title changes in between
     2      Q. Have you ever been disciplined or threatened           2   there. I think at one point I was manager, at one
     3   with disciplinary proceedings?                               3   point I was senior manager, at one point I was
     4      A. No.                                                    4   assistant controller and at one point I was controller.
     5      Q. And your relevant work experience, please,             5         I can't remember the exact times of all of
     6   starting with college and afterwards?                        6   those break points.
     7      A. Sure. Out of grad school I started working             7      Q. Let me pause you. When you were assistant
     8   at Deloitte in Boston. I worked at Deloitte for              8   controller, who was the controller?
     9   approximately three and a half years, between the            9      A. There was quite a bit of time where I was
    10   Boston office and the Dallas office.                        10   assistant controller and we didn't have a controller.
    11          And then I began working at Highland Capital         11   I couldn't tell you the exact time frame, but there was
    12   Management in March of 2009 and I've been at Highland       12   definitely an extended time frame.
    13   since then.                                                 13         And then in April of 2020, our existing chief
    14      Q. And when you joined Highland in March of              14   accounting officer left and I assumed his
    15   2009, what was your title or your role at that time?        15   responsibilities at that time.
    16      A. My title, if I remember correctly, was                16      Q. Let me pause you. That's a new term for me.
    17   valuation senior analyst. I'm not certain if that was       17   Chief accounting officer?
    18   exactly it, but it was something along those lines.         18      A. Uh-huh.
    19      Q. Was it in the valuation group?                        19      Q. Who was that person?
    20      A. Yes.                                                  20      A. The person that left?
    21      Q. And then give me your -- today you're the CFO         21      Q. The person that was the chief accounting
    22   of Highland; correct?                                       22   officer until April 2020.
    23      A. Correct.                                              23      A. Cliff Stoops.
    24      Q. So give me the progression from valuation             24      Q. And do you have any idea or knowledge whether
    25   analyst to CFO with, to the best of your recollection,      25   at Highland that was like an officer-level position?


                                                              6                                                                8
     1   the approximate year that you were promoted, et cetera?      1      A. It was not. It was more of a term of art, I
     2      A. Sure. I was in the valuation role from                 2   would describe it. So it -- so, yeah --
     3   basically March of 2009 to end of 2009.                      3      Q. To the best of your recollection, when did
     4         I was then brought over to what we call the            4   you become the controller at Highland Capital
     5   corporate accounting team, so doing the accounting for       5   Management, LP?
     6   Highland Capital Management, LP and of the other             6      A. I couldn't pin down a specific date. Like I
     7   advisor-type entities, where I was primarily focused on      7   said, the responsibilities were very similar. I would
     8   budgeting and forecasting, credit facility compliance.       8   guess the change from assistant controller to
     9         That took from roughly 2010 until I think              9   controller was probably in the, most likely in the '16,
    10   middle of 2011, at which point I was moved over to the      10   '17, maybe '18 time frame.
    11   fund accounting group, so doing hedge fund accounting,      11      Q. Can we agree that as of May 1, 2019, you were
    12   which was a short role, really, for probably three or       12   the controller at Highland?
    13   four months.                                                13      A. Yes.
    14         At which point I was brought back to the              14      Q. So let's focus on that time frame, May 2019,
    15   corporate team and also put in charge of the valuation      15   and you're the controller. Who do you report to at
    16   group. I held that role in some way, shape, or form         16   Highland?
    17   more or less continuously for the next several years,       17      A. Frank Waterhouse.
    18   although certainly my role evolved and changed.             18      Q. The CFO?
    19         But in terms of the groups that I had                 19      A. Correct.
    20   oversight over, those were the groups. Like I said, my      20      Q. No one in between you and him?
    21   role definitely evolved over time from 2011.                21      A. Correct.
    22      Q. So by 2017 what was your title?                       22      Q. So what -- explain to me the role between the
    23      A. So, yeah, by that time, I was, I believe,             23   chief accounting officer and the chief financial
    24   controller. I might have still been assistant               24   officer in that time frame, '19, '20?
    25   controller.                                                 25          MR. MORRIS: Objection to the form of the


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                                                                  9                                                             11
     1 question.                                                         1      A. Frank Waterhouse.
     2        THE WITNESS: Very little. Like I said,                     2      Q. And were --
     3 chief accounting officer was more of a term of art.               3      A. I should clarify too, that the valuation team
     4 What that role actually had oversight of was our retail           4   isn't ultimately responsible for the valuations
     5 fund accounting, institutional fund accounting,                   5   themselves, but they do act in this liaison role.
     6 operations, so loan settlement and treasury.                      6      Q. Perhaps that's my confusion. Is there a
     7       And probably another department or two that                 7   separate group that handles just valuation?
     8 I'm forgetting, but it did not have any oversight over            8      A. No.
     9 the corporate accounting group.                                   9      Q. Is there an outside consultancy that handled
    10     Q. (BY MR. RUKAVINA) And in May of 2019, as the              10   that in May of 2019?
    11 controller, what were -- what was your role or what              11      A. I don't know if I would call it consultancy,
    12 were your duties?                                                12   but there was a third-party valuation service provider
    13     A. In May of 2019 I was at that point still                  13   that would do certain of the, call it illiquid, harder
    14 overseeing the valuation group. I was overseeing the             14   to value securities.
    15 corporate accounting group, which my primary direct              15      Q. So would you say that you were pretty busy in
    16 report there was Kristin Hendrix, who really was the             16   April, May 2019?
    17 day-to-day person. But I certainly oversaw her.                  17          MR. MORRIS: Objection to the form of the
    18     Q. By that you mean the person that answers to               18   question.
    19 you?                                                             19          THE WITNESS: I've been busy throughout my
    20   A. Correct. Sorry. If I flipped that, I                        20   career.
    21 apologize. So I was overseeing that group, which had,            21      Q. (BY MR. RUKAVINA) In April, May, June 2019,
    22 you know, fairly broad responsibilities.                         22   how many hours a month do you estimate you worked for
    23      In terms of, you know, accounting for the                   23   Highland?
    24 Advisor, doing forecasts when they were called for,              24          MR. MORRIS: Objection to the form of the
    25 performing the audit every year, managing cash,                  25   question.


                                                                 10                                                             12
     1   processing payroll, things of that nature.                      1          THE WITNESS: I don't remember. A
     2           And then at that time I was also put in                 2   significant number.
     3   charge of one of the public REITs that was launching at         3      Q. (BY MR. RUKAVINA) Certainly full-time?
     4   the time under the NexPoint flag. And getting that              4      A. Absolutely.
     5   team started.                                                   5      Q. Would you say that you were working more than
     6       Q. Did you mention that in May of 2019 you were             6   200 hours a month in that time frame for Highland?
     7   still involved with the valuation group?                        7      A. I don't know how many hours. I should
     8       A. I did.                                                   8   clarify, we're using Highland very liberally. When I
     9       Q. Did you have a title at the valuation group?             9   say Highland, supporting the entire apparatus,
    10       A. Nothing distinct from my overall controller             10   platform. Significant number of hours at that time,
    11   title. These titles were often, like I said, terms of          11   and before and after.
    12   art, whether it was controller or chief accounting             12      Q. And let's explore that a little bit. You
    13   officer.                                                       13   mentioned one of the funds for NexPoint. I'd like to
    14       Q. What did the valuation group at Highland do?            14   talk about NexPoint Advisors, LP, just NexPoint
    15       A. Well, valuation group was really a liaison              15   Advisors, LP.
    16   with both third-party pricing providers, pricing               16          Did you ever have an official role or title
    17   services, brokers on the street, front office, members         17   with NexPoint Advisors, LP?
    18   at Highland.                                                   18      A. Not that I can remember.
    19           To, you know, to work on valuing the                   19      Q. Do you know if you were ever the controller
    20   securities held across the platform, both for Highland         20   for that entity?
    21   HCMLP managed funds as well as affiliated managed              21      A. I'm not certain. I'm not certain.
    22   funds.                                                         22      Q. But I take it that pursuant to the shared
    23       Q. So who did -- did you report to anyone at the           23   services agreement you, as an employee of Highland,
    24   valuation group? In other words, did it have its own           24   were providing services on behalf of NexPoint?
    25   separate hierarchy kind of?                                    25          MR. MORRIS: Objection to the form of the


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                                                             13                                                               15
     1 question.                                                      1      Q. Do you have an expectation as to when the
     2         THE WITNESS: I provided many of the same               2   winding down and monetization of Highland and its
     3   services for NexPoint Advisors that I provided for           3   assets will be complete?
     4   Highland, similar types of services.                         4      A. That's very hard to speculate, especially
     5      Q. (BY MR. RUKAVINA) And briefly about Highland           5   given the amount of litigation that's going on because
     6   Capital Management Fund Advisors, LP, HCMFA, did you         6   I don't know when that's going to play out and that's a
     7   ever have like an official title or role with that           7   material asset.
     8   entity, to your knowledge?                                   8      Q. Have you discussed with Mr. Seery how long
     9      A. Again, not that I can remember.                        9   that might be?
    10      Q. Not to your knowledge, the controller ever of         10      A. Not that I can specifically remember.
    11   that entity?                                                11      Q. Do you believe it will be at least probably
    12      A. I'm not certain whether I was or not.                 12   two years, from today?
    13      Q. But you provided services to that entity as           13      A. I don't know.
    14   part of your role at Highland pursuant to shared            14      Q. This bonus compensation, does it or any
    15   services?                                                   15   amount of it depend on how well Highland or the
    16      A. Similar to NexPoint as I described.                   16   claimant trust, how well they do vis-a-vis collecting
    17      Q. When you were controller of Highland, was             17   money from creditors?
    18   that an officer-level position at Highland?                 18      A. Not that I can think of. I'd have to
    19      A. No.                                                   19   probably go back and look and understand the back-end
    20      Q. When did you become the chief financial               20   piece to say definitively.
    21   officer of Highland?                                        21      Q. And back-end piece, does that mean whenever
    22      A. Chief financial officer?                              22   the winding down is completed?
    23      Q. Uh-huh.                                               23      A. Yeah, like I said, I'm not exactly -- I'm not
    24      A. 2021, March.                                          24   completely facile with the exact timing, if it's
    25      Q. After Mr. Waterhouse was gone?                        25   completed 100 percent or 80 percent, what kind of


                                                             14                                                               16
     1      A. Yes.                                                   1   qualitative considerations go into that. But
     2      Q. And I'm going to ask you a little bit about            2   substantially completed.
     3   your compensation today at Highland.                         3      Q. Sitting here today, do you think or believe
     4         You don't have to give me specific numbers             4   that any portion of your compensation over the next
     5   unless I ask you, please, but I take it you have a base      5   however long it takes to wind down Highland depends on
     6   compensation?                                                6   how much Highland recovers from the litigation
     7      A. Yes, I have a base.                                    7   regarding promissory notes?
     8      Q. Do you have any bonus structure compensation?          8      A. I really take exception to that question
     9      A. Yes, I have a bonus.                                   9   because the insinuation is that it's going to somehow
    10      Q. And what is that bonus number or whether it's         10   change my answers here, and it's absolutely not.
    11   paid out based upon or contingent upon?                     11         How litigation, it may or may not affect my
    12         MR. MORRIS: Objection to the form of the              12   ultimate compensation, but that's not going to affect
    13   question.                                                   13   one iota of the answers I give you today or at any
    14         THE WITNESS: As I understand, it's based on           14   time, whether I'm on or off the record.
    15   my offer letter.                                            15      Q. Fair enough. So you're going to testify
    16      Q. (BY MR. RUKAVINA) On your what?                       16   today truthfully regardless of your compensation. I
    17      A. My letter for extending an offer.                     17   got you; right? Correct?
    18      Q. Tell me, what is your -- without having to            18      A. I didn't follow what you just asked me.
    19   use express numbers, what is your bonus compensation?       19      Q. You're going to testify today truthfully
    20   When is it paid, et cetera?                                 20   regardless of how these events may or may not affect
    21      A. Yeah, so it's not too dissimilar from the             21   your compensation; right?
    22   prior Highland plan that has semiannual installments        22      A. It's such a loaded question I can't even
    23   payable. And then there's a, kind of an end of plan         23   begin to answer that.
    24   bonus when -- I don't remember the specifics on exactly     24      Q. So sitting here today -- I want to ask you
    25   what triggers that, but it's back-ended in the plan.        25   the same question I did before, and your answer to me


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                                                             17                                                               19
     1   was that you took exception to the insinuation. Now          1      A. Not in any substance.
     2   I'd like you to answer my question.                          2      Q. And when do you recall you might have had
     3          Which is, sitting here today, do you believe          3   those discussions with her?
     4   that any part of your compensation in the future,            4      A. I'm not even sure.
     5   however long it takes to wind down Highland, is going        5      Q. Would it have been recently or like 9,
     6   to depend on how well Highland does in these                 6   10 months ago?
     7   litigations concerning the notes?                            7      A. No, it would have been recently.
     8       A. I believe my ultimate compensation will               8      Q. And with Mr. Seery, when did you have a
     9   depend on how long this process takes, which I don't         9   general conversation with Mr. Seery?
    10   know, and ultimate recoveries to trust beneficiaries        10      A. I've had, you know, one or more general
    11   under the plan.                                             11   conversations with Mr. Seery. It's my understanding
    12          And so I do expect that it will vary, but I          12   that he was the 30(b)(6) witness, and he had questions
    13   would reiterate my earlier comment.                         13   in preparation for his role in that.
    14       Q. So sitting here today, you understand that if        14      Q. So that would have been before last Thursday
    15   the trust beneficiaries recover more, then you might be     15   that you talked to him? I'll represent to you that
    16   compensated more?                                           16   that's when his deposition was.
    17       A. That's possible.                                     17      A. Yeah, if I'm accepting that representation,
    18       Q. Well, sir, I'm not trying to be a smart ass,         18   yes, prior to.
    19   but --                                                      19      Q. Other than that conversation with respect to
    20          MR. MORRIS: Actually, you're coming awfully          20   him preparing for the 30(b)(6), did you have a
    21   close, just to be clear, so be careful, because I'm         21   discussion with him about this litigation as it might
    22   offended as well. But continue.                             22   relate to your deposition?
    23          MR. RUKAVINA: I'm entitled to ask the man            23      A. I don't believe so in terms of relating to
    24   about his compensation.                                     24   this deposition. We've talked at length about the
    25          MR. MORRIS: Right. And your clients have             25   notes more generally.


                                                             18                                                               20
     1   $75 million, hard dollars at stake in this litigation,       1      Q. And we'll go through that I'm sure.
     2   so we should never believe anything that he says? Is         2          So other than the conversations with
     3   that where we are now?                                       3   Ms. Hendrix and Mr. Seery and, of course, with counsel
     4       Q. (BY MR. RUKAVINA) Sir, again, what is your            4   that I'm not entitled to know about, did you discuss
     5   bonus compensation as it relates to how well the             5   this deposition or what you might be asked today with
     6   claimant trust does? Do you remember or not?                 6   anyone else?
     7       A. I don't know that that's even something that          7      A. No.
     8   I could know at this point.                                  8      Q. Okay. Did you read all or any portions of
     9       Q. In preparing for this deposition, I take it           9   the deposition of Frank Waterhouse?
    10   you spoke to legal counsel, and I'm not entitled to         10      A. Certainly didn't read all of it. I have a
    11   know that and I'm not asking that.                          11   general understanding of the topics that were -- that's
    12          But did you talk to anyone else?                     12   a bad way to frame it.
    13       A. I've spoken in general terms to Mr. Seery.           13          I have a general understanding of a few
    14       Q. Okay. Anyone else?                                   14   points that were covered in his deposition.
    15       A. I've spoken, again in general terms, to              15      Q. Were you provided -- were you provided the
    16   Kristin Hendrix.                                            16   exact pages of any of his deposition?
    17       Q. Anyone else?                                         17          MR. MORRIS: Objection. Direct him not to
    18       A. Not that I can think of.                             18   answer.
    19       Q. Now, I understand you spoke to Ms. Hendrix           19          MR. RUKAVINA: You're going to direct him not
    20   when legal counsel was present; right?                      20   to answer whether he read --
    21       A. Yes.                                                 21          MR. MORRIS: If you're asking him whether I
    22       Q. So let's exclude that conversation.                  22   directed him to particular --
    23          Did you have any conversations with                  23          MR. RUKAVINA: I didn't ask that.
    24   Ms. Hendrix regarding this deposition or this               24          MR. MORRIS: Rephrase your question.
    25   litigation at which counsel was not present?                25      Q. (BY MR. RUKAVINA) Did you read any pages


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                                                             21                                                               23
     1   from Mr. Waterhouse's deposition?                            1 was?
     2          MR. MORRIS: Objection. Asked and answered.            2    A. Yeah, it was Lauren Thedford, who is Highland
     3          You can answer again.                                 3 in-house counsel.
     4          THE WITNESS: I don't recall -- I don't                4       Q. She's a lawyer?
     5   recall reading it.                                           5       A. Yes.
     6       Q. (BY MR. RUKAVINA) So were you provided a              6       Q. Do you recall from that -- strike that.
     7   summary of his deposition?                                   7          Did you know on or about May 31, 2017 what
     8       A. I have had discussions with Mr. Morris in             8   the purpose or reason behind Exhibit 13, this
     9   preparation for this deposition.                             9   promissory note, was?
    10       Q. That's fine. And we can stop there.                  10          MR. MORRIS: Objection to the form of the
    11          Did you read or -- did you read the whole or         11   question.
    12   any portion of Mr. Seery's deposition?                      12          THE WITNESS: The purpose was to take
    13       A. No, I don't believe I -- no, I don't believe         13   existing notes, which I believe were exclusively demand
    14   so.                                                         14   notes, I'm not a hundred percent certain on that, and
    15       Q. Is it the same answer, that whatever you             15   roll them into a single note that would have a 30-year
    16   discussed would have been through counsel?                  16   amortization period.
    17       A. Yes.                                                 17       Q. (BY MR. RUKAVINA) Do you know why that was
    18       Q. Did you see any of the videotape of either           18   done?
    19   Mr. Waterhouse's or Mr. Seery's deposition?                 19       A. I believe it was done probably for a number
    20       A. No.                                                  20   of reasons, one of which was to ensure some level of
    21       Q. So let's talk about the NexPoint                     21   cash flow back to Highland, when I say Highland,
    22   $30.7 million note.                                         22   Highland Capital Management, LP, on an annual basis.
    23          You're familiar with that note; right?               23       Q. Was that a concern at Highland Capital
    24          MR. MORRIS: Objection to the form of the             24   Management, that it wasn't getting any level of cash
    25   question.                                                   25   flow back?


                                                             22                                                               24
     1          THE WITNESS: Before I answer that, I'd like           1       A. It wasn't a concern of mine. I don't know if
     2   to see the note.                                             2   it was a concern of others.
     3       Q. (BY MR. RUKAVINA) It's in here. I'm looking           3       Q. Do you recall whether any auditor ever raised
     4   for the exhibit number. It's in here somewhere.              4   that concern?
     5       A. Yes, I'm familiar with this note.                     5       A. The auditors did raise that in conjunction
     6       Q. Are you familiar with anything having to do           6   with the audit that was concluding around this time.
     7   with the negotiation or execution of this note?              7   So yes, they did raise it, you know, probably in the
     8          MR. MORRIS: Objection to the form of the              8   May of 2017 time frame.
     9   question.                                                    9       Q. Do you know who decided that it would be a
    10          THE WITNESS: Can you repeat.                         10   30-year term note? By that I mean 30 years.
    11       Q. (BY MR. RUKAVINA) Yes. Let me rephrase it.           11       A. Jim Dondero.
    12          Did you have anything to do, back on or about        12       Q. Do you know if he decided that in connection
    13   May 31, 2017, with the negotiation or execution of this     13   with discussions with anybody or, to your knowledge, he
    14   promissory note?                                            14   just decided?
    15          MR. MORRIS: Objection to the form of the             15       A. As far as I know he just decided it. I
    16   question.                                                   16   believe there was a draft at one point that was for
    17          THE WITNESS: Nothing with respect to the             17   20 years, and he wanted to do 30.
    18   negotiation --                                              18       Q. So this note is executed in May 31, 2017.
    19       Q. (BY MR. RUKAVINA) I'm sorry.                         19   Did you have any further role prior to, let's say,
    20       A. In terms of the execution, I believe I               20   December 1, 2020 with respect to anything to do with
    21   coordinated with internal counsel, who drafted the          21   this promissory note?
    22   note, and I can't remember -- I can't recall one way or     22       A. Sorry, tell me the date again.
    23   the other if I assisted in actually physically              23       Q. From execution of the note until December 1,
    24   receiving signatures. I just don't remember.                24   2020?
    25       Q. Do you remember who that internal counsel            25       A. And the question was?


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                                                                 25                                                              27
     1    Q. Did you have any role in that time frame with               1   Capital Management or NexPoint Advisors as to a
     2 respect to this promissory note on behalf of Highland?            2   decision as to whether any prepayments on this note
     3       MR. MORRIS: Objection to the form of the                    3   would ever be made?
     4 question.                                                         4         MR. MORRIS: Objection to the form of the
     5         THE WITNESS: I don't know how to answer                   5   question.
     6 that, it's such an open-ended question. I just don't              6         THE WITNESS: Can you repeat.
     7 know how to respond to that.                                      7      Q. (BY MR. RUKAVINA) Let's start from scratch.
     8    Q. (BY MR. RUKAVINA) If payments were made on                  8         Do you have any memory of any payments being
     9 this note, would you have any duty to record or credit            9   made on this note, Exhibit 13, prior to their scheduled
    10 those payments?                                                  10   dates of payment?
    11       MR. MORRIS: Objection to the form of the                   11      A. There were payments on -- and to be clear,
    12 question.                                                        12   we're talking about the original 30.7- NexPoint
    13        THE WITNESS: I wouldn't have personally in                13   promissory note? There were payments that I recall
    14 my role, but my team would have been involved in the             14   happening throughout 2019 on this note.
    15 recording of those.                                              15      Q. And we can look at Exhibit 14.
    16    Q. (BY MR. RUKAVINA) And when payments were due               16         MR. MORRIS: What number?
    17 on this note, did you personally have any role with              17         MR. RUKAVINA: 14, 1-4.
    18 respect to doing anything to facilitate those payments?          18      Q. (BY MR. RUKAVINA) And those are only
    19    A. When payments were due did I have anything --              19   numbered because Ms. Hendrix, they were used for her
    20 yes.                                                             20   deposition.
    21    Q. What was your role?                                        21      A. Sure. Just trying to keep these in order, I
    22    A. So my role, as part of the corporate team,                 22   apologize. Got it.
    23 part of our role is managing cash at the various                 23      Q. Do you recognize Exhibit 14?
    24 entities. So I was involved in weekly cash meetings,             24      A. Generally. I can't say that I can verify
    25 where things like upcoming, whether it's an obligation           25   that this is completely accurate. But it looks


                                                                 26                                                              28
     1   or a receipt, would be put on people's radars.                  1   familiar to a loan amortization schedule.
     2           And we would, in connection with the 30-year            2      Q. Would it have been maintained by Highland?
     3   notes such as this one from NexPoint, we would either           3      A. Yes.
     4   confer with Jim or -- certainly Jim. Also likely his            4      Q. And I'll tell you that no one has yet to
     5   accountant.                                                     5   authenticate this with a hundred percent precision, so
     6           In terms of teeing them up to make sure that            6   I'm not asking you to ratify these numbers, but let's
     7   they were prepared from a cash flow statement to make           7   assume that they are what they are.
     8   the payment.                                                    8         This does purport to show on the second page
     9       Q. What do you mean by his accountant?                      9   a number of transfers in 2019, which goes along with
    10       A. Melissa Schroth.                                        10   your recent answer.
    11       Q. What do you mean by his? That's a new name              11         Do you see those, sir?
    12   to me. Who is Melissa Schroth?                                 12      A. I do.
    13       A. I find it hard to believe that she's a new              13      Q. In particular, 750,000, then 1.3 million,
    14   name to you. But I think her title was executive               14   300,000, 2.1 million, 630,000, 1.3 million.
    15   accountant, and she was the keeper of Jim's -- many of         15         You see all those, sir?
    16   Jim's trusts and personal entities.                            16      A. Yes, I see every one.
    17       Q. Was she a Highland employee?                            17      Q. Do you have any memory, without going into
    18       A. She was. And when I say Highland, I should              18   those transfers of those dates to the dollar, do you
    19   be clear, Highland Capital Management, LP.                     19   have any memory that those transfers were made?
    20       Q. So when you say Jim's accountant, she was               20      A. Yes. Again, not a specific recollection of
    21   still a debtor employee, just that she handled                 21   where I was at the time, but yes, I know that these
    22   primarily Jim's personal matters?                              22   transfers were made.
    23       A. She was still a Highland Capital Management,            23      Q. Do you know why they were made in those
    24   LP employee but she did Jim's personal matters.                24   amounts and on those dates?
    25       Q. Did you have any role at either Highland                25      A. No, not without speculating.


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                                                                 29                                                                 31
     1     Q. What would be your speculation if you were to              1   them had been made and you executed them?
     2 speculate?                                                        2      A. Both, depending on the circumstances.
     3    A. My speculation would be that it would be for                3      Q. So sometimes you would be brought into a
     4 liquidity needs at HCMLP, Highland Capital Management,            4   discussion?
     5 LP, needing liquidity to operate. Again, that's                   5      A. Yes.
     6 speculation. I don't know for a fact that that's true,            6      Q. And can you think of any particular example?
     7 but that's what I would assume.                                   7      A. Of when I was brought into the discussion of
     8     Q. Who would have made those decisions in 2019                8   whether to transfer? I can't think of an individual
     9 to transfer those funds?                                          9   example but we met quite regularly with Jim on cash.
    10       MR. MORRIS: Objection to the form of the                   10         So to the extent that either he needed cash
    11 question.                                                        11   on one of his entities, he might let us know that. Or
    12        THE WITNESS: Yeah, it would have been either              12   to the extent that Highland needed cash, we might let
    13 Frank or Jim. I can't say with certainty, but one of             13   him know that and ask for basically his assistance in
    14 the two. When I say Jim, I should be clear,                      14   helping us to meet our own cash needs.
    15 Mr. Dondero.                                                     15      Q. And did he usually find a way to facilitate
    16     Q. (BY MR. RUKAVINA) Between January and                     16   the cash need either at one of his entities or at
    17 July 2019, do you have any recollection that there was           17   Highland?
    18 any particular liquidity issue or need at Highland               18      A. I suppose until October 16 of 2019.
    19 Capital Management?                                              19      Q. Yes. Prior to bankruptcy, do you recall any
    20   A. Yeah, Highland was dealing with liquidity                   20   instance where one entity wasn't able to transfer funds
    21 problems throughout 2019. Maybe not every single day             21   to another for liquidity purposes?
    22 of the year, but we were continuously needing to bridge          22      A. I can't think of a specific situation. But
    23 liquidity.                                                       23   I'm sure there were situations where -- you know, cash
    24    Q. And you joined Highland in 2009. From that                 24   was always something that was being juggled, so I don't
    25 point in time, 2009, through 2019, was there any                 25   know that necessarily liquidity could be met the same


                                                                 30                                                                 32
     1   practice at the enterprise of those businesses to               1 day.
     2   transfer funds between each other on a basis of when            2       But eventually we were able to manage through
     3   one needed it and one had it?                                   3 those situations, you know, oftentimes through some of
     4      A. Yes, that was a fairly, generally speaking,               4 these loans.
     5   that was a fairly common practice, of using different           5    Q. In instances that you may remember when
     6   entities within the overall structure to bridge                 6 Highland Capital Management needed liquidity, do you
     7   liquidity.                                                      7 know how Mr. Dondero decided from which other entity to
     8      Q. Would that have been Mr. Dondero who, in the              8 transfer the cash?
     9   final analysis, would have made those decisions?                9    A. I can't step into his brain and think about
    10      A. Maybe not a hundred percent, but I'd say                 10 his decision-making process, but if I was going to
    11   the -- if not a hundred percent, certainly most.               11 oversimplify it I would speculate that it would be
    12      Q. And who else might have participated,                    12 based on who has cash in that moment.
    13   Mr. Waterhouse?                                                13    Q. Would he ask you or someone on your team who
    14      A. Potentially Mr. Waterhouse. And the reason I             14 had cash?
    15   hedge on that a little bit is I don't think Frank would        15   A. At times, depending on which entity we're
    16   have made any of these decisions on his own either.            16 talking about. Because my team certainly didn't have
    17   But I may have heard them from Frank via Jim.                  17 responsibility for every single entity in the
    18      Q. So in those same years, were you ever asked              18 enterprise, but we did have responsibility for some.
    19   by Mr. Dondero or Mr. Waterhouse as to whether funds           19    Q. And if your team -- so -- strike that.
    20   should be transferred from one entity to another for           20        So over the general -- talking about
    21   liquidity purposes?                                            21 generally now, over those 10 years when there were
    22      A. Can you ask that again, please.                          22 these intercompany transfers for liquidity purposes,
    23      Q. Yes. Trying to understand, were you part of              23 how were they booked by the debtor, by Highland Capital
    24   those discussions as to whether these transfers should         24 Management?
    25   be made, or did you just learn that a decision to make         25        MR. MORRIS: Objection to the form of the


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                                                                 33                                                                  35
     1   question.                                                       1       Q. (BY MR. RUKAVINA) To your knowledge, was
     2           THE WITNESS: Help me on the direction. So               2   there any written policy or procedure in place at
     3   this is money that Highland is receiving or money that          3   Highland Capital Management with respect to how
     4   Highland is sending?                                            4   transfers from Highland to an affiliated entity should
     5      Q. (BY MR. RUKAVINA) Sending out.                            5   be booked or treated?
     6      A. Sending out. So this is -- in the scenario                6       A. No written policy or procedure that I'm aware
     7   that you're describing, this money that Highland is             7   of.
     8   sending out to meet some other corporate obligor's              8       Q. Is it fair to say that by May 2019, the
     9   liquidity needs?                                                9   corporate accounting group had handled so many of these
    10      Q. Yes, sir.                                                10   transfers that it believed that if Highland was
    11      A. So those would be booked as a loan. I                    11   transferring funds to another affiliated entity, it's
    12   would -- I need to hedge a little bit because I'm not          12   probably a loan?
    13   a hundred percent certain, but I would say if not              13          MR. MORRIS: Objection to the form of the
    14   exclusively via loans close to exclusively.                    14   question.
    15      Q. And would they -- strike that.                           15          THE WITNESS: Yeah, I don't know that I can
    16           Would they usually be papered up with a                16   answer that in terms of the corporate accounting team.
    17   promissory note?                                               17   That just feels way too broad.
    18      A. Yes.                                                     18          It was certainly the practice that when
    19      Q. Now, why was that the general course during              19   somebody needed liquidity and it was appropriate from an
    20   10 years? Was there a policy and procedure in place,           20   accounting perspective, that's how it would be booked.
    21   or would Dondero say book it as a loan, or was that            21          And there was no reason to doubt that that was
    22   just the right thing to do from an accounting                  22   the appropriate way to do it, particularly with
    23   perspective?                                                   23   direction from either Frank or Jim.
    24           MR. MORRIS: Objection to the form of the               24       Q. (BY MR. RUKAVINA) Is it your testimony that
    25   question.                                                      25   in each instance that happened, that either Frank or


                                                                 34                                                                  36
     1        THE WITNESS: At the end of the day it's at                 1 Jim said, this is a loan, the "this" being the transfer
     2 the direction of Jim Dondero, so I can't tell you                 2 from Highland to an affiliated entity for liquidity
     3 exactly why he wanted it to be done that way. But that            3 purposes?
     4 was certainly the practice of how it was done in those            4       MR. MORRIS: Objection to the form of the
     5 situations.                                                       5 question.
     6     Q. (BY MR. RUKAVINA) To your knowledge, did Jim               6       THE WITNESS: I can't recall with that level
     7 Dondero ever tell you or anyone else that when Highland           7 of specificity if those words came out of Jim's mouth.
     8 is transferring funds to one of his affiliated entities           8 But with 0 percent doubt in my mind, every single one
     9 that it should always be booked as a loan?                        9 of those loans was done with the authority of Jim or
    10      A. So remembering 10 years' worth of                        10 Frank, or both.
    11   conversations, I can't remember a specific instance            11   Q. (BY MR. RUKAVINA) So going back to this
    12   where he would have said, always book every single             12 Exhibit 14, now I'm going to ask you about these
    13   transaction I direct you to do as a loan. However,             13 payments coming in.
    14   that was the practice.                                         14      Assuming that these payments were actually
    15      Q. Different question.                                      15 made in 2019 --
    16          Do you remember that in each instance, and              16      And I think, John, you sent me this morning,
    17   again, that might be unfair over 10 years, but do you          17 or maybe last night, some bank statements?
    18   remember in each instance when Mr. Dondero said                18      MR. MORRIS: I actually sent all of the
    19   transfer money from Highland to this other entity for          19 backup for all payments made, I think, under the notes
    20   liquidity needs that he said book it as a loan?                20 at issue a week or two ago.
    21          MR. MORRIS: Objection to the form of the                21     Q. (BY MR. RUKAVINA) How would -- so assuming
    22   question.                                                      22 that these payments in 2019 that NexPoint made didn't
    23          THE WITNESS: I can't recall with any                    23 technically have to be made at that point in time, how
    24   specificity what he may or may not have specifically           24 would Highland have booked these payments?
    25   said so long ago.                                              25     A. So I can't tell the column headers, so you'll


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                                                            37                                                                   39
     1   have to excuse me if I flip them.                           1   question.
     2      Q. They'll be on the first page. Rip the page            2      Q. (BY MR. RUKAVINA) And his objection is
     3   off if you need to.                                         3   valid. And just to give you a little bit of a fine
     4      A. First one is interest, second one is                  4   point, does someone look at the promissory note to
     5   principal. On the far right is the actual amount of         5   decide that? Or is there some other rule or procedure
     6   the payment. So, for example, March 29, 750,000.            6   that someone looks at?
     7          And the -- the column that has the negative          7          MR. MORRIS: Objection to the form of the
     8   411,000 is the application of interest and the 338- is      8   question.
     9   the application of principal.                               9          THE WITNESS: So the person -- I don't know
    10      Q. So again, if Highland -- strike that.                10   that I can specifically name a person because the role
    11          If NexPoint made a payment that was not             11   probably changed over time.
    12   technically due at that point in time, it would be         12          But either our corporate accountant, or the
    13   recorded as payments on principal and interest?            13   corporate accountant's boss, which was Kristin Hendrix
    14      A. It would be recorded as it's reflected in the        14   for years, would have been responsible for recording and
    15   schedule. So there's an application of interest and an     15   tracking those payments.
    16   application of principal.                                  16          So some combination of the corporate
    17      Q. So based on your understanding and                   17   accountant and Kristin would have applied those
    18   experience, if that payment wasn't due at that time,       18   payments, and that rolls up through my and Frank's
    19   would it have been a prepayment by NexPoint?               19   review ultimately.
    20          MR. MORRIS: Objection to the form of the            20      Q. (BY MR. RUKAVINA) So if I can round off this
    21   question.                                                  21   discussion, I think you told me a few minutes ago that
    22          THE WITNESS: Yeah, I'm not sure that it's a         22   in each instance that Highland was transferring money
    23   prepayment or not. It's certainly a payment. It's          23   out to an affiliate.
    24   certainly voluntary. It's not spelled out under the        24          Whether or not you remember Dondero or
    25   schedule. I don't know that it's a per se, capital P,      25   Waterhouse saying it's a loan, it would have been a


                                                            38                                                                   40
     1 prepayment. I'm just not certain.                             1 loan because that's how it always was and it was always
     2    Q. (BY MR. RUKAVINA) Well, maybe without                   2 authorized. Generally correct?
     3 respect to these specific transfers.                          3       MR. MORRIS: Objection to the form of the
     4          Generally, generally, if one of the Dondero          4 question.
     5   affiliates made a payment that wasn't scheduled, how        5       THE WITNESS: There were a few "always" and
     6   would the debtor have accounted for that payment?           6 "generallys" in there. And like I said, when it came
     7       A. It would have recorded the payment as a              7 to liquidity needs, my recollection is that these would
     8   reduction to either or both outstanding accrued             8 be handled via loans.
     9   interest or principal.                                      9     Q. (BY MR. RUKAVINA) And in reverse, if a
    10       Q. You wouldn't call those prepayments?                10 Dondero entity made a payment prior to a scheduled
    11       A. I don't know the definition of prepayment.          11 payment on a note, generally there would be credit
    12   It's a payment. It's off schedule, but I don't know        12 against principal and/or interest provided on that
    13   whether it's a per se prepayment.                          13 note?
    14       Q. Would that be something in your experience          14       MR. MORRIS: Objection to the form of the
    15   that we would look at the promissory note to maybe         15 question.
    16   determine?                                                 16       THE WITNESS: Generally speaking, yes, if the
    17          MR. MORRIS: Objection to the form of the            17 payment was for payment on the note.
    18   question.                                                  18    Q. (BY MR. RUKAVINA) Well, that goes back to my
    19          THE WITNESS: I don't know.                          19 question.
    20       Q. (BY MR. RUKAVINA) Well, remember, I'm asking        20       Do you know how these payments on Exhibit 14
    21   you the same question just in different ways.              21 in 2019 were determined to be payments on these notes,
    22          Who decides at the debtor, or how does the          22 as opposed to a transfer from NexPoint to Highland for
    23   debtor decide, if an unscheduled payment is made, how      23 some other reason?
    24   to apply it?                                               24    A. What other reason would it be, if I can be so
    25          MR. MORRIS: Objection to the form of the            25 bold.



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                                                                                                            11 (Pages 41 to 44)
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                                                             41                                                               43
     1      Q. Can you think of any other reason in 2019?             1           THE WITNESS: Yeah, the premise of that,
     2      A. Well, Highland had -- Highland had shared              2   given that Mr. Dondero is in control of both sides,
     3   services and intercompany agreements with NexPoint, at       3   it's a faulty premise.
     4   this time.                                                   4       Q. (BY MR. RUKAVINA) But you told me not that
     5          But these were not payments that could                5   long ago that in these weekly cash meetings that it
     6   possibly be confused with those payments. These are          6   would be your team at Highland who would go to
     7   off cycle, they're larger amounts, and there's nothing       7   Mr. Dondero and say Highland has a liquidity issue.
     8   that they could be other than payments against the           8           So wouldn't that liquidity issue have
     9   loan.                                                        9   originated with the Highland team?
    10      Q. So I asked you before, and I think you said           10       A. Mr. Dondero is the president of Highland.
    11   that you were speculating with respect to these             11   He's the president of NexPoint. We're employees of
    12   payments, that Highland needed money at that time.          12   Highland. We're also shared services providers for
    13          Do you recall in 2019 any discussions with           13   NexPoint.
    14   anyone, Dondero or Waterhouse, to the effect that           14           The waters are very muddy in terms of who is
    15   NexPoint has excess cash so maybe NexPoint should           15   wearing what hat in that conversation.
    16   transfer some money to Highland?                            16       Q. But Mr. Dondero doesn't know that Highland
    17          MR. MORRIS: Objection. Asked and answered.           17   has a liquidity issue unless someone from the corporate
    18          THE WITNESS: Do I still answer?                      18   accounting group tells him, does he?
    19      Q. (BY MR. RUKAVINA) Yes.                                19           MR. MORRIS: Objection to the form of the
    20          MR. MORRIS: Yes.                                     20   question. I hope that's not the case.
    21          THE WITNESS: And sorry, I got lost there.            21           THE WITNESS: He has the ability to know what
    22      Q. (BY MR. RUKAVINA) Yes. So my predicate was            22   our cash position is at any given time, at that time.
    23   you testified before that you were assuming that these      23       Q. (BY MR. RUKAVINA) So why would you have
    24   payments were because of a cash need at Highland;           24   these weekly cash meetings with Mr. Waterhouse and
    25   right?                                                      25   sometimes Mr. Dondero?


                                                             42                                                               44
     1      A. Correct.                                               1      A. So these were cash forecasts, looking at
     2      Q. So with that predicate my question is, do you          2   outlook. I can tell you almost without exception,
     3   recall discussing with Dondero or Waterhouse or with         3   maybe -- with maybe without exception, be speculating,
     4   anyone as to why NexPoint would be transferring money        4   but those forecasts would be showing negative numbers
     5   to Highland at that time?                                    5   at Highland, virtually nonstop.
     6      A. Yes, I would have had conversations with               6         And so it was important, my opinion, but it
     7   Mr. Dondero or Mr. Waterhouse.                               7   was probably important to Frank to make sure that he
     8      Q. And do you remember specifically in 2019 why           8   was getting in front of Jim to make sure that those
     9   these transfers were made from NexPoint as opposed to        9   needs were being addressed timely.
    10   some other Dondero entity?                                  10      Q. So I've asked that question. I want to ask
    11      A. Not with specificity, but certainly NexPoint          11   you a different question.
    12   was generating cash at that time, and had the ability       12         For any of these payments between
    13   to assist with Highland's liquidity.                        13   January 2019 and August 2019 reflected on Exhibit 14,
    14      Q. So sitting here today, you've told me                 14   do you have any personal knowledge as to whether they
    15   generally and logically that you have no specific           15   were intended to be prepayments or not?
    16   memory why between January 2019 and August 2019, any of     16         MR. MORRIS: Objection to the form of the
    17   these payments on Exhibit 14 were made by NexPoint?         17   question.
    18      A. I have no specific memory, but I would say            18         THE WITNESS: I don't know whether they were
    19   with certainty that most or all of this was driven by       19   intended to be prepayments at that time.
    20   Highland HCMLP liquidity needs.                             20      Q. (BY MR. RUKAVINA) Sitting here today, seeing
    21      Q. And most or all of this would have been               21   this document as a CPA and as a sophisticated person,
    22   Highland in the first instance going to NexPoint and        22   do you read this Exhibit 14 to indicate that those
    23   saying, hey, can you send us some cash?                     23   payments were booked as prepayments?
    24          MR. MORRIS: Objection to the form of the             24         MR. MORRIS: Objection to the form of the
    25   question.                                                   25   question.


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                                                             45                                                                   47
     1          THE WITNESS: Again, the term "prepayments"            1 that the maker may pay outstanding accrued interest, or
     2   is the one I'm struggling with. I can ascertain that         2 unpaid principal.
     3   there are payments and they're off schedule. But I           3     Q. (BY MR. RUKAVINA) But my question is, as I
     4   don't know that I can ascertain that they're                 4 understand accrued interest, it means interest that has
     5   prepayments.                                                 5 already occurred or accrued as of the date, like
     6       Q. (BY MR. RUKAVINA) Well, if a borrower makes           6 today's date; right?
     7   a payment that's ahead of schedule, how would that           7    A. Uh-huh.
     8   generally be accounted for?                                  8        MR. MORRIS: Objection to the form of the
     9          MR. MORRIS: Objection to the form of the              9 question.
    10   question.                                                   10    Q. (BY MR. RUKAVINA) Do you agree with that?
    11          THE WITNESS: It would be accounted for as a          11       Do you agree with that? Accrued interest
    12   reduction of principal or interest or some combination      12 means interest that has already come due, that has
    13   of the two.                                                 13 actually happened because interest happens over time.
    14       Q. (BY MR. RUKAVINA) Which would relieve the            14       A. Accrued interest --
    15   borrower of having to make that at some point in the        15         MR. MORRIS: Objection to the form of the
    16   future; right?                                              16   question.
    17          MR. MORRIS: Objection to the form of the             17       Q. (BY MR. RUKAVINA) Why don't you start. Why
    18   question.                                                   18   don't you define for me accrued interest.
    19          THE WITNESS: No. The borrower still owes             19       A. Sure. Accrued interest would be outstanding
    20   the money. This is showing 23-point -- pick a date.         20   and unpaid interest that -- sorry, it's hard to define
    21   May 31, 23.034-. That there's significant obligations       21   it without using the term. But it's interest that's
    22   that are still outstanding.                                 22   accumulated in respect of a principal amount through a
    23       Q. (BY MR. RUKAVINA) So on June 4, 2019 -- I'm          23   given date.
    24   sorry, on June 19, 2019, the borrower made a                24       Q. So how do you prepay accrued interest?
    25   $2.1 million payment. That's what this shows; correct?      25       A. How do you prepay accrued interest. Again,


                                                             46                                                                   48
     1      A. I see that.                                            1   that's a little bit of a mental jumble.
     2      Q. You're not saying that the borrower would              2      Q. Exactly.
     3   ever have to make that same $2.1 million payment again,      3      A. Well, what I'm...
     4   are you?                                                     4      Q. To me one pays accrued interest. But this
     5      A. No. What I'm saying is, based on that 2.1-             5   note says you can prepay accrued interest. So I'm just
     6   payment -- and this is reading this cold.                    6   seeing whether you as a CPA, CFO and controller for
     7         But based on that 2.1- payment, 66,000 was             7   years agrees that one can prepay accrued interest?
     8   applied to interest, which left zero accrued interest        8         MR. MORRIS: Objection to the form of the
     9   outstanding. 2.03- applied to principal, which left          9   question.
    10   24.7- and change still outstanding.                         10         THE WITNESS: Frankly, I don't know if it's
    11      Q. Well, I'm going to ask you about the                  11   possible. That's not how I'm seeing it applied here,
    12   promissory note then, Exhibit 13, in particular             12   based on the quick review of Exhibit 14.
    13   Section 3, where it says prepayment allowed.                13      Q. (BY MR. RUKAVINA) Well, the next sentence
    14         And the first sentence says, may or -- pardon         14   says, any payments on this note shall be applied first
    15   me, maker may prepay in whole or in part the unpaid         15   to unpaid accrued interest hereon, and then to unpaid
    16   principal or accrued interest of this note.                 16   principal hereof.
    17         Do you see that, sir?                                 17         Do you see that, sir?
    18      A. Yes, I see that.                                      18      A. I see that.
    19      Q. In your experience, can someone prepay                19      Q. Do you have any understanding based either on
    20   accrued interest?                                           20   your personal knowledge or in your expertise as a CPA
    21         MR. MORRIS: Objection to the form of the              21   and a CFO as to what that sentence means?
    22   question.                                                   22         MR. MORRIS: Objection to the form of the
    23         THE WITNESS: The document reads, maker may            23   question.
    24   prepay in whole or in part the unpaid principal or          24         THE WITNESS: The way that I would read that
    25   accrued interest of this note. So I read that to say        25   would be that for a payment, for example, pick a date,


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     1   Exhibit 14 again, the $2.1 million payment on or about       1 believe that has been done in a specific circumstance.
     2   June 19. I see that a payment was made.                      2    Q. So at least at Highland, you would believe
     3           And it was -- it appears that there was              3 that that phrase, prepaying accrued interest, had some
     4   accrued and unpaid interest at that time of 66,000. And      4 established meaning at Highland?
     5   so the first 66,000 was applied to outstanding accrued       5        MR. MORRIS: Objection to the form of the
     6   interest, to bring the balance to zero.                      6 question.
     7           And the difference between that 66,000 and the       7       THE WITNESS: No, I don't agree with that.
     8   2.1 million was applied to principal.                        8    Q. (BY MR. RUKAVINA) Okay. You understand, of
     9       Q. (BY MR. RUKAVINA) Do you believe, whether             9 course, that it's Highland's position that with respect
    10   from personal knowledge from this note, Exhibit 13, or      10 to this note, a payment was due on December 31 of 2020
    11   your experience at Highland or as a CPA, that one can       11 that wasn't made; correct?
    12   say that interest, accrued interest will be due on a        12     A. Yes, it's my understanding -- if I can state
    13   future date, it will accrue by that date, but I'm going     13 it back just so I make sure I'm getting it correctly.
    14   to pay it earlier as of that date?                          14 It's my understanding that there was a payment due on
    15           MR. MORRIS: Objection to the form of the            15 December 31, 2020, that wasn't made timely, yes.
    16   question.                                                   16   Q. Okay. Do you know why that payment wasn't
    17           THE WITNESS: If I can rephrase back to you          17 made timely?
    18   just so I make sure I'm understanding the question.         18   A. By recollection, because Mr. Dondero had
    19   You're saying could someone say, I would like to prepay     19 directed people not to process payments from Highland
    20   interest into the future. It hasn't accrued yet, but        20 affiliates to Highland.
    21   it will be accrued by end of year.                          21    Q. When did you learn of that?
    22           And I would like to be prepaid effectively          22    A. Early December 2020.
    23   with respect to that interest, and then have the            23    Q. How did you learn of that?
    24   remainder used to pay down principal.                       24    A. I don't specifically remember the
    25           The question is, can someone do that?               25 conversation, but I know I had conversations with both


                                                             50                                                                   52
     1       Q. (BY MR. RUKAVINA) Yes.                                1   Kristin and Frank. I can't remember if those were
     2           MR. MORRIS: I object to the question.                2   individual or collective, but we understood that to be
     3           THE WITNESS: I suppose it's possible, but            3   the marching orders.
     4   that certainly wasn't the practice if that makes sense.      4      Q. Did you hear Mr. Dondero say anything like
     5       Q. (BY MR. RUKAVINA) That does make sense. I'm           5   that?
     6   still struggling, and again, I'm not trying to be a          6      A. I did not.
     7   smart aleck. I'm still struggling with the first             7      Q. Did Mr. Waterhouse tell you that Mr. Dondero
     8   sentence of paragraph 3, that maker may prepay accrued       8   said something like that to him?
     9   interest.                                                    9      A. Yes.
    10           And it sounds like to me like you don't             10      Q. Okay. Separately, do you remember whether
    11   necessarily have a definitive answer as to what that        11   Ms. Hendrix told you that Mr. Waterhouse told her that,
    12   might have meant either.                                    12   or would it have been kind of at the same meeting?
    13           MR. MORRIS: Objection to the form of the            13      A. I don't remember specifically. It would have
    14   question.                                                   14   been all around the same time.
    15           THE WITNESS: I think the document speaks for        15      Q. And to the best of your recollection, what
    16   itself in that sentence.                                    16   words -- strike that.
    17       Q. (BY MR. RUKAVINA) But have you seen                  17         To the best of your recollection, did
    18   something like this, to your recollection, in other         18   Mr. Waterhouse include a reference to promissory notes
    19   Highland promissory notes?                                  19   and the Advisors when he said that Dondero told him not
    20       A. Something like what?                                 20   to make payments?
    21       Q. Prepaying accrued interest.                          21         MR. MORRIS: Objection to the form of the
    22       A. Yes, I have seen that.                               22   question.
    23       Q. What's your memory? Where have you seen              23         THE WITNESS: I don't remember the specific
    24   that?                                                       24   words that Mr. Waterhouse used. My clear impression
    25       A. I can't remember a specific note, but I              25   was that it was a very global instruction.


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     1           And I should clarify also that, you know, at          1 analysis, right or wrong, suggested that the Advisors
     2   this time, I think as we covered in my background.            2 had made large overpayments?
     3           At this point I had assumed the chief                 3        MR. MORRIS: Objection to the form of the
     4   accounting officer role, so I wasn't necessarily in           4 question.
     5   the -- in as much of the chain of command as I had been       5       THE WITNESS: No, that's incorrect.
     6   previously to taking that role, where that sort of thing      6    Q. (BY MR. RUKAVINA) Why is that incorrect?
     7   might have come from Frank, to me, to Kristin.                7     A. Because by recollection, to the best of my
     8           By this time, Frank and Kristin were                  8 recollection, that analysis didn't occur until after
     9   communicating and I was sometimes in the loop, sometimes      9 Dondero had told Frank no more payments.
    10   not.                                                         10     Q. Is that the only reason why you might suspect
    11       Q. (BY MR. RUKAVINA) Did Mr. Waterhouse tell             11 that what I just said was incorrect?
    12   you why Dondero had told him that?                           12       MR. MORRIS: Objection to the form of the
    13       A. I don't remember with any specificity.                13 question.
    14   However, my perception at the time was that at this          14       THE WITNESS: Yeah, I don't know how to
    15   time the relationship between Mr. Dondero and Mr. Seery      15 answer that.
    16   was hopelessly broken, and that this was Jim Dondero,        16     Q. (BY MR. RUKAVINA) I'm going back, when I
    17   you know, gearing up for a fight in the future.              17 asked you, did Waterhouse tell you why Dondero gave the
    18       Q. Prior to December of 2020, had you prepared a         18 direction, you said no.
    19   report showing potential overpayments that NexPoint and      19        MR. MORRIS: Objection to the form of the
    20   HCMFA had made on account of shared services and             20 question.
    21   payroll reimbursement?                                       21       THE WITNESS: Sorry, I'm not sure. If I
    22           MR. MORRIS: Objection to the form of the             22 could have the question asked again, I'd be happy to
    23   question.                                                    23 answer.
    24           You can answer.                                      24    Q. (BY MR. RUKAVINA) I'll ask it again.
    25           THE WITNESS: I know the analysis that you're         25      Mr. Waterhouse tells you that Mr. Dondero


                                                              54                                                                 56
     1 talking about. I would not characterize it the way              1   basically said no more payments; right?
     2 that you characterized it.                                      2      A. Yes.
     3    Q. (BY MR. RUKAVINA) And we'll talk about this               3      Q. And, but he did not tell you why Mr. Dondero
     4 more in November, so I really don't want to go into any         4   said that?
     5 detail, unless you feel the need to.                            5      A. Not that I can recall.
     6       But, so you did not prepare that analysis?                6      Q. So he might have?
     7        MR. MORRIS: Objection to the form of the                 7      A. He might have. I don't specifically
     8 question.                                                       8   remember.
     9        THE WITNESS: I prepared an analysis that                 9      Q. Do you recall asking him or anyone else why
    10 differed from how you described it.                            10   Dondero would have said that?
    11    Q. (BY MR. RUKAVINA) How would you describe it,             11         MR. MORRIS: Objection. Asked and answered.
    12 in a nutshell?                                                 12         THE WITNESS: I don't recall specifically
    13    A. I would describe it as I was asked to refresh            13   asking.
    14 a spreadsheet using certain assumptions, based on the          14      Q. (BY MR. RUKAVINA) Do you recall telling
    15 direction of Frank Waterhouse, and I updated and I sent        15   Mr. Seery that Dondero said anything like that?
    16 him an email.                                                  16      A. At what point in time?
    17   Q. Do you have any understanding that that                   17      Q. Prior to December 31, 2020.
    18 analysis was then shared with Mr. Dondero by                   18      A. No, I did not. I did not say that to
    19 Mr. Waterhouse?                                                19   Mr. Seery.
    20   A. I know that now. I didn't know that at the                20      Q. In your mind was there any present
    21 time.                                                          21   understanding or concern that NexPoint therefore
    22    Q. Do you have any understanding -- strike that.            22   wouldn't make a scheduled December 31, 2020, payment?
    23       Did you have any understanding that as of                23      A. Was there any concern that they wouldn't?
    24 early December 2020 the reason why Mr. Dondero said            24      Q. Yeah.
    25 what he said to Mr. Waterhouse was because that                25      A. I would never use the word "concern." At


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     1   that point I wasn't even on the team anymore, so I hate      1 and change payment?
     2   to say it's other people's problem, but I had my hands       2   A. Yeah, I'm aware that that payment happened.
     3   full with plenty of other things. It wasn't something        3       Q. When did you become aware of that payment?
     4   I was thinking about.                                        4       A. I think after it happened.
     5       Q. Do you remember here today that prior to              5       Q. Can you tell us, was it days, weeks, months
     6   December 31, 2020, you believed that NexPoint would not      6   later?
     7   make the scheduled payment?                                  7       A. It was that day. And if I can expand, I
     8          MR. MORRIS: Objection to the form of the              8   recall getting an email, seeing a large inflow to
     9   question.                                                    9   Highland, to MLP because I was on an email distribution
    10          THE WITNESS: I had no idea whether NexPoint          10   list that had those payments.
    11   was going to make the payment.                              11          And I think I emailed or called Kristin and
    12       Q. (BY MR. RUKAVINA) Were you asked prior to            12   asked her, is this the NexPoint note, because it was a
    13   December 31, 2020 by Mr. Seery or anyone else as to         13   large amount of money. And she said yes.
    14   whether NexPoint was going to make that payment?            14       Q. Did she tell you anything more about that
    15       A. Was I asked by Mr. Seery? Not that I can             15   payment, when it had been made, why, who authorized it?
    16   remember.                                                   16       A. I had that information of when it had been
    17       Q. Prior to December 31, 2020, do you recall any        17   sent. I had a wire confirm.
    18   discussion with Mr. Seery about the NexPoint note?          18       Q. Only important thing to you is where did that
    19          MR. MORRIS: I'm sorry, can I have the                19   money come from?
    20   question again.                                             20       A. It wasn't important to me. It was more
    21       Q. (BY MR. RUKAVINA) Prior to December 31,              21   curiosity.
    22   2020, do you recall any discussion that you had with        22       Q. Did you have any discussions with anyone on
    23   Mr. Seery about this NexPoint note?                         23   or about that time, January 14, 2021, as to why
    24       A. Not that I can remember. If there was, it            24   NexPoint made that payment?
    25   would have been in a cash meeting, but I don't remember     25       A. Not that I can remember.


                                                             58                                                                60
     1   at all.                                                      1    Q. Did you have any discussion with anybody on
     2       Q. So it might have been some detail as part of          2 or about that time, January 14, 2021, as to how HCMLP
     3   a larger discussion, but you don't remember any              3 should account for that payment?
     4   specific discussion just around this note?                   4    A. No.
     5       A. No.                                                   5     Q. Did you have any discussion with Mr. Seery at
     6       Q. When did you learn or how did you learn that          6 all about whether that payment should or shouldn't
     7   the December 31 payment had not been made?                   7 reinstate the note?
     8       A. I'm not sure, but certainly after                     8     A. No discussion that I can remember.
     9   December 31.                                                 9    Q. Is it fair to say that any of those
    10       Q. Do you recall if it was before or after              10 considerations would have been at that point in time
    11   January 7?                                                  11 above your paygrade?
    12       A. I think it was after.                                12       MR. MORRIS: Objection to the form of the
    13       Q. The default letter from Highland is in here,         13 question.
    14   if you need to see it. I'm just telling you it's the        14       THE WITNESS: Yeah, paygrade, I don't know
    15   January 7.                                                  15 how to respond to that. Like I said before, I wasn't
    16           Do you recall having any role with respect to       16 on the team at that point. I wouldn't have been
    17   drafting the default letter that went out to NexPoint       17 involved in that determination regardless of my
    18   after the failed payment?                                   18 compensation.
    19       A. No, none that I can remember.                        19    Q. (BY MR. RUKAVINA) So you know and you
    20       Q. How do you recall learning that the note had         20 remember that in early December 2020 Frank Waterhouse
    21   been called by Highland?                                    21 told you that Dondero had directed no more payments by
    22       A. I honestly don't remember. I think after the         22 the Advisors. And you know that a payment was made on
    23   fact. I couldn't tell you how far after the fact.           23 January 14.
    24       Q. Are you aware that on or about July -- I'm           24      And that's pretty much the extent of your
    25   sorry, January 14, 2021 NexPoint made a $1.4 million        25 knowledge about the missed December 31 payment?



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                                                                                                                16 (Pages 61 to 64)
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     1         MR. MORRIS: Objection to the form of the               1      Q. Do you remember any discussion at that
     2   question.                                                    2   approximate point in time for your cash meetings or
     3         THE WITNESS: Yeah, it's a very broad                   3   anything else as to whether NexPoint had made any
     4   question. In general terms, yes.                             4   prepayments on the promissory note?
     5      Q. (BY MR. RUKAVINA) Well, I'm not asking what            5          MR. MORRIS: Objection to the form of the
     6   you learned since then.                                      6   question.
     7         I'm asking that as of, let's say, January 15,          7          THE WITNESS: Yeah, it's very hard to -- by
     8   2021 that would have been the extent of what you would       8   the way, I've said yeah a few times. I want to make
     9   have known?                                                  9   clear that that's just --
    10      A. Correct. And if I can just restate and make           10      Q. (BY MR. RUKAVINA) That's not a yes?
    11   sure I understand what I'm saying.                          11      A. I apologize for that.
    12         It would have been my understanding that we           12      Q. Understood. Yeah means, it's not a yes.
    13   had had an instruction -- when I say "we," Kristin and      13          MR. MORRIS: It's a pause; it's an um.
    14   Frank and by default the whole corporate team -- not to     14      Q. (BY MR. RUKAVINA) Germans call it flavoring
    15   make payments from these affiliated entities.               15   particle.
    16         To my knowledge, none of those payments had           16      A. Sorry, I got lost there. If you can ask
    17   occurred since that point. And then on or about             17   again.
    18   January 14, such a payment was made and I found out         18      Q. Yeah. Do you recall in November or
    19   about that by seeing a wire confirm.                        19   December 2020 in your weekly meetings or anything else,
    20      Q. Well, you mentioned a couple times that you,          20   any discussion whatsoever concerning whether NexPoint
    21   in December 2020, you weren't part of that group            21   had made any prepayments on its note?
    22   anymore. So do you have any understanding as to why         22      A. No discussions of whether or not there had
    23   Mr. Waterhouse would have told you in particular, you       23   been a prepayment that I can remember, no.
    24   being Mr. Klos, about that instruction from Dondero?        24      Q. To the best of your knowledge sitting here
    25      A. Sure. I still was participating in cash               25   today -- strike that.


                                                             62                                                                   64
     1   meetings, even if it was almost in a nominal role,           1       For my next question, again we're assuming
     2   because of some of my history that I had. So I was           2 that Exhibit 14 is what it appears to be.
     3   still participating in those meetings.                       3    A. Sure, sure.
     4          I've worked closely with Kristin for a long           4    Q. So with that qualification, to the best of
     5   time, so I may have caught up with her informally. But       5 your knowledge, other than what's on Exhibit 14, can
     6   as far as day-to-day duties, I wasn't part of that team      6 you think of any other record or source or document
     7   anymore.                                                     7 that would address whether any unscheduled payments by
     8       Q. And is it your, did I understand you                  8 NexPoint would or wouldn't be prepayments on the note?
     9   correctly, is it your testimony that Mr. Waterhouse          9       MR. MORRIS: Objection to the form of the
    10   informed the whole accounting group there, the              10 question.
    11   corporate accounting group, of Mr. Dondero's                11       THE WITNESS: Again, with the struggle of the
    12   instruction?                                                12 prepayment, this is the document that I would expect to
    13       A. I don't know specifically who he told, if he         13 explain how the payment was applied.
    14   told every single member of the team, but he certainly      14    Q. (BY MR. RUKAVINA) But you yourself did not
    15   told Kristin and Kristin was the head of the team.          15 play any role in deciding how the payment would be
    16       Q. And you don't recall anyone, after you heard         16 applied?
    17   about that instruction, raising any concern to the          17    A. I'd hesitate to say no role, because the team
    18   effect that NexPoint is going to default and be in          18 ultimately rolls up to me.
    19   trouble if that payment isn't made?                         19    Q. You personally?
    20       A. I don't remember any discussion to that              20    A. Me personally, I wouldn't have prepared these
    21   effect.                                                     21 schedules.
    22       Q. Do you remember anyone suggesting that they          22    Q. Or decided, you personally, as Mr. Klos, how
    23   ought to try to dissuade Mr. Dondero from that              23 any unscheduled payments should be accounted for by
    24   direction?                                                  24 Highland?
    25       A. Not that I can remember.                             25     A. Correct, not without some -- some


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     1 authoritative direction on how they should be applied.              1      Q. (BY MR. RUKAVINA) Are you familiar with
     2    Q. And that authoritative direction would have                   2   Exhibits 1 and 2, sir?
     3 come from Mr. Waterhouse or Mr. Dondero?                            3      A. Yes, I am.
     4   A. That's what I would expect.                                    4      Q. Do you remember them from back -- strike
     5     Q. Could it have come from anyone else that you                 5   that.
     6 can think of here today?                                            6         Did you have any role, to your knowledge,
     7   A. Not that I can think of.                                       7   with the preparation of Exhibits 1 and/or 2?
     8     Q. Now we're going to switch gears and I think                  8      A. With the preparation of the documents?
     9 we're going to stop discussing the NexPoint note, and               9      Q. Yeah.
    10 we're going to focus on the HCMFA two promissory notes.            10      A. No.
    11      A. Sure.                                                      11      Q. But you did have some role with these
    12      Q. So we're going to go back in time to                       12   promissory notes?
    13   May 2019; okay?                                                  13      A. Yes.
    14      A. Sure.                                                      14      Q. And I'm trying to find that email as well.
    15      Q. And is it fair to say by -- that by May 2019               15   There's an email here from you. I'll have it in a
    16   there were at least dozens if not hundreds of instances          16   moment. That will help frame the question.
    17   of intercompany loans in the years leading up there              17         MR. MORRIS: Exhibit 3.
    18   from Highland to one of the other entities?                      18      Q. (BY MR. RUKAVINA) Do you recall that email,
    19         MR. MORRIS: Objection to the form of the                   19   sir?
    20   question.                                                        20      A. Not specifically, but it's right in front of
    21         THE WITNESS: From Highland to one of the                   21   me. I'm certain that I wrote this email.
    22   other entities. Can you help with other entities.                22      Q. You have no reason to deny or reject its
    23      Q. (BY MR. RUKAVINA) Advisors, the trusts, any                23   authenticity?
    24   of the Dondero entities?                                         24      A. I have no reason to reject it or question it.
    25         MR. MORRIS: Objection to the form of the                   25      Q. Just give me a second. I don't understand


                                                                   66                                                             68
     1   question.                                                         1   what's going on with my exhibits. I just don't
     2         THE WITNESS: Yes, there would have been many                2   understand this.
     3   loans over the years.                                             3         (Off the record.)
     4      Q. (BY MR. RUKAVINA) And do I understand that                  4      Q. (BY MR. RUKAVINA) You have Exhibit 3 in
     5   most, if not all, of those loans should have been                 5   front of you?
     6   papered up with a written promissory note?                        6      A. I do.
     7         MR. MORRIS: Objection to the form of the                    7      Q. And it says, please send 2.4 million from
     8   question.                                                         8   HCMLP to HCMFA. This is a new interco.
     9         THE WITNESS: Should have been. To the                       9         Meaning intercompany; right?
    10   extent that they were for a promissory note, then yes.           10      A. Correct.
    11      Q. (BY MR. RUKAVINA) So in the May 2019 time                  11      Q. This is a new intercompany loan.
    12   frame, was there a regular pattern or course or                  12         Who told you that this was an intercompany
    13   procedure in place as to how a promissory note would be          13   loan?
    14   physically prepared and presented for approval?                  14      A. Either Frank or Jim. I would suspect Frank.
    15         MR. MORRIS: Objection to the form of the                   15      Q. Do you have any present memory of him telling
    16   question.                                                        16   you that with respect to this particular loan?
    17         THE WITNESS: Yeah, when you say a process,                 17      A. I don't have a specific recollection, but
    18   can you please clarify that for me.                              18   with a hundred percent certainty he or Jim would have
    19      Q. (BY MR. RUKAVINA) Sure. Let's look at these                19   directed that.
    20   two promissory notes and maybe that will help frame the          20      Q. Would they have directed the payment, or
    21   question. And I apologize for not having them right              21   would they have directed that it be papered as a loan,
    22   here.                                                            22   or both?
    23      A. It might be --                                             23      A. Both.
    24         MR. MORRIS: 1 and 2.                                       24      Q. So in each instance -- well, let's take a
    25         MR. RUKAVINA: Yes.                                         25   step back.


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                                                               69                                                                       71
     1           So certainly either Jim or Frank directed you         1 within that fund.
     2   to transfer the $2.4 million; correct?                        2      Q. Who made that NAV error?
     3       A. Either Jim or Frank would have directed, yes.          3          MR. MORRIS: Objection to the form of the
     4   There's 0 percent chance I would have sent this email         4   question.
     5   if I didn't feel a hundred percent confident that this        5          THE WITNESS: Yeah, it's hard to answer that.
     6   was authorized in the way that I described in the             6   So the Highland Capital Management Fund Advisors is the
     7   email.                                                        7   advisor to the fund, so they're the responsible party
     8       Q. But can you also say with certainty that               8   for making the fund whole in the instances of NAV
     9   either Dondero or Waterhouse also told you that this          9   errors.
    10   transfer is an intercompany loan?                            10     Q. (BY MR. RUKAVINA) And did HCMFA contract out
    11       A. With a hundred percent certainty, yes. I              11 with Highland for valuation services?
    12   can't say that necessarily with respect to Dondero,          12         MR. MORRIS: Objection to the form of the
    13   because I don't remember if I would have talked to him       13 question.
    14   specifically about it. But, yes, this would have been        14         THE WITNESS: I don't specifically remember
    15   clear that it's a loan.                                      15 if they contracted for valuation services, but if you
    16       Q. You say clear. Did someone tell you that              16 tell me that they did, I'll take that at face value.
    17   it's a loan, or are you just, because of the prior           17 So yes, HCMFA utilized HCMLP for valuation services.
    18   10 years of course and conduct, logically deciding that      18     Q. (BY MR. RUKAVINA) Do you have any memory of
    19   it has to be a loan?                                         19 what human being or beings made that NAV error?
    20           MR. MORRIS: Objection to the form of the             20         MR. MORRIS: Objection to the form of the
    21   question.                                                    21 question.
    22           THE WITNESS: So this is -- this is not just          22         THE WITNESS: It's -- in respect to people,
    23   a situation of past practice. I would have known with        23 not particularly. In respect to parties, Houlihan
    24   certainty that this was a loan and that's what was           24 Lokey was the service provider that performed the
    25   authorized.                                                  25 valuation that resulted in the NAV error.


                                                               70                                                                       72
     1     Q. (BY MR. RUKAVINA) How would you have known               1         And as I described before, the valuation
     2 with certainty that it was a loan?                              2 function was housed at HCMLP by HCMLP employees
     3    A. I'll say in part because of past practice,                3 supporting that through, among other people, front
     4 but also because of the nature of what the money was            4 office, compliance, other parts of the organization as
     5 going to be used for, and the background behind it.             5 well.
     6      Q. So you knew that nature and that background?            6     Q. (BY MR. RUKAVINA) So it was your
     7      A. The nature and background of the 2.4 million,           7 understanding that Highland was loaning $2.4 million to
     8   yes.                                                          8 HCMFA for HCMFA to compensate that fund?
     9      Q. So you've told me that in part -- I asked you           9      A. Yes.
    10   how did you know it was a loan. You said in part past        10      Q. Did you have any understanding that Highland
    11   practices, in part you knew the nature. Anything else?       11   might have been, instead of loaning that money,
    12      A. I'm certain that given that I wrote this               12   actually paying that money to HCMFA to compensate HCMFA
    13   email, which Frank is on, that I would have had a            13   for Highland's valuation error?
    14   conversation with Frank about what this was.                 14      A. First, not Highland's valuation error. But
    15      Q. Was Jim Dondero in the corporate accounting            15   second, no, there's no way that that would have been
    16   email?                                                       16   what that payment was for.
    17      A. No, he wasn't.                                         17      Q. Why can you say that there's no way that that
    18      Q. So what is your understanding as to what this          18   would have been what that payment was for?
    19   $2.4 million was for?                                        19      A. First, this wasn't the first NAV error that
    20      A. This related to -- well, to separate the               20   ever occurred. There had been other NAV errors. There
    21   transaction, the 2.4- itself relates to a promissory         21   were other NAV errors with respect to this valuation
    22   note. That's what was executed.                              22   that pertain to NexPoint Advisors.
    23         HCMFA's use of the 2.4 million was to                  23         There was no reimbursement from HCMLP to
    24   reimburse a fund that it managed called Highland Global      24   NexPoint or HCMFA, regardless of any individual being
    25   Allocation Fund for a NAV error that had occurred            25   identified as the person. That had just never occurred



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     1 to my knowledge.                                               1 HCMFA for the liquidity. HCMFA made the payment to the
     2      Second, the amount was to meet the liquidity              2 fund. It wasn't dollar for dollar. I think it was
     3 need of HCMFA. It wasn't to -- it wasn't to                    3 like 5,019,000, or some such number.
     4 dollar-for-dollar make up for the NAV error. It was            4        But 5 million was the number that would allow
     5 that's how much money HCMFA needed.                            5 it to make that payment effectively to the investors of
     6         Third, it was definitely Dondero's practice            6 Global Allocation Fund.
     7   and preference to have expenses at HCMFA for tax             7     Q. Do you have any understanding as to why
     8   purposes. So if this was compensation, he would              8 Highland, as opposed to some other entity, was
     9   ultimately not really be benefiting from the deduction       9 transferring $7.4 million?
    10   so.                                                         10      A. Highland as opposed to some other entity?
    11         That would have been a strong preference of           11      Q. Uh-huh.
    12   his against having it be compensation.                      12      A. Because Highland had the money.
    13         So it would have been excruciatingly clear            13      Q. But I think we've established earlier that in
    14   that this was a loan for liquidity for HCMFA to make        14   the first seven months of 2019, Highland was having
    15   the fund whole, just like it had in the past NAV            15   constant liquidity issues?
    16   errors.                                                     16      A. It was.
    17       Q. How did you know that HCMFA needed                   17      Q. And that's part of the reason that NexPoint
    18   $2.4 million for liquidity?                                 18   was making unscheduled payments on its note; right?
    19       A. At that point I was still part of the                19      A. That's part of the reason NexPoint was making
    20   corporate team, so I had a good sense of how much cash      20   unscheduled payments on its note, yes.
    21   HCMFA would have had at any given moment. And at that       21      Q. So your recollection is that HCMFA needed
    22   given moment it would not have had -- I'd be shocked if     22   $2.4 million for liquidity purposes and about
    23   it had even 2.4-.                                           23   $5 million for the consent fee. And Highland
    24         Probably would have had probably between              24   transferred those funds because Highland had the funds?
    25   a million and 2 million if I had to speculate.              25      A. Yes. And I should clarify that Highland only


                                                             74                                                                     76
     1      Q. Okay. So you've given the reasons why this             1 had the funds because Mr. Dondero repaid personal notes
     2   was clearly a loan.                                          2 to HCMLP on the same days.
     3          But you never heard Mr. Dondero say that this         3        So he paid 2.4 million on May 2, which
     4   was a loan, did you?                                         4 Highland turned around and reloaned. And he paid 4.4-
     5      A. I don't remember. It's possible I did, but I           5 on May 3, and Highland sent out 5-, so there's a
     6   don't specifically remember.                                 6 $600,000 difference. And my recollection, he paid the
     7      Q. Okay. What about the $5 million loan on the            7 other 600,000 via note repayment within a few days.
     8   day after? What was that $5 million for?                     8     Q. So this would have been part of some broader
     9      A. That was similar but different. So again,              9 transaction in Mr. Dondero's mind?
    10   HCMFA needed liquidity. This time this was for --           10    A. I would not characterize it that way.
    11   related to that same fund.                                  11     Q. You established that HCMFA needed money. You
    12          So Highland Global Allocation Fund had               12 established that Highland temporarily had money because
    13   converted from an open-end fund, mutual fund, to a          13 Dondero provided it with money.
    14   closed-end mutual fund.                                     14        But you still don't know, sir, as a fact as
    15          And pursuant to that conversion there was a,         15 to whether that transfer was a loan or some other
    16   I believe it was called a consent fee, for any              16 payment from HCMFA -- I'm sorry from HCM, from debtor
    17   investors of that fund who consented to the conversion,     17 to HCMFA?
    18   that they would receive a 3 percent fee payable by the      18      MR. MORRIS: Objection to the form of the
    19   investment advisor.                                         19 question. Asked and answered a million times. It's in
    20          And so at this time the bill came due on that        20 the documents you're showing him.
    21   because the conversion had been completed, and the          21       THE WITNESS: It was a loan.
    22   accounting for how much that 3 percent was going to be      22       MR. MORRIS: Come on, Davor. With all due
    23   was complete.                                               23 respect, it's in the document. It's on the document.
    24          HCMFA sure as hell didn't have 5 million             24    Q. (BY MR. RUKAVINA) I'm being courteous and
    25   bucks. Excuse my language. Highland needed to pay           25 respectful to you and I'd ask the same in return; okay?



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     1      A. Absolutely. I apologize if I haven't been.             1 into the note on behalf of HCMFA, yes.
     2      Q. Mr. Dondero, would you agree, was the only             2     Q. (BY MR. RUKAVINA) Was that something that he
     3   person that had the authority at the debtor to               3 would have done without Mr. Dondero's approval to your
     4   authorize a transfer of 2.4- and then $5 million?            4 understanding and practice at that time?
     5      A. At the debtor?                                         5        MR. MORRIS: Objection to the form of the
     6          MR. MORRIS: Objection to the form of the              6 question.
     7   question.                                                    7        THE WITNESS: Same answer that I gave before
     8      Q. (BY MR. RUKAVINA) Yes, at the debtor.                  8 with respect to Highland.
     9      A. No.                                                    9     Q. (BY MR. RUKAVINA) So here's where I'm going
    10      Q. Who else could have transferred 2.4 million           10 with all this.
    11   or $5 million?                                              11       Mr. Dondero's position, and tomorrow his
    12      A. Those are two different questions. But if             12 testimony will be, that he caused the $7.4 million to
    13   you're asking who had the authority, certainly Frank        13 be transferred not as a loan to HCMFA, but to
    14   did as well.                                                14 compensate HCMFA for various things including that NAV
    15      Q. So Frank had the authority. Perhaps my                15 error.
    16   question was inartful.                                      16        Other than perhaps you think he's lying,
    17          Do you believe that Mr. Waterhouse would have        17 would you have any knowledge, hearsay, document,
    18   decided to transfer $2.4 million or $5 million without      18 anything, to contradict Mr. Dondero's position?
    19   Mr. Dondero's approval?                                     19        MR. MORRIS: Objection to the form of the
    20          MR. MORRIS: Objection to the form of the             20 question.
    21   question.                                                   21        THE WITNESS: Yes. I would point to the fact
    22          THE WITNESS: Generally speaking, no, but I           22 that as it pertains to the $5 million note, if we're
    23   don't know exactly what the form of the approval. But       23 separating issues, there's no other possibility of what
    24   he certainly wouldn't have done that on his own without     24 that money could be other than either a loan or equity.
    25   discussing with Dondero.                                    25        It's not compensation. Highland is under --


                                                             78                                                                    80
     1       Q. (BY MR. RUKAVINA) Do you believe that                 1 HCMLP has absolutely zero obligation in respect to that
     2   Mr. Waterhouse had the ability on behalf of the debtor       2 consent fee. So when Highland sends $5 million to HCMFA
     3   to loan $5 million without Mr. Dondero's approval?           3 there's nothing else that it can be. That's Point 1.
     4          MR. MORRIS: Objection to the form of the              4        Point 2, we're right in the middle of an audit
     5   question.                                                    5 at this point. Jim signs rep letters at this point.
     6          THE WITNESS: I think he had the technical             6 He's being provided balance sheets throughout 2019 that
     7   authority to. However, I don't believe in practice           7 indicate the loans that Highland has on its books.
     8   that he ever would.                                          8       Balance sheets are being prepared in respect
     9       Q. (BY MR. RUKAVINA) Same question, $2.4                 9 of annual approvals for 15(c) for retail funds in the
    10   million?                                                    10 fall. Schedules are being created for bankruptcy after
    11       A. Same answer.                                         11 we file in October.
    12       Q. We've established that you never really had a        12       Nobody says this is a mistake. Frank is on
    13   direct employment or types of a role for NexPoint --        13 all of these emails. Frank never questions it.
    14   I'm sorry, for HCMFA; right?                                14         There's absolutely no evidence from that point
    15       A. Again --                                             15 in time to whenever this defense got raised that would
    16       Q. To the best of your recollection?                    16 indicate that anybody said that these weren't exactly
    17       A. Best of my recollection I can't remember how         17 what they say they are.
    18   the titles transferred over or whatever, but I don't        18   Q. (BY MR. RUKAVINA) Are you aware that in
    19   believe I did.                                              19 February or March 2019 some $5.2 million was paid from
    20       Q. Do you know whether Mr. Waterhouse in 2019           20 insurance that HCMFA had to the fund for the NAV error?
    21   had the authority, without Mr. Dondero's approval, to       21    A. The amount sounds unfamiliar, but I'm aware
    22   borrow $7.4 million on behalf of HCMFA?                     22 that insurance proceeds were paid from HCMFA to the
    23          MR. MORRIS: Objection to the form of the             23 fund.
    24   question.                                                   24     Q. And do you think that it's impossible for a
    25          THE WITNESS: He had the authority to enter           25 sane, rational person to conclude that HCMFA had a



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     1 claim against the debtor related to that NAV error?              1        A. Yes, I am. I believe Kristin sent that one.
     2      MR. MORRIS: Objection to the form of the                    2        Q. Kristin sent that one?
     3 question.                                                        3        A. I believe so.
     4        THE WITNESS: If it did, I don't know how                  4        Q. To whom?
     5 that's not insurance fraud for basically double                  5        A. Likely the same distribution group, but
     6 collecting insurance proceeds and then collecting it             6   that's speculation.
     7 again.                                                           7        Q. Did you see such an email in the last week or
     8     Q. (BY MR. RUKAVINA) So you believe, sir, that               8   two?
     9 if insurance pays a claim you have no more right to go           9        A. I'm not certain, but probably. I have seen
    10 against a person who caused the fault?                          10   email communication on or around May 3, but I don't
    11        MR. MORRIS: Objection to the form of the                 11   know specifically who all was on the email. I'm going
    12 question.                                                       12   off what I would expect to see.
    13       THE WITNESS: We can speak specifically here.              13           MR. MORRIS: If you're really interested,
    14 This is about a NAV error that an insurance company             14   it's right here. It was produced to you with
    15 reimbursed HCMFA for, which it then turned around and           15   Bates 3763. And if you'd like to question the witness.
    16 paid for the fund.                                              16           MR. RUKAVINA: When was it produced?
    17        So if it went to collect that same, let's use            17           MR. MORRIS: I can't tell you. It's part of
    18 round numbers, $5 million from Highland that it's               18   the same package.
    19 already collected from insurance, that sounds                   19        Q. (BY MR. RUKAVINA) So going back to this
    20 inappropriate to me.                                            20   Exhibit 3, sir, why did you ask Kristin, can you or
    21    Q. (BY MR. RUKAVINA) Okay. But you don't know                21   Hayley please prep a note for execution? Why them?
    22 whether that's allowed in Texas law or not, do you?             22           Remember, I was asking about what the course
    23        MR. MORRIS: Objection to the form of the                 23   or procedure was at that point in time.
    24 question.                                                       24        A. Yeah, so nomenclature, procedure, process.
    25       THE WITNESS: No, I don't know whether it's                25           I would say the informal process for these


                                                                82                                                              84
     1 allowed under Texas law.                                         1   types of loans, they were frequent in nature, would be
     2     Q. (BY MR. RUKAVINA) So you don't know that if               2   for someone on the corporate accounting team to prepare
     3 you're hit by someone on the street and your medical             3   a note and have it executed.
     4 insurance pays your bills, you don't know that he still          4      Q. Okay. That was the standard course back
     5 has to pay you for the same bills?                               5   then?
     6       MR. MORRIS: Objection to the form of the                   6      A. Again, I don't know what standard course
     7 question. I hope I don't miss my plane.                          7   means. That was fairly typical.
     8    Q. (BY MR. RUKAVINA) You don't know that under                8      Q. Why would you not have asked someone in the
     9 Texas law if someone hits you with their car and causes          9   Highland legal department to prepare a note?
    10 you medical bills and your medical insurance pays those         10      A. Because this was a legally reviewed document
    11 bills, that you can still sue them for the same                 11   as far as the form of the agreement. It's a one-page,
    12 damages?                                                        12   two-paragraph form that had been used for a long time.
    13       MR. MORRIS: Objection to the form of the                  13          So the only thing that would change with
    14 question.                                                       14   respect to these notes would be the date, the amount,
    15       THE WITNESS: I'm not familiar at any level                15   likely the rate. I can't think of anything else
    16 of specificity with Texas law.                                  16   offhand that would have changed from note to note.
    17    Q. (BY MR. RUKAVINA) Again, it just sounds                   17      Q. After you asked Ms. Hendrix to prepare this
    18 wrong to you that you could go after someone after              18   note, did you have any further role with respect to the
    19 insurance pays, but you don't know legally one way or           19   papering, preparation, or execution of that note?
    20 the other?                                                      20      A. Not that I can remember.
    21    A. Correct. I'm not a lawyer or expert in Texas              21      Q. Would you have had any role in having either
    22 law. It feels wrong, yes.                                       22   or both of the notes actually signed electronically or
    23    Q. Okay. Going back to this email of yours,                  23   by ink by Mr. Waterhouse?
    24 Exhibit 3, do you recall whether there was a similar            24      A. Likely not, no.
    25 email with respect to the $5 million note?                      25      Q. Do you know who decided to have


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     1 Mr. Waterhouse as opposed to Mr. Dondero sign these two         1      Q. Did you have any understanding in early May
     2 promissory notes?                                               2 of 2019 as to whether HCMFA was solvent or insolvent?
     3      A. I don't.                                                3       MR. MORRIS: Objection to the form of the
     4      Q. On the $5 million note, do you remember if              4 question.
     5   you had any role with respect to its physical papering        5         THE WITNESS: Whether HCMFA was solvent or
     6   or execution?                                                 6 insolvent? I'm not a solvency expert, so I don't know
     7      A. Not that I recall.                                      7 that I could even attempt to answer that.
     8      Q. To the best of your memory, your role would             8      Q. (BY MR. RUKAVINA) Did you have an
     9   have been done by instructing your team, hey, here is         9 understanding as far as HCMFA goes on May 2, 2019, that
    10   these new loans, go paper it up; is that accurate?           10 its liabilities exceeded its assets?
    11      A. On the upfront side. I suppose my role would           11      A. I don't remember specifically where it stood
    12   have also included on the back end making sure that the      12 on assets versus liabilities.
    13   actual payment had occurred. But that would have been        13    Q. Do you have any memory that by May 2, 2019,
    14   doing that realtime, seeing the funds went out, and          14 the debtor had taken a couple prior demand notes from
    15   that, most importantly, that the consent fee had been        15 HCMFA and made them not collectible prior to May 31,
    16   paid from HCMFA to the transfer agent.                       16 2021?
    17      Q. How did you or anyone on your team know -- so          17    A. I know what you're referring to. I wouldn't
    18   obviously, you know it's a $2.4 million loan because         18 characterize it that way.
    19   that's what Waterhouse or Dondero told you; right?           19       Q. How would you characterize it?
    20          How did you know it was a $2.4 million loan?          20       A. I recall that there was a financial support
    21          MR. MORRIS: Objection. Asked and answered.            21   acknowledgment, I think it was the name of the
    22          THE WITNESS: I knew that the NAV error was            22   acknowledgment.
    23   2 million, I think it was 398,000, somewhere in that         23         That described -- I can't remember if it
    24   ballpark. And that 2.4- had been authorized for that         24   described those two notes specifically or just referred
    25   purpose.                                                     25   to them, that there would not be collection sought on


                                                               86                                                                    88
     1       Q. (BY MR. RUKAVINA) Do you know who decided              1   those until May 31 of 2021.
     2   what the interest rate in this note would be, or that         2       Q. Do you remember why that document was done?
     3   it would be a demand note as opposed to a term note?          3       A. My recollection, and it could have been done
     4       A. I don't specifically know who made that                4   for other reasons, but my recollection of it was that
     5   decision. However, the common practice for fund               5   it was primarily audit-driven.
     6   advisors was to put -- was for the rate to equal the, I       6         For the auditors to be comfortable that these
     7   forget if it was the short-term or long-term AFR.             7   notes weren't going to be just called and FA not have
     8          And for the note to be demand, that was just           8   the ability to pay them right away.
     9   the standard -- that was the standard.                        9       Q. Because it's true in April or May of 2019
    10       Q. And I think I asked this, but just if I               10   HCMFA didn't have the ability to pay those notes;
    11   didn't.                                                      11   correct?
    12          For either or both of these two notes, the            12       A. It didn't have enough cash to pay those.
    13   2.4- and $5 million note, did you have any role with         13       Q. And I think you mentioned before that in
    14   respect to Mr. Waterhouse signing them?                      14   May 2019 the auditors at the Highland level were
    15       A. No, not that I can remember. I don't think I          15   talking about rolling up prior demand notes into term
    16   did.                                                         16   notes so the debtor would at least get some regular
    17       Q. And you don't remember doing anything to get          17   cash flow; correct?
    18   his signatures?                                              18         MR. MORRIS: Objection to the form of the
    19       A. Not that I recall.                                    19   question.
    20       Q. Nor would that have been something that you           20         THE WITNESS: No.
    21   would expect that you would have a role with?                21       Q. (BY MR. RUKAVINA) So you recall that -- I'm
    22       A. Certainly not in this instance. Maybe to the          22   sorry, that was 2017. I was wrong; right?
    23   extent that nobody else was around and it was time           23       A. Correct.
    24   sensitive, but that wouldn't have been the case with         24       Q. So I guess here is my question, and I'm
    25   these, I don't believe.                                      25   struggling to understand this.


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     1        So why would Highland be loaning an                       1     Q. (BY MR. RUKAVINA) So it had to have been a
     2 additional $7.4 million in early May of 2019 to HCMFA            2 loan; correct?
     3 when HCMFA already was then unable to repay its debts            3       MR. MORRIS: Objection to the form of the
     4 to Highland?                                                     4 question.
     5       MR. MORRIS: Objection to the form of the                   5        THE WITNESS: In these instances I know it to
     6 question.                                                        6 have been a loan.
     7        THE WITNESS: Yeah, I kind of reject the                   7     Q. (BY MR. RUKAVINA) Because of what
     8 premise of the question, and these are all controlled            8 Mr. Waterhouse told you?
     9 by Jim. And it's completely within his power at any              9      MR. MORRIS: Objection to the form of the
    10 point in time to make any payment on any of the loans,          10 question. Asked and answered.
    11 depending on where priorities sit.                              11        THE WITNESS: Yeah, it was my understanding
    12          So the idea that HCMFA -- that Highland would          12 that these were loans.
    13   be doing a credit analysis on HCMFA, determining that it      13     Q. (BY MR. RUKAVINA) You know these 7.4- to be
    14   was unable to make that payment and, therefore, this is       14 loans even though you never heard Mr. Dondero say that
    15   a bad note, is a completely foreign, preposterous             15 to you?
    16   concept at that time.                                         16     A. Yes, although to be fair, I don't know
    17       Q. (BY MR. RUKAVINA) And in May of 2019 isn't             17 whether I ever heard Mr. Dondero. It's possible he did
    18   it also, sir, the case that Mr. Dondero could have,           18 say it.
    19   right or wrong, agree or disagree, said, that 7.4- is         19         MR. MORRIS: Objection. Withdrawn.
    20   going to compensate HCMFA for the NAV error as opposed        20      Q. (BY MR. RUKAVINA) You have no memory that on
    21   to being a loan?                                              21   or before May 4, 2019 you heard Mr. Dondero say that
    22       A. No.                                                    22   the $2.4 million transfer and/or the $5 million
    23       Q. That's not possible?                                   23   transfer to HCMFA were loans?
    24       A. No.                                                    24      A. I have no specific recollection, but such a
    25       Q. And why is that not possible?                          25   conversation is just off the reservation impossible.


                                                                90                                                                  92
     1      A. As we discussed, the 5-, there's absolutely              1 That there's no way -- there's no way -- there's no way
     2   no construct where that can be compensation for an NAV         2 that it would have been described that way and there's
     3   error. It's not a NAV error. It's a consent fee.               3 a hundred percent that it's loan.
     4   Highland has absolutely no responsibility for that.            4    Q. Do you have any memory discussing prior --
     5          Highland also has no responsibility for the             5        MR. MORRIS: Objection. Asked and answered.
     6   2.4-, but if you want to assume that it did, that's            6 He's answered this a thousand times.
     7   completely not the practice. It was Jim's preference           7     Q. (BY MR. RUKAVINA) Do you have any memory on
     8   to do these via loans, and that's how it was booked.           8 or before May 2, 2019 discussing the $2.4 million
     9      Q. You're saying on the one hand Mr. Dondero can            9 transfer with Mr. Dondero at all?
    10   absolutely control that one entity make a loan to             10     A. I do recall, I don't remember the time, but I
    11   another, irrespective of credit worthiness, but he            11 do remember discussing the NAV error in general terms
    12   can't decide that a transfer is compensation as opposed       12 and the potential magnitude of that. I don't remember
    13   to a loan?                                                    13 specifically when that occurred.
    14          MR. MORRIS: Objection to the form of the               14    Q. At least in your discussion with Mr. Dondero,
    15   question. Argumentative.                                      15 the $2.4 million loan or note was somehow linked to the
    16          THE WITNESS: If he wants to call                       16 NAV error?
    17   $7.4 million compensation to himself or to HCMFA, I           17     A. Linked to the NAV error is strong. It
    18   just don't know how he does that. This is me being an         18 related to the NAV error from the standpoint that
    19   accountant. I don't know how that's possible.                 19 that's what Highland was loaning HCMFA the money for,
    20          If he wants to pay himself a $7.4 million              20 because HCMFA couldn't otherwise make the payment
    21   bonus from HCMFA, fine, he has the power to do that. If       21 itself.
    22   he wants Highland to inject 7.4 million of equity into        22     Q. You just said Highland was loaning the money
    23   HCMFA, he has the power to do that.                           23 for. Are you remembering now Mr. Dondero saying that
    24          But sending the 7.4 million and calling it             24 or are you just extrapolating?
    25   something else, I don't know how he could do that.            25     A. No, I'm explaining rationally what the


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     1   situation was.                                                1       Q. So it's possible that Mr. Dondero told no one
     2       Q. Do you remember on or before May 3, 2019               2   that these were loans but because y'all have been doing
     3   discussing the $5 million transfer with Mr. Dondero?          3   it this way for 10 years, that everyone, all of you
     4       A. Again, in general terms. I couldn't tell you           4   CPAs, understood that it had to be a loan?
     5   a time period, but this was something that, between           5           MR. MORRIS: Objection to the form of the
     6   Frank and I, we had put on Jim's radar that this would        6   question.
     7   be a cash need in the future. I couldn't specify              7       Q. (BY MR. RUKAVINA) My question is, is that
     8   specifically when that happened.                              8   possible?
     9       Q. Okay. You have no present memory of                    9       A. I really don't think it's possible. I
    10   discussing that issue with Mr. Dondero on or before          10   suppose people say anything is possible. Again, two
    11   May 3, 2019? It must have happened but you have no           11   and a half years ago, I'm certain that that was the
    12   memory?                                                      12   intent at the time and I'm sure it was communicated as
    13          MR. MORRIS: Objection to the form of the              13   such. I just don't have a specific recollection.
    14   question.                                                    14           MR. RUKAVINA: Thank you.
    15          THE WITNESS: We discussed that there would            15           I'll pass the witness.
    16   be a consent fee payable from HCMFA. We would have           16           MR. MORRIS: Michael, do you have any
    17   discussed -- and again, I don't remember where I was,        17   questions?
    18   what day it was, the specifics around the conversation.      18           MR. AIGEN: I do. I assume you want me to
    19          But I know that we had conversations                  19   start now to do my best to be done at 5:00?
    20   pertaining to cash, because this was a large need for --     20           MR. MORRIS: Yes, please.
    21   cash need for HCMFA to satisfy this, and this was an         21                    EXAMINATION
    22   important payment.                                           22       Q. (BY MR. AIGEN) Good afternoon, Mr. Klos. My
    23          And neither HCMFA nor Highland had the                23   name is Michael Aigen with the Stinson law firm. I
    24   wherewithal to make that payment. The only way that          24   represent Mr. Dondero, HCMS, and HCRE.
    25   those could make the payment was by Jim Dondero repaying     25           How are you today?


                                                              94                                                               96
     1   loans that he owed to HCMLP. So we absolutely discussed       1       A. I'm very good, thank you.
     2   that with Jim Dondero.                                        2       Q. First topic I wanted to ask you about is the
     3        Q. (BY MR. RUKAVINA) And with respect to                 3   defense raised by some of the defendants related to an
     4   everything that we just talked about and your                 4   oral agreement and condition subsequent.
     5   recollection, you still don't remember Mr. Dondero            5          So my question for you generally is, are you
     6   saying to you or Mr. Waterhouse one way or the other          6   aware that some of the defendants in these proceedings
     7   that one or both of these transfers were loans?               7   have raised a defense that there was a subsequent oral
     8           MR. MORRIS: Objection to the form of the              8   agreement allowing notes to be potentially forgiven if
     9   question. Asked and answered.                                 9   certain events occur?
    10           THE WITNESS: Yeah, again --                          10       A. Yeah, I'm generally aware of the defenses
    11        Q. (BY MR. RUKAVINA) Just yes or no. This is a          11   sitting here today.
    12   yes-or-no question.                                          12       Q. And how are you generally aware of this
    13           MR. MORRIS: Let him answer the question.             13   defense?
    14           MR. RUKAVINA: If he'll answer the question           14       A. I don't know with specificity. Potentially
    15   I'll stop asking him --                                      15   through just document flow on the bankruptcy side,
    16           MR. MORRIS: He's allowed --                          16   potentially with conversations internally or with
    17        Q. (BY MR. RUKAVINA) The answer [verbatim] is,          17   counsel. But I generally understand them to have been
    18   do you remember --                                           18   raised, the defenses that is.
    19        A. I don't remember Jim's exact words two and a         19       Q. And I don't want to get into conversations
    20   half years ago in respect to authorizing these               20   with counsel. I'm not allowed to do that.
    21   payments. So to answer your question, no, I don't            21          Let me ask you, have you had any
    22   specifically remember him saying these are loans.            22   conversations with anyone other than counsel about this
    23           But every other fact around this tells me            23   subsequent oral agreement defense?
    24   that we did have that conversation and that was the          24       A. I have had general conversations with
    25   conclusion and that was the direction.                       25   Mr. Seery about it. And other than that, nothing


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     1   substantive.                                                   1     Q. Is it fair to say that if those payments were
     2       Q. And what did you discuss about this with                2 to be made, it would have been Ms. Hendrix that would
     3   Mr. Seery?                                                     3 have gone and effectuated those payments?
     4       A. I've discussed with him, I hate to phrase it            4          MR. MORRIS: Objection to the form of the
     5   this way, the ridiculousness of the defense. Under             5 question.
     6   oath. I've discussed my general understanding of what          6          THE WITNESS: Can you remind me the entities
     7   is being asserted as a defense.                                7 again.
     8          Which is that there was some sort of an oral            8     Q. (BY MR. AIGEN) Sorry. HCMS and HCRE
     9   agreement between Jim and his sister at some point in          9 Partners.
    10   the past pertaining to forgiveness of certain                 10   A. HCMS, yes. HCRE, I'm not sure, maybe.
    11   promissory notes that was conditional upon Highland           11   Q. Why might it have been different?
    12   monetizing any of three PE assets for any amount above        12     A. I just don't recall who had the, you know,
    13   cost.                                                         13 kind of bank access to effectuate that payment. I
    14       Q. And is it fair to say that prior to these              14 think Kristin did but I'm not certain.
    15   lawsuits being brought, you weren't aware of any oral         15     Q. It wouldn't have been you; is that fair to
    16   agreements related to the promissory notes related to         16 say?
    17   potential forgiveness?                                        17    A. Correct. It would not have been me.
    18       A. That's correct. Not that I can remember, and           18    Q. And if Ms. Hendrix testified that the
    19   I think I would remember.                                     19 instruction she received in December 2020 about not
    20       Q. And other than your conversations with                 20 making payments related only to the Advisors and not to
    21   Mr. Seery and counsel, you haven't had any                    21 HMS or HCRE, would you have any reason to disagree with
    22   conversations with anyone else about these alleged oral       22 her?
    23   agreements; is that fair to say?                              23          MR. MORRIS: Objection to the form of the
    24       A. I'm not sure I understand the question.                24 question.
    25       Q. You told me you may have had questions with            25          THE WITNESS: Yeah, I was struggling with


                                                                98                                                                 100
     1 counsel about these oral agreements defense, and you             1 that question. There was a lot to it. If you don't
     2 told me about conversations with Mr. Seery, so I'm               2 mind.
     3 trying to close that topic.                                      3     Q. (BY MR. AIGEN) Okay. I'll repeat it. Maybe
     4       Was there anyone else you had any                          4 that will help.
     5 conversations with about this alleged oral agreement?            5       MR. MORRIS: Why don't you ask him about his
     6    A. Like I said before, nothing of substance.                  6 knowledge, instead of Kristin's. You had her as a
     7 I've probably mentioned it in passing to other                   7 witness.
     8 employees, this is what I understand is being asserted           8          I'll continue to object. I don't know why
     9 in this, but nothing of substance.                               9 you're asking him about her knowledge.
    10     Q. Do you have any personal knowledge as to                 10          MR. AIGEN: Do you want to keep coaching him?
    11 whether Mr. Dondero or Ms. Dondero entered into any             11          MR. MORRIS: No, I'm trying to coach you.
    12 type of oral agreement prior to the bankruptcy?                 12          MR. AIGEN: Oh, thanks. That's good.
    13       A. No, not other than what's been pled, or                13   Appreciate if you stop coaching your witness.
    14   whatever the terminology is.                                  14       Q. (BY MR. AIGEN) If Ms. Hendrix testified that
    15       Q. I want to talk a little bit about, you                 15   the instructions she received in December 2020
    16   touched on earlier, you gave some testimony about how         16   regarding not making any more payments related only to
    17   in -- there were certain term loans that had payments         17   the Advisors and not to HMS or HCRE, would you have any
    18   due in December or on or about December 31, 2020.             18   reason to disagree with her?
    19          Do you remember talking about that?                    19          MR. MORRIS: Objection to the form of the
    20       A. Yeah, generally.                                       20   question.
    21       Q. And I don't know if you're specifically                21          THE WITNESS: I have no reason to question
    22   referring to these loans, but is it also your                 22   Kristin's testimony. I'm sure she gave truthful
    23   understanding that HCMS and HCRE also had payments that       23   testimony.
    24   were due on December 31, 2020?                                24       Q. (BY MR. AIGEN) Are you aware or not of
    25       A. Yes.                                                   25   whether Ms. Hendrix was told by Mr. Waterhouse not to


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                                                                                                           26 (Pages 101 to 104)
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                                                            101                                                               103
     1   make payments from certain entities in December of            1      Q. When you say it was conveyed to you, are you
     2   2020?                                                         2   talking about subsequent discussions that you had with
     3          MR. MORRIS: Objection to the form of the               3   Ms. Hendrix and Mr. Waterhouse after they talked to
     4   question.                                                     4   each other?
     5          THE WITNESS: Yeah, I'm aware, and I think I            5      A. Yes.
     6   spoke to that earlier of the instruction that had come        6      Q. Sitting here today, can you tell me for sure
     7   down from Dondero through Frank to Kristin, and I was         7   that one of them told you that this instruction related
     8   certainly aware of it.                                        8   to all of the entities, as opposed to just the
     9          And I'm -- and I think I spoke to the fact             9   Advisors?
    10   that, you know, certainly hearing it from a person who,      10      A. No, I can't say that with certainty, but I
    11   as I said before, wasn't really on the team at that          11   think that that was the case. But, again, I can't say
    12   point, it was certainly my understanding that that was a     12   with certainty.
    13   global instruction at the time.                              13      Q. Would you defer to Mr. Waterhouse and
    14      Q. (BY MR. AIGEN) And I want to get into what             14   Ms. Hendrix over what the specific instructions were?
    15   was actually said and what you remember, so let me ask       15          MR. MORRIS: Objection to the form of the
    16   you this.                                                    16   question.
    17          This instruction that came down started from          17          THE WITNESS: Like I said, I wasn't part of
    18   Jim and went to Frank. Is that your understanding?           18   the conversation, so I would defer to people who
    19      A. That's my understanding.                               19   received the directions more directly.
    20      Q. You weren't there during that discussion I             20      Q. (BY MR. AIGEN) And you're not aware of
    21   assume; is that correct?                                     21   anything in writing or anything that reflects these
    22      A. Correct, I was not.                                    22   instructions on whether to pay or not to pay certain
    23      Q. And then Frank gave an instruction to                  23   payments in December of 2020?
    24   Kristin; is that your recollection?                          24      A. No, I'm not aware of anything in writing.
    25          MR. MORRIS: Objection to the form of the              25      Q. And let's change topics for a second here.


                                                            102                                                               104
     1   question.                                                     1          I want to throw out a term. Are you familiar
     2          THE WITNESS: Yeah, it's my understanding               2   with the term "NAV ratio trigger period" as it was used
     3   that Frank informed Kristin of that instruction.              3   in --
     4       Q. (BY MR. AIGEN) Were you there when Frank               4       A. In a very, very general sense, yes.
     5   provided this instruction to Kristin?                         5       Q. And in a general sense what does that term
     6       A. I don't believe I was.                                 6   mean to you?
     7       Q. Then can I ask, how did you become aware that          7       A. It's a term I recognize from the limited
     8   Frank had given this instruction to Kristin?                  8   partnership agreement of HCMLP. It's a defined term in
     9       A. Through subsequent conversations with Frank            9   that agreement.
    10   and Kristin. As I said before, I don't recall if it          10       Q. To your knowledge, was the NAV ratio trigger
    11   was the three of us or me and Frank or me and Kristin.       11   period ever reached or triggered prior to the Highland
    12   But subsequent conversations.                                12   bankruptcy?
    13       Q. Are we talking about conversations back in            13       A. I don't know the definition, so I don't know
    14   2020 or after the bankruptcy?                                14   based on the definition whether it had or hadn't.
    15          MR. MORRIS: Objection to the form of the              15       Q. Sitting here today, though, it's not your
    16   question.                                                    16   belief, based on your experience, that it was
    17          THE WITNESS: During 2020, December of 2020.           17   triggered; is that fair to say?
    18       Q. (BY MR. AIGEN) Sitting here today, can you            18          MR. MORRIS: Objection to the form of the
    19   say with a hundred percent certainty that the                19   question.
    20   instruction related to all of the entities as opposed        20          THE WITNESS: I don't know the consequence of
    21   to just Advisors?                                            21   being in a trigger period, I guess is what -- how I'm
    22       A. So as you pointed out, I was not party to the         22   trying to answer your question.
    23   direction, so I have no way of knowing with any sort of      23       Q. (BY MR. AIGEN) Have you ever had any
    24   specificity what the direction actually was. I just          24   conversations with Nancy Dondero?
    25   know how it was conveyed to me and how I understood it.      25       A. Yes.


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                                                              105                                                             107
     1     Q. Generally, how many and what was the                     1           Can you just generally explain to me what
     2 reasoning?                                                      2   services Highland Capital Management provided for
     3    A. Probably less than five. I think maybe only               3   HCMS and HCRE?
     4 one or two that I can really remember.                          4       A. For HCMS -- I do need to separate these a
     5     Q. At a high level what were those conversations            5   little bit. For HCMS, really full-service accounting,
     6 about?                                                          6   tax, treasury, cash payments. I said tax. Valuation.
     7   A. From my recollection of my conversations with              7   Nothing personnel-wise because they didn't have any
     8 her, they pertained to the DRIP, which is a dividend            8   employees.
     9 reinvestment program that I helped.                             9           That's all I can think of right off the top
    10     Q. And approximately when were these                       10   of my head, but I could be missing some.
    11 conversations?                                                 11       Q. And what about HCRE? How is that different?
    12    A. I don't know. Sometime between 2017 and                  12       A. Similar, except different types of assets.
    13 probably 2019. I couldn't tell you with any                    13   So more real estate, so less heavy.
    14 specificity. These were very informal.                         14           Maybe not necessarily differences in terms of
    15    Q. Fair to say that you've never had any                    15   the types of services, but services would have, I'd
    16 conversations with Nancy Dondero about any of the loans        16   say, more cash activity, more variety of investments,
    17 at issue in this case?                                         17   which triggers different types of activities going on
    18     A. No, no, no, I've never had a conversation               18   at those entities.
    19 with her like that.                                            19           But similar in terms of tax operations,
    20    Q. And fair to say that you've never had any                20   making payments. HCRE didn't have employees, so no
    21 conversations with Nancy Dondero about compensation for        21   payroll. So these would be the broad areas that I
    22 Jim or any other officers at Highland?                         22   would think about.
    23    A. Correct.                                                 23       Q. And you mentioned making payments. Would one
    24       MR. AIGEN: Why don't we go off the record                24   of those services that Highland provided for these two
    25 for two minutes. I think I'm either done or about              25   entities include making loan payments on the term loans


                                                              106                                                             108
     1   done.                                                         1   like the term loans at issue in these proceedings?
     2          (Off the record.)                                      2          MR. MORRIS: Objection to the form of the
     3       Q. (BY MR. AIGEN) You understand you're still             3   question.
     4   under oath?                                                   4          THE WITNESS: I think I mentioned before, I
     5       A. Yes.                                                   5   couldn't remember whether or not Kristin was authorized
     6       Q. Are you aware of any loans that Highland has           6   to make payments with respect to HCRE. I think she
     7   made to any employees or officers that were forgiven in       7   probably was, but I don't know that with certainty.
     8   all or in part?                                               8          But, you know, for services, certainly Kristin
     9       A. Yes.                                                   9   and her team would be responsible for making those
    10       Q. Can you tell me who?                                  10   payments, subject to the proper authorization.
    11       A. I don't know that this will be a complete             11      Q. (BY MR. AIGEN) And I'm sorry if I asked this
    12   list, but there were a few employees in the kind of          12   before. If it wasn't Kristin for HCRE, do you have an
    13   late aughts, maybe 2010, 2011 frame.                         13   idea who it would have been?
    14       Q. Do you know the names?                                14      A. If not Kristin, it would have been Melissa
    15       A. One was Jack Yang. Another, I'm not sure if           15   Schroth.
    16   it was forgiven or not, that's why I'm hesitating, but       16      Q. And how were those responsibilities split up?
    17   it was Tim Lawler. I think his was forgiven in part or       17   What entities was Melissa Schroth responsible for?
    18   in full, but I'm not a hundred percent certain.              18      A. Generally speaking, Melissa was more
    19       Q. And any other individuals that received loans         19   responsible for entities that were really, like -- I'm
    20   that were forgiven in part that you're aware of?             20   going to use this in the most general sense, like Jim
    21       A. Not that I recall, but there could be others.         21   entities, Jim's trusts, Jim personally.
    22   Some of this is very, very old.                              22          And for HCRE it was kind of in the middle.
    23       Q. Changing topics here a little bit, I'm going          23   When it started out it kind of was more Jim world and
    24   to combine two entities to try to speed this up. If          24   then over time it got more complex.
    25   you need to separate, that's fine.                           25          And as entities got more complex over time


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                                                               109                                                               111
     1   they tend to get transitioned from Melissa to corporate        1   that was due at the end of the year?
     2   accounting. And when they got really complex over to           2       A. Yes, we continued to track it through our
     3   another group of fund accountants.                             3   interest schedules and through cash.
     4         So this is one that was, at its beginning,               4       Q. So in the debtor's books and records is there
     5   Melissa was the, called primary accountant. And at             5   any evidence that the payments that were made in early
     6   some point in time that transitioned to the corporate          6   2019 were intended to relieve NexPoint's obligation to
     7   accounting team. I can't remember when the cash                7   make the installment payment due at the end of the
     8   process kind of cut over.                                      8   year?
     9      Q. Is there a list somewhere saying Melissa is              9         MR. RUKAVINA: Objection. Best evidence.
    10   responsible for these, Kristin for the others, or is it       10         THE WITNESS: No, I don't believe so.
    11   just more of a pattern or matter of practice?                 11       Q. (BY MR. MORRIS) Did you have a conversation
    12      A. More of a matter of practice. If you're                 12   with anybody at any time in the year 2019 about whether
    13   responsible for an entity, you're responsible. If             13   the payments made earlier in the year on behalf of
    14   you're not, then you're not.                                  14   NexPoint would eliminate or suspend its obligation --
    15         MR. AIGEN: That's all the questions I have.             15   withdrawn.
    16   Thank you for your time.                                      16         Did you have any conversation with anybody --
    17         THE WITNESS: Thank you.                                 17   I think I screwed up the dates. Going to have to start
    18                EXAMINATION                                      18   over.
    19      Q. (BY MR. MORRIS) Just a few, Mr. Klos. Let's             19         Let me ask better questions.
    20   pick up where Mr. Aigen left off.                             20         You looked with Mr. Rukavina at certain
    21         To the best of your knowledge, did HCMS have            21   payments that were made in early 2019 with respect to
    22   a shared services agreement with Highland?                    22   the NexPoint note.
    23      A. No, it didn't that I'm aware of.                        23         Do I have that right?
    24      Q. But you described certain services that HCMLP           24       A. Yes.
    25   provided to HCMS; is that right?                              25       Q. Notwithstanding those payments, did NexPoint


                                                               110                                                               112
     1     A. Yes.                                                      1 make the installment payment that was due at the end of
     2     Q. Do you know whether HCMFA ever compensated --             2 2019?
     3 do you know whether HCMS ever compensated HCMLP for any          3       MR. RUKAVINA: Objection. Calls for a legal
     4 of those services that HCMLP provided?                           4 conclusion.
     5     A. No, it didn't.                                            5       THE WITNESS: It did make the payment that
     6     Q. You mentioned HCRE. To the best of your                   6 was due at the end of 2019.
     7 knowledge, did HCRE have a shared services agreement             7    Q. (BY MR. MORRIS) And the payment that it made
     8 with Highland Capital Management, LP?                            8 at the end of 2019, was that the annual installment
     9     A. No, it didn't.                                            9 payment that was called for in the note itself?
    10     Q. Did HCRE provide the services that --                    10       MR. RUKAVINA: Objection. Legal conclusion.
    11 withdrawn.                                                      11        THE WITNESS: Yes, it was a payment pursuant
    12        Did HCMLP provide the services to HCRE that              12 to the note.
    13 you just described?                                             13     Q. (BY MR. MORRIS) Did anybody ever tell you at
    14     A. Yes.                                                     14 any time prior to the commencement of this lawsuit that
    15     Q. Did HCRE ever compensate HCMLP for any of the            15 any prior payment by or on behalf of NexPoint relieved
    16 services that HCMLP provided?                                   16 it of any obligation to pay the installment payment due
    17     A. No.                                                      17 at the end of 2020?
    18     Q. Okay. Mr. Rukavina asked you some questions              18     A. No.
    19 about payments that were made on the NexPoint loan in           19    Q. And did in fact -- is it your understanding
    20 the first half of 2019.                                         20 that Mr. Dondero specifically authorized Highland to
    21        Do you remember that?                                    21 effectuate a payment on NexPoint's behalf in mid
    22     A. Yes, generally.                                          22 January 2021?
    23     Q. Okay. Notwithstanding those payments, did                23    A. I don't have specific knowledge, but I know
    24 your group continue to carry on its books and records           24 that to have occurred.
    25 NexPoint's obligation to make the installment payment           25    Q. Okay. Did anybody ever tell you in 2021 --


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                                                                113                                                                115
     1 withdrawn.                                                        1     Q. And you sent it to the corporate accounting
     2      Did anybody tell you in December 2020 or                     2 email group; is that right?
     3 December -- or January 2021 that NexPoint didn't have             3   A. I did.
     4 to make the installment payment at year end 2020                  4     Q. And to the best of your recollection, was
     5 because of some prior prepayment?                                 5 Mr. Waterhouse included in that email group?
     6    A. No.                                                         6   A. Yes, absolutely.
     7      Q. Can you think of any reason -- withdrawn.                 7     Q. And did you instruct the corporate accounting
     8          Did you ever hear Mr. Dondero -- withdrawn.              8 team to transfer $2.4 million from HCMLP to HCMFA on
     9          Did you ever see anything in writing where               9 May 2, 2019?
    10   NexPoint ever contended, prior to February 1, 2021,            10     A. Yes, specifically Blair, but yes, for the
    11   that it had no obligation to make the payment due at           11 team as well.
    12   the end of 2020 because of some prepayment issue?              12    Q. The whole team was aware of this?
    13      A. No, not that I remember.                                 13     A. The whole team is on the email, and I'm
    14      Q. Can you think of any reason why Mr. Dondero              14 sending to Blair, who is the AP person, to please set
    15   would have authorized a payment by NexPoint to HCMLP on        15 up the payment.
    16   account of the note in January of 2021 if he actually          16     Q. Is it fair to say that you're being
    17   believed at that time that no obligation was due               17 completely transparent here by including the entire
    18   because of a prior prepayment?                                 18 corporate accounting group on this email?
    19          MR. RUKAVINA: Objection. Speculation, lacks             19      A. Yes.
    20   foundation.                                                    20      Q. And did you tell the entire corporate
    21          THE WITNESS: No.                                        21   accounting group that this transaction would be a,
    22   Q. (BY MR. MORRIS) Does it make any sense to                   22   quote, new interco loan?
    23 you as an accountant that you would pay a seven-figure           23      A. Yes, that's what the email says.
    24 sum of money that you didn't think was due and owing?            24      Q. Do you have any reason to believe that
    25   A. No, that does not make sense to me.                         25   Mr. Waterhouse didn't get this?


                                                                114                                                                116
     1       Q. Can you get Exhibit 13, please.                          1       A. No, he got this.
     2       A. Got it.                                                  2       Q. And did Mr. Waterhouse tell you at any time
     3       Q. You were asked some questions about                      3   in the history of the world that this $2.4 million
     4   paragraph 3.                                                    4   should not have been booked as a loan?
     5           Do you see that?                                        5       A. No.
     6       A. Yes.                                                     6       Q. Did Mr. Dondero tell you at any moment in the
     7       Q. Does paragraph 3 mention annual installment              7   history of the world that this transaction should not
     8   payments at all?                                                8   have been booked as a loan?
     9       A. No, I'm not seeing it.                                   9       A. No.
    10       Q. Does paragraph 3 state in any way that a                10       Q. You mentioned that there was an audit that
    11   prepayment as described in that paragraph would relieve        11   followed shortly thereafter?
    12   the maker of the obligation to make annual installment         12       A. Yes.
    13   payments?                                                      13       Q. Are you familiar with the debtor's audited
    14       A. No.                                                     14   financial statements for the period ending 2018?
    15       Q. Can you turn to the next page and look at               15       A. Yes, generally. Not total recall, but yes.
    16   paragraph 5.                                                   16       Q. Are you aware that this loan was included as
    17           Are you familiar with that paragraph at all?           17   a subsequent event in the debtor's audited financial
    18       A. No. I mean, I've seen it before, but this               18   statements?
    19   is, as I said before, this is a provision that probably        19       A. Yes.
    20   would have been in most, if not all, of these types of         20         MR. RUKAVINA: Objection. Best evidence.
    21   notes.                                                         21       Q. (BY MR. MORRIS) Did Mr. Dondero or
    22       Q. Can you get Exhibit 3, please. This is your             22   Mr. Waterhouse or anybody ever tell you that the debtor
    23   email dated May 2, 2019.                                       23   should not have included this $2.4 million loan in its
    24           Do I have that right?                                  24   audited financial statements?
    25       A. Yes.                                                    25         MR. RUKAVINA: Objection. Best evidence.


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                                                            117                                                                 119
     1           THE WITNESS: No.                                     1       A. No.
     2      Q. (BY MR. MORRIS) Okay. And the next day                 2       Q. Did anybody in the history of the world ever
     3   there was another loan; right?                               3   raise a question to you as to whether or not Kristin
     4      A. Yes.                                                   4   was authorized to paper the loan, as she describes it
     5      Q. I'm going to show you here a document that's           5   in this particular email?
     6   been produced.                                               6       A. No.
     7           MR. RUKAVINA: Would you email it to me and I         7       Q. Do you know if this $5 million loan was also
     8   can print it out for the court reporter.                     8   included in the debtor's audited financial statements?
     9           MR. MORRIS: You want to come over here and           9          MR. RUKAVINA: Objection. Best evidence.
    10   look --                                                     10          THE WITNESS: Yes. Again, subsequent event.
    11           MR. RUKAVINA: I know it. I'm just thinking          11       Q. (BY MR. MORRIS) Okay. And did anybody in
    12   that we can append it to the record right now.              12   the history of the world ever tell you that Highland
    13           MR. MORRIS: It's eight pages, so it's part          13   should not have included as a subsequent event in its
    14   of a whole production.                                      14   2018 audited financial statement this $5 million loan?
    15           MR. RUKAVINA: But it's just one email?              15       A. No.
    16           MR. MORRIS: Just one email that I'm talking         16          MR. RUKAVINA: Objection. Best evidence.
    17   about. So we're looking at Bates stamp D-CNL003763.         17          THE WITNESS: No.
    18           And I'll email it to you when we're done here.      18       Q. (BY MR. MORRIS) Do you know if HCMFA had its
    19   And you're welcome to come over here if you'd like to       19   financial statements audited?
    20   see it.                                                     20       A. It did.
    21      Q. (BY MR. MORRIS) Mr. Klos, can you take a              21       Q. And are you generally familiar with those
    22   look at the email that I have on my screen.                 22   financial statements?
    23      A. Yes.                                                  23       A. Yes.
    24      Q. And do you see that it's an email from                24       Q. Are you aware that these two loans totaling
    25   Kristin Hendrix to the corporate accounting group on        25   $7.4 million were included in HCMFA's audited financial


                                                            118                                                                 120
     1 Friday, May 3?                                                 1 statements as a subsequent event for the period ended
     2    A. Yes.                                                     2 December 31, 2018?
     3     Q. And were you also included in the corporate             3       A. Yes.
     4 accounting email string?                                       4          MR. RUKAVINA: Objection. Best evidence.
     5    A. Yes.                                                     5       Q. (BY MR. MORRIS) Did anybody in the history
     6      Q. Can you read the email out loud, please.               6   of the world ever tell you that HCMFA should not have
     7      A. It says, Blair, please set up a wire from              7   included as a subsequent event the borrowing of the
     8   HCMLP to HCMFA for 5 million as a new loan,                  8   money reflected in these loans?
     9   parentheses, 4.4 million should be coming in from Jim        9          MR. RUKAVINA: Objection. Best evidence.
    10   soon. Hayley, please add this to your loan tracker. I       10          THE WITNESS: No, no one said that.
    11   will paper the loan.                                        11       Q. (BY MR. MORRIS) Do you know if HCMFA
    12      Q. So based on that email, did you understand on         12   included these loans as a liability on its balance
    13   May 3 that HCMLP was going to loan $5 million to HCMFA?     13   sheet?
    14      A. Yes, HCMFA.                                           14       A. It did.
    15      Q. And did you understand that Kristin                   15          MR. RUKAVINA: Objection. Move to strike.
    16   specifically told the corporate accounting group that       16   Best evidence.
    17   she would take responsibility for papering the loan?        17       Q. (BY MR. MORRIS) Did anyone in the history of
    18      A. Yes, that's what she says.                            18   the world ever tell you that HCMFA should not have
    19      Q. Do you recall whether Mr. Waterhouse ever             19   included these loans as a liability on its balance
    20   objected to any aspect of Kristin's email?                  20   sheet?
    21      A. He didn't.                                            21          MR. RUKAVINA: Objection. Best evidence.
    22      Q. Do you recall in the history of the world             22          THE WITNESS: No.
    23   whether Mr. Waterhouse ever told you that this              23       Q. (BY MR. MORRIS) Okay. Do you recall that in
    24   $5 million transaction should not have been booked as a     24   October of 2020 HCMFA and NexPoint made a report to the
    25   loan?                                                       25   retail board?


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                                                            121                                                              123
     1      A. Yes.                                                   1      A. Not that I'm aware of.
     2      Q. And are you aware that that's part of the              2      Q. You referred to a couple of loans that were
     3   annual review process?                                       3   given to individuals earlier.
     4      A. Yes, it's the 15(c) process.                           4          Do you remember that?
     5      Q. By the way, as we're talking about these               5      A. Yes.
     6   issues, did Mr. Waterhouse have -- was he an officer of      6      Q. What's the biggest loan that you can recall
     7   HCMFA in 2019 and 2020?                                      7   Highland ever forgiving?
     8      A. Yes.                                                   8      A. The largest one that I can remember was
     9      Q. And what's your understanding as to the                9   a half-million dollars, 500,000.
    10   office he held?                                             10      Q. So you have no knowledge of any loan ever
    11      A. Treasurer, I believe.                                 11   being forgiven where the principal amount forgiven
    12      Q. And do you know if Mr. Dondero held an                12   exceeded $500,000; is that right?
    13   officer position with respect to each of the Advisors?      13      A. Not that I'm aware of.
    14      A. He did.                                               14      Q. And when is the last loan that Highland
    15      Q. What position did he hold?                            15   forgave in whole or in part to one of its officers or
    16      A. I don't recall with certainty, but I believe          16   employees that you can recall?
    17   president.                                                  17      A. I don't know a specific year, but it would
    18      Q. As officers of those two entities, do you             18   have been in the 2010, 2011 time frame. Maybe 2012,
    19   have any knowledge as to whether they participated in       19   but I suspect '10 or '11.
    20   the communications with the retail board in the fall of     20      Q. So is it fair to say to the best of your
    21   2020?                                                       21   recollection and knowledge that Highland did not
    22      A. I believe Jim and Frank both did.                     22   forgive a single loan made to an officer or employee
    23      Q. And do you know whether the retail board              23   for at least seven years prior to the petition date?
    24   asked the Advisors for a report on all obligations due      24      A. There's none that I can think of.
    25   and owing to HCMLP and affiliates?                          25      Q. Let's just turn our attention to


                                                            122                                                              124
     1      A. They asked for financials, I believe as of             1 December 2020.
     2   6/30 as part of that process.                                2     Do you recall that you testified at length
     3      Q. And are you aware as to whether or not the             3 about your understanding of the conversations with
     4   financials that were provided to the retail board            4 Mr. Waterhouse and Ms. Hendrix?
     5   included, among other things, the $7.4 million in notes      5         Do you remember that?
     6   that were -- that we're talking about here?                  6      A. Yes.
     7      A. Yes, those financials would have included              7      Q. Okay. Are you aware of any instruction ever
     8   those amounts as liabilities to HCMLP.                       8   made by Mr. Dondero or Mr. Waterhouse in November or
     9      Q. Did Mr. Dondero or Mr. Waterhouse ever tell            9   December 2020 in order to make the payments that were
    10   you or anybody to your knowledge that the Advisors          10   due under the three term notes -- withdrawn.
    11   should not have told the retail boards that they were       11         There were three term notes that were due --
    12   obligated to pay under those two notes?                     12   withdrawn.
    13      A. No.                                                   13         There are three term notes at issue in this
    14      Q. Let's talk about loan forgiveness for a               14   case. Do you understand that?
    15   moment.                                                     15      A. Yeah, that's my understanding.
    16          How long have you been with the company?             16      Q. And one of them was issued by NexBank; is
    17      A. March of 2009.                                        17   that right?
    18      Q. At any time since you've been employed by             18      A. NexPoint Advisors.
    19   Highland, has Highland ever forgiven a promissory note      19      Q. Thank you for the clarification.
    20   that it held where the maker was a corporate affiliate?     20         One was by HCRE?
    21      A. Not that I can recall.                                21      A. Correct.
    22      Q. Have you ever heard prior -- has anybody ever         22      Q. And one was from HCMS; do I have that right?
    23   told you that before you joined the company, Highland       23      A. Yes.
    24   had ever forgiven in whole or in part any note that it      24      Q. And all three of those notes were executed as
    25   held where the maker was a corporate affiliate?             25   of May 31, 2017; right?


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                                                             125                                                                 127
     1     A. Yeah, that was the effective date on all                1              FURTHER EXAMINATION
     2 three.                                                         2      Q. (BY MR. RUKAVINA) Go to Exhibit 16, please,
     3    Q. And they all rolled up previously outstanding            3   1-6.
     4 notes that were due and payable to Highland.                   4      A. Sure.
     5         Do I have that right?                                  5      Q. Sir, this is an email string regarding that
     6      A. Correct. To the best of my recollection.               6   Rule 15(c) that you were talking about. I'm just going
     7      Q. So we'll refer to those notes as the term              7   to ask you about the top email, but you're welcome to
     8   notes. Is that okay?                                         8   read the whole.
     9      A. Sure.                                                  9      A. Uh-huh.
    10      Q. Do you have any knowledge that Mr. Dondero or         10      Q. You're copied on Mr. Waterhouse's email there
    11   Mr. Waterhouse ever instructed HCMLP to make the            11   October 6, 2020; right?
    12   installment payments that were due at the end of 2020       12      A. Yes, I'm on the email.
    13   with respect to any of those term notes?                    13      Q. And Mr. Waterhouse writes, the HCMFA note is
    14      A. No, I don't believe they provided that                14   a demand note. You would have read that; right?
    15   instruction to make those payments.                         15      A. Yes.
    16         MR. RUKAVINA: Objection. Move to strike.              16      Q. Did you ever correct Mr. Waterhouse when he
    17   Lacks foundation.                                           17   says the HCMFA note, as opposed to notes?
    18         MR. MORRIS: I'm asking him if he ever heard.          18      A. No, that's not something I would have
    19         MR. RUKAVINA: But he answered a different             19   corrected from Frank.
    20   question. He answered a different question.                 20      Q. Do you recall right now that you might have,
    21      Q. (BY MR. MORRIS) Did you ever see anything in          21   when you read this, realized that he made a mistake?
    22   writing where either Mr. Dondero or Mr. Waterhouse          22      A. It would have been such a de minimus,
    23   directed HCMLP to make the annual installment payments      23   inconsequential mistake that I don't know that I would
    24   that were due at the end of 2020 with respect to any of     24   have addressed it.
    25   the term notes?                                             25      Q. What about two sentences over, there was an


                                                             126                                                                 128
     1       A. No.                                                   1 agreement between HCMLP and HCMFA the earliest they
     2       Q. Okay. But to the best of your recollection,           2 could demand is May 2021.
     3   in the 13-week forecast, those forecasts included the        3        Did you ever write to him and say that too
     4   installment payments that were due at the end of the         4 was a mistake?
     5   year; is that right?                                         5   A. I didn't write to him.
     6       A. They did.                                             6     Q. Did you realize back then when you read it
     7       Q. Did anybody ever tell you prior to                    7 that he had made a mistake?
     8   February 1, 2021, that your group had made a mistake by      8    A. I'm not certain.
     9   not making the payment -- any of the payments that were      9     Q. Did you -- and I'm not suggesting that you
    10   due under the term notes at the end of 2020?                10 should have. You're a busy man. But did you attach
    11       A. Not that I'm aware of.                               11 any significance outside of the ordinary to this email
    12       Q. Did anybody tell you prior to February 1,            12 exchange?
    13   2021, that the makers of the term notes expected            13       MR. MORRIS: Objection to the form of the
    14   Highland to effectuate the payments that were due at        14 question.
    15   the end of the year without approval by Mr. Waterhouse      15        THE WITNESS: I struggle with how to answer
    16   or Mr. Dondero?                                             16 that. I saw that this note was in response to retail
    17       A. No.                                                  17 15(c) follow-up on the Advisors.
    18       Q. Have you seen any protest in writing prior to        18       At this point my role was different, where I
    19   the commencement of the litigation by any of the makers     19 was dealing with really the retail funds primarily. So
    20   of the notes about a failure on the part of HCMLP to        20 the fact that I'm even on this email is somewhat
    21   perform its duties and make that payment at the end of      21 incidental.
    22   the year?                                                   22    Q. (BY MR. RUKAVINA) But surely on October 6,
    23       A. No.                                                  23 2020 you knew that there were four HCMFA demand notes,
    24          MR. MORRIS: I have no further questions.             24 didn't you?
    25          MR. RUKAVINA: I have five minutes.                   25    A. I'm sure I would have had access to that


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                                                            129                                                             131
     1   information. I'm not sure that I was keeping track of        1      Q. And Mr. Morris asked you whether you see
     2   how many were outstanding at any given point in time.        2   anything in here that says that a prepayment relieves
     3      Q. And surely on October 6, 2020 you knew that            3   an annual installment.
     4   only two of them couldn't be demanded by May of 2021,        4          Do you remember that question?
     5   didn't you?                                                  5          MR. MORRIS: Objection. That's not what I
     6      A. Again, I don't know that I was even really             6   asked.
     7   thinking about these notes at that time.                     7          THE WITNESS: I don't remember that question.
     8      Q. Even though you were preparing weekly cash             8      Q. (BY MR. RUKAVINA) Reading Section 2.1 and 3
     9   forecasts for Mr. Seery?                                     9   together, what would a prepayment apply to other than
    10      A. I wasn't preparing a weekly cash forecast for         10   an annual installment? Do you have a view on that?
    11   Mr. Seery.                                                  11          MR. MORRIS: Objection to the form of the
    12      Q. Going to Exhibit 13, please. Mr. Morris               12   question.
    13   asked you a couple questions about this.                    13          THE WITNESS: Again, I struggle with
    14      A. I'm sorry, 13?                                        14   prepayment. But as I read Section 3, it would be
    15      Q. Yes, sir. And again, that paragraph 3 that            15   applied first to unpaid accrued interest and then to
    16   talks about prepayment.                                     16   unpaid principal.
    17         Can you find anything in here, sir, that says         17      Q. (BY MR. RUKAVINA) Have you ever in your
    18   that a prepayment does not relieve the maker of any         18   personal life prepaid a promissory note before -- have
    19   regularly scheduled payment?                                19   you ever in your personal life prepaid a promissory
    20      A. Sorry, that's a lot to comprehend. If you             20   note prior to its maturity?
    21   could ask again.                                            21          MR. MORRIS: Objection to the form of the
    22      Q. Is there any provision that you can see here          22   question.
    23   that's to the effect that a prepayment will not relieve     23          THE WITNESS: I don't know.
    24   the maker of any regularly scheduled payment?               24      Q. (BY MR. RUKAVINA) Sitting here today, with
    25      A. I don't see that specific provision. I just           25   your CPA, your MBA and you're a CFO of a large entity,


                                                            130                                                             132
     1 read it for what is on the page.                               1   you don't understand what a prepayment means?
     2    Q. Isn't it, sir, in your experience the case               2          MR. MORRIS: Objection. Argumentative.
     3 that a promissory note, if it intended not to relieve          3          I direct you not to answer.
     4 the borrower of regularly scheduled payments would say         4          You're going to have ask a different question.
     5 that a prepayment does not relieve the borrower of             5   That's an argumentative question and it's insulting.
     6 regularly scheduled payments?                                  6          MR. RUKAVINA: What's the privilege on which
     7        MR. MORRIS: Objection to the form of the                7   you're directing him not to answer?
     8 question.                                                      8          MR. MORRIS: I just said it's argumentative.
     9        THE WITNESS: That's a legal question. I                 9          MR. RUKAVINA: I'm trying to let you get to
    10 can't -- I don't know the answer.                             10   your flight.
    11   Q. (BY MR. RUKAVINA) Do you remember seeing                 11          MR. MORRIS: Ask a proper question. Don't
    12 promissory notes that say something like that?                12   make this about me.
    13   A. Not that I can recall.                                   13      Q. (BY MR. RUKAVINA) You were going to answer
    14   Q. You'd be surprised if that's what promissory             14   my question, sir?
    15 notes say?                                                    15          MR. MORRIS: No, I'm directing him not to
    16       MR. MORRIS: Objection to the form of the                16   answer.
    17 question.                                                     17          MR. RUKAVINA: Then we'll end this deposition
    18       THE WITNESS: I don't know.                              18   with a motion to compel.
    19   Q. (BY MR. RUKAVINA) And Mr. Morris asked you               19          MR. MORRIS: Okay. You do that.
    20 about this. I'm trying to burn through this so the man        20          MR. RUKAVINA: I'm making a motion to compel.
    21 can make his plane.                                           21   We'll call the judge as soon as we land in New York
    22      Section 2.1 talks about 30 equal annual                  22   tomorrow.
    23 payments, annual installments.                                23          MR. MORRIS: You have to read the whole
    24     You see that?                                             24   question. You can ask the question without the
    25   A. Yes, I see that.                                         25   verbiage; right?


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                                                                133                                                         135
     1        MR. RUKAVINA: And I asked you on the basis                 1   payment made prior to the time that it's due?
     2 of what privilege are you instructing your --                     2          MR. MORRIS: Objection to the form of the
     3          MR. MORRIS: Argumentative.                               3   question.
     4          MR. RUKAVINA: That's not a privilege.                    4          THE WITNESS: Yes, in the most general sense
     5          MR. MORRIS: Sir, you can rephrase your                   5   a prepayment, the prefix "pre" indicates that it's
     6   question and end this right now by not being insulting          6   before some other event. So from that standpoint,
     7   to my client.                                                   7   prepayment means it was to some extent paid early.
     8       Q. (BY MR. RUKAVINA) I was not trying to be                 8          MR. RUKAVINA: Thank you.
     9   insulting, sir.                                                 9          Pass the witness.
    10          I'm asking you again, you do not, sitting               10          MR. MORRIS: No further questions.
    11   here today, have an understanding of what the word             11          Michael?
    12   "prepayment" for a promissory note means?                      12          MR. AIGEN: No questions.
    13          MR. MORRIS: Objection to the form of the                13          THE REPORTER: Mr. Morris, do you want a copy
    14   question.                                                      14   of the transcript?
    15          You can answer that one.                                15          MR. MORRIS: I sure do.
    16          THE WITNESS: In the context that you're                 16          THE REPORTER: Mr. Aigen, do you want a copy
    17   asking the question --                                         17   of the transcript?
    18       Q. (BY MR. RUKAVINA) No, I'm not asking any                18          MR. AIGEN: Yes, we would also like a copy.
    19   context. Sitting here today, do you have an                    19          MR. MORRIS: Yeah, and I'd like that rush.
    20   understanding of what the word "prepayment" means when         20          (Whereupon, the deposition adjourned at
    21   it comes to a borrower/lender relationship?                    21          5:14 P.M.)
    22          MR. MORRIS: Objection to the form of the                22                   --oOo--
    23   question.                                                      23          I declare under penalty of perjury that the
    24          THE WITNESS: Yes, I have a general                      24   foregoing is true and correct. Subscribed at
    25   understanding.                                                 25   _________________________, Texas, this ____ day of


                                                                134                                                         136
     1     Q. (BY MR. RUKAVINA) What is your                             1 _______________________, 2021.
     2 understanding?                                                    2
     3   A. That -- you can look at the note.                            3
     4     Q. I'm not asking about the note. We got to go                4 ________________________________
     5 step by step.                                                     5 DAVID KLOS
     6       What is your general understanding as to what               6
     7 a prepayment means?                                               7
     8       MR. MORRIS: Objection to the form of the                    8
     9 question.                                                         9
    10        THE WITNESS: It depends on the context and                10
    11 it's going to depend on what the note says about                 11
    12 prepayments. So I have a hard time answering that                12
    13 question.                                                        13
    14    Q. (BY MR. RUKAVINA) So you would agree with me               14
    15 that you have to look at the note before you can answer          15
    16 that question?                                                   16
    17       MR. MORRIS: Objection to the form of the                   17
    18 question.                                                        18
    19        THE WITNESS: I would want to look at the                  19
    20 note before I answer the question, because prepayment            20
    21 is a term that can be used as a defined term or in a             21
    22 casual sense, and those two can sometimes get confused           22
    23 and misconstrued.                                                23
    24    Q. (BY MR. RUKAVINA) Would you agree with me                  24
    25 that in any and all circumstances a prepayment is a              25


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     1              CERTIFICATE OF REPORTER
     2          I, BRANDON D. COMBS, a Certified Shorthand
     3   Reporter, hereby certify that the witness in the
     4   foregoing deposition was by me duly sworn to tell the
     5   truth, the whole truth, and nothing but the truth in the
     6   within-entitled cause;
     7          That said deposition was taken in shorthand by
     8   me, a disinterested person, at the time and place
     9   therein stated, and that the testimony of the said
    10   witness was thereafter reduced to typewriting, by
    11   computer, under my direction and supervision;
    12          That before completion of the deposition,
    13   review of the transcript was not requested. If
    14   requested, any changes made by the deponent (and
    15   provided to the reporter) during the period allowed are
    16   appended hereto.
    17          I further certify that I am not of counsel or
    18   attorney for either or any of the parties to the said
    19   deposition, nor in any way interested in the event of
    20   this cause, and that I am not related to any of the
    21   parties thereto.
    22           DATED: November 1, 2021
    23
    24               ________________________________
    25               Brandon Combs, Certified Shorthand


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